Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 1 of 176

                                                                    6445

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )           CR No. 21-28
                                   )           Washington, D.C.
       vs.                         )           March 8, 2023
                                   )           9:15 a.m.
SANDRA R. PARKER, ET AL.,          )
                                   )           Day 22
          Defendants.              )           Morning Session
___________________________________)


              TRANSCRIPT OF JURY TRIAL PROCEEDINGS
               BEFORE THE HONORABLE AMIT P. MEHTA
                  UNITED STATES DISTRICT JUDGE


APPEARANCES:

For the Government:                Kathryn Leigh Rakoczy
                                   Jeffrey Nestler
                                   Troy Edwards
                                   Alexandra Hughes
                                   Louis Manzo
                                   U.S. ATTORNEY'S OFFICE
                                   FOR THE DISTRICT OF COLUMBIA
                                   555 Fourth Street, NW
                                   Washington, D.C. 20530
                                   (202) 252-6928
                                   Email:
                                   kathryn.rakoczy@usdoj.gov
Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 2 of 176

                                                                    6446

APPEARANCES CONTINUED:

For Defendant Sandra Parker:       John L. Machado
                                   LAW OFFICE OF JOHN MACHADO
                                   503 D Street, NW
                                   Suite 310
                                   Washington, D.C. 20001
                                   (703) 989-0840
                                   Email: johnlmachado@gmail.com

For Defendant Bennie Parker:       Stephen F. Brennwald
                                   BRENNWALD & ROBERTSON, LLP
                                   922 Pennsylvania Avenue, SE
                                   Washington, D.C. 20003
                                   (301) 928-7727
                                   Email: sfbrennwald@cs.com

For Defendant Laura Steele:        Peter A. Cooper
                                   LAW OFFICE OF
                                   PETER A. COOPER
                                   400 5th Street, NW
                                   Suite 350
                                   Washington, D.C. 20001
                                   (202) 400-1434
                                   Email:
                                   pcooper@petercooperlaw.com
Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 3 of 176

                                                                    6447

APPEARANCES CONTINUED:

For Defendant Connie Meggs:        Stanley Edmund Woodward, Jr.
                                   BRAND WOODWARD LAW
                                   1808 Park Road NW
                                   Washington, D.C. 20010
                                   (202) 996-7447
                                   Email:
                                   stanley@brandwoodwardlaw.com

                                   Juli Zsuzsa Haller
                                   LAW OFFICES OF JULIA HALLER
                                   601 Pennsylvania Avenue, NW
                                   Suite 900
                                   S. Building
                                   Washington, D.C. 20036
                                   (202) 352-2615
                                   Email: hallerjulia@outlook.com

For Defendant Isaacs:              Eugene Joseph Rossi
                                   CARLTON FIELDS P.A.
                                   1025 Thomas Jefferson St., NW
                                   Suite 400 West
                                   Washington, D.C. 20007
                                   (202) 965-8100
                                   Email:
                                   grossi@carltonfields.com

                                   Charles Greene
                                   LAW OFFICE OF
                                   CHARLES M. GREENE, P.A.
                                   55 East Pine Street
                                   Orlando, FL 32801
                                   (407) 648-1700
                                   Email: cmg@cmgpa.com
Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 4 of 176

                                                                    6448

APPEARANCES CONTINUED:

For Defendant
Michael L. Greene:                 Britt Redden
                                   REDDEN LAW, PLLC
                                   3300 Oak Lawn Avenue
                                   Suite 700
                                   Dallas, TX 75219
                                   (214) 699-8429
                                   Email:
                                   bredden@reddenlawtexas.com

                                   William Lee Shipley, Jr.
                                   LAW OFFICES OF
                                   WILLIAM L. SHIPLEY
                                   PO Box 745
                                   Kailua, HI 96734
                                   (808) 228-1341
                                   Email: 808Shipleylaw@gmail.com

Court Reporter:                    William P. Zaremba
                                   Registered Merit Reporter
                                   Certified Realtime Reporter
                                   Official Court Reporter
                                   E. Barrett Prettyman CH
                                   333 Constitution Avenue, NW
                                   Washington, D.C. 20001
                                   (202) 354-3249


Proceedings recorded by mechanical stenography; transcript
produced by computer-aided transcription
Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 5 of 176

                                                                    6449

                                - - -

                           WITNESS INDEX

                                - - -

WITNESSES            DIRECT CROSS REDIRECT RECROSS

GOVERNMENT'S:

SA MICHAEL PALIAN      6501   6543      6580
SA MICHAEL PALIAN             6554
SA MICHAEL PALIAN             6563

                                - - -

                         INDEX OF EXHIBITS

                                - - -

GOVERNMENT'S                                       ADMITTED

10155.1041                                            6505

10155.1045                                            6506

10155.1050                                            6507

10155.1050.P                                          6508

10155.1105                                            6509

10155.1111                                            6510

10155.116A                                            6511

10155.1116B                                           6511

10155.1151                                            6512

10251                                                 6512

10252, PAGE 7                                         6522

10252, PAGES 2, 3, 4, 5, AND 6                        6526

10253                                                 6541
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 6 of 176

                                                                          6450

1                           P R O C E E D I N G S

2                COURTROOM DEPUTY:     All rise.    The Honorable Amit

3    P. Mehta presiding.

4                THE COURT:    Good morning.    Please be seated,

5    everyone.

6                COURTROOM DEPUTY:     Good morning, Your Honor.         This

7    is Criminal Case No. 21-28, United States of America versus

8    Defendant No. 4, Sandra Ruth Parker; Defendant 5,

9    Bennie Alvin Parker; Defendant 7, Laura Steele; Defendant 9,

10   Connie Meggs; Defendant 16, William Isaacs; and

11   Defendant 20, Michael L. Greene.

12               Kathryn Rakoczy, Jeffrey Nestler,

13   Alexandra Hughes, and Troy Edwards for the government.

14               John Machado for Defendant Sandra Parker.

15               Stephen Brennwald for Defendant Bennie Parker.

16               Peter Cooper for Defendant Steele.

17               Stanley Woodward and Juli Haller for

18   Defendant Meggs.

19               Gene Rossi and Charles Greene for

20   Defendant Isaacs.

21               Britt Redden and William Shipley for

22   Defendant Greene.

23               All six named defendants are present for these

24   proceedings.

25               MR. WOODWARD:    Good morning, Your Honor.       I'll
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 7 of 176

                                                                         6451

1    stand in for Mr. Cooper until he arrives.

2                THE COURT:    Okay.   Appreciate it.

3                Okay.   Apologies for getting here a little late.

4    I was still looking at some of the videos that were sent

5    yesterday.

6                All right.    So let's start there on the videos.

7                Mr. Rossi, you've had an opportunity to both look

8    at the videos that were redacted and then the additional two

9    the government wishes to introduce.

10               MR. ROSSI:    Your Honor, based on your rulings

11   yesterday, we do not object.

12               THE COURT:    Okay.

13               MR. ROSSI:    But we do reserve our rights regarding

14   the proffer.

15               THE COURT:    Understood.    Okay.

16               MR. ROSSI:    Yeah.

17               And, Your Honor, I just had a couple preliminary

18   issues.

19               THE COURT:    Okay.

20               MR. ROSSI:    I asked the Deputy Clerk about WI

21   Exhibit 1.    I thought it was in evidence.       It's the résumé

22   of Dr. Sperry.

23               THE COURT:    I think we'd -- I had reserved on it.

24               MR. ROSSI:    Okay.

25               THE COURT:    And I think --
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 8 of 176

                                                                         6452

1                MR. ROSSI:    We would like to introduce it.

2                THE COURT:    Understood.

3                MR. ROSSI:    Yeah.

4                THE COURT:    Mr. Nestler, is there an objection

5    from the government to introducing her CV?

6                MR. NESTLER:    Yes.   We don't think it's necessary

7    to introduce her complete CV with other cases that she's

8    worked on and articles that she's written.         I'm sure that

9    it's relevant for the jury to have all that.

10               And if the defense wants to do so, we could, of

11   course, introduce our expert's CV, and I'm not sure that the

12   jury needs -- or the benefit from having all that

13   information.

14               MR. ROSSI:    I don't think we would object -- we

15   would not object to their CV going in.

16               THE COURT:    The only issue I have about the CV --

17               MR. ROSSI:    Yes.

18               THE COURT:    -- and not having studied it, is

19   sometimes the articles convey substance that the expert may

20   have written or the title of a talk or something, and again,

21   I haven't looked at it, so that's the only hesitance I have.

22   I don't think it's otherwise objectionable unless there's

23   something in there that would convey facts that otherwise

24   are not either relevant or outside the scope of what I've

25   permitted the testimony to entail.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 9 of 176

                                                                         6453

1                MR. ROSSI:    Well, Your Honor, could we look at it

2    further and maybe take out a few pages?

3                THE COURT:    Yeah.    Well, why don't you take a look

4    at it, have the government look at it.

5                MR. ROSSI:    Okay, sure.

6                THE COURT:    And if there's -- we can redact

7    portions of it.

8                MR. ROSSI:    Right.

9                MR. NESTLER:    Sorry.

10               To be clear, if the portion of the CV is about

11   someone's academic credentials and their prior work history,

12   that portion we have no problem with.        It's the talks and

13   the articles and the other cases that they've worked on that

14   we think gets into an area that the jury ought not to be so

15   discretely informed about.

16               MR. ROSSI:    Okay.

17               Your Honor, we'll work with Mr. Nestler.

18               THE COURT:    Okay.

19               MR. ROSSI:    Hopefully we'll come up with a

20   compromise.

21               THE COURT:    That's fine.

22               MR. ROSSI:    And I think I have a compromise, Your

23   Honor, on WI4.     It's the military records.

24               THE COURT:    Okay.

25               MR. ROSSI:    We only want to put in -- and I'll
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 10 of 176

                                                                          6454

1    show Mr. Nestler -- one page, two page, four pages, six

2    pages.

3                THE COURT:    Six additional pages.

4                MR. ROSSI:    Just six pages out of 56, I think it

5    is.

6                THE COURT:    Okay.   Any has --

7                MR. ROSSI:    And I'll show Mr. Nestler.

8                THE COURT:    Okay.

9                MR. NESTLER:    I have not seen them yet, but I'll

10   look.

11               MR. ROSSI:    Yeah.   And we'll work it out, Judge.

12   We'll work it out.      Thank you.

13               THE COURT:    All right.    So then that brings us to

14   exhibits.

15               MR. GREENE:    May I be heard briefly, Your Honor?

16               THE COURT:    Sure.

17               MR. GREENE:    Last night at 11:26 we got an exhibit

18   from Mr. Nestler that he intends to offer through

19   Dr. Askenazi that I think is barred.         It's a Handbook of

20   Forensic Neuropsychology.       And so apparently he intends to

21   use this to say that this is consistent with your opinion.

22   Under controlling law and under the rules as I understand

23   them, that that would be improper bolstering.

24               THE COURT:    I'm sorry.    You said the controlling

25   law and rules of what?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 11 of 176

                                                                          6455

1                MR. GREENE:    And the rules as I understand them.

2                THE COURT:    Oh, okay.

3                MR. GREENE:    I think that would be what's called

4    "bolstering."

5                While you are allowed to impeach under the Federal

6    Rules of Evidence, impeach an expert with a learned

7    treatise, you are not allowed to introduce anything from a

8    learned treatise to bolster your own expert.          It's the rule

9    against bolstering.      They teach it in all the trial

10   certification classes I go to every February.          Missed this

11   year because I'm here.      And I believe it's well-established

12   law across the land.      I did some brief research this morning

13   to confirm that's the rule.

14               So we would object to him using the Handbook of

15   Forensic Psychology -- Neuropsychology through his expert

16   because it would be improper bolstering.

17               And I didn't get this until 11:26 last night when

18   I was asleep, I assure you.

19               THE COURT:    I'm glad you got to bed early.

20               But what are the contents, as opposed to just the

21   general topics of what it is?

22               MR. GREENE:    May I approach, Your Honor?

23               THE COURT:    Yes, please.

24               MR. GREENE:    It's is a one-page excerpt on autism

25   spectrum disorders, for the record, from the Handbook of
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 12 of 176

                                                                          6456

1    Forensic Neuropsychology, Second Edition, not written by

2    this witness.

3                So it's hearsay, bolstering.       Sorry.

4                (Pause)

5                THE COURT:    Okay.   I'm just reading.     There's a

6    paragraph in here that seems to reference a 1999

7    Baron-Cohen.     Presumably that's some study or whatever the

8    case may be.

9                MR. GREENE:    On mind blindness or something.

10               THE COURT:    On mind blindness.

11               MR. GREENE:    Yes, Your Honor.

12               THE COURT:    Counsel.

13               MR. GREENE:    Thank you, Judge.

14               MR. NESTLER:    Yes, Your Honor.

15               We intend to discuss mind blindness with

16   Dr. Askenazi today.      She will discuss how Dr. Sperry was

17   wrong and defined mind blindness incorrectly, and the

18   leading treatise on neuropsychology, on forensic

19   neuropsychology, actually defines it quite differently from

20   how Dr. Sperry presented it.       And so we intend to have

21   Dr. Askenazi explain that and refer to this exhibit as she

22   explains that.     And we may seek to publish it to the jury as

23   a demonstrative for Dr. Askenazi to read some of the

24   relevant language here from the bottom two paragraphs about

25   what neuro -- about what mind blindness is.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 13 of 176

                                                                          6457

1                MR. GREENE:    So that's exactly what the rules

2    prohibit.

3                What he could have done is impeach Dr. Sperry with

4    it.   That would have been permissible.        But it's called

5    bolstering when you do it through your own expert.           It is

6    forbidden, I believe, in every district across the

7    United States.     It is not allowed.     It is introducing

8    hearsay, a learned treatise through your own expert, not

9    allowed ever.     He could have impeached Dr. Sperry.        He made

10   a tactical blunder by not doing so.         Now he's stuck with

11   what he did.

12               Thank you, Judge.

13               THE COURT:    So could I just ask, Mr. Greene, how

14   does that, and I'd have to look at this, but how does that

15   square with the rule that permits the admissibility of

16   otherwise barred hearsay evidence to come in through an

17   expert if the Court determines that its probative value

18   can -- if the risk of admitting it does not outweigh its

19   probative value?

20               MR. GREENE:    Because the rule is different for

21   hearsay, Judge.     And there's very strict limitations on how

22   you can get hearsay in through an expert.

23               But the cases view bolstering as different because

24   each expert must stand on their own.         You can't have an

25   expert get up there and say, hey, all the other experts
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 14 of 176

                                                                          6458

1    support me, too.

2                Now, you can impeach an opposing expert by saying,

3    the other experts don't agree with you.         He could have used

4    that can Dr. Sperry.      But what he can't do, and what

5    Ms. Wilson can find very quickly with looking up the term

6    "bolstering" in federal court, is that you cannot, through

7    your own expert, introduce a learned treatise and bolster

8    them by saying, all the experts agree with me.          That's the

9    danger.

10               It's got to be limited to Dr. Sperry and

11   Dr. Askenazi, and that's who the jury determines is right or

12   wrong, not some people that aren't in the courtroom.

13               THE COURT:    Well, let me ask you this:       Can she

14   say that I've consulted with the Handbook of Forensic

15   Neuropsychology and this is how it defines mind blindness?

16               MR. GREENE:    She can say that my opinion is

17   consistent with the literature and the scientific materials

18   in my industry.     She's not allowed to refer to a specific

19   article.    That's bolstering.

20               She can't say what I'm saying is consistent, my

21   opinions are consistent with everything I've read.           It can

22   be general but not specific.

23               Thank you, Judge.

24               MR. NESTLER:    We just disagree, Your Honor.

25               Mr. Greene had his expert say that everything she
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 15 of 176

                                                                          6459

1    did was consistent with the experts in her field, but did

2    not provide any specifics.       We intend to have Dr. Askenazi

3    provide the specifics to make sure that the jury knows that

4    she has credibility, that when she says this is consistent

5    with the definition in the field, that it's true.

6                MR. GREENE:    And let me just point out one last

7    thing, Judge, and I'll sit down.        You've pointed out to us

8    that you did things a little too late.         I think the deal

9    breaker should be here, I got this at 11:26 last night or I

10   would have had a couple cases for Your Honor to explain

11   things a little more clearly.        And it just shouldn't be

12   allowed.    It's not necessary.      She can say that everything

13   is consistent with all the materials in the industry.           She

14   doesn't need to refer to this.        And I respectfully submit

15   that it would be in conflict with the case law for her to do

16   it.

17               MS. HALLER:    Your Honor, may I raise one question

18   related to a different witness?

19               MR. NESTLER:    I'm sorry, Your Honor.      If we want

20   to get into the hearsay exceptions, Rule 803(18)

21   specifically allows such evidence.

22               And it says exactly what the government intended

23   to do, which is that, a learned treatise can be read into

24   evidence but not received as an exhibit, which is exactly

25   how we intended to do it.       I flagged this for the defense
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 16 of 176

                                                                          6460

1    that we would offer this as a demonstrative, which she would

2    refer to it, read to it -- read from it, but not offer it as

3    an actual admitted exhibit.

4                MR. GREENE:    Judge, if I had this before 11:26

5    last night, I'd give you cases explaining what I found.

6    It's really kind of unfair to get them at midnight.

7                THE COURT:    So Rule 803(18) says, treats as not

8    hearsay a statement contained in a "treatise, periodical or

9    pamphlet if, A, the statement is called to the attention of

10   an expert witness on cross-examination, or is relied on by

11   the expert on direct examination and the publication is

12   established as a reliable authority by the expert's

13   admission or testimony by another expert's testimony or by

14   judicial notice.     If admitted, the statement may be read

15   into evidence but not received as an exhibit."

16               MR. GREENE:    I will also note, Judge, just an

17   additional thing just came to my thought processes, which

18   are slow.

19               The rule of completeness.       I mean, I think the

20   whole chapter would have to be re-read in order to not take

21   something out of context, because you've got one page here

22   we can't really see what it was.        We don't know anything

23   about the Handbook of Forensic Neuropsychology.

24               MR. NESTLER:    Your Honor, for scheduling,

25   Dr. Askenazi, we wanted to let Your Honor know, will be our
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 17 of 176

                                                                          6461

1    second witness.     Agent Palian will be our first witness in

2    case that affects when Your Honor wants to talk about.

3                THE COURT:    How long do you think he'll be?

4                MR. NESTLER:    With Agent Palian, under an hour

5    probably total.

6                (Pause)

7                THE COURT:    Okay.   Let me just defer on this issue

8    for a moment.     Why don't we talk about the -- what has been

9    sent to me is Exhibit 10250 that contains some portions of

10   which, I gather, the defense is objecting to.

11               Mr. Woodward.

12               MR. WOODWARD:     Yes, Your Honor.

13               The messages from Mr. Meggs, in our view, are the

14   easiest to tackle.      The Court has already kept those out

15   previously.     So we appreciate the government's zealousness

16   in wanting to admit those now on rebuttal, but our argument

17   is quite simply that these messages reflect planning for

18   conduct that was covered in the seditious conspiracy conduct

19   that was arguably covered in the conspiracy charged in the

20   Rhodes case put not conduct that was covered in this

21   conspiracy.     And even to the extent that the government's

22   argument is that they reflect consciousness of guilt or

23   otherwise admission of the crime they allege occurred in

24   this conspiracy, then their probative value is outweighed by

25   their prejudicial effect of suggesting that the Oath Keepers
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 18 of 176

                                                                          6462

1    writ large were intending to come back and cause further

2    harm or commit other crimes.

3                THE COURT:    Okay.   Let's start with those.      These

4    are messages from -- this is what happens -- this is a

5    message from Rich Lupo to a group that includes Kelly Meggs

6    on January 6th at 7:08 p.m.       "What happens if House resumes

7    session tonight?" Lupo asks -- Lupo then says, "If House,"

8    Kelly Meggs responds, "We are going back," and then he says,

9    "A million of us."

10               So, Mr. Edwards.

11               MR. EDWARDS:    Yes, Your Honor, two principles at

12   play here in terms of admitting this set of messages.

13               We understand the Court's ruling at the time when

14   we've attempted to do this previously.         We're now after the

15   defense case in the rebuttal.        And this, the two principles

16   at play here are rebutting specifically the notion from the

17   defense case that has come in through cross-examination and

18   now in the witnesses they have presented, that the reason

19   that defendants went inside the United States Capitol was to

20   help anyone, whether it was help the two Oath Keepers at the

21   top of the stairs or to help people who may be in trouble

22   inside the Capitol Building.

23               These messages belie that notion that Mr. Meggs is

24   now talking about going back if the house resumes session.

25   So that's just an overarching principle of the government
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 19 of 176

                                                                          6463

1    being able to take messages from co-conspirators who these

2    defendants were with and rebut the notion that they went in

3    to help.

4                There are more specific reasons why we think these

5    are admissible.     One is that Connie Meggs has now taken the

6    stand and said her message to Patty Gee on the night of

7    January 6th was her watching the news.         Her message was that

8    they went to the Capitol to stop the vote.          These messages

9    corroborate or rebut Connie Meggs' point here.          Ms. Meggs

10   said that she was watching the news.

11               What Kelly Meggs is saying while in the hotel,

12   according to Connie Meggs, she went to the hotel and stayed

13   with Kelly Meggs the rest of that evening.          While she is

14   with Kelly Meggs, she is saying something that matches what

15   Connie Meggs said.      She says, "They went to the Capitol to

16   stop the vote."

17               Rich Lupo now says, "What happens if they resume

18   or continue," right?      They stopped the vote.      What happens

19   if they did it -- they re-start?

20               Mr. Meggs says, "We're going to back."

21               So that rebuts Ms. Meggs' point that she's just

22   watching the news while in the hotel room.          She testified on

23   direct and cross-examination that she went to the hotel and

24   stayed there after the curfew with Mr. Meggs but that that

25   message was just watching the news.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 20 of 176

                                                                          6464

1                While she's with her husband, her husband is

2    saying the same thing.      We'll go back if they re-start.

3                Two, there are -- I think where the analysis of

4    these kinds of messages being forward-looking and,

5    therefore, only being relevant to 18 U.S.C. 2384 is too

6    narrow.

7                For a specific purpose here:       The session is still

8    suspended at 7:08 p.m. and Mr. Meggs is acknowledging in

9    this message that it is still suspended but may re-start.

10               And the conspiracy charged here is that these

11   defendants joined other co-conspirators and agreed to stop

12   that proceeding from happening.        And so just because it

13   happens, these messages happen after their actions in the

14   Capitol, it is still directly relevant to the intent of

15   co-conspirators around them, that they have now testified

16   they were around all day and with all day and all night.             It

17   is relevant that these individuals say that we'll go back if

18   they re-start that night.

19               I think it is important to note that this

20   proceeding did not re-start and finish until 8:00 p.m. to

21   then 3:45 a.m.     So this is just within an hour of them

22   re-starting.

23               But I just -- I note and kind of reemphasize this

24   point, that it is now rebutting Ms. Meggs directly, that she

25   has put on the record that she was with her husband but she
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 21 of 176

                                                                          6465

1    was just watching the news.

2                MR. WOODWARD:     Starting with the last point that

3    Mr. Edwards made, which is, what is this conspiracy about?

4                I don't want to be misinterpreted as suggesting

5    that because these defendant are not charged with seditious

6    conspiracy, the evidence must be different.          No.

7                The difference is the scope of the conspiracy.           As

8    the Court has acknowledged from the outset of this case, the

9    scope of this conspiracy is much different, the time of this

10   conspiracy is much different.        It doesn't begin until

11   December, it doesn't begin at the earliest until December

12   19th.    And as the evidence has shown in this case again,

13   there is no plan to go into the Capitol until they actually

14   enter the Capitol.

15               At the very best, the government's position

16   appears to be that it was Caleb Berry at the huddle at the

17   steps of the Capitol who confirms there was any intent or

18   agreement to go into the Capitol.

19               And so while I appreciate the government's

20   position that there was some overarching plan to stop the

21   certification, that's not what the evidence bore out in this

22   case or, in my humble opinion, the other case.

23               THE COURT:    Can I just ask one question, which is,

24   why isn't Mr. Edwards right that what Kelly Meggs says here

25   at 7:08 on January 6th about going back, rebuts the idea
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 22 of 176

                                                                          6466

1    that they were there in the first place, that is, on the

2    afternoon of January 6th, to help.

3                He's talking about going back.       There's nobody

4    there they're going to help.       So what other reason is he

5    going there for or suggesting he's going there for.

6                MR. WOODWARD:     So I have two concerns with the way

7    that Mr. Edwards phrased it.       The first has to do with any

8    presumption that Ms. Meggs had any awareness of what

9    Mr. Meggs was doing.      I'm going to save my --

10               THE COURT:    Let's leave that aside.

11               MR. WOODWARD:     Good.

12               There's just so much we don't know about

13   Mr. Meggs' state of mind at that time.         We don't know what

14   his intention to go back and do was.         Could he possibly have

15   been referring to going back to providing the same level of

16   assistance that he was doing.         We don't know who this Lupo

17   person is.    Isn't it interesting that if the plan is to go

18   back, that the conversation is with Lupo and not with any of

19   the multitude of Signal chats about which we've heard so

20   much these last few weeks.

21               So this statement taken out of context, brought in

22   through an FBI agent, is going to confuse the jury.           And so

23   even to the extent that it is probative of what the intent

24   was that day, its prejudice is undue.         And these defendants

25   ought not suffer the misconception of what Mr. Meggs thought
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 23 of 176

                                                                          6467

1    or didn't think.     He's not a defendant in this case.

2    Mrs. Meggs is.     And I think the Court agrees that she's not

3    responsible for all the thoughts and actions of her husband,

4    absent proof that she was discussing this with her husband

5    that night.

6                Both Mr. Meggs and Mrs. Meggs gave interviews to

7    the FBI, right?     They didn't come in in this case, and we're

8    grateful for that, but it's not as if the government didn't

9    have an opportunity to talk to them about all this.           They

10   did.   And there is no evidence that Ms. Meggs was aware of

11   what was happening on Mr. Meggs' phone leading up to and

12   after January 6th.

13               THE COURT:    Okay.

14               Mr. Edwards.

15               MR. EDWARDS:    Yes, Your Honor.

16               THE COURT:    I thought you were going to say

17   something.

18               MR. EDWARDS:    I'm sorry, I thought you had a

19   question.

20               The only additional point I would just add is when

21   Mr. Woodward is focusing on the scope of the charged

22   indictment -- or the charged conspiracy, that's true, it

23   does begin in December.       It also goes through January 2021.

24               Now, we're not talking about January 31st

25   messages.    What is relevant here is we're talking about
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 24 of 176

                                                                          6468

1    messages that are within the time frame of the proceeding

2    still being in place and then continuing an hour later.              So

3    I wouldn't concede that it ends at 3:45 a.m. January 7th,

4    but at the latest, that proceedings does not finish until

5    January 7th, 3:45 a.m.

6                And, again, I just point out that this is direct

7    rebuttal to Ms. Meggs saying that she was watching the news

8    with her husband in the hotel room.         He's messaging the same

9    exact concept, that if it continues, they went there to stop

10   it, we'll have to go back.

11               MR. SHIPLEY:    I want to be heard just briefly,

12   because I think when we addressed issue one of the words she

13   used was hyperbole.

14               THE COURT:    Have a seat.    Have a seat.     I'm not

15   interested in hearing from anybody else.

16               I think Mr. Edwards is right in the following

17   sense.    You know, the defense has put on a theory, including

18   a witness that the intention of going to the Capitol was to

19   help or, at least, that's what one of the defense witnesses

20   thought Mr. Meggs might admit.        I think Mr. Parker suggested

21   that the reason Ms. Parker was going to the Capitol and

22   going inside the Capitol because to help.

23               And this rebuts that.      You know, what's

24   Kelly Meggs talking about, going back to the Capitol at

25   7:00, he's not going to talk about anybody to help anybody.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 25 of 176

                                                                          6469

1                But I'm going to keep it out, and that's because

2    this is a trial about these individuals, this is Mr. Meggs'

3    statement.    I understand they're all part of the same

4    conspiracy, but I want these individuals tried largely upon

5    their actions and the limited comments that I've allowed in

6    of other co-conspirators, some of which they would have

7    heard, these defendants would have heard.          These defendants

8    aren't on this text message.       Perhaps Ms. Meggs is with

9    Mr. Meggs at this time but we don't know that for sure.

10               I will also note that this is at 7:08.         This is an

11   hour after the curfew has been established by the mayor.

12   The odds that Mr. Meggs, in his bluster, was actually going

13   to go back out and somehow get to the Capitol and do

14   anything is completely fanciful.

15               And so for those reasons, I'll keep it out.

16               MR. EDWARDS:    Your Honor, may I make just one?

17               THE COURT:    Let's keep moving, because I've got to

18   get these folks in here.

19               What's next?    We've got the Rhodes statements to

20   Kellye SoRelle.     And what's the theory as to why they come

21   in at this point?

22               I suppose it's along the same lines.

23               MR. EDWARDS:    Correct.

24               And I think at this point in the trial, there

25   are -- we have attempted to show messages after the
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 26 of 176

                                                                          6470

1    proceeding, after these defendants' actions in the Capitol

2    with Kelly Meggs and other people, to show that the defense

3    theory through multiple witnesses is not correct.

4                THE COURT:    Can I interrupt you?

5                MR. EDWARDS:    Oh, sorry.

6                THE COURT:    Let's do this one at a time.

7                There are three messages between Stewart Rhodes

8    and Kellye SoRelle.      This is before January 6th.       They're

9    dated December 29th, 2020.

10               MR. EDWARDS:    Yes.

11               THE COURT:    Mr. Rhodes says to Kellye SoRelle,

12   "This will be D.C. Rally No. 3, getting kind of old, they

13   don't give a shit how many show up, and wave a sign 'pray or

14   yell'.    They won't fear us till we come with rifles in hand.

15   Only reason to go is so Trump knows we support him in taking

16   reg," r-e-g, "gloves off and kicking ass."

17               MR. EDWARDS:    And those are the only two,

18   Your Honor, we submitted to the defense last night.           We

19   chopped up multiple exhibits to try and figure out how to

20   organize this.     So right now in play are these two messages.

21               THE COURT:    There's a third.     I know.    There's a

22   third in the slide deck I have, which is, "That's why

23   I'm going.    It's to send him, in all caps, a message, not

24   Congress, I'm done talking to them."

25               MR. EDWARDS:    Right.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 27 of 176

                                                                          6471

1                THE COURT:    So those three?

2                MR. EDWARDS:    No.   Just those first two.

3                THE COURT:    Just the first two.      Okay.

4                MR. EDWARDS:    I think we kind of inartfully

5    chopped up our exhibits to give different numbers to make it

6    clear for the jury.      So it's the first two right now.

7                The reason I started the way I did is just to say

8    what we were attempting to do with those messages afterward

9    is to kind of show that there was no intent to help.           These

10   people would have -- you know, Your Honor is tracking.

11               This is along the same line.       It's just these are

12   now messages before the proceeding, so it's the same strand

13   of argument here, that we are attempting to rebut because

14   we believe we have plenty of messages to show the jury

15   through this evidence that these people were not talking

16   ahead of time or afterward about going in to help people.

17   And so these messages do that.

18               These are messages from the leader of the

19   conspiracy who was on-site on January 6th who was

20   orchestrating through Michael Greene and other deputies

21   underneath him about where to go, when, and what to do.

22               And Mr. Rhodes and Kellye SoRelle, who Mr. Greene

23   has now testified that is his protectee, are discussing

24   ahead of January 6th concepts of putting fear in

25   Congress's -- you know, making Congress fear them, bringing
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 28 of 176

                                                                          6472

1    rifles in hand.

2                The only reason to go -- this is direct rebuttal

3    to this point -- the only reason to go to D.C. is so Trump

4    knows we support him, and taking our gloves off and kicking

5    ass.

6                That's not -- I don't mean to be too literal, but

7    the reason to help people does not fit into this only reason

8    category that Mr. Rhodes is putting out there to a

9    co-conspirator in furtherance of the conspiracy before

10   January 6th and well within the timeline of the charged

11   conspiracy.

12               THE COURT:    Or to do security?

13               MR. EDWARDS:    Or to do security, correct.

14               MR. GREENE:    Your Honor, may I?

15               I have a request that the government provide us

16   with the next page, page 496 of this handbook so that I can

17   take a look at it, the rule of completeness.          I might

18   withdraw my objection.      It cuts off right at mid-sentence,

19   Judge.    It's something that looks right in line with your

20   ruling about cues, and look at the last line.

21               MR. NESTLER:    I don't have the next page.       This is

22   the paragraph that mattered, which is the expert defining

23   the term "mind blindness."

24               MR. GREENE:    This whole -- the whole --

25               THE COURT:    We're checking to see if our library
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 29 of 176

                                                                          6473

1    has it.

2                MR. GREENE:    Thank you, Judge.

3                MR. WOODWARD:     I don't have anything to add.

4                THE COURT:    Anybody else want to be heard about

5    Mr. Rhodes' texts to Kellye SoRelle?

6                MR. BRENNWALD:     Your Honor, I would note on a

7    different topic that I sent out my comments on jury

8    instructions last night.       I thought they went to the Court,

9    but they didn't.     So I sent them to Ms. Wilson this morning,

10   just so the Court knows.       There's about nine things to

11   cover.    Nothing complicated.

12               MR. WOODWARD:     Okay.   I'll add one thing.     It's

13   the reference to rifles.       That's -- yeah.     Nothing if not

14   predictable, I hope.

15               THE COURT:    Yes, it is the reference to rifles,

16   you're exactly right.

17               Go ahead.

18               MR. EDWARDS:    Agreed.    That's why we want it.

19               THE COURT:    I understand.

20               MR. EDWARDS:    Right.

21               THE COURT:    I get it.

22               MR. EDWARDS:    And frankly, the defense put

23   witnesses on who, in the government's view, incredibly

24   testified about not seeing the rifle cases.          And, you know,

25   didn't have any role in the QRF and didn't have any
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 30 of 176

                                                                          6474

1    knowledge, including Mr. Greene, who says he didn't have any

2    knowledge about a QRF and it wasn't part of his plan.

3                But this is the person who's paying him to be

4    there for January 6th saying, you know, these are the only

5    reasons to be there.

6                MR. COOPER:    Not all defendants.

7                THE COURT:    I think I've got to let this in.

8                Mr. Shipley.

9                MR. SHIPLEY:    Obviously the problem with this one

10   is, by its own date, it's three days before Mr. Greene is

11   added to the D.C. op chat, and there's no foundation that

12   Mr. Greene ever talked to Mr. Rhodes about this or knew

13   anything about it.      So I don't know how it rebuts

14   Mr. Greene; that Mr. Rhodes might have had these crazy

15   ideas, and that's populated throughout the case.           We don't

16   need more of that.      It's cumulative, if nothing else, on

17   that issue.     And it doesn't directly rebut anything

18   Mr. Greene says.     It's not inconsistent with what he said

19   because of the timing.

20               THE COURT:    Was there any evidence in the defense

21   case about the purposes of the QRF, other than Mr. Greene's

22   general statements about his understanding of what a QRF

23   entails?

24               MR. WOODWARD:     Mr. Morelock.

25               MR. SHIPLEY:    I'm sorry, Your Honor.      I didn't
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 31 of 176

                                                                          6475

1    hear the whole question.

2                THE COURT:    The question was, was there any

3    evidence in the defense case about the purpose of the QRF,

4    other than Mr. Greene's general statements about what he

5    understands a QRF to be?

6                MR. SHIPLEY:    Not from him because he said he did

7    not plan on a QRF.

8                THE COURT:    That's why I said "other than

9    Mr. Greene."

10               MR. SHIPLEY:    Oh, I'm sorry.

11               MR. WOODWARD:     Yeah.

12               I mean, Mr. Morelock certainly testified that he

13   brought two firearms with him to Washington.          He unloaded

14   them at the QRF.     I believe they were pistols, not long

15   arms.    I don't recall that he said that the purpose was --

16   if he said anything, it would have been that the QRF was

17   reactionary.

18               But I don't recall if I would have asked him that

19   as opposed to simply -- I know I deliberately wanted to get

20   out from him that he brought the firearms.          I didn't want

21   that coming out on cross for the first time.          But

22   I don't recall if I asked him about whether the QRF was

23   reactionary.     I might have.

24               MR. MACHADO:    Your Honor, in Bennie Parker's case,

25   there was reference to the QRF, which Mr. Parker said he
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 32 of 176

                                                                          6476

1    didn't know what it was, from Jessica Watkins' email or

2    text.

3                MR. EDWARDS:    I believe Mr. Parker also testified

4    that he brought firearms but, you know, then dropped them

5    off somewhere else.      I think Mr. Greene then testified --

6    I know you're asking about other than Mr. Greene.

7                Mr. Greene testified pretty clearly that purposes

8    of QRFs are only reactionary and that these old people could

9    have never done this and that he knew that there were talks

10   of a QRF but that then he was not aware of any for

11   January 6th.     Mr. Morelock's testimony regarding bringing

12   rifles.    And I apologize, I missed one issue.        Mr. Parker

13   had talked about always bringing firearms and hoping to do

14   some target practice shooting when he's in the area.

15               And so this, again, I think there are two steps in

16   the analysis.     One is a hearsay.     We think these are two

17   co-conspirators days before January 6th describing what to

18   do.

19               THE COURT:    I don't think the admissibility is an

20   issue.

21               MR. EDWARDS:    Right.

22               And then the relevance in terms of rebuttal again

23   is this matrix of evidence that the defense has put forward

24   that, A, we're focused on helping people and that QRFs are

25   not part of an offensive plan for anything related to
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 33 of 176

                                                                          6477

1    January 6th.

2                This -- again, we're just attempting to put forth

3    evidence that is clear to the government for the jury to see

4    that this defense does not hold water.

5                MR. WOODWARD:     And I don't think relevance is an

6    issue either.     It's the -- does the relevance outweigh the

7    prejudicial effect?      And so I'd be interested in hearing the

8    government's view on why the prejudice is warranted.

9                MR. EDWARDS:    Well, I'm happy to give that view.

10               All of this evidence is, of course, prejudicial.

11   We are desperately trying to show this jury that that

12   defense is not --

13               THE COURT:    Yes.   I get it.    I get it.    I don't

14   think it needs to be articulated.

15               MR. EDWARDS:    Thank you.

16               THE COURT:    Let's just move forward for a second.

17   I want to just try and think about this as a whole here in

18   terms of what's coming in and how much and what quantity.

19               JC, if you could just tell the jury we're still

20   going to be another 15 minutes or so.

21               There are then statements the government wishes to

22   introduce from Stewart Rhodes at 7:30 p.m. on the night of

23   January 6th, "Thousands of ticked-off patriots spontaneously

24   marched on the Capitol and sent the message that they will

25   not live under an illegitimate Chi-Com puppet regime.           You
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 34 of 176

                                                                          6478

1    can't handle that, hit the door.        You ain't seen nothing

2    yet."

3                Mr. Meggs responds about four messages later, "We

4    aren't quitting.     We are reloading."

5                Mr. Rhodes, about two hours later, says, "Redress

6    of grievances is step one."

7                Mr. Meggs immediately -- I'm sorry.        Mr. Meggs

8    says some hours later, "Redress of grievances is step one."

9    Mr. Rhodes immediately responds, "Declaration of

10   illegitimacy is step one."

11               And then later on in the evening at 11:31,

12   Mr. Rhodes says, "Patriots, it was a long day, but a day

13   when patriots began to stand, stand now or kneel forever,

14   honor your oaths, remember your legacy."

15               MR. EDWARDS:    Yes, Your Honor.

16               So starting with the first message and going down.

17               So the first message, there's going to be a theme

18   here, that we, the government, believes these messages rebut

19   the notion that these defendants and their co-conspirators

20   went into the Capitol to help people and that that was their

21   mission that day was protective security details that then

22   transformed upon seeing a riot into helping people inside

23   the Capitol Building.      So that principle then applies to

24   each of these messages.

25               Mr. Rhodes messages to a group chat that includes
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 35 of 176

                                                                          6479

1    multiple co-conspirators and one defendant on the night of

2    January 6th saying why these people did this.          And it was to

3    send a message that they will not live under an illegitimate

4    Chi-Com puppet regime.      And then he says, "You can't handle

5    that, hit the door, you ain't seen nothing yet."

6                He's not talking about -- he's talking about both,

7    about what they did and why, which is relevant to rebut

8    exactly what the defense has put forth, and then that they

9    would do it again and that this is not a message that's

10   talking about people marched on the Capitol and sent a

11   message that, you know, you don't attack cops because we

12   backed the blue.     This is directly relevant to why the

13   leader of the conspiracy messages the co-conspirators,

14   including a defendant, why they did this.

15               And in the government's view, what we, you know,

16   intend to argue to the jury here is that Greene and Rhodes

17   are in simpatico, here.       Right?   Greene is with Rhodes in

18   November.    He's with Rhodes in December.       He is at meetings

19   where Rhodes is taking about storming the White House

20   grounds.    He attempted to get on the stand and explain

21   himself away to the jury by distancing himself from

22   Mr. Rhodes and his crazy ideas.        But Mr. Rhodes is messaging

23   a group chat with Mr. Greene that night, same theme; that

24   this is not an organization or group of people who were

25   attempting to help.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 36 of 176

                                                                          6480

1                So I'm happy to just keep going and just go

2    through each message.

3                THE COURT:    That's okay.

4                MR. EDWARDS:    Really, the last thing I would just

5    say, Your Honor, is, Mr. Meggs, I understand that this is

6    not a co-defendant, again, just taking it step by step.              We

7    think these are admissible.       These are not hearsay under the

8    rules.    And then in terms of the 403 analysis, which is

9    I think where the Court is residing on some of these

10   decisions, this is not Mr. Meggs saying, we aren't quitting

11   helping people and we're reloading our med kits with

12   bandaids.    That's not what Mr. Meggs is messaging this

13   group.    Right?   He is telling his group, including a

14   defendant, Mr. Greene, "We're not quitting, we're

15   reloading," and that is directly rebutting this notion that

16   they went into the Capitol to help anyone.

17               And we think it's relevant.       We think this is a

18   couple hours after they left the Capitol building, it is

19   while he is in the hotel with Ms. Meggs.         I understand the

20   Court's view that Ms. Meggs may not be seeing what he's

21   messaging on the phone, but these are inferences the jury

22   can draw, right?     These are opportunities for us to tell the

23   jury these people are together all day, and she testified

24   she talked with him all day.

25               And the defense can argue the weight of that
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 37 of 176

                                                                          6481

1    evidence, saying to the jury, these people are in a hotel

2    room, they're not talking about this stuff.          They're free to

3    do that.

4                And then the rest of these messages, they follow

5    the same theme here, right, that step one was just

6    completed.    Mr. Meggs believes what they just did was step

7    one and that was a redress of grievances.          And Mr. Rhodes

8    clarifies, they're declaring the regime illegitimate.

9                THE COURT:    Okay.

10               MR. WOODWARD:     So this text, we have a statement

11   by a government agent describing it as rhetoric, the

12   reloading text.

13               Agent Harris testified in the first trial after

14   being shown this message, "We aren't quitting, we're

15   reloading," that, yes, this is per se rhetoric.           So...

16               THE COURT:    Okay.   All right.    I don't know how

17   that got through the objection wickets, but okay.

18               MR. EDWARDS:    I do not recall that, Your Honor.

19   I'm happy to go back, but that's not before this jury.

20               MR. WOODWARD:     Yet.

21               THE COURT:    All right.

22               The Rhodes to Kellye SoRelle text messages, I will

23   allow, they are co-conspirator statements, they are in

24   furtherance of the conspiracy that's been alleged here.

25   It's also statements in furtherance of the parallel
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 38 of 176

                                                                          6482

1    seditious conspiracy, and it doesn't have to be the actual

2    charged conspiracy that makes the co-conspirator statement

3    admissible.

4                Now, granted, none of other defendants in this

5    case are on the text message between Mr. Rhodes and

6    Ms. SoRelle; however, Mr. Rhodes is the leader of the

7    organization and Ms. SoRelle is also a leader of the

8    organization, she is someone that Mr. Greene protected.

9    This may have been before Mr. Greene was asked to come to

10   D.C. on January 6th, but it is not before others had made

11   the decision to come to D.C. on January the 6th.

12               Importantly, the defense, during its case,

13   suggested two things:      One, that the reason these defendants

14   may have gone into the Capitol Building was to provide

15   assistance.     And, two, or perhaps even more importantly with

16   respect to these messages, that the reason to come to D.C.

17   was, one, to provide security, and, two, that the purpose of

18   the QRF was purely defensive in nature and that it was only

19   reactionary.

20               This text rebuts that notion.       And, yes, it's

21   Mr. Stewart Rhodes' sentiments being expressed to

22   Kellye SoRelle, but it is a statement in furtherance of a

23   conspiracy with another co-conspirator.         It also reflects

24   Mr. Rhodes' state of mind under 803(3) in terms of planning,

25   preparation, intent.      And although it is undoubtedly
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 39 of 176

                                                                          6483

1    prejudicial, its prejudicial quality does not substantially

2    outweigh its probative value.        So those two will come in.

3                Everything else will be kept out under the same

4    rationale I articulated earlier, which is that these are

5    statements after these defendants have left the Capitol,

6    they are statements of that evening, they're not statements

7    of any particular defendant; that is, I understand the

8    termination of the conspiracy is a little bit ambiguous;

9    nevertheless, insofar as the objective of this conspiracy is

10   to obstruct the vote count, these defendants and their role

11   in it has ended.     They've left the Capitol building.        Nobody

12   is suggested to have done anything in furtherance of that

13   conspiracy, even if the government's contention is it went

14   beyond their exit from the Capitol Building.

15               Mr. Rhodes' statements, Mr. Meggs' statements

16   after the fact are largely forward-looking.          Yes, they are

17   reflective of their state of mind of the events of that day,

18   but as I said, they are largely forward-looking and they are

19   not responded to by any of these defendants.          And so while

20   there may be some probative value to these statements, for

21   those reasons that I've just articulated, I think the

22   prejudicial value of them substantially outweighs the

23   probative value -- excuse me, the prejudicial impact of them

24   substantially outweighs the probative value of those

25   statements.     Okay?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 40 of 176

                                                                          6484

1                MR. EDWARDS:    Thank you, Your Honor.

2                THE COURT:    So those will be the rulings with

3    respect to this set of exhibits.

4                Did we have any success with the library finding

5    that document?

6                MR. NESTLER:    Your Honor, I can short-circuit

7    that.    We found it online and we sent an e-mail to

8    Mr. Greene.

9                THE COURT:    So did Ms. Wilson.

10               MR. BRENNWALD:     Your Honor, just for the record,

11   Mr. Parker objects to the introduction of the statements the

12   Court said it will allow.       They're so far removed from him

13   and his involvement, they certainly shouldn't be admitted

14   against him.     It's almost tantamount to having the

15   President's discussion with the Secretary of Defense be

16   attributable to some low-lying soldier in Kentucky.           I think

17   it's just so far removed from him that we object just for

18   the record.

19               THE COURT:    I will note, Mr. Brennwald, that your

20   client did testify that the reason he brought the guns with

21   him was to target shoot.       And it is true that this is not

22   your client's statement, this is a conspiracy, and the

23   overall purposes of the conspiracy and the intent of the

24   alleged conspirators is relevant even though the statement

25   did not specifically come from Mr. Parker.          So I don't think
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 41 of 176

                                                                          6485

1    there's any issue there.

2                Now, one final thing before we bring with the jury

3    in.   I think -- I thought about Mr. Cooper's statement

4    yesterday in terms of Ms. Steele and an instruction that

5    none of this evidence can be used against Ms. Steele.           I'm

6    inclined to agree, unless the government thinks otherwise.

7    I'm happy to hear otherwise.       But give me a reason why it

8    should come in against Ms. Steele since she hasn't presented

9    any evidence in her defense.

10               MR. EDWARDS:    I think there's a tension here that

11   is at play; that multiple co-conspirators of Mrs. Steele's

12   did put on a case.      And so when evidence comes in against

13   those co-conspirators, there's not really a principle of

14   co-conspirator law at play here that would shield Ms. Steele

15   from being part of that group still simply because she

16   didn't put on a case.

17               I see the tension, though, because I recognize

18   it's a rebuttal case, and so we're rebutting certain

19   arguments.

20               I don't think that wins the day in terms of

21   hindering the government, because once the evidence is in,

22   I think the evidence is in against co-conspirators, which

23   would include Ms. Steele, despite her not putting on a case.

24   And so I think the government should be free to argue that

25   because it's a leader of the conspiracy, if it's trickling
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 42 of 176

                                                                          6486

1    down and applicable to Mr. Parker, it's against him the same

2    way it's against Ms. Steele, despite her not putting on a

3    case.

4                THE COURT:    Okay.

5                I'm going to instruct the jury that the evidence

6    that's presented in rebuttal cannot be used against

7    Ms. Steele.     If this had been a single defendant case and

8    Ms. Steele had rested without putting on any evidence, none

9    of this would come in against her, and I think that's,

10   frankly, as simple as the analysis needs to be.

11               Mr. Cooper did very little cross-examination, and

12   none of it, to the extent he did any, was to suggest the

13   reasons that I had let this in with respect to the

14   defense -- the rebuttal of those defendants that did put on

15   a case, and I just think allowing the jury to consider this

16   evidence against Ms. Steele is not only improper but would

17   be highly prejudicial, given that she has made the decision

18   not to create an issue with respect to -- create the issues

19   that the other defendants have in presenting their

20   cases-in-chief.

21               That raises the question of Mrs. Parker as well,

22   insofar as she's submitting some exhibits.          I don't know

23   what they are.     I don't recall what they are.

24               MR. MACHADO:    The only exhibits that -- well,

25   they're mostly pictures and some videos of the one that
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 43 of 176

                                                                          6487

1    we've seen at the steps of the Capitol and the other with

2    regard to when they were met by police afterwards where they

3    cooperated with them.

4                MR. EDWARDS:    I believe Mr. Machado also did a

5    direct and put a witness on in his case.         So I'm not sure if

6    she is in the same position as Ms. Steele in that way.

7                THE COURT:    He did question Mr. Parker, he

8    questioned.

9                MS. HUGHES:    He did, Your Honor.

10               THE COURT:    He did question Mr. Parker.

11               MR. MACHADO:    I did, Your Honor, although not --

12   not specific to the points that I think we're talking about,

13   but there was some presentation of evidence.

14               MS. HUGHES:    Your Honor may recall he directed and

15   cross-examined Mr. Parker.

16               THE COURT:    Just while we're on the topic, I don't

17   think I gave this instruction, but a number of these other

18   exhibits are specific to certain defendants and the

19   examination, cross-examination, and tying it up with respect

20   to particular defendants.

21               Would the government agree that those exhibits are

22   admissible only against those defendants?          For example, we

23   have a number of where there's two or three web history

24   searches with respect to Mr. Isaacs; an email, Mr. Isaacs.

25   There is the chat summary of Mr. Greene.         Then there is the
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 44 of 176

                                                                          6488

1    red receipt messages from Mr. Greene of the "D.C. Op Jan. 6"

2    chat.    I think those are admissible only against those

3    defendants.

4                MR. EDWARDS:    No, Your Honor, I think we would

5    argue that these are evidence of the co-conspirators intent,

6    particularly those pieces of evidence that came in that are

7    before January 6th.      So if I remember correctly, some of the

8    web searches from Mr. Isaacs were before January 6th.

9                And then Mr. Greene's read receipts of

10   "D.C. Op Jan. 6" chats and other chats, all of this is

11   awareness and intent that would come in against other

12   co-conspirators, the same way statements that came in

13   through the agents as we were progressing through the

14   November and December timeline would have.          We used them on

15   cross because they became relevant at that point.           But now

16   we'll just conditionally admit.        But these are -- this is

17   evidence that we could have admitted in our case-in-chief

18   because it's actions and statements of some of the

19   co-conspirators before the 6th.

20               THE COURT:    I mean, I will confess, I don't know

21   that I've ever been in this situation where I've got

22   multiple co-defendants each presenting their own case, and

23   if the analysis were to be, well, would this evidence come

24   in against another defendant if this were the only defendant

25   at trial, if that's sort of the framework, then none of the
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 45 of 176

                                                                          6489

1    evidence that comes through Mr. Greene would have been

2    admissible or usable at a trial, for example, against

3    Mr. Isaacs, and the same is true with respect to anything

4    that was presented against Mr. Isaacs.

5                I mean, you're rebutting their cases and you're

6    not rebutting the defense in its entirety, it seems to me.

7    I think the rebuttal case the government is presenting is a

8    collective one, but it is an individual rebuttal as to

9    individual defendants' presentations.

10               MR. EDWARDS:    I think that's -- I understand that

11   principle.

12               THE COURT:    So you could argue -- sorry to

13   interrupt.

14               MR. EDWARDS:    No, no.

15               THE COURT:    You could argue to the jury based upon

16   your rebuttal evidence that you can't believe Mr. Isaacs

17   didn't possess the requisite intent because of our rebuttal

18   evidence, but you couldn't then argue that Mr. Greene

19   possessed the requisite intent because Mr. Isaacs did.

20               I mean, I think it has to be that narrow.

21               MR. EDWARDS:    I think that analysis applies to the

22   scope of what we can introduce in our rebuttal case.           I

23   would agree with the Court there, such that if a defense

24   opens a door to something, then that is the analysis to,

25   okay, can something -- can the government take something and
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 46 of 176

                                                                          6490

1    use it in its rebuttal case.

2                I think that analysis is divorced from the

3    followup question of, then, what can the government now

4    argue to the jury.      That's just how it got through the door.

5    It came through the door because the defense opened it and

6    we'll rebut it.

7                THE COURT:    Do you mean to say that one defendant

8    can open the door to evidence against other defendants

9    through their presentation of evidence?         I don't know that

10   that's accurate.

11               MR. EDWARDS:    I don't know that it's the right

12   analysis to say that because there are -- that we should

13   harken back to if it was just one defendant.

14               THE COURT:    I mean, it runs up against the general

15   principle that once something is in evidence, it's in

16   evidence for all purposes.       But --

17               MR. EDWARDS:    Right.

18               And I don't know that it's the right analysis to

19   say, we should just assess whether or not this would have

20   come in had one defendant been here at trial.          I say that

21   only because, two things.       One, this is a conspiracy case,

22   and so I'm not sure that it's right to say that certain

23   evidence wouldn't have come in against Mr. Isaacs, because

24   they were co-conspirator statements and actions.           And so we

25   would argue that some of the evidence may have been
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 47 of 176

                                                                          6491

1    applicable even if they were standing alone.

2                But then, two, more generally, once other

3    defendants start putting in this kind of matrix of a

4    rebuttal -- or a defense case, I think the analysis is

5    twofold.    One is, what can the government put in in its

6    rebuttal case?     That door seems to be narrow.       But then once

7    it's in, I think -- and I understand your point that the

8    other defendants who chose not to put on a case, it doesn't

9    seem equitable to them.       They have the opportunity to cross

10   these witnesses that the other defendants put on, especially

11   if it implicated their clients.

12               THE COURT:    Right.   But isn't that the issue?

13   I mean, in a sense, I didn't let them cross unless it

14   implicated their clients, and now the government wants to

15   stand up and say I can use the evidence that otherwise I

16   didn't let them cross on against their clients, and I think

17   there's a real tension there.

18               Look, I don't know what the rule is, if there is a

19   rule.    I'm going to exercise the better part of caution and

20   allow the government only to use and admit specific evidence

21   that's being brought up in rebuttal with respect to evidence

22   that they are rebutting as to each individual defendant that

23   brought forward that evidence.

24               MR. EDWARDS:    Let me just highlight one last

25   thing, Your Honor.      I know you want to get this jury out
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 48 of 176

                                                                          6492

1    here.

2                Some of those exhibits that the Court is

3    referencing here in terms of the conditionally admitted

4    exhibits, those were used to impeach the defendant.

5    So I think there's a second -- there's this separate concept

6    of can -- when we use that to impeach the defendant who took

7    the stand in front of the jury, is the government able to

8    tell the jury that you're able to take the demeanor and the

9    consciousness of guilt and the reasons why that defendant

10   lied and apply it to other defendants?         I think the answer

11   is yes.

12               THE COURT:    I don't think that's a problem.

13   I mean, I think if -- if what you're saying is you can't

14   believe Mr. Isaacs because he told you X and you heard Y, I

15   don't know that you're then going to say that you can't also

16   believe Mr. Greene.      I don't think you'd make that argument,

17   but you would say that it's evidence of his participation in

18   the conspiracy and the existence of one.

19               MR. EDWARDS:    Right.

20               THE COURT:    And I think that's --

21               MR. EDWARDS:    That this group overall has a reason

22   to lie.

23               THE COURT:    I think that's fine.      I don't think

24   there's any issue in terms of attacking credibility and what

25   it means for the jury's evaluation.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 49 of 176

                                                                          6493

1                But in terms of treating it as substantive

2    evidence with respect to other defendants, look, I'm just

3    reluctant.    And absent some clear guidance on the issue,

4    I'm going to err on the side of caution and not -- I'm going

5    to err on the side of caution.

6                MR. EDWARDS:    Understood.     Thank you, Your Honor.

7                THE COURT:    Okay.

8                So I think the only thing that leaves open in

9    terms of how we tie this all up is the Rhodes,

10   Kellye SoRelle statements and whether they come in against

11   Ms. Parker.

12               Again, I'm just going to err on the side of

13   caution here and hold that she hasn't opened the door to

14   those statements, whereas the other defendants in their

15   presentations, with the exception of Ms. Steele, have.

16   Okay.

17               MR. EDWARDS:    I'm sorry, Your Honor.      I missed

18   that.    Ms. Parker has not?

19               THE COURT:    She has not, on the Rhodes,

20   Kellye SoRelle emails -- or text messages.

21               MR. EDWARDS:    Okay.    Our only position was that by

22   calling Mr. Parker and then also crossing and then also,

23   I think, even redirecting, he's one of the individuals who

24   left the house with a rifle in hand.

25               THE COURT:    I'm doing this a bit on the fly.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 50 of 176

                                                                          6494

1                I don't remember what the examination was, so...

2                MR. EDWARDS:    I believe --

3                MR. GREENE:    Your Honor, I think that Dr. Askenazi

4    is in the courtroom, and I don't think that's appropriate.

5                MR. NESTLER:    She is in the courtroom and she's an

6    expert.    I don't see any reason why the government's expert

7    cannot view other witnesses' testimony.         It's certainly

8    proper for experts to do so.

9                MR. GREENE:    The rule of sequestration was invoked

10   and there was no exception, except for her to hear

11   Dr. Sperry's testimony.

12               THE COURT:    Okay.   We're not exactly talking about

13   something that is pertinent to her right now, but I'll ask

14   Dr. Askenazi to just step outside for a moment.           Thank you.

15   We'll be with you momentarily.

16               MR. GREENE:    I'm sorry, Judge, I didn't know if we

17   were going to -- thank you.

18               MR. MACHADO:    Your Honor, the only thing that

19   I think is related to the presentation of the evidence was

20   that Mr. Parker indicated that he did not share the

21   communications or was aware of the communications with

22   Ms. Parker.     And the government didn't produce anything to

23   the contrary.

24               THE COURT:    It's not exactly the analysis,

25   Mr. Machado.     The question is what you opened the door in
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 51 of 176

                                                                          6495

1    your case.

2                MR. EDWARDS:    I know you're tired of hearing from

3    me.

4                The last point, and just fortunately, I could do

5    this on the fly, too, and think back to what Mr. Machado

6    elicited from --

7                THE COURT:    I'm looking at it right now.

8                MR. EDWARDS:    Yeah, Mr. Parker.

9                One of the reasons I understand the Court is

10   admitting some of this evidence is because it rebuts the

11   notion that people went in to help, including Ms. Parker.

12   Certainly Mr. Machado put forth evidence that Ms. Parker,

13   that was one of the reasons Ms. Parker went in, when

14   Mr. Machado asked Bennie Parker about kind of the med kit

15   and the gear and what he thought she may be doing going

16   around the building and what she was going to be doing.

17               I confess, I don't know -- I don't think this was

18   during Mr. Machado's questioning, but I recall Mr. Parker

19   testifying about one of the firearms he brought being from

20   Ms. Parker.     But I admit, I don't recall that being in

21   Mr. Machado's questioning.

22               MS. HUGHES:    And you may recall he introduced a

23   scuba diving medical aid card, so the thrust being that she

24   was equipped to provide assistance, medical assistance, the

25   day of.    And there was the thrust.      That was actually the
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 52 of 176

                                                                          6496

1    main point of his direct.

2                THE COURT:    All right.    Just looking back at the

3    examination Mr. Machado conducted of Mr. Parker, there was

4    examination concerning what Mr. Parker, and he actually used

5    the word "we," that they had seen stuff in November, they

6    didn't essentially want to be harassed and they were

7    concerned about safety in Washington, D.C.

8                There was the issue that Ms. Parker was certified

9    in terms of first aid.

10               Then there were questions elicited about what was

11   discussed in the car ride with Jessica Watkins.           "So along

12   the way, did you hear Jessica or Donovan talk about going

13   into the Capitol or stopping the steal.         No, no.    They

14   talked about us doing, like escorting people or doing like

15   security stuff, something like that."

16               They did say that and talked about it.

17               "Did either of you put any objection to helping

18   with security?"

19               That was sustained.

20               I asked, "Did you say that you didn't want to help

21   as far as the security is concerned?"

22               The answer was, "No.      No, I didn't have any

23   objections to doing something like that."

24               Can I ask, was the statement that you all read

25   about the guns that Mr. Parker -- or that were brought, was
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 53 of 176

                                                                          6497

1    that a statement that was read only on behalf of Mr. Parker

2    or both defendants?

3                MS. HUGHES:    Both defendants.

4                And Mr. Parker's testimony was that he brought

5    three guns.     One was for --

6                THE COURT:    And was that statement introduced in

7    the defense case or in the government's case?

8                MS. HUGHES:    I believe it was ours.      I can

9    double-check, though.      This is -- I can double-check with

10   the transcript.

11               THE COURT:    Okay.

12               Look, given my review of Ms. Parker's examination

13   of Mr. Parker in Ms. Parker's case, I will allow the

14   Rhodes/SoRelle conversation to be used to rebut the case.

15   There is discussion or suggestion in here that, at least on

16   the car ride to Washington, D.C., the purpose of coming to

17   Washington, D.C. and why they were there was to do security

18   and for no other reason.       And again, this is -- ultimately,

19   it's going to be the jury's question as to what the overall

20   purpose and intent was and aim was of the collective

21   conduct.

22               But given the introduction by Ms. Parker of

23   evidence to suggest that her understanding was that she was

24   there for security and that she had the capacity to assist

25   people, which bolstered the idea that her purpose in going
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 54 of 176

                                                                          6498

1    into the Capitol was to help, which was the suggestion

2    through Mr. Parker's case, I'll allow that evidence to be

3    used against Ms. Parker -- excuse me, Ms. Parker as well,

4    okay?

5                MR. BRENNWALD:      Your Honor, just so I understand,

6    is the Court saying that Mr. Parker should have been aware

7    of the conversations between Stewart Rhodes and

8    Kellye SoRelle?

9                THE COURT:    No.

10               MR. BRENNWALD:      And should have somehow known that

11   it wasn't about security but it was about whatever

12   Stewart Rhodes was telling Kellye SoRelle and that he must

13   have told Jessica Watkins who then must have told

14   Mr. Parker?

15               THE COURT:    Mr. Brennwald, it's a conspiracy.

16   Conspirators don't have to all be part of the same

17   communications, right?      So this is Mr. Rhodes' planning,

18   preparation, co-conspirator statements, which are admissible

19   against other members of the alleged conspiracy.           It doesn't

20   matter that they weren't part of that conversation.

21               I mean, you can argue in closing that there's no

22   evidence to suggest he was part of the conversation, but

23   under the conspiracy law, it comes in against your clients.

24               MR. BRENNWALD:      Okay.

25               THE COURT:    Okay.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 55 of 176

                                                                          6499

1                All right.    Let's bring our jurors in.

2                MR. NESTLER:    Your Honor, can Dr. Askenazi watch

3    the portion of the testimony regarding Mr. Isaacs?           She has

4    seen the videos before and no other portion of the testimony

5    from Agent Palian.

6                MR. GREENE:    We object, Judge.     I think it would

7    be inconsistent with your ruling yesterday, with all due

8    respect, as I understand it from Mr. Rossi.

9                THE COURT:    I'm not sure what ruling you're

10   referring to, but --

11               MR. GREENE:    That Dr. Askenazi was not supposed to

12   discuss the videos.

13               THE COURT:    Oh, right.    But this doesn't have to

14   do with the videos.

15               MR. GREENE:    I believe Agent Palian is going to

16   play the videos, Judge.

17               THE COURT:    Oh, yeah, that's right.      You're right

18   about that.     Okay.

19               MR. NESTLER:    She's seen it before.

20               THE COURT:    I know she's seen it before.       Let's

21   just keep her outside.      She doesn't need to see it.       It's

22   not going to have one thing or another to do with her

23   testimony.

24               MR. GREENE:    Thank you, Judge.

25               MR. MACHADO:    And, Your Honor, Mr. Nestler and
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 56 of 176

                                                                          6500

1    I worked out the confrontation issue with regard to

2    Ms. Parker.

3                THE COURT:    Right.    I saw that that was -- that

4    the reference to the patches was redacted.

5                MR. NESTLER:    Right.    Yeah.   We dropped the audio

6    for about three seconds.

7                THE COURT:    Right.

8                MR. MACHADO:    Thank you.

9                COURTROOM DEPUTY:      Jury panel.

10               (Jury entered the courtroom.)

11               THE COURT:    Okay.    Good morning, everyone.     Please

12   be seated, everyone.      Let's start with off an apology.

13   Sorry to make you all wait so long this morning.           Just some

14   very thorny evidentiary issues I needed to deal with this

15   morning, and so we are ready to begin with the government's

16   rebuttal case.

17               Throughout this rebuttal case, I'll be giving you

18   some instructions about the evidence that's being presented

19   in the rebuttal case and against which defendants it can be

20   used against in your deliberations, so let me provide you

21   with an instruction at the beginning which is that the

22   evidence that's being presented in the rebuttal case by the

23   government cannot be used against Ms. Steele, that is, any

24   of the evidence that you're about to hear in the rebuttal

25   case cannot be used against Ms. Steele, okay.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 57 of 176

                                                                          6501

1                MR. NESTLER:    Thank you.

2                The United States calls Special Agent

3    Michael Palian.

4                                    - - -

5    SA MICHAEL PALIAN, WITNESS FOR THE GOVERNMENT ON REBUTTAL,

6    HAVING BEEN PREVIOUSLY SWORN, RESUMED THE STAND AND

7    TESTIFIED FURTHER AS FOLLOWS:

8                             DIRECT EXAMINATION

9                                    - - -

10                                   - - -

11   BY MR. NESTLER:

12         Q     Good morning, sir.

13         A     Good morning, Mr. Nestler.

14         Q     Could you please state your name again for us.

15         A     My name is Michael Palian.       Palian is spelled

16   P-a-l-i-a-n.

17         Q     This is your third time testifying in this trial?

18         A     In this trial.

19         Q     Good morning.

20         A     Good morning.

21         Q     Let's talk about Defendant William Isaacs.         Were

22   you involved in a meeting with him on March 18th of 2021?

23         A     Yes, I was.

24         Q     Can you describe what that meeting was called and

25   how it sort of worked logistically?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 58 of 176

                                                                          6502

1          A     Sure.

2                The meeting was called a proffer.        And proffers

3    are, it's an interview with a subject where the subject is

4    given certain protections for that interview.

5          Q     What kind of protections generally?

6          A     Generally, the biggest protection that subject is

7    given is that the statements that the subject gives during

8    that --

9                THE COURT:    Hang on.    Can we get on the phone?

10               (Bench conference)

11               THE COURT:    Are you intending to elicit from him

12   that statements can be used against the defendant if they

13   contradict what he said at trial or contrary evidence is

14   presented?

15               MR. NESTLER:    Yes, Your Honor.

16               THE COURT:    All right.    I'm not going to let

17   you -- that's a determination for the jury to make.           I mean,

18   yes, this is a gateway issue that I'm letting you bring it

19   in, but I'm not going to allow Agent Palian -- or by

20   allowing the testimony to sort of give the imprimatur that

21   it is, in fact, contradictory.        That's a determination for

22   the jury.

23               MR. NESTLER:    That's fine.     We can go into it was

24   a regular meeting.      I thought the defense wanted us to go

25   into that pursuant to a proffer.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 59 of 176

                                                                          6503

1                THE COURT:    Unless you all disagree.      I can't

2    imagine you would.

3                MR. GREENE:    I agree with Your Honor.       Thank you,

4    Judge.

5                (Open court)

6    BY MR. NESTLER:

7          Q     Okay.

8                Agent Palian, so there was a meeting between the

9    FBI, prosecutors, and Mr. Isaacs; is that right?

10         A     That's correct.

11         Q     And were you present physically for the meeting?

12         A     I was present virtually.

13         Q     What does that mean to be present virtually?

14         A     We were part of the meeting but remotely via

15   Webex, which is, as I explained before, like Zoom.

16         Q     Okay.

17               And were there -- where was Mr. Isaacs located?

18         A     Mr. Isaacs was located in Florida at the time in

19   an FBI office.

20         Q     And were there FBI agents in Florida with him in

21   that office as part of that meeting?

22         A     Yes, there was two other agents involved.

23         Q     Okay.

24               And I think I said this before, but this was March

25   18th of 2021; is that right?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 60 of 176

                                                                          6504

1          A     Yes, that's correct.

2          Q     So a little over two months after the events of

3    January 6th?

4          A     Yes.

5          Q     Okay.

6                Were you present in court when Mr. Isaacs

7    testified earlier here this week?

8          A     I was.

9          Q     Okay.

10               Now, Mr. Isaacs testified that he did not recall

11   meeting any --

12               MR. GREENE:    Objection.    Same issue, Your Honor,

13   just addressed.

14               THE COURT:    It's overruled.     I think he can ask --

15   he can ask, was Mr. Isaacs asked certain questions about

16   this topic and was he similarly asked questions about the

17   topic during the meeting, and then --

18               MR. GREENE:    Thank you, Your Honor.

19               MR. NESTLER:    Yes.

20   BY MR. NESTLER:

21         Q     Agent Palian, do you recall Mr. Isaacs being asked

22   when he testified about meeting any Oath Keepers from Ohio

23   while he was here in D.C.?

24         A     I do remember that.

25         Q     Was he -- did he give -- was he asked similar
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 61 of 176

                                                                          6505

1    questions at the March 18th of 2021 meeting?

2          A     Yes, similar questions.

3                MR. NESTLER:    The government would move to admit

4    10155.1041.

5                MR. GREENE:    No additional objections, Your Honor,

6    only those previously stated.

7                THE COURT:    All right.    That will be admitted.

8                                   (Government's Exhibit 10155.1041
                                              received into evidence.)
9

10               MR. ROSSI:    Could I have that exhibit number

11   again?

12               MR. NESTLER:    Yes, Mr. Rossi.     That's 10155.1041.

13   And just so we're all clear, 1041 is just going to

14   correspond to the time in the bottom left-hand corner here.

15               MR. ROSSI:    Thank you.

16               MR. NESTLER:    Sure.

17   BY MR. NESTLER:

18         Q     Okay.

19               And just so we can orient ourselves, Agent Palian,

20   you said you were viewing this virtually; is that right?

21         A     Yes.

22         Q     Can you identify who Mr. Isaacs is?

23         A     Mr. Isaacs is right here in the T-shirt and

24   shorts.

25         Q     And then the two people on the bottom half of the
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 62 of 176

                                                                          6506

1    screen, who are they; not by name, just by profession?

2          A     These two individuals are both FBI agents.

3          Q     Okay.    Thank you.

4                All right.    The government would seek to now play

5    with audio, Ms. Badalament, 10155.1041.

6                (Video played)

7    BY MR. NESTLER:

8          Q     Okay.    We ended that last word.      What was the

9    state he said?

10         A     Ohio.

11         Q     Great.

12               All right.    If we can now go to the next clip,

13   which is 10155.1045.

14               Do you recall, Agent Palian, that when Mr. Isaacs

15   was testifying here earlier this week, he was asked whether

16   the Oath Keepers gave him a radio frequency to use with his

17   radio on January 6th?

18         A     I do recall that testimony.

19               MR. NESTLER:    We now seek to admit 10155.1045.

20               THE COURT:    It will be admitted.

21               MR. NESTLER:    Thank you, Your Honor.

22                                   (Government's Exhibit 10155.1045
                                              received into evidence.)
23

24               (Video played)

25
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 63 of 176

                                                                          6507

1    BY MR. NESTLER:

2          Q     And more specifically, do you recall when

3    Mr. Isaacs testified earlier this week he was asked whether

4    a particular female Oath Keeper gave him the radio frequency

5    to use on January 6th in D.C.?

6          A     I recall that testimony.

7                MR. NESTLER:    The government seeks to admit

8    10155.1050.

9                THE COURT:    That will be admitted.

10                                   (Government's Exhibit 10155.1050
                                              received into evidence.)
11

12               (Video played)

13   BY MR. NESTLER:

14         Q     Now, just go back to the end of that clip, please,

15   Ms. Badalament.

16               And do you see that Mr. Isaacs was writing on a

17   piece of paper there?

18         A     Yes, I see that.

19         Q     And does the FBI have a copy of that piece of

20   paper?

21         A     We do.   We digitally scanned it.

22         Q     If we could pull up on the screen for Agent Palian

23   10155.1050.P for photo.

24               Is this the photograph?

25         A     Yes, that's a representation of it.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 64 of 176

                                                                          6508

1                MR. NESTLER:    The government seeks to admit this

2    into evidence.

3                THE COURT:    It will be admitted.

4                MR. GREENE:    No objection, Your Honor.       I'm sorry.

5                THE COURT:    It will be admitted.

6                                  (Government's Exhibit 10155.1050.P
                                              received into evidence.)
7

8    BY MR. NESTLER:

9          Q     So, Agent Palian, on this photograph you see on

10   the right-hand side Mr. Isaacs had written something.

11   Do you see what he wrote?

12         A     Yes, it says "Female frequency."

13         Q     Okay.   And could you see the individual that he

14   was indicating in the photograph with that sort of little

15   arrow there?

16         A     Yes, I see that person.

17         Q     Can you circle her for the jury, please.

18         A     (Witness complied.)

19         Q     And based on -- well, have you met this person

20   before?

21         A     I've met that person numerous times.

22         Q     Who is that person?

23         A     That is Jessica Watkins.

24         Q     And where is she from?

25         A     Jessica Watkins is from Ohio.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 65 of 176

                                                                          6509

1          Q     And is Mr. Isaacs also visible in this photograph?

2          A     He is.

3          Q     Can you point out where he is?

4          A     Mr. Isaacs is to Ms. Watkins' 7:00.

5          Q     Thank you.

6                You can take that down, please, Ms. Badalament.

7                Okay.    Now, when Mr. Isaacs testified earlier this

8    week, do you recall that he was -- whether he was asked

9    about meeting a person on January 6th who might have been

10   the dignitary the group was supposed to escort from The

11   Ellipse to the Capitol?

12         A     I remember that testimony.

13         Q     The government moves to admit 10155.1105 into

14   evidence?

15               MR. GREENE:    No additional objections, Your Honor.

16               THE COURT:    Okay.   It will be admitted.

17                                   (Government's Exhibit 10155.1105
                                              received into evidence.)
18

19               (Video played)

20   BY MR. NESTLER:

21         Q     Okay.

22               Now, when Mr. Isaacs testified earlier this week,

23   do you recall whether he was asked whether a person with the

24   moniker Gator 1 was the person in charge of the Oath Keepers

25   group while in D.C.?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 66 of 176

                                                                          6510

1          A     I remember that.

2                MR. NESTLER:    We can move to admit 10155.1111.

3                MR. GREENE:    No additional objections, Your Honor.

4                THE COURT:    It will be admitted.

5                                    (Government's Exhibit 10155.1111
                                              received into evidence.)
6

7                (Video played)

8    BY MR. NESTLER:

9          Q     Agent Palian, based on your investigation, who

10   goes by the moniker Gator 1?

11         A     Gator 1 was Kelly Meggs, the leader of the Florida

12   Oath Keepers.

13         Q     Thank you.

14               Now, do you recall earlier this week when

15   Mr. Isaacs testified being asked about whether, once the

16   group was at the Capitol, Gator 1 told the group they were

17   going to go get closer to the building?

18         A     I remember that.

19               MR. NESTLER:    Government moves to admit into

20   evidence 10155.1116A.

21               MR. GREENE:    No additional objections, Your Honor.

22   Thank you.

23               THE COURT:    Thank you.

24               It will be admitted.

25
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 67 of 176

                                                                          6511

1                                    (Government's Exhibit 10155.116A
                                              received into evidence.)
2                (Video played)

3    BY MR. NESTLER:

4          Q     Do you recall, when Mr. Isaacs testified earlier

5    this week, being asked whether somebody in the group said

6    that the bigger, heavier people should be in the front of

7    the group so they could more easily move through the crowd?

8          A     Yes.

9                MR. NESTLER:    Government moves into evidence

10   10155.1116B.

11               MR. GREENE:    No additional objections.       Thank you,

12   Your Honor.

13               THE COURT:    All right.    It will be admitted.

14                                  (Government's Exhibit 10155.1116B
                                              received into evidence.)
15

16               (Video played)

17   BY MR. NESTLER:

18         Q     And when Mr. Isaacs testified earlier this week,

19   do you recall him being asked whether he knew what he meant

20   when he said the fight's not over while inside of the

21   Capitol?

22         A     I do.

23               MR. NESTLER:    Government moves to admit into

24   evidence 10155.1151.

25               MR. GREENE:    No additional objections.       Thank you,
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 68 of 176

                                                                          6512

1    Your Honor.

2                THE COURT:    Admitted.

3                MR. NESTLER:    Thank you.    You can pull that down,

4    Ms. Badalament.

5                                    (Government's Exhibit 10155.1151
                                              received into evidence.)
6

7                MR. NESTLER:    Now, if we could pull up on the

8    screen for Agent Palian Government's Exhibit 10251, please.

9    BY MR. NESTLER:

10         Q     Agent Palian, have you reviewed this exhibit?

11         A     I think I reviewed the derivative exhibit, 10250.

12         Q     Okay.

13               MR. NESTLER:    And if we could just scroll through

14   the couple of pages, Ms. Badalament.

15   BY MR. NESTLER:

16         Q     Are these fair and accurate -- well, are these

17   fair and accurate depictions of information recovered from

18   Mr. Isaacs' cell phone?

19         A     Yes.

20               MR. NESTLER:    The government moves into evidence

21   10251.

22               MR. GREENE:    No objection, Your Honor.

23               THE COURT:    It will be admitted.

24                                         (Government's Exhibit 10251
                                               received into evidence.)
25
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 69 of 176

                                                                          6513

1

2                THE COURT:    Ladies and gentlemen, let me just

3    provide you with one of the instructions I referenced I

4    would be giving you earlier.

5                The videos that you have just seen, those -- that

6    evidence and those exhibits are admissible only against

7    Mr. Isaacs.     The exhibits you are also about to see in

8    10251, Mr. Nestler, does that include all of or just the --

9                MR. NESTLER:    No; just related to Mr. Isaacs,

10   Your Honor.

11               THE COURT:    All right.

12               See the exhibit that is 10251, that exhibit is

13   also admissible only against Mr. Isaacs.

14   BY MR. NESTLER:

15         Q     And so just a couple of pages here starting with

16   the first page, Agent Palian.

17               So have you looked at the forensic extraction of

18   the data from Mr. Isaacs' cell phone?

19         A     Yes.    I've looked at Mr. Isaacs' cell phone.

20         Q     Okay.

21               And what are we looking at here on -- I think this

22   is 85.web 2?

23         A     85.web 2 is a part of that forensic extraction and

24   it goes into Mr. Isaacs' web history.

25         Q     And what website did he access on December 15th of
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 70 of 176

                                                                          6514

1    2020?

2           A     On December 15th, 2020, he accessed

3    Whitehouse.gov.

4           Q     Okay.

5                 MR. NESTLER:   And if we could go to the next page,

6    please, Ms. Badalament.

7    BY MR. NESTLER:

8           Q     And 85.web 3, what does that show?

9           A     85.web 3 is a USA Today article about the

10   Supreme Court and how they're unlikely to help

11   Donald Trump's allies overturn the election.

12          Q     And if we could go to the next page.       What is

13   85.web 4?

14          A     85.web 4 is a Google search that was done, and the

15   Google search that was performed is, "Why did the

16   Supreme Court deny fraud case?"

17          Q     And what date was that?

18          A     That date was December 12th, 2020.

19          Q     And then finally the next page, please.

20          A     Well, I guess I should go back.

21          Q     Go ahead.   Go back.

22          A     Can we go back for a second?

23                I think that was UTC time.      I have to do some math

24   now.    So that would have been -- I think that's December

25   11th.      Am I doing my math right?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 71 of 176

                                                                          6515

1          Q     Okay.    So this is very late at night on the 11th

2    or early on the 12th?

3          A     Yes.

4          Q     Okay.

5                MR. NESTLER:    And if we can go to the next page,

6    please, Ms. Badalament.

7                And we can just scroll in on the top here.

8                No; a little bit more.

9    BY MR. NESTLER:

10         Q     And what are we looking at here, Agent Palian?

11         A     This is an email that was recovered from

12   Mr. Isaacs' phone.

13         Q     What date was the email sent, the original email?

14         A     The original email was sent December 17th, 2020,

15   at 5:07 p.m. eastern.

16         Q     What was the subject?

17         A     The subject of that was "open letter to

18   President Trump."

19         Q     And then was that email then forwarded?

20         A     Yes.    The email from Oath Keepers.org was

21   forwarded, and it was forwarded to memesmicrowaved@gmail.com

22   by Mr. Isaacs.

23         Q     About how long after it was initially received was

24   it forwarded?

25         A     Less than 30 minutes later.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 72 of 176

                                                                          6516

1          Q     Thank you.

2                Okay.   Moving on to a new topic, Agent Palian.

3                MR. NESTLER:    If we could pull up for

4    Agent Palian, please, Ms. Badalament, Government Exhibit

5    9828, Slide 1, already in evidence.

6    BY MR. NESTLER:

7          Q     Now, Agent Palian, were you present in court when

8    Ms. Meggs testified and was asked questions about this --

9                MR. GREENE:    Objection.    This is outside the scope

10   of rebuttal of William Isaacs.        Ask for a limiting

11   instruction.

12               THE COURT:    Hang on for a second.      Figure out

13   where this is going.      Go ahead.

14               MR. NESTLER:    Sure.    We're moving on to a new

15   topic, as I indicated.      Now we're talking about Defendant

16   Connie Meggs.

17   BY MR. NESTLER:

18         Q     And so were you present in court when Defendant

19   Connie Meggs was asked questions about this text message

20   that she sent on the evening of January 6th of 2021 at 11:01

21   p.m. to someone named Patty Gee?

22         A     Yes, I was present.

23         Q     Okay.

24               And were you present when she was asked questions

25   about her habit of regularly deleting messages out of her
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 73 of 176

                                                                          6517

1    cell phone?

2          A     I was.

3          Q     Okay.

4                Now, did the FBI recover Ms. Meggs' cell phone

5    when she was arrested on February 17th of 2021?

6          A     We did seize that cell phone.

7          Q     And did the FBI search that cell phone?

8          A     I did.

9          Q     Okay.

10               You personally looked through that cell phone?

11         A     I have looked through that cell phone.

12         Q     Okay.

13               Now, can you please explain to the members of the

14   jury what data you found with respect to Ms. Meggs' text

15   messages as you saw them on her phone?

16         A     Sure.

17               We looked at the text messages for a broad period

18   of time that we had data for.

19               During that period of time, we broke it down into

20   three separate sections.       There was a section of text

21   messages that was before December 30th, 2020.          And in that

22   period, there was over 4,000 text messages that Mrs. Meggs

23   had retained from prior to December 30th, 2020.

24               From the period of December 31st, approximately

25   December 31st, 2020, until approximately January 13th, 2021,
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 74 of 176

                                                                          6518

1    there was only four messages.

2                From the time of January 13th, 2021, till the day

3    Mrs. Meggs was arrested on February 17th, 2021, there was

4    over 1,500 messages.

5          Q     So there were a lot of messages from 2020 and

6    earlier?

7          A     Yes.

8          Q     And a lot of messages from January 13th forward?

9          A     Yes.

10         Q     And only four between December 30th of 2020 and

11   January 13th of 2021?

12         A     Approximately, yes.

13         Q     Did you notice any two-week gaps where there were

14   no messages in Ms. Meggs' phone besides for that two-week

15   gap of December 30th, 2020, through January 13th, 2021?

16         A     No.

17         Q     And this message, Government Exhibit 9828 from

18   Connie Meggs to Patty Gee, where was it recovered from?

19         A     That was recovered from Facebook, I believe -- or

20   no, T-Mobile.      I apologize.

21         Q     So from the T-Mobile records, correct?

22         A     Yes.   That was the T-Mobile records.

23         Q     Was this message located on her cell phone?

24         A     No.

25         Q     Thank you.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 75 of 176

                                                                          6519

1                MR. NESTLER:    You can take that down, please,

2    Ms. Badalament.

3                THE COURT:    Ladies and gentlemen, just a reminder

4    that that exhibit was admitted only against Ms. Meggs.

5                MR. NESTLER:    Thank you, Your Honor.

6    BY MR. NESTLER:

7          Q     Moving on to a different topic, Defendant

8    Michael Greene.

9                MR. NESTLER:    If we could pull up Government

10   Exhibit 10252, please, Ms. Badalament.

11   BY MR. NESTLER:

12         Q     Have you personally examined the data from

13   Defendant Michael Greene's cell phone, Agent Palian?

14         A     Yes, I have.

15         Q     And I'm just going to page through Government

16   Exhibit 10252.

17               Does Government Exhibit 10252 fairly and

18   accurately depict data as recovered from Mr. Greene's

19   cell phone?

20               MR. SHIPLEY:    Objection; lack of foundation.

21               THE COURT:    He's about to lay the foundation.

22               Go ahead.

23   BY MR. NESTLER:

24         Q     So we can go through it page by page here,

25   Agent Palian.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 76 of 176

                                                                          6520

1                So what are we looking at here on the first page?

2          A     On the first page, this is a list of Signal chat

3    group names.

4          Q     And did the FBI create this list of Signal chat

5    group names?

6          A     Yes.    It was taken from Mr. Greene's cell phone.

7          Q     And when Mr. Greene's cell phone is processed,

8    what program do you use to process it?

9          A     I believe this one was processed in Axiom.

10         Q     Okay.

11               And have you personally reviewed the data from

12   Axiom from his cell phone?

13         A     Yes, I have.

14         Q     Does this list here of these 45 chat names fairly

15   and accurately capture the data as reflected on the Axiom

16   report that you reviewed?

17         A     Yes, it does.

18               MR. NESTLER:    The government moves to admit 10252,

19   page 1.

20               MR. SHIPLEY:    No objection to page 1.

21   BY MR. NESTLER:

22         Q     So if we could now highlight this, please,

23   Ms. Badalament.

24               And so these are the Signal chats that the FBI's

25   located from reviewing the report from the extraction of
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 77 of 176

                                                                          6521

1    this phone; is that correct?

2          A     The Signal chat names, yes.

3          Q     Okay.

4                The names of Signal chats?

5          A     The names of the groups.

6          Q     Why don't you describe, because I'm probably not

7    saying it correctly, what Signal chat names versus the

8    actual Signal chats?

9          A     Sure.

10               So when you have a group Signal chat, you can give

11   that group a name.      In this case, number one was named "ATL

12   Ops Volunteer Chat," and you can designate who was in that

13   group.

14         Q     And then what does it mean to find an actual chat

15   itself, not just the chat name?

16         A     So generally we designate those as messages within

17   a chat group and you can find various messages.

18         Q     Okay.

19               Now, if we can go to page 7 of this exhibit,

20   please.

21               Is this a screenshot from the Axiom report that

22   you were using to review the data from Mr. Greene's

23   cell phone?

24         A     Yes, it is.

25         Q     Does this fairly and accurately capture what it is
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 78 of 176

                                                                          6522

1    you were looking at in that report?

2          A     Yes, it does.

3                MR. NESTLER:    The government moves to admit page 7

4    into evidence?

5                MR. SHIPLEY:    Objection; lacks foundation.

6                THE COURT:    Overruled.    He said it's a fair and

7    accurate depiction of what the Axiom report shows.

8                                (Government's Exhibit 10252, Page 7
                                             received into evidence.)
9

10   BY MR. NESTLER:

11         Q     Okay.

12               So what are we looking at?

13         A     This is a screenshot from Axiom that I took.

14               What I did was searched for the name "Jan 5/6 D.C.

15   Op Intel Team," I believe is what it says.          I'm having a

16   little trouble -- yeah, there we are.

17         Q     Thank you, Ms. Badalament.

18               Can you zoom in on the portion on the right here.

19   Thank you.

20               So this Signal chat, "January 5/6 D.C. Op Intel

21   Team," you did find the name of the chat on Mr. Greene's

22   phone; is that right?

23         A     That's correct.

24         Q     And what does it mean to have artifact

25   information?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 79 of 176

                                                                          6523

1          A     Artifact information means that at some point in

2    time, this information existed on the phone.

3          Q     Now, aside from finding the name of the chat that

4    this chat at some point existed on this phone for

5    Mr. Greene, did you find any content or data from the chat?

6          A     No, there was no content or data associated with

7    it.

8          Q     None of the messages that Mr. Greene sent or

9    received on this chat were on his phone?

10         A     That's correct.

11         Q     Did you search Stewart Rhodes' phone?

12         A     Yes, I did.

13         Q     And this chat, "January 5/6 D.C. Op Intel Team,"

14   did you find that Signal chat on Mr. Rhodes' phone?

15         A     I did.

16         Q     When you found it on Mr. Rhodes' phone, did it

17   have messages and data associated with it?

18         A     It did.    There were over 100 messages, I believe.

19               MR. SHIPLEY:    Your Honor, can we get on the phone

20   real quick before we go further?

21               (Bench conference)

22               MR. SHIPLEY:    Your Honor, this is the particular

23   chat that I had Agent Abrams go through the entire report

24   page by page and there were no messages from Mr. Greene on

25   that chat, none.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 80 of 176

                                                                          6524

1                THE COURT:    Okay.

2                MR. SHIPLEY:    Well, I don't know what -- he's

3    suggesting that Mr. Greene -- that there was something on

4    Mr. Greene's phone that he deleted.         There are no messages

5    to or from Mr. Greene in this chat.         He was put in the chat

6    but he never used it.

7                THE COURT:    I understand, but that's exactly what

8    he's suggesting.

9                MR. SHIPLEY:    He's suggesting he deleted it

10   because it's not from Mr. Greene's phone.

11               THE COURT:    Correct.

12               MR. SHIPLEY:    But what did he delete?       He deleted

13   a chat that didn't have any messages in it.

14               THE COURT:    That's your argument in closing.

15               MR. SHIPLEY:    Okay.    All right.    I'm concerned

16   that it's being misleading based on evidence that's already

17   in the record from another FBI agent.

18               THE COURT:    Well, I mean, I don't think it's

19   misleading.     There was a chat on his phone at one point, it

20   wasn't there at another point, and you all can argue what

21   the inference is to draw from the fact of the missing chat

22   is.

23               MR. SHIPLEY:    Fair enough.

24               (Open court)

25               MR. NESTLER:    Could we pull up Government's
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 81 of 176

                                                                          6525

1    Exhibit 1500.4 and go to 4 minutes and 9 seconds?

2    BY MR. NESTLER:

3          Q     Now, Agent Palian, you told us you looked at this

4    "January 5/6 D.C. Op Intel Team" Signal chat from Rhodes'

5    phone, right?

6          A     Yes.

7          Q     How much time did you spend reviewing data from

8    Stewart Rhodes' phone?

9          A     I lost track of how many hours.

10         Q     Okay.

11               And you did find messages in Stewart Rhodes' phone

12   on the Signal chat, right?

13         A     Yes.

14         Q     Can you please tell us the name of the person who

15   wrote the message at 1:59 p.m. to this Signal chat?

16         A     That was Michael Greene.

17         Q     Defendant Michael Greene?

18         A     Yes.

19         Q     And did Stewart Rhodes also write a message just

20   two minutes later to this same Signal chat?

21         A     Yes, he did.

22         Q     And did Joshua James write a message also to this

23   same Signal chat just three minutes after that?

24         A     Yes.

25         Q     And this Signal chat was not found -- the messages
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 82 of 176

                                                                          6526

1    were not found on Mr. Greene's phone; is that right?

2          A      That's correct.

3          Q      Okay.   We can take that down, please,

4    Ms. Badalament.

5                 Now, if we can go back to 10252, and I want to

6    show you pages 2, 3, 4, 5, and 6.

7                 Are these screenshots also from the Axiom report

8    you reviewed from Mr. Greene's phone?

9          A      Yes.

10                MR. NESTLER:   The government moves to admit pages

11   2, 3, 4, 5, and 6 of Government's Exhibit 10252.

12                THE COURT:   They'll be admitted.

13                MR. NESTLER:   Thank you.

14             (Government's Exhibit 10252, Pages 2, 3, 4, 5, and 6
                                            received into evidence.)
15

16   BY MR. NESTLER:

17         Q      So if we can go to the first one.       This originally

18   comes from Government's Exhibit -- sorry.

19                What are we looking at here?      What does this look

20   like in Axiom, Agent Palian?

21         A      So this is a message that was sent.       I believe it

22   was an SMS message.

23                No.    I'm sorry.   It was a Signal message.

24   I apologize.

25         Q      Okay.   And how can you tell it's a Signal message?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 83 of 176

                                                                           6527

1          A     I can tell it's a Signal message because of the

2    recipient is the Signal group that we looked at.

3          Q     Gotcha.

4                And they're also different things that the report

5    generates that say, like things like on the bottom, Signal

6    message?

7          A     Yes, that's correct.

8          Q     Okay.

9                And so this is a Signal message sent and that

10   Mr. Greene's phone received; is that right?

11         A     Yes.

12         Q     Okay.

13               And what was the content of the message?

14         A     Content of the message is, "Good call last night.

15   Lots covered.      I'll get with NC team today and find out QRF

16   location."

17         Q     And do you see the notation here from Axiom, the

18   letters R-e-a-d?

19         A     Yes.    It said the message was read.

20         Q     Okay.

21               MR. NESTLER:    If we can go to the next, please,

22   Ms. Badalament.

23   BY MR. NESTLER:

24         Q     We can scroll in on the top portion, please.             And

25   so is this also a Signal message that Mr. Greene's phone
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 84 of 176

                                                                          6528

1    received?

2          A     Yes, it is.

3          Q     And you see the date over here on the left, what

4    date is that?

5          A     January 2nd, 2021.

6          Q     And did Axiom, the software, did it figure out

7    whether this message was read in Mr. Greene's phone?

8          A     It says it was read.

9          Q     And what was the content of this message?

10         A     Content says, "QRF rally points, water of the

11   bridges get closed."

12         Q     Thank you.

13               MR. NESTLER:    If we can go to the bottom of this

14   page, please, Ms. Badalament.

15   BY MR. NESTLER:

16         Q     And this message, can you tell, it says recipient

17   here, D.C. Op Jan 6/21.       What's that?

18         A     That's a Signal group that Mr. Greene was a part

19   of.

20         Q     And what was the content of this message?

21         A     "My sources D.C. working on procuring boat

22   transport as we speak."

23         Q     What was the date of this message?

24         A     Also January 2nd.

25         Q     And can you tell whether this message was read?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 85 of 176

                                                                          6529

1           A    It was read.

2                MR. NESTLER:    If we can go to the next page,

3    please, Ms. Badalament.

4    BY MR. NESTLER:

5           Q    And what kind of message was this based on the

6    recipient over here?

7           A    This, again, was a Signal message sent to the D.C.

8    Op Jan 6 chat.

9           Q    And does it even say who the sender to the chat

10   was?

11          A    It's a phone number ending in 0600, which we know

12   to be used by Kelly Meggs.

13          Q    And what did Kelly Meggs, using that number, 0600,

14   say in the content of this message?

15          A    Content of the message says, "Ammo situation.            We

16   are bringing -- are we bringing, or are we set up at QRF?

17   I mean, I'm always going to have a couple hundred.           But if

18   SHTF, we got ample availability."

19          Q    And what was the date of this message,

20   Agent Palian?

21          A    January 3rd, 2021.

22          Q    And did the software indicate whether this message

23   was read on Mr. Greene's phone?

24          A    It did, and it says it was read.

25          Q    Okay.   We can go to the next, please,
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 86 of 176

                                                                          6530

1    Ms. Badalament.

2                And this message -- where was it sent to?

3           A    This message was also sent to the "D.C. Op Jan. 6"

4    chat.

5           Q    And what was the content of this message?

6           A    "We will have several well-equipped QRFs outside

7    D.C.    And there are many, many others from other groups who

8    will be watching and waiting outside in case of worst-case

9    scenaria rios," which I believe is worst-case scenario

10   riots.

11          Q    Maybe it's just worst-case scenarios?

12          A    Maybe.

13          Q    It's okay.

14               And what was the date of this message?

15          A    January 6th, 2021.

16          Q    What time?

17          A    6:27 a.m. Eastern.

18          Q    Was this message according to the data from

19   Mr. Greene's phone read by Mr. Greene's phone?

20          A    Yes, it was.

21          Q    If we can go to the next message, please.

22               First of all, what's the date on this message?

23          A    Date is January 5th, 2021.

24          Q    And who was the sender?

25          A    Sender was a number ending in 0600, which was,
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 87 of 176

                                                                          6531

1    again, Kelly Meggs.

2          Q     And you tell based on the data down here whether

3    this was a regular text message or a Signal message?

4          A     It was a Signal message.

5          Q     And what was it that Kelly Meggs -- well,

6    Kelly Meggs' phone sent to Michael Greene's phone in a

7    direct Signal message on January 5th of 2021?

8          A     "We are heading in, just unloaded at QRF."

9          Q     And according to the data on Mr. Greene's phone

10   was that message read or not read?

11         A     It was read.

12         Q     It we go to the next message, please.

13               I'm sorry.    I think that's the final one.       Okay.

14               We can take that down, please, Ms. Badalament.

15               Now, continue speaking about Mr. Greene.         What was

16   Mr. Greene's phone carrier in the period of early January of

17   2021?

18         A     Phone carrier was T-Mobile.

19         Q     And if we could pull up Government's Exhibit 9902,

20   slide 46, please, already in evidence.         Thank you,

21   Ms. Badalament.

22               THE COURT:    Before we move on, Mr. Nestler, ladies

23   and gentlemen, the last exhibit, 10252, that is admitted

24   only against Mr. Greene.

25               MR. NESTLER:    Thank you, Your Honor.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 88 of 176

                                                                          6532

1    BY MR. NESTLER:

2          Q     And so, Agent Palian, this message was recovered

3    from T-Mobile; is that correct?

4          A     Yes, it was.

5          Q     Okay.

6                Now, have you reviewed the original records that

7    T-Mobile provided to the government in response to a search

8    warrant?

9          A     Yes, I have.

10         Q     Did those records indicate what kind of message

11   this was?

12         A     This was an SMS message.      It did, and it was an

13   SMS message.

14         Q     And what is an SMS message?

15         A     SMS --

16               MR. SHIPLEY:    Objection; lack of foundation; calls

17   for expert testimony.

18               THE COURT:    No, it doesn't.     That's overruled.

19   BY MR. NESTLER:

20         Q     Well, also, Agent Palian, do you have any advanced

21   degrees?

22         A     I do have advanced degrees, yes.

23         Q     What is that?

24         A     I have a master's degree in organic chemistry and

25   a Ph.D. in bio-organic chemistry.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 89 of 176

                                                                          6533

1          Q     What does SMS mean?

2          A     SMS means short message service.

3          Q     And what does that mean in laymen's term?

4          A     It's a generic text message without an attachment.

5          Q     Okay.

6                Now, from reviewing the data that T-Mobile

7    produced to the government, can you tell us approximately

8    how many text messages were sent or received by Greene's

9    phone just on January 6th of 2021 as captured by T-Mobile?

10         A     As captured by T-Mobile, if I remember correctly,

11   it was over a hundred.

12         Q     And this was one of those messages?

13         A     Yes.

14         Q     And what did Michael Greene say here in this

15   message at 3:06 p.m.?

16         A     "We're storming the Capitol."

17         Q     Are you familiar with Google Voice?

18         A     Yes, I am.

19         Q     What is it?

20         A     Google Voice is a Voice over IP service that is

21   employed by Google Corporation.

22         Q     And when a -- well, first of all, this message

23   that we just looked at, you said it was an SMS message,

24   right?

25         A     That's correct.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 90 of 176

                                                                          6534

1          Q     So not a Google Voice message?

2          A     Not a Google Voice message.

3          Q     Okay.

4                And when a person uses a VoIP, Voice Over Internet

5    Protocol, like Google Voice, in your experience, does the

6    content, the actual message, the actual data get captured by

7    the cell phone carrier like T-Mobile?

8                MR. SHIPLEY:    Objection; lacks foundation; calls

9    for expert testimony.

10               THE COURT:    On the phone, please.

11               (Bench conference)

12               THE COURT:    What's the basis of his knowledge that

13   he'd be able to answer that question?

14               MR. NESTLER:    He's reviewing the -- first of all,

15   reviewing lots of different records regarding Google Voice

16   and other phone carriers throughout his entire 20-year

17   career at the FBI, plus reviewing the T-Mobile records in

18   this specific case, which were referenced as SMS messages

19   being sent over T-Mobile's network.

20               MR. WOODWARD:     Your Honor, I've been using Google

21   Voice since the initial launch and I have to say that

22   Agent Palian's testimony is not entirely accurate.

23               The way that Google Voice is used has amassed --

24   from its conception, has masked numbers, which I think is

25   what Mr. Shipley spoke about the other day.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 91 of 176

                                                                          6535

1                I can't say definitively that it wouldn't be

2    there, but I can tell you that it's just not as simple as

3    Agent Palian is making it out to be.

4                MR. SHIPLEY:    Your Honor, my point would be the

5    FBI has CART agents for a reason.        Mr. Palian is not.

6                THE COURT:    Hang on.    Let's also remember where we

7    are, and that is this was something that was introduced by

8    Mr. Greene and the issue of Google Voice and whether it

9    should be on the phone or not.        So this is rebuttal and so

10   the idea that the government was going to have an expert to

11   testify about this on the ready, let's put a pin on that for

12   a moment.

13               What are you expecting him to say about this

14   issue?

15               MR. NESTLER:    That the text messages were captured

16   by T-Mobile, but that the Internet messages, which was what

17   a voided message is, are not captured by T-Mobile because

18   they don't go through T-Mobile's cell phone tower in the

19   same way that a text message is coming through the tower.

20               THE COURT:    So in other words, if it is a text

21   message sent by Google Voice, it would not be reflected in

22   the T-Mobile messages?

23               MR. NESTLER:    Correct, it's data.      Data is not --

24   goes through a different part of the network.

25               MR. SHIPLEY:    Somebody may have told him that but
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 92 of 176

                                                                          6536

1    that person knows technically how this stuff works and

2    that's not Mr. Palian.

3                THE COURT:    Well, let's be clear.      He doesn't have

4    to be a cell phone expert in order to provide testimony in

5    the context of his investigation so long as he provides the

6    requisite foundation for his ability to provide the

7    information.     That's what the Circuit says.       You can have

8    lay testimony come from an investigator so long as that

9    investigator lays the foundation as the basis for his

10   testimony.    And so I want to -- and it's got to be more than

11   just I've reviewed a bunch of records.         It's got to be

12   something more detailed than that that would allow the jury

13   to make a determination about the credibility of his

14   testimony.

15               MR. NESTLER:    I'll lay the foundation.

16               MR. SHIPLEY:    Your Honor, I'm going to renew the

17   objection that this is expert testimony.         It's technical.

18   We have no idea if this agent's ever been trained, what his

19   foundation is, if he did a technical analysis, or if he's

20   simply relying upon what other agents have told him.

21               If he's relying upon what other agents have told

22   him, those agents need to be in here so they can be

23   cross-examined.

24               THE COURT:    Well, first of all, here's the case

25   law in the Circuit, okay?       The case law in the Circuit is
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 93 of 176

                                                                          6537

1    that an investigator can provide opinion testimony if the

2    opinion testimony is based upon his efforts in the

3    investigation, okay?

4                So that doesn't mean he can get up and testify

5    about this, that, or the other thing, that truly does

6    require some degree of scientific knowledge that's outside

7    of the four corners of the investigation or what the

8    investigation entails.      He could not, for example, get up

9    and say, you know, provide testimony that he learned in its

10   entirety from an expert; but what he can do is say this is

11   my experience in the context of this case, this is what I've

12   learned in the context of this case, this is how I've

13   understood these -- and read these records in the context of

14   the case.    And he can say this is my understanding based

15   upon that investigation.       That doesn't require expert

16   testimony.

17               MR. SHIPLEY:    The question then becomes, did he

18   learn it only for the purpose of the examination he's

19   undergoing now because it's come up in this case, or did he

20   learn it during the course of his investigation.

21               THE COURT:    Correct.

22               And I think that's the same issue; in other words,

23   he cannot base his testimony on what he has learned in the

24   past, okay, and then reflect on it and what it means in this

25   case.    That is expert testimony.      It's what the Circuit has
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 94 of 176

                                                                          6538

1    said.     Can't come in based upon your experience in the past

2    and then opine on what it means in this case.

3                 However, what the Circuit has said is that if the

4    investigator comes in, and this comes up most commonly in

5    these drug cases where the investigator is asked to opine

6    about what things mean in text messages or various

7    communications, and what the Circuit has said, is that you

8    can't come in and say, look, I've spent 15 years doing this

9    and I understand what these terms mean, you can't do that.

10   What we can do is come in and say, I've been investigating

11   this case, and for the following reasons, I think these

12   words mean the following things.

13                So, by analogy, I think he can come in here and

14   say, look, I've reviewed -- you know, here's all the work

15   I've done in terms of telecommunications evidence.           And

16   based upon all the work I've done with respect to

17   telecommunications evidence that I've received in this case,

18   this is what I understand.       I think he can do that.      But

19   he's got to lay that foundation first, okay?

20                MR. SHIPLEY:   Yes.

21                (Open court)

22   BY MR. NESTLER:

23         Q      Agent Palian, please remind us how long you've

24   been a FBI agent?

25         A      20 years, 24 days, give or take.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 95 of 176

                                                                          6539

1          Q     What kind of experience do you have in

2    telecommunications and phone records?

3          A     Aside from being a user myself, I've served

4    numerous search warrants and legal process on

5    telecommunications servers.       I've dealt with our CAST unit

6    who routinely communicates with the telecoms, and I've had

7    contact with the telecoms myself.        I've probably I've served

8    several hundred search warrants in my career, many of them

9    have gone to telecoms.

10         Q     And how about in the course of the investigation

11   in this case, have you also dealt with telecom companies?

12         A     Yes, I have.

13         Q     And have you served search warrants on telecom

14   companies?

15         A     Yes.

16         Q     And have you consulted with the CAST unit in

17   connection with this case?

18         A     Yes.

19         Q     And remind us what CAST is.

20         A     Computer Aided Cellular -- I'm sorry, Cellular

21   Analysis Support Team.

22         Q     Okay.

23               And what about you have any experience regarding

24   VoIP technology?

25         A     Yes.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 96 of 176

                                                                          6540

1          Q     And investigations there.

2                Please describe.

3          A     Yes.   We've served search warrants to try to

4    obtain records related to those services also.

5          Q     And have you reviewed records from services like

6    Google and others that provide these VOIP services?

7          A     Yes.

8          Q     Now, based on all of that and what you have done

9    in this case, what is your understanding about how data from

10   a VOIP, so a message sent over a voice-over-Internet

11   protocol, whether that would be captured by a cell phone

12   carrier like T-Mobile?

13         A     It would not, because it never goes to the

14   cell phone carrier, to their servers.

15         Q     But SMS or regular text messages do go through the

16   carrier servers; is that correct?

17         A     That's correct.

18         Q     Thank you.

19               Now, one additional topic for you, Agent Palian.

20               If we could pull up on the screen Government

21   Exhibit 10253.

22               And are you familiar with the first two pages here

23   of this message?

24         A     Can I see page 2 also?

25         Q     Yes.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 97 of 176

                                                                          6541

1                MR. NESTLER:    Okay.    The government would move

2    into evidence Government Exhibit 10253.

3                THE COURT:    Okay.   Subject to discussions

4    previously, it will be admitted.

5                                           (Government Exhibit 10253
                                               received into evidence.)
6

7    BY MR. NESTLER:

8          Q     Agent Palian, were you present in court when

9    multiple witnesses from the defense were asked whether --

10   about whether the purpose of being in D.C. on January 6th

11   was to help people?

12         A     Yes, I was present for that.

13         Q     Okay.

14               Are you aware of messages from Stewart Rhodes to

15   other individuals regarding other motives for Oath Keepers

16   being in D.C. on January 6th?

17         A     Yes, I am.

18         Q     All right.    Let's -- up on the screen here we have

19   the first message I want to go over with you, Agent Palian.

20   What's the date of this message?

21         A     The date of that message is December 29th, 2020.

22         Q     What time?

23         A     Time is 10:32 p.m.

24         Q     Who is it from?

25         A     From Stewart Rhodes.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 98 of 176

                                                                          6542

1          Q     And who is it to?

2          A     It's to Kellye SoRelle.

3          Q     And who is Kellye SoRelle?

4          A     Kellye SoRelle was Mr. Rhodes' paramour.

5          Q     Was she also a member of the Oath Keepers?

6                Well, sorry.    Was she with him on January 6th in

7    D.C.?

8          A     Yes.

9          Q     Okay.

10               What did Stewart Rhodes tell Kellye SoRelle here

11   on December 29th?

12         A     On December 29th, Mr. Rhodes said, "This will be

13   D.C. rally No. 3.      Getting kinda old.     They don't give a

14   shit about" -- I'm sorry.       "They don't give a shit how many

15   show up and wave a sign, pray, or yell.         They won't fear us

16   till we come with rifles in hand."

17               MR. NESTLER:    If we can go to the next page,

18   please, Ms. Badalament.

19   BY MR. NESTLER:

20         Q     A couple of minutes later, how did Mr. Rhodes

21   continue in this message to Kellye SoRelle?

22         A     He continued by saying, "Only reason to go is so

23   Trump knows we support him in taking reg gloves off and

24   kicking ass."

25         Q     Thank you, Agent Palian.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 99 of 176

                                                                          6543

1                MR. NESTLER:    I have no further questions,

2    Your Honor.

3                THE COURT:    Okay.    Any cross-examination?

4                MR. GREENE:    Yes, Your Honor.     Thank you.

5                                      - - -

6                              CROSS-EXAMINATION

7    BY MR. GREENE:

8          Q     Good morning, Agent Palian.       How are you?

9          A     Good morning, sir.

10         Q     This interview of William Isaacs, it took place

11   almost exactly two years ago now?

12         A     A little less than two years.

13         Q     A little less.     March 18th will be two years?

14         A     Is today the 9th or the 8th?

15         Q     Nine more days.

16         A     Oh, my gosh.    I'm trying to do math now.       Less

17   than -- it will be two years in about a week or so.

18         Q     And William Isaacs was there voluntarily?

19         A     My understanding was he was there voluntarily.

20         Q     He had not been charged?

21         A     No.   He had not been charged at that time.

22         Q     But you were thinking about charging him?

23         A     Yes, we were considering that.

24         Q     But he still showed up?

25         A     I don't know if Mr. Isaacs had that information,
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 100 of 176

                                                                           6544

1     but, yes, he still showed up.

2           Q     You were not physically there during the proffer,

3     were you?

4           A     No, I was not.

5           Q     But you could see who was?

6           A     Yes.

7           Q     There were two agents?

8           A     Yes.

9           Q     And there was some tall, gangly guy with an angry,

10    resting face?

11          A     There was another individual there.        I don't know.

12    Can I --

13          Q     It was me.

14          A     Yes, it was you.

15          Q     I'm the guy that's blocked out?

16          A     Yes.

17          Q     I'm -- His Honor blocked me out because I didn't

18    like the pictures making me look bald?

19          A     I don't know why it was done.       We were just told

20    to do it.

21          Q     But there was only four people in that room?

22          A     Yes.

23          Q     And the agents, they weren't yelling at

24    William Isaacs, were they?

25          A     I mean, I don't know if I want to characterize
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 101 of 176

                                                                           6545

1     many things that happened there, but, no, there wasn't

2     yelling.

3           Q     Well, you saw -- we saw video excerpts.        Nobody is

4     yelling, are they?

5           A     No, nobody was yelling.

6           Q     I mean, the agent who was in charge in D.C. is a

7     friend of mine, Matt Oliver from the FBI.         You know him?

8           A     I've met Agent Oliver.

9           Q     He's a nice guy.

10                You watched the videos of the entire interview?

11          A     Yes, I have.

12          Q     Agent Oliver never yelled at any time, did he?

13          A     No.

14          Q     He wasn't rude, was he?

15          A     No.

16          Q     It was a calm situation?

17          A     It was.

18          Q     Only four people in the room?

19          A     Yes, there were only four people in the room.

20          Q     And two of them were me and Mr. Isaacs?

21          A     Correct.

22          Q     It was a controlled environment?

23          A     Always is for our interviews and in office.

24          Q     And before William showed up that day, he had

25    turned over stuff voluntarily to the FBI, correct?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 102 of 176

                                                                           6546

1           A     I don't know if we had received it at that point,

2     but I know that it was in process.

3           Q     So either before or shortly after, we turned over

4     the vest that Mr. Isaacs put on the other day, correct?

5           A     I believe that's correct.

6           Q     We turned over the Oath Keepers T-shirt?

7           A     Again, I believe that's correct.

8           Q     Turned over Mr. Isaacs' phone, correct?

9           A     Yes.

10          Q     We gave you the passcode to the phone, correct?

11          A     Yes.

12          Q     Gave you everything you asked for?

13          A     I can't speak to that.      I don't know everything

14    that was asked for.

15          Q     Do you know of anything that you asked for that we

16    didn't give?

17          A     I don't know what was asked for so I can't answer

18    that.

19          Q     And you went very carefully through the phone,

20    didn't you?

21          A     Yes.   A number of agents went through the phone.

22    I would call it "careful."

23          Q     Mr. Isaacs, you searched it for this case,

24    correct, before this trial?

25          A     Yes.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 103 of 176

                                                                           6547

1           Q     And during this trial, we gave you consent to

2     search it again, correct?

3                 MR. NESTLER:    Objection.

4                 (Bench conference)

5                 THE COURT:    So I understood that there was a

6     search warrant issued previously.        I don't know what, if

7     anything, was done to search the phone during trial.

8                 MR. GREENE:    We gave consent to having another

9     Cellebrite copy made during the trial, Judge, and they

10    searched it again during the course of this trial.          I think

11    that's relevant.

12                MR. NESTLER:    That is not accurate.      Your Honor

13    gave judicial permission.      We talked about it on the record.

14    I flagged it on the record after the defense indicated what

15    they wanted to do in their defense and Your Honor gave us

16    permission to go back in the phone.

17                THE COURT:    Oh, this is what you were talking

18    about, the issue of the scoped versus non-scoped portion.

19                MR. GREENE:    Yes.   We consented to that, Judge.

20                THE COURT:    You know, to simply just ask the

21    question really doesn't provide the context in which it

22    arose.    I mean, the reason the request was made was because

23    Mr. Isaacs was putting at issue his, you know, his ASD, and

24    the government asked for to look at non-scoped messages

25    concerning that issue and his mental state.         And so it was
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 104 of 176

                                                                           6548

1     in that context this all came up.

2                 And so to simply just say, hey, we gave you the

3     opportunity to -- we didn't disagree is not really fully

4     contextualized.

5                 MR. GREENE:    I'll rephrase the question, Judge,

6     and move on.    It's not enough to worry about here.

7                 THE COURT:    Okay.

8                 (Open court)

9                 MR. GREENE:    Let me rephrase the question.

10    BY MR. GREENE:

11          Q     Mr. Isaacs' phone has been searched several times?

12          A     I don't know what you mean by several times.         Do

13    you mean by several agents or do you mean it's been -- we've

14    gone into the phone several times during the course of the

15    investigation?      Could you define your question a little?

16          Q     Why don't you describe for us all the searches

17    that you've done of Mr. Isaacs' phone, you or anyone else

18    affiliated with this case on the prosecution side.

19          A     Sure.

20                So pursuant to search warrants that we obtained to

21    look in devices, what we generally do is we'll enter the

22    device, we'll take a forensic copy of it.         We'll review that

23    copy and designate items of evidence within the phone that

24    we think are captured within the warrant that we can seize.

25    We then take those items out, seal up the phone, and don't
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 105 of 176

                                                                           6549

1     go back in.

2            Q    And when you were searching the phone, you looked

3     at emails?

4            A    We did.

5            Q    You looked at Internet searches?

6            A    Yes.

7            Q    And you found that Mr. Isaacs had literally done

8     thousands of Internet searches over the time period that you

9     searched, correct?

10           A    I don't know what the number is.

11           Q    Can you estimate how many Internet searches he

12    did?

13           A    I wouldn't feel comfortable estimating.

14           Q    Would you feel comfortable denying that he spent

15    four or five hours a day on the Internet?

16           A    Again, I have no basis to say that.

17           Q    But we've seen today in this rebuttal case that

18    out of everything you searched, you picked up three or four

19    email and a couple of Internet searches?

20           A    We showed several items of evidence.

21           Q    You didn't find Mr. Isaacs had deleted anything,

22    did you?

23                MR. NESTLER:    Objection.

24                THE COURT:    I'll allow it.    Go ahead.

25                THE WITNESS:    We don't know what we don't know.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 106 of 176

                                                                           6550

1     BY MR. GREENE:

2           Q     Okay.   You can't say that Mr. Isaacs deleted

3     anything, can you?

4           A     I don't believe he's been charged with that.

5     I can say that.

6           Q     So the interview of the agents on March 18th of

7     2021, almost two years ago, that was a little different than

8     the scene at the Capitol on January 6th, 2021, wasn't it?

9           A     In many ways.

10          Q     Would you agree that on January 6th, 2021, when

11    Mr. Isaacs was on the Capitol Grounds, that it was a lot

12    more noisy?

13          A     January 6th, 2021, was very noisy.

14          Q     Would you agree on January 6th, 2021, when

15    Mr. Isaacs was on the Capitol Grounds, that there were a lot

16    more than just four people?

17          A     Yes, there were a lot more than four people that

18    entered the Capitol and were on the grounds.

19          Q     Would you agree that on January 6th, 2021, when

20    Mr. Isaacs was on the Capitol Grounds, that there was a lot

21    of screaming going on?

22          A     Yeah, I would agree with that.

23          Q     Would you agree that on January 6th, 2021, it was

24    utter chaos on the Capitol Grounds?

25          A     Yes.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 107 of 176

                                                                           6551

1           Q     Would you agree on January 6th, 2021, there were

2     all kinds of things going on all sides of the Capitol?

3           A     Yes.

4           Q     And on the interview on March 18th, 2021, that's a

5     little bit different than when Mr. Isaacs testified here

6     before 14 jurors and a crowded courtroom where his freedom

7     is at stake.    Do you agree with that?

8                 MR. NESTLER:    Objection.

9                 THE COURT:    Sustained.

10                Please rephrase the question.

11    BY MR. GREENE:

12          Q     This was -- it was a lot different on March 18th,

13    2021, than testifying in this courtroom before these people

14    concerning what happens with regard to these charges?

15          A     I think to properly answer that question, I'd have

16    to take in a lot of factors into that, and I don't know -- a

17    lot of it would be my opinion.       I don't know if I want to --

18          Q     Okay.

19          A     I don't know if the Court wants me to do that.

20          Q     How long was the interview of Mr. Isaacs on March

21    18th, 2021, almost two years ago?

22          A     Approximately two and a half hours.

23          Q     About two hours and -- a little over 2 hours and

24    34 minutes?

25          A     I think that sounds right.      I think there were two
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 108 of 176

                                                                           6552

1     clips of an hour and 17 minutes each, is what I recall.

2           Q      And the clips you pulled out today went over,

3     those were less than four minutes?

4           A      Yes.

5           Q      There's nowhere in the interview of Mr. Isaacs

6     during that two and a half hours, 2 hours and 34 minutes

7     plus, almost two years ago where he says he knew he did

8     something wrong, is there?

9                  THE COURT:    Mr. Greene, can we get on the phone,

10    please?

11                 MR. GREENE:    Yes, Your Honor.

12                 (Bench conference)

13                 THE COURT:    So the video clips have been admitted

14    for a very limited purpose, to impeach your client's

15    statements that he made on the witness stand here a few days

16    back.     If you're going to start probing him about the

17    interview and what he did and did not say outside of those

18    limited clips, you're opening the door to potentially all of

19    that video coming in.

20                 MR. GREENE:    I'm not going to probe any further,

21    Judge.     I'll withdraw -- can I ask this question, will that

22    open that door, because I think it's directly relevant based

23    upon the next witness, which is, did anywhere in that

24    interview Mr. Isaacs say he did anything.

25                 THE COURT:    Absolutely not, because otherwise
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 109 of 176

                                                                           6553

1     you're going to run three and a half hours of video the

2     government is going to say is a long admission of

3     wrongdoing.

4                 MR. GREENE:    I will withdraw the question.

5     Thank you for giving me the heads-up.        Thank you.

6                 (Open court)

7                 MR. GREENE:    Thank you, Judge.     I'll withdraw that

8     question.

9                 Give me just a moment, let me see if I have any

10    points of brilliance, which I doubt.

11                I see Mr. Woodward chuckling agrees.

12                Nothing further, Judge.      Thank you.

13                THE COURT:    All right.    Thank you, Mr. Greene.

14                All right.    Anyone else like to cross-examine

15    Agent Palian?

16                MR. WOODWARD:    Yes, Your Honor.

17

18

19

20

21

22

23

24

25
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 110 of 176

                                                                           6554

1                                     - - -

2                              CROSS-EXAMINATION

3     BY MR. WOODWARD:

4           Q     Good morning, Special Agent Palian.

5           A     Good morning, Mr. Woodward.

6           Q     Twice in two days.

7                 I'd like to ask you a little bit about your

8     cell phone returns.     You testified that you have a fair

9     amount of experience in cell phone returns.

10          A     I believe I do.

11          Q     20 years, I imagine you've done it once or twice.

12                Typically, when you subpoena records from Verizon,

13    AT&T, T-Mobile, you don't get back the content of messages,

14    correct?

15                MR. NESTLER:    Objection, Your Honor.      Can we get

16    on the phone briefly?

17                (Bench conference)

18                MR. NESTLER:    I believe Mr. Woodward is crossing

19    on information that was admitted only against Mr. Greene, so

20    if that's the case we're happy to have the information

21    admitted against more defendants, but Your Honor was very

22    limited in what information came in against which defendant.

23                MR. WOODWARD:    I'm surprised that Mr. Nestler

24    doesn't remember asking Agent Palian about how many messages

25    were on Mrs. Meggs' phone and whether or not the message
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 111 of 176

                                                                           6555

1     that was read to her was recovered from T-Mobile or from her

2     phone.

3                 THE COURT:    Right.   That's what I thought this was

4     in response to.     Go ahead.

5                 MR. NESTLER:    Sorry.   I thought it was going in a

6     different direction.

7                 (Open court)

8     BY MR. WOODWARD:

9           Q     Typically when you subpoena records from T-Mobile,

10    Verizon, AT&T, you don't get SMS messages, you don't get the

11    content of the messages from the carrier, correct?

12          A     My understanding is that using a subpoena you're

13    not allowed to obtain content.

14          Q     Well, they don't actually maintain content,

15    correct?

16          A     Not generally.    Most cell carriers retain three

17    days' worth of content and then they overwrite it.

18          Q     And in this case, the government asked the

19    cellular carriers to maintain more than three days worth?

20          A     I don't know that.

21          Q     And so T-Mobile had more than three days' worth of

22    messages when they were asked for messages in and around

23    January 6th?

24          A     My understanding of how we obtained those

25    messages, and some of this is -- was told to me, but is that
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 112 of 176

                                                                           6556

1     T-Mobile came to us in May or June of '21 and said that they

2     had this content.

3           Q     They had preserved more than the three days of

4     messages that is typically retained?

5           A     That's what they informed us.

6           Q     And so the message that Mr. Nestler showed you

7     that Mrs. Meggs sent, you had obtained that from T-Mobile,

8     not from Mrs. Meggs' phone?

9           A     That's correct.

10          Q     And Mr. Nestler asked you about the number of

11    messages from Mrs. Meggs' phone in that two-week period,

12    early January of 2021?

13          A     That was not the T-Mobile part, but, yes, he did

14    ask me those questions.

15          Q     Well, he asked you about what messages you were

16    aware of from Mrs. Meggs in early January?

17          A     Yes.

18          Q     And he asked you to compare and contrast that

19    two-week period with the period that followed and the period

20    that preceded January 6th, 2021?

21          A     Yes, that's correct.

22          Q     All right.

23                Now, regardless of what was on Mrs. Meggs' phone,

24    that had no impact on what T-Mobile had preserved, right?

25    If I delete a message from my phone, that doesn't delete the
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 113 of 176

                                                                           6557

1     message from T-Mobile's records, correct?

2           A     That's my understanding.

3           Q     All right.

4                 And so how many messages had T-Mobile preserved

5     between January 7th and January 20th of 2021 from

6     Mrs. Meggs?

7           A     I don't recall.

8           Q     All right.

9           A     I'd need to go back and look.

10          Q     Let me show you T-Mobile's return.

11          A     Oh.

12          Q     And this is just the witness.

13                I suppose we should mark for identification as

14    CM87?

15                COURTROOM DEPUTY:     83.

16                MR. WOODWARD:    Gosh, I'll get it, CM86 for

17    identification.

18    BY MR. WOODWARD:

19          Q     Do you recognize -- well, they provide this

20    information in an Excel spreadsheet?

21          A     They did in this case.

22          Q     And if I just highlight this message, you recall

23    this is the message that Mr. Nestler asked you about, albeit

24    in a bubble format?

25          A     Yes.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 114 of 176

                                                                           6558

1           Q     And here at the top, we have the "billed MTN,

2     message time, from, recipient," and then the message?

3           A     Yes.

4           Q     If I scroll down here to the bottom, how many

5     messages do you see T-Mobile capturing between January 7th

6     and January 20th, 2021?

7           A     Between those two days?

8           Q     Yes.

9           A     Looks like one.    They captured one message on the

10    20th, and nothing else after the 7th.

11                Did I answer your question properly?

12          Q     You did.

13          A     Okay.

14          Q     So if I could ask for the government's assistance

15    in pulling up, I believe -- was it 10253 that Mr. Nestler

16    showed in?    10253.

17                Well, let me just clarify that this was admitted

18    against Mrs. Meggs, I think.       Yeah, okay.

19    BY MR. WOODWARD:

20          Q     Do you remember Mr. Rhodes, this message between

21    Mr. Rhodes and Ms. SoRelle, you read that for the jury,

22    correct?

23          A     Yes, I did.

24          Q     Now, at this time, you had no -- throughout the

25    course of your investigation, you had no reason to believe
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 115 of 176

                                                                           6559

1     that Mr. Meggs was planning to travel -- I say that

2     explicitly, Mr. Meggs, no reason to believe that Mr. Meggs

3     was planning to travel to Washington, D.C. on January 6th as

4     of December 29th, correct?

5           A     No, I don't believe that's correct.        I believe he

6     sent a message shortly after the "will be wild" text, where

7     he said, "Pack your shit, boys, we're going to D.C."

8           Q     I'm sorry.    You know, you've reminded me, if I

9     could display what has previously been admitted as CM --

10    just me please, Mr. Douyon -- 65.        Now everybody.

11                In the course of your investigation, you reviewed

12    messages from "OK FL D.C. Op Jan. 6", correct?

13          A     Yes.

14          Q     And in the course of your investigation, you saw

15    messages from Mr. Meggs about the security operation that he

16    was planning to assist with, correct?

17          A     Yes.

18          Q     And among those messages was this one.        Mr. Meggs

19    writes, "Okay, gentleman and ladies, we have the detail,

20    I just have to get someone else for Stone.         We are PSD for 8

21    Congressmen and we will be inside the wire for Trump's

22    speech working the outside near the wire while Secret

23    Service has the inside."

24                Now, in the course of your investigation, your

25    review of thousands of messages on the Signal app from
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 116 of 176

                                                                           6560

1     Mr. Rhodes' phone from, from others' phones, you didn't

2     identify a single message sent from Connie Meggs on Signal,

3     did you?

4           A     Not to my knowledge.

5                 MR. WOODWARD:    Thank you, sir.     No further

6     questions.

7                 MR. SHIPLEY:    Your Honor, do you not intend to

8     take a break?

9                 Well, the only reason I'm asking, we're trying to

10    fashion an exhibit to use and we need a couple minutes.

11                THE COURT:    No, no.   It's just been the kind of

12    morning that I sort of forgot.       We started a 10:30.      Let's

13    do that.    We've been going for about an hour and 15.         So

14    let's go ahead and take a 15-minute break now.          And then we

15    may go a little bit later than 12:30 today before we take

16    lunch, all right?     Thank you, everyone.

17                COURTROOM DEPUTY:     All rise.

18                THE COURT:    Thank you, Mr. Shipley.

19                (Jury exited the courtroom.)

20                THE COURT:    All right.    Agent Palian, I'll ask you

21    to step down and not discuss your testimony during the

22    break.

23                THE WITNESS:    Yes, sir.

24                THE COURT:    Quickly on the issue of the treatise,

25    our research shows the following, and kudos to my law clerk.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 117 of 176

                                                                           6561

1                 Under the Florida Rules of Evidence, an expert

2     cannot bolster their opinion with a treatise, and such a

3     treatise is only admissible during cross-examination of the

4     experts.    D-u-s-s versus Garcia, 80 So. 3d 358, Florida,

5     First DCA 2012.

6                 MR. GREENE:    Your Honor, I'll withdraw my

7     objection, because my office is sending me some stuff, and

8     I was confusing the Florida with the Federal Rule.

9                 THE COURT:    Okay.

10                MR. GREENE:    But we would ask under the rule of

11    completeness, we'd like to know what's going to be read

12    because it was cut off at a particular point.

13                THE COURT:    Talk to Mr. Nestler.

14                MR. GREENE:    Thank you, Judge.

15                THE COURT:    Thank you.

16                MR. GREENE:    Thank you, Ms. Wilson.

17                COURTROOM DEPUTY:     All rise.

18                (Recess from 11:52 a.m. to 12:04 p.m.)

19                COURTROOM DEPUTY:     All rise.

20                THE COURT:    Please remain seated.

21                MR. GREENE:    Thank you, Your Honor.

22                MR. MACHADO:    If it's necessary, I waive my

23    client's presence for the moment, Your Honor.

24                MR. NESTLER:    And, Your Honor, before I start my

25    redirect, I did want to flag for the Court a couple of
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 118 of 176

                                                                           6562

1     questions I believe that Mr. Greene's, Chuck Greene's cross

2     opened the door on regarding the March 18th interview.           So

3     I didn't know if you wanted me to flag them in advance now

4     or later.

5                 MR. COOPER:    Mr. Greene is not here.

6                 THE COURT:    Given that neither of them are here,

7     I'm going to opt for later.

8                 MR. NESTLER:    Sorry.   I didn't see that they

9     weren't here.

10                MR. MACHADO:    He was looking for an easy win.

11                MR. WOODWARD:    I'll argue it.

12                MR. NESTLER:    Agent Palian can remain in the

13    courtroom, right?

14                COURTROOM DEPUTY:     Jury panel.

15                (Jury entered the courtroom.)

16                THE COURT:    All right.    Please have a seat,

17    everyone.

18                Agent Palian, I'm going to ask you to come on back

19    up.

20                Mr. Shipley, ready when you are.

21

22

23

24

25
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 119 of 176

                                                                           6563

1                                     - - -

2                              CROSS-EXAMINATION

3     BY MR. SHIPLEY:

4           Q     Good afternoon.

5           A     Good afternoon, Mr. Shipley.

6           Q     I wanted to check the clock, make sure I was

7     right.

8                 I want to talk just for a couple minutes about

9     these two Signal chats from Mr. Greene's phone.

10                First of all, "D.C. Op Jan. 6, 21", you would

11    agree that that was probably the most important Signal chat

12    for things going on on January 6th or even leading up to

13    January 6th, right?

14          A     It was one of the important ones.       I don't know if

15    I'd say the most important.

16          Q     When I say "important," I mean not so much the

17    FBI's investigation, but at least important to the people

18    who were participating that day, right?

19          A     I can't say what was important to them and what

20    wasn't.

21          Q     But clearly it was a lot of data exchanged between

22    individuals that day on the ground January 6th, 2021, right?

23          A     I'd agree with that.

24          Q     About 850 Signal messages just that day alone?

25          A     In just that chat?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 120 of 176

                                                                           6564

1           Q     Just that chat, just that day.

2           A     Yes.    I believe that's correct.

3           Q     800-plus, right?

4           A     I think that's right.

5           Q     Yeah.

6                 That chat was not deleted from Mike Greene's

7     phone, was it?

8           A     No, I don't believe it was.

9           Q     Yeah.

10                So that was there.     When he gave you his phone and

11    he gave you consent to search his phone and he gave you

12    consent to search Signal on his phone, that chat was there?

13          A     I believe so.

14          Q     Now, yesterday in cross-examination of Mr. Greene,

15    Ms. Rakoczy went through a whole series of excerpts from the

16    report on that chat, highlighting each time it said "read,"

17    you remember that?

18          A     Yes.

19          Q     And then today on direct, you and Mr. Nestler went

20    through a few more examples where they said "read," correct?

21          A     Correct, yes.

22          Q     Okay.

23                Now, it doesn't say when it was read, does it?

24          A     The report does not say that, no.

25          Q     Okay.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 121 of 176

                                                                           6565

1                 And if you open a chat that has dozens or a

2     hundred or more unread messages, when you open it, they all

3     turn to "read," don't they?

4           A     I don't know what you mean by turn to "red."

5           Q     The --

6           A     Oh, I'm sorry, not r-e-d.      Pardon me.

7           Q     Correct.

8                 R-e-a-d?

9           A     Yes.

10          Q     All of them then show that they've been read just

11    by opening the chat?

12          A     Yes, I believe that's correct.

13          Q     So where it says "read," it is not your testimony

14    that that means Mr. Greene individually read each of the

15    messages shown by Ms. Rakoczy yesterday and Mr. Nestler

16    today, does it?

17          A     I can only testify to what the report says and it

18    says read.    I can't say when.

19          Q     Okay.

20                So you can't say, is it correct, that you can't

21    say that Mr. Greene read any of those messages on

22    January 6th?

23          A     I don't believe the report says that, so I can't

24    go that far.

25          Q     There's no evidence in this case of when he read
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 122 of 176

                                                                           6566

1     any of those messages.      So there's no evidence that he knows

2     the content of any of those messages?

3           A     No.   I disagree with that because at times, he

4     responded to messages.

5           Q     With the exception of the ones he responded to,

6     there's no evidence that he read the others, actually read

7     the words and understood the import?

8           A     Again, I can only say what the report says and

9     what I know he responded to.

10          Q     Let's talk about the Jan 5/6 Intel group team,

11    intel team one.

12          A     Okay.

13          Q     You said that's not on -- or was not on

14    Mr. Greene's phone when he gave it to you, right?

15          A     So there were archives that the chat existed at

16    one time but there were no messages associated with it.

17          Q     Okay.

18                So you know it was there, but there was no content

19    of what had been there at some point in the past, if ever?

20          A     Right, that's correct.

21          Q     Okay.

22                But you recovered it from Mr. Rhodes' phone?

23          A     Yes, we did.

24          Q     And do you think what you recovered from

25    Mr. Rhodes' phone was complete, start to finish?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 123 of 176

                                                                           6567

1           A     I believe so.

2           Q     It gave you the opening date, right?

3           A     Yes.

4           Q     And it gave you the last message date, right?

5           A     Yes.    Yes.

6                 But I -- and the only reason I hesitate is I don't

7     believe there was anything deleted in the middle, but I

8     can't be positive of that.

9           Q     Okay.

10                I lost my train of thought.      Let me go into a

11    different question real quick and we'll come back to that.

12                You sat here in court, you were present in court

13    when Agent Abrams testified about that particular chat,

14    right?

15          A     I missed a lot of Agent Abrams's testimony so

16    I'm not positive.     I don't recall.

17          Q     Fair enough.

18                You've reviewed that chat, though, haven't you,

19    from Mr. Rhodes' phone?

20          A     Are we still talking about the Jan 5/6?

21          Q     Jan 5, that's all we're talking about, Jan 5/6.

22          A     Yeah.   I've reviewed some of it.

23          Q     How many messages are there from Mike Greene in

24    that entire chat?

25          A     I don't recall.    I couldn't say.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 124 of 176

                                                                           6568

1           Q     Would it surprise you if Agent Abrams looked

2     through the whole thing and found one, "there patriots"?

3     That's the only message from Mike Greene.         Would that

4     surprise you?

5                 MR. NESTLER:    Objection.

6                 THE COURT:    Sustained.

7                 MR. SHIPLEY:    He's the case agent.

8                 THE COURT:    Well, the way you phrased the question

9     was different.

10    BY MR. SHIPLEY:

11          Q     Would you disagree with Agent Abrams if she

12    testified that there was only one message from Mike Greene

13    in the entire chat, the one saying, "there patriots"?

14                MR. NESTLER:    Objection.

15                THE COURT:    That is also sustained.

16                MR. SHIPLEY:    Okay.

17    BY MR. SHIPLEY:

18          Q     How many pages of messages are there in the

19    Cellebrite report for that chat?

20          A     I'm not even sure because that would depend on the

21    format that it was printed out in, whether it was a PDF or

22    an Excel or something like that.        I couldn't say how many.

23          Q     But it's your testimony today that you don't know

24    how many messages there might have been from or to

25    Michael Greene in that chat?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 125 of 176

                                                                           6569

1           A     I just don't recall.     If I had the chat, I could

2     look.

3           Q     Fair enough.

4                 Did Michael Greene delete that chat from his

5     phone?

6           A     All I can say is that it wasn't present.

7           Q     That wasn't my question.

8           A     I know; I understand that.      So forgive me,

9     I should have fully answered your question.

10                So I can't say it was deleted.       I can just say it

11    wasn't present.

12          Q     Okay.

13                Now, you testified about the T-Mobile messages and

14    that you had reviewed the T-Mobile spreadsheet or whatever

15    format it came in that had his text messages.          You testified

16    there were over 100 of them, right?

17          A     Yes.

18          Q     Okay.

19                Can we show this just to the witness, please.

20                I want you to take just a minute and look at the

21    far left-hand column.      Is that Michael Greene's phone

22    number?

23          A     Yes.

24          Q     Okay.

25                And then the time frame reflected here at the very
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 126 of 176

                                                                           6570

1     top, that says 1/6/21, right?

2           A     Yes.

3           Q     Then we go all the way down to the bottom, we're

4     still at 1/6/21, right?

5           A     Yes.

6           Q     And in the last column over on the right, what

7     do you understand those references to be?

8           A     My understanding of that is it says SMS, and that

9     means short messaging service.

10          Q     So those are all the text messages between the

11    date and time at the top and the date and time at the

12    bottom, which are all 1/6, right?

13          A     These were all the messages we were provided.

14    I can't say they were all of the messages.

15          Q     Okay.   Fair enough.

16                But right in the middle there, you see the

17    message, "We're storming the Capitol," correct?

18          A     Yes.

19          Q     Okay.

20                And that was to and from a particular number?

21          A     Yes.

22          Q     And you don't know who that number is, do you?

23          A     We weren't able to identify the person behind that

24    number.

25          Q     So he sent a message to somebody saying "We're
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 127 of 176

                                                                           6571

1     storming the Capitol," and you don't know who that person

2     was, correct?

3           A     I don't know who that person was.

4           Q     Okay.   Now, based on your recollection of the

5     records you reviewed, and I understand it's probably not

6     this same format, does this look, because if you look below

7     that one where it says "We're storming the Capitol," you see

8     several more that have been introduced in this case, right?

9                 THE COURT:    By the way, Mr. Shipley, you know this

10    isn't being shown to the jury.

11                MR. SHIPLEY:    I'm sorry?

12                THE COURT:    This is not being shown to the jury?

13                MR. SHIPLEY:    I understand that.     I want to get

14    his --

15                THE COURT:    I want to make sure.

16                MR. SHIPLEY:    I want to establish its accuracy.

17    BY MR. SHIPLEY:

18          Q     Do you see --

19          A     It looks accurate.

20          Q     Yeah, you see other messages in here that are in

21    the same time frame as the "We're storming the Capitol" one,

22    right?

23          A     Yes.

24          Q     Okay.

25                And so at this point, I would ask to admit this as
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 128 of 176

                                                                           6572

1     Michael Greene 121, MG121?

2                 MR. NESTLER:    Mr. Shipley, is this the entire

3     document?

4                 MR. SHIPLEY:    We have the full document if you'd

5     like to see it.     I believe --

6                 MR. NESTLER:    No, the things that are on screen

7     here go from January 6th --

8                 MR. SHIPLEY:    Yes.    Well, this is an entire page.

9                 MR. NESTLER:    Sorry.    What's visible goes from

10    January 6th at 11:47 a.m to January 6th at 8:48 p.m.           That's

11    the entirety of what you want to admit.

12                MR. SHIPLEY:    Yeah, that's fine, because it just

13    covers those messages in the middle which are the ones that

14    have been introduced.

15                MR. NESTLER:    It --

16                MR. SHIPLEY:    Well, okay, let me -- let me propose

17    that we'll admit this redacted.        So other messages that are

18    not relevant and not ever come up are not included.

19                MR. NESTLER:    We have no objection to that, but if

20    we have a Rule 106 issue, we might want some other messages

21    to come in as well.

22                In general, we don't object to this being shown to

23    the jury.

24                MR. SHIPLEY:    That's fine.

25                THE COURT:    Okay.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 129 of 176

                                                                           6573

1                 In its entirety?

2                 MR. NESTLER:    What's on the screen right now?

3                 THE COURT:    Okay.

4                 MR. NESTLER:    Not the entirety of all of January

5     messages.

6                 MR. SHIPLEY:    Well, actually -- let's back up.

7     I want to use this only for the witness because there's only

8     one point I want to make with the witness, and it's not

9     necessary I want content to make that point.

10                THE COURT:    Okay.

11                MR. SHIPLEY:    Okay.

12    BY MR. SHIPLEY:

13          Q     In looking at this, there's two particular phone

14    numbers at issue, right?      There's the phone number

15    associated with the message "We're storming the Capitol,"

16    which ends 9080, correct?

17          A     We're interested in that number, yes.

18          Q     And that's the one you don't know who it is?

19          A     Correct.

20          Q     Then there are several messages that have already

21    been introduced, the one "I see they are getting into the

22    chamber."

23                "There in."

24                "Fucked up Nancy office."

25                "Congress evacuated."
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 130 of 176

                                                                           6574

1                 All of those are in this trial, right?        Those have

2     all been admitted?

3           A     I wasn't around for all the testimony so I know

4     they're of interest.

5           Q     Let me briefly recapture them just so you know.

6                 We can put this up.     This has been marked as MG

7     Exhibit 115, as it's also a government exhibit.          So that's

8     the one we've been talking about, right?

9           A     Yes.

10          Q     And we're talking about 9080?

11          A     Correct.

12          Q     Okay.

13                Now, so now this is the next one that's on the

14    long page.    It says, "I see they are trying to get into the

15    chamber ... say police has guns," right?

16          A     Yes.

17          Q     And now this is a different number, this is to

18    9453?

19          A     Yes, that's a different number.

20          Q     The next one is MG Exhibit 117.

21                And it's Michael Greene who's written a message

22    saying, "There in," 9453 again?

23          A     Yes.

24          Q     That's the second number.      That's not the first

25    number that you don't know about?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 131 of 176

                                                                           6575

1           A     That's the second number.

2           Q     Now, this is MG118, another -- this is the "fucked

3     up Nancy's office," right?

4           A     Yes.

5           Q     And this is 9453 again, the same person, three

6     messages in a row, correct?

7           A     Is it the same number?      I'm sorry, I'm not trying

8     to be obstinate.

9           Q     9453, let's remember that.

10          A     Yes.

11          Q     9453?

12          A     Yes.

13          Q     And the last one in this string that was

14    introduced by the government that I re-marked as 119 is

15    "Congress evacuated," again, 9453, right?

16          A     Yes.

17          Q     But all four of those messages come immediately

18    after "We're storming the Capitol," right?

19          A     That's correct.

20          Q     Right in the row?

21          A     Yes.

22          Q     Is there another message anywhere to 9080, that

23    first number that you don't know who it is?

24                There's not, is there?

25          A     I don't believe so.     I'd like to review the whole
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 132 of 176

                                                                           6576

1     records before I say, but I don't think so.

2           Q     Let's look back at the page that we were just

3     looking at because that was the point I wanted to ask you

4     about.

5                 Take a look at both columns, take a couple of

6     minutes to scan them.      Do you see any other call to or from

7     9080 in any of the messages?

8           A     No, not on this page.

9           Q     So in this time frame, which covers many hours on

10    January 6th, there's no other exchange with 9080?

11          A     Yes, that's correct.

12          Q     Okay.

13                And you heard Mr. Greene testify yesterday he

14    deleted the string to 9080, because it was a woman and

15    he didn't want it to be on his phone, right?

16          A     I did hear him say that.

17          Q     The other number that we were looking at, which

18    was 9453, there are many messages back and forth with 9453,

19    aren't there?

20          A     Yes.

21          Q     So that was a number he was engaged in an extended

22    continuing text message exchange with, right?

23          A     Yes.

24                MR. SHIPLEY:    Nothing further.     Thank you.

25                Thank you, Agent Palian.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 133 of 176

                                                                           6577

1                 THE COURT:    Okay.   Anyone else?

2                 Okay.   Hearing none, Mr. Nestler, redirect.

3                 MR. NESTLER:    Should we briefly discuss on the

4     phone the issue I flagged before the break?

5                 (Bench conference)

6                 MR. NESTLER:    I know Your Honor stopped

7     Mr. Greene, Charles Greene, from going too much further, but

8     he already, in our opinion, well opened the door by asking

9     lots of questions about the March 18th interview, about

10    whether it was a controlled environment, whether he answered

11    the questions, whether he was there voluntarily, how long it

12    lasted, who the people in the room were and elicited that he

13    himself were in the room, so I believe he has opened the

14    door for us asking on redirect some additional questions

15    about the content of the interview.

16                THE COURT:    Well, specifically what do you mean?

17                MR. NESTLER:    Talking about whether Mr. Isaacs

18    asked for a break, whether Mr. Isaacs asked to wear

19    headphones, whether Mr. Isaacs answered all the questions

20    that were asked and whether he answered them in a narrative

21    format, and then I will also draw the comparison, just like

22    Mr. Greene did, to testifying here in trial and answering

23    questions to the FBI.

24                MR. GREENE:    Do you want to me hear from me,

25    Your Honor?    I'm sorry.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 134 of 176

                                                                           6578

1                 THE COURT:    Sure, go ahead, Mr. Greene.

2                 MR. GREENE:    So I did not open the door to

3     anything but -- to anything.       I guess he's asking about the

4     content, not seeking to play videotape.         So the only

5     questions I asked about the interview was who was there,

6     what was the environment like.       I didn't ask about demeanor,

7     I did not ask about substance.       Actually I did, and

8     thank you, Your Honor, for stopping me, you know.          And if

9     they start getting into more of it they're going to open the

10    door, I think, to me being able to ask their expert about

11    masking and stuff because I sincerely believe that's what

12    was happening that day by William Isaacs.

13                So I got close to it, Judge, but you stopped me

14    before I got there from getting into it.         And there's, you

15    know, with all the issues, with the potential issues with

16    the proffer already, I would respectfully suggest that it

17    becomes more material the more they do it.         The length is

18    not disputed.    I don't know why getting -- talking about the

19    length and the people in the room opens the door for them to

20    talk about substance.      That is not impeachment.      I mean, my

21    point -- it would be different if they had asked -- if it

22    was just a transcript, I'd say, out of the 200 pages of

23    transcript, you pulled out 3 pages.        That's it.

24                THE COURT:    Well, I think it's -- the door has

25    been opened to the issue of a break as that relates to the
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 135 of 176

                                                                           6579

1     timing, and there was a question asked about timing.

2                 I don't think there's been any door opening with

3     respect to headphones, the jury can see for itself whether

4     Mr. Isaacs was wearing headphones or not.

5                 In terms of any substantive answers, I don't think

6     the door has been opened to any substantive answers that

7     Mr. Isaacs did or didn't give.       Go ahead.

8                 MR. NESTLER:    I'm not looking for substance.

9     I was just looking for the same kinds of information he

10    asked about, about the atmosphere of the room and how long

11    it lasted and who was there and whether it was stressful and

12    all of those types of things.       I'm planning to ask questions

13    about that.

14                THE COURT:    Okay.   Well, look, I'll take it a

15    question at a time.      I mean, there were questions asked

16    about the conditions in the room and comparing them to the

17    conditions here, comparing them to conditions on

18    January 6th, I'll just have to see what Mr. Nestler is going

19    to ask, okay.

20                MR. GREENE:    Thank you, Judge.

21                (Open court)

22

23

24

25
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 136 of 176

                                                                           6580

1                                     - - -

2                             REDIRECT EXAMINATION

3     BY MR. NESTLER:

4           Q     Good afternoon, Agent Palian.

5           A     Good afternoon, Mr. Nestler.

6           Q     Okay.   So Mr. Greene, on behalf of Defendant

7     Isaacs, asked you some questions about the meeting on March

8     18th of 2021.      Do you remember that?

9           A     Yes, I do.

10          Q     Okay.   And so I think you said that the agents

11    were not yelling at Mr. Isaacs, correct?

12          A     They were not.

13          Q     You were here during his testimony, right?

14          A     Yes.

15          Q     Did you see me yell at Mr. Isaacs?

16          A     I did not.

17          Q     Okay.

18                Now, while during that meeting on March 18th, did

19    people ask Mr. Isaacs questions?

20          A     They did.

21          Q     What did he do when people asked him questions?

22          A     He responded with what I would call a fulsome

23    answer.

24          Q     Okay.

25                Did he tend to use one-word answers or longer
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 137 of 176

                                                                           6581

1     answers?

2           A     Longer answers.

3           Q     Okay.

4                 Mr. Greene asked you whether it was a controlled

5     environment.      Is that right?

6           A     Yes.

7           Q     And how do you characterize FBI interview rooms?

8           A     I characterize FBI interview rooms as sparse,

9     devoid of distractions.

10          Q     Okay.

11          A     Secure.

12          Q     Okay.

13                And fairly quiet in the room there?

14          A     Yes.

15          Q     How would you characterize the sort of the ambient

16    noise in the FBI interview room to the ambient noise in the

17    courtroom?

18          A     Similar.

19          Q     You were present for the full interview, two and a

20    half hours or so; is that right?

21          A     Yes, I was.

22          Q     And you watched the video of it?

23          A     Yes.

24          Q     Did at any time Mr. Isaacs ask for a break?

25          A     No.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 138 of 176

                                                                           6582

1           Q     Was Mr. Isaacs offered a break?

2                 MR. GREENE:    Objection, Judge.     Misleading.

3     Contradicts the truth.

4                 Can we get on the phone, Judge?

5                 (Bench conference)

6                 MR. GREENE:    I asked for a break because he was

7     flapping and going into autistic issues, Judge.          It's just a

8     lie that he didn't ask for a break.

9                 MR. NESTLER:    Several times --

10                MR. GREENE:    It's a lie.

11                MR. NESTLER:    Several times the agents and I both

12    asked him if he wanted a break and he said no.

13                MR. GREENE:    We asked for a break, Judge.

14                THE COURT:    All right.    Let's just ask the

15    question how many breaks there were and let's move past who

16    asked him and who didn't ask for it and what the

17    circumstances were.

18                MR. NESTLER:    I think the point is the government

19    offered him breaks specifically and he responded, no,

20    I don't need them, so I can elicit it that way in a leading

21    fashion.

22                MR. GREENE:    Judge, I agree with the way you asked

23    Mr. Nestler to proceed.

24                THE COURT:    Let's just ask whether there were any

25    breaks and we'll just leave it at that.         I mean, the point
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 139 of 176

                                                                           6583

1     here is that Mr. Isaacs seemingly, at least in the FBI room,

2     was capable of going for more than an hour and a half

3     without there being a need for a break.         I mean that's

4     what's relevant.     Okay.

5                 (Open court)

6     BY MR. NESTLER:

7           Q     Finally, regarding Mr. Isaacs, his lawyer asked

8     you about searching his phone; is that correct?

9           A     Yes.

10          Q     Was it correct to say that the FBI obtained a

11    search warrant to search the data on his phone?

12          A     We did obtain a search warrant.

13          Q     All right.    Let's move on to a different topic.

14                Mr. Woodward asked you questions on behalf of

15    Defendant Connie Meggs, about an hour ago now;

16    is that correct?

17          A     Yes.

18          Q     Okay.

19                Connie Meggs is not a T-Mobile subscriber, is she?

20          A     No, I don't believe so.

21          Q     Do you know what service provider she used?

22          A     I think Verizon, if I remember correctly.

23          Q     And so if she's a Verizon subscriber and the FBI

24    got this data, the content from T-Mobile, how does that

25    work?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 140 of 176

                                                                           6584

1           A     So the way T-Mobile explained it to us was that

2     they captured almost all of the messages that T-Mobile

3     subscribers were sending out.       If somebody was sending a

4     message to a T-Mobile subscribes, they were able to capture

5     about half of those.      If someone was a Verizon subscriber

6     and was sending it to another Verizon subscriber, they would

7     not have caught that.

8           Q     Okay.

9                 And so T-Mobile captured almost all but not all of

10    the text messages sent by T-Mobile subscribers?

11          A     Yes.

12          Q     Okay.

13                But because Ms. Meggs was a Verizon subscriber,

14    only a small number of her messages were captured, those

15    with T-Mobile subscribers?

16          A     Correct.

17          Q     And even then, not all messages with T-Mobile

18    subscribers?

19          A     Yes.

20          Q     Okay.

21                If we could pull up 10253, please, Ms. Badalament.

22                So Mr. Woodward showed you this message, which we

23    introduced on your direct examination.

24                And noted that the date was December 29th of 2020.

25    Do you remember that?
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 141 of 176

                                                                           6585

1           A     Yes.

2           Q     And he asked you if -- wasn't it true that there

3     was no plans to go to the Capitol as of December 29th of

4     2020; is that right?

5           A     Yes, I was asked that question.

6           Q     All right.

7                 If we could pull up Government's Exhibit 9728,

8     Slide 17, already in evidence.

9                 And so what's the date of this message?

10          A     December 22nd, 2020.

11          Q     And who sent this message?

12          A     OK Gator 1, which is Kelly Meggs.

13          Q     Okay.

14                And what did he say?

15          A     "It's going to be wild, it's going to be wild.           He

16    wants us to make it wild.      That's what he's saying.       He

17    called us to the Capitol and he wants us to make it wild.

18    Sir, yes, sir.      We are headed to D.C., pack your shit."

19          Q     When he said he called us all to the Capitol, how

20    did he spell Capitol?

21          A     He spelled Capitol, C-a-p-i-t-o-l.

22          Q     And C-a-p-i-t-o-l, what does that refer to?

23          A     That refers to the building, not the city.

24          Q     Thank you.

25                And then finally regarding messages -- or
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 142 of 176

                                                                           6586

1     questions from Mr. Shipley on behalf of Defendant

2     Michael Greene.

3                 If we could pull up Government's Exhibit 1500.4,

4     please, Ms. Badalament, at 4:09.

5                 While that's coming up, Agent Palian, Mr. Shipley

6     asked you whether you thought Mr. Greene deleted the

7     messages off of his phone.       Do you remember those questions?

8           A     Yes.

9           Q     You didn't offer your opinion on whether he

10    deleted them, did you?

11          A     No, I can't say.

12          Q     Why did you not offer your opinion?

13          A     Because all I know is that the messages aren't

14    present.    I can't say why they're not present.

15          Q     And when you have been testifying here, have you

16    been instructed by the prosecutors to not offer your opinion

17    on certain facts?

18          A     Many facts.

19          Q     And have the prosecutors told you that it was the

20    Judge's instruction that you are only to say what it is you

21    read?

22                MR. SHIPLEY:    Objection.    That's bolstering.     That

23    is vouching.

24                THE COURT:    That's sustained.

25                Go ahead, Mr. Nestler.
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 143 of 176

                                                                           6587

1                 MR. NESTLER:    Can we get on the phone briefly?

2                 (Bench conference)

3                 THE COURT:    I mean, look, the last issue is with

4     respect to my instruction or what I've said in the past

5     about only reading and not interpreting.         The government's

6     asked for an instruction to that effect in closings and we

7     can take that up at that point.

8                 MR. NESTLER:    If Your Honor will provide it,

9     that's fine.    In the second trial, Your Honor asked us to

10    elicit that information from an agent, which is what I was

11    doing here.    But if Your Honor intends to provide it, that's

12    fine with us too.

13                THE COURT:    Right.   I remember last time it was --

14    I asked you to elicit it because the issue had been raised

15    by cross-examination that they were interpreting some

16    messages and not others, and I think that's how that came

17    up.   But we can discuss whether to provide the instruction

18    at the end.

19                MR. NESTLER:    Yes, Judge.

20                (Open court)

21    BY MR. NESTLER:

22          Q     So to be clear, you're not inside Mr. Greene's

23    head?

24          A     No, I'm not.

25          Q     You don't know what he's thinking or what he
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 144 of 176

                                                                           6588

1     actually did?

2           A     No, I don't.

3           Q     You only know what the evidence shows?

4           A     Correct.

5           Q     And we have up here on the screen Government's

6     Exhibit 1500.4, and we with see this message from

7     Michael Greene to the "January 5/6 D.C. Op Intel Team"

8     Signal chat; is that correct?

9           A     Yes.

10          Q     And so he actually sent a message to this Signal

11    chat on January 6th; is that right?

12          A     Yes.

13          Q     And who were the two other people he was

14    corresponding with about this topic, around this time, 2:00

15    p.m.?

16          A     Stewart Rhodes and Joshua James.

17                MR. NESTLER:    No further questions.

18                THE COURT:    Okay.   Agent Palian, you may step

19    down.     Thank you very much.

20                Mr. Nestler, could I ask you just quickly get on

21    the phone?

22                (Bench conference)

23                THE COURT:    Yesterday you indicated there were two

24    agents.    Who's the next one and how long?

25                MR. NESTLER:    No.   Sorry.   Our next witness is
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 145 of 176

                                                                           6589

1     Dr. Askenazi and then we have Officer Dunn.

2                 THE COURT:    Officer Dunn.    Okay.

3                 Okay.   Well, let's go ahead and take the break

4     instead of starting with her testimony.

5                 MR. NESTLER:    Yes, Your Honor.

6                 (Open court)

7                 THE COURT:    Okay.   We're going to take our lunch

8     break now instead of starting with the next witness.

9                 So it's 12:35.    We'll resume at 1:35.      We'll look

10    forward to seeing everybody.       Thank you very much.

11                COURTROOM DEPUTY:     All rise.

12                (Jury exited the courtroom.)

13                MR. SHIPLEY:    Judge Lamberth is waiting for me; he

14    set something at 12:30.

15                THE COURT:    Just in terms of timing, what are you

16    all expect for total time in terms of Dr. Askenazi?

17                MR. NESTLER:    I expect her direct to be 45 minutes

18    maybe.

19                THE COURT:    Mr. Greene?

20                MR. GREENE:    Probably the same, Judge.

21                THE COURT:    Officer Dunn?

22                MS. HUGHES:    20 minutes, Your Honor.

23                THE COURT:    Okay.   I'll ask everybody to eat

24    quickly and be back at 10 after so we can at least get

25    started with discussing jury instructions in the hope that
     Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 146 of 176

                                                                           6590

1     we get that done and I can do it today, all right?

2     Thank you.

3                 COURTROOM DEPUTY:     All rise.

4                 This Court stands in recess.

5                 (Recess from 12:38 p.m. to 1:10 p.m.)

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
Case 1:21-cr-00028-APM Document 1158 Filed 02/21/24 Page 147 of 176




                        C E R T I F I C A T E
                  I, William P. Zaremba, RMR, CRR, certify that
 the foregoing is a correct transcript from the record of
 proceedings in the above-titled matter.




 Date:__March 8, 2023_______        ____________________________
                                    William P. Zaremba, RMR, CRR
                                                                                                                  6592

    Case 1:21-cr-00028-APM
                   6494/9 6494/16Document  1158
                                 6499/6 6453/22    Filed 02/21/24
                                                6453/25      6509/13 Page
                                                                     6509/17148 of 18th
                                                                                   176 [12] 6501/22
                       6499/11 6499/15        6454/4 6454/7 6454/11 10155.1111 [2] 6510/2 6503/25 6505/1
BY MR. GREENE: [4]
                       6499/24 6503/3         6505/10 6505/15        6510/5                     6543/13 6550/6 6551/4
6543/7 6548/10 6550/1
                       6504/12 6504/18        MR. SHIPLEY: [38]     10155.1116A [1]             6551/12 6551/21
6551/11
                       6505/5 6508/4 6509/15 6468/11 6474/9          6510/20                    6562/2 6577/9 6580/8
BY MR. NESTLER:
                       6510/3 6510/21         6474/25 6475/6        10155.1116B [2]             6580/18
[37] 6501/11 6503/6
                       6511/11 6511/25        6475/10 6519/20        6511/10 6511/14           1999  [1] 6456/6
6504/20 6505/17
                       6512/22 6516/9 6543/4 6520/20 6522/5         10155.1151     [2]         19th [1]  6465/12
6506/7 6506/25
                       6547/8 6547/19 6548/5 6523/19 6523/22         6511/24 6512/5            1:10 [1]  6590/5
6507/13 6508/8
                       6548/9 6552/11         6524/2 6524/9 6524/12 10155.116A [1] 6511/1 1:35 [1] 6589/9
6509/20 6510/8 6511/3
                       6552/20 6553/4 6553/7 6524/15 6524/23        1025 [1] 6447/11           1:59 [1] 6525/15
6511/17 6512/9
                       6561/6 6561/10         6532/16 6534/8 6535/4 10250 [2] 6461/9
6512/15 6513/14                                                                                2
                       6561/14 6561/16        6535/25 6536/16        6512/11
6514/7 6515/9 6516/6
                       6561/21 6577/24        6537/17 6538/20       10251 [5] 6512/8           20 [4] 6450/11 6538/25
6516/17 6519/6
                       6578/2 6579/20 6582/2 6560/7 6568/7 6568/16 6512/21 6512/24              6554/11 6589/22
6519/11 6519/23
                       6582/6 6582/10         6571/11 6571/13        6513/8 6513/12            20-year [1] 6534/16
6520/21 6522/10
                       6582/13 6582/22        6571/16 6572/4 6572/8 10252 [9] 6519/10          200 [1] 6578/22
6525/2 6526/16
                       6589/20                6572/12 6572/16        6519/16 6519/17           20001 [3] 6446/4
6527/23 6528/15
                       MR. MACHADO:    [8]    6572/24 6573/6         6520/18 6522/8 6526/5 6446/12 6448/14
6529/4 6532/1 6532/19
                       6475/24 6486/24        6573/11 6576/24        6526/11 6526/14           20003 [1] 6446/7
6538/22 6541/7
                       6487/11 6494/18        6586/22 6589/13        6531/23                   20007 [1] 6447/12
6542/19 6580/3 6583/6
                       6499/25 6500/8         MR.  WOODWARD:        10253   [6]  6540/21       20010 [1] 6447/3
6587/21
                       6561/22 6562/10        [18] 6450/25 6461/12 6541/2 6541/5 6558/15 20036 [1] 6447/8
BY MR. SHIPLEY: [5]
                       MR. NESTLER: [90]      6465/2 6466/6 6466/11 6558/16 6584/21            2012 [1] 6561/5
6563/3 6568/10
                       6452/6 6453/9 6454/9 6473/3 6473/12          1041  [1]   6505/13        202 [6] 6445/17
6568/17 6571/17
                       6456/14 6458/24        6474/24 6475/11       106 [1]   6572/20           6446/12 6447/4 6447/9
6573/12
                       6459/19 6460/24        6477/5 6481/10        10:30 [1] 6560/12           6447/13 6448/14
BY MR. WOODWARD:
                       6461/4 6472/21 6484/6 6481/20 6534/20        10:32  [1]   6541/23       2020 [15] 6470/9
[4] 6554/3 6555/8                                                                               6514/1 6514/2 6514/18
                       6494/5 6499/2 6499/19 6553/16 6554/23        115 [1] 6574/7
6557/18 6558/19
                       6500/5 6501/1 6502/15 6557/16 6560/5         117 [1] 6574/20             6515/14 6517/21
COURTROOM                                                                                       6517/23 6517/25
                       6502/23 6504/19        6562/11               119 [1] 6575/14
DEPUTY: [10] 6450/2                                                                             6518/5 6518/10
                       6505/3 6505/12         MS. HALLER: [1]       11:01 [1] 6516/20
6450/6 6500/9 6557/15
                       6505/16 6506/19        6459/17               11:26 [4] 6454/17           6518/15 6541/21
6560/17 6561/17
                       6506/21 6507/7 6508/1 MS. HUGHES: [6]         6455/17 6459/9 6460/4 6584/24 6585/4
6561/19 6562/14
                       6510/2 6510/19 6511/9 6487/9 6487/14         11:31 [1] 6478/11           6585/10
6589/11 6590/3
                       6511/23 6512/3 6512/7 6495/22 6497/3 6497/8 11:47 [1] 6572/10           2021 [35] 6467/23
MR. BRENNWALD: [5]                                                                              6501/22 6503/25
                       6512/13 6512/20        6589/22               11:52 [1] 6561/18
 6473/6 6484/10 6498/5
                       6513/9 6514/5 6515/5 THE COURT: [185]        11th [2]   6514/25          6505/1 6516/20 6517/5
6498/10 6498/24
                       6516/3 6516/14 6519/1 THE WITNESS: [2]        6515/1                     6517/25 6518/2 6518/3
MR. COOPER: [2]                                                                                 6518/11 6518/15
                       6519/5 6519/9 6520/18 6549/25 6560/23        121 [1]   6572/1
6474/6 6562/5
                       6522/3 6524/25                               12:04 [1] 6561/18           6528/5 6529/21
MR. EDWARDS: [40]                            '                                                  6530/15 6530/23
                       6526/10 6526/13                              12:30  [2]   6560/15
6462/11 6467/15
                       6527/21 6528/13       '21 [1] 6556/1          6589/14                    6531/7 6531/17 6533/9
6467/18 6469/16
                       6529/2 6531/25        'pray [1] 6470/13      12:35  [1]   6589/9         6550/7 6550/8 6550/10
6469/23 6470/5
                       6534/14 6535/15                              12:38  [1]   6590/5         6550/13 6550/14
6470/10 6470/17
                       6535/23 6536/15       0                      12th [2]   6514/18          6550/19 6550/23
6470/25 6471/2 6471/4
                       6541/1 6542/17 6543/1 0600 [3] 6529/11        6515/2                     6551/1 6551/4 6551/13
6472/13 6473/18                               6529/13 6530/25
                       6547/3 6547/12                               1341 [1]    6448/9          6551/21 6556/12
6473/20 6473/22                              0840 [1] 6446/4
                       6549/23 6551/8                               13th [5]   6517/25          6556/20 6557/5 6558/6
6476/3 6476/21 6477/9
                       6554/15 6554/18                               6518/2 6518/8 6518/11 6563/22 6580/8
6477/15 6478/15
                       6555/5 6561/24 6562/8
                                             1                       6518/15                   2023 [2] 6445/5 6591/7
6480/4 6481/18 6484/1                        1,500 [1] 6518/4
                       6562/12 6568/5                               14 [1]  6551/6             20530 [1] 6445/17
6485/10 6487/4 6488/4
                       6568/14 6572/2 6572/6 1/6 [1] 6570/12        1434  [1]   6446/12        20th [3] 6557/5 6558/6
6489/10 6489/14                              1/6/21 [2] 6570/1
                       6572/9 6572/15                               15 [3]  6477/20 6538/8 6558/10
6489/21 6490/11
                       6572/19 6573/2 6573/4 6570/4                  6560/13                   21 [4] 6528/17 6563/10
6490/17 6491/24
                       6577/3 6577/6 6577/17 10 [1] 6589/24         15-minute     [1]  6560/14 6570/1 6570/4
6492/19 6492/21
                       6579/8 6582/9 6582/11 100 [2] 6523/18        1500.4 [3] 6525/1          21-28 [1] 6445/4
6493/6 6493/17
                       6582/18 6587/1 6587/8 6569/16                 6586/3 6588/6             214 [1] 6448/5
6493/21 6494/2 6495/2                        10155.1041 [4] 6505/4 15th [2] 6513/25
                       6587/19 6588/17                                                         22 [1] 6445/7
6495/8                                        6505/8 6505/12 6506/5 6514/2
                       6588/25 6589/5                                                          228-1341 [1] 6448/9
MR. GREENE: [60]                             10155.1045 [3]
                       6589/17                                      16 [1] 6450/10             22nd [1] 6585/10
6454/15 6454/17                               6506/13 6506/19
                       MR. ROSSI: [21]                              17 [2] 6552/1 6585/8       2384 [1] 6464/5
6455/1 6455/3 6455/22                         6506/22
                       6451/10 6451/13                              1700 [1] 6447/17           24 [1] 6538/25
6455/24 6456/9                               10155.1050 [2] 6507/8 17th [3] 6515/14
                       6451/16 6451/20                                                         252-6928 [1] 6445/17
6456/11 6456/13
                       6451/24 6452/1 6452/3 6507/10                 6517/5 6518/3             2615 [1] 6447/9
6457/1 6457/20                               10155.1050.P [2]
                       6452/14 6452/17                              18 [2]  6459/20 6460/7 28 [2] 6445/4 6450/7
6458/16 6459/6 6460/4
                       6453/1 6453/5 6453/8 6507/23 6508/6          18 U.S.C [1] 6464/5        29th [7] 6470/9
6460/16 6472/14                              10155.1105 [2]
                       6453/16 6453/19                              1808  [1]   6447/3          6541/21 6542/11
6472/24 6473/2 6494/3
                                                                                                                         6593


2    Case 1:21-cr-00028-APM       Document
                    6476/11 6476/17        1158[1] Filed
                                       965-8100          02/21/24
                                                   6447/13   6563/24 Page
                                                                     6566/10149 of 176
                                                                                   6488/2 6489/2 6498/18
                        6477/1 6477/23 6479/2 96734 [1] 6448/9            6567/13 6567/20             6513/6 6513/13 6561/3
29th... [4] 6542/12
                        6482/10 6482/11         9728 [1] 6585/7           6567/21 6569/13            admission [3] 6460/13
 6559/4 6584/24 6585/3
                        6488/7 6488/8 6488/19 9828 [2] 6516/5             6574/8 6574/10              6461/23 6553/2
2:00 [1] 6588/14
                        6504/3 6506/17 6507/5 6518/17                     6574/25 6576/4 6577/9 admit [19] 6461/16
2nd [2] 6528/5 6528/24
                        6509/9 6516/20          989-0840 [1] 6446/4       6577/9 6577/15              6468/20 6488/16
3                       6530/15 6533/9          9902 [1] 6531/19          6577/17 6578/3 6578/5 6491/20 6495/20
30 [1] 6515/25          6541/10 6541/16         996-7447 [1] 6447/4       6578/6 6578/7 6578/10 6505/3 6506/19 6507/7
301 [1] 6446/8          6542/6  6550/8  6550/10 9:15  [1]  6445/6         6578/18 6578/20             6508/1 6509/13 6510/2
30th [4] 6517/21        6550/13   6550/14       9th [1]   6543/14         6579/1 6579/10              6510/19 6511/23
 6517/23 6518/10        6550/19 6550/23                                   6579/10 6579/13             6520/18 6522/3
                        6551/1  6555/23         A                         6579/16  6580/7     6583/8  6526/10 6571/25
 6518/15
                        6556/20   6559/3        a.m  [7]  6445/6 6464/21 6583/15 6584/5 6587/5 6572/11 6572/17
310 [1] 6446/3
                        6563/12 6563/13          6468/3 6468/5 6530/17 6588/14                       admitted [27] 6449/11
31st [3] 6467/24
                        6563/22   6565/22        6561/18 6572/10         above [1] 6591/4             6460/3 6460/14
 6517/24 6517/25
                        6572/7  6572/10         ability [1]  6536/6      above-titled   [1]   6591/4  6484/13 6488/17
3249 [1] 6448/14
                        6572/10   6576/10       able  [7]  6463/1 6492/7 Abrams [4] 6523/23           6492/3 6505/7 6506/20
32801 [1] 6447/17
                        6579/18   6588/11        6492/8 6534/13           6567/13  6568/1             6507/9 6508/3 6508/5
3300 [1] 6448/3
                                                 6570/23 6578/10          6568/11                     6509/16 6510/4
333 [1] 6448/13        7                         6584/4                  Abrams's    [1]  6567/15     6510/24 6511/13
34 [2] 6551/24 6552/6
                       700 [1]   6448/4         about   [136]  6451/20   absent  [2]   6467/4         6512/2 6512/23 6519/4
350 [1] 6446/11
                       703 [1]   6446/4          6452/16 6453/10          6493/3                      6526/12 6531/23
352-2615 [1] 6447/9
                       7447  [1]  6447/4         6453/15 6456/24         Absolutely    [1]  6552/25   6541/4 6552/13
354-3249 [1] 6448/14
                       745 [1]   6448/8          6456/25 6460/23         academic    [1]   6453/11    6554/19 6554/21
358 [1] 6561/4
                       75219  [1]   6448/4       6461/2 6461/8 6462/24 access [1] 6513/25             6558/17 6559/9 6574/2
3:06 [1] 6533/15
          6464/21      7727 [1] 6446/8           6465/3 6465/25 6466/3 accessed [1] 6514/2           admitting   [3] 6457/18
3:45 [3]
                       7:00 [2]   6468/25        6466/12 6466/19         according    [3]  6463/12    6462/12  6495/10
 6468/3 6468/5
                        6509/4                   6467/9 6467/24           6530/18 6531/9             advance [1] 6562/3
3d [1] 6561/4
                       7:08 [4] 6462/6 6464/8 6467/25 6468/24            accuracy   [1]   6571/16    advanced [2] 6532/20
3rd [1] 6529/21
                        6465/25 6469/10          6468/25 6469/2          accurate [7] 6490/10         6532/22
4                      7:30 [1] 6477/22          6471/16 6471/21          6512/16 6512/17            affects [1] 6461/2
4,000 [1] 6517/22      7th [5] 6468/3 6468/5     6472/20 6473/4           6522/7 6534/22             affiliated [1] 6548/18
400 [2] 6446/11         6557/5 6558/5 6558/10 6473/10 6473/24             6547/12 6571/19            after [20] 6462/14
 6447/12                                         6474/2   6474/12        accurately   [3]   6519/18   6463/24 6464/13
                       8                         6474/13   6474/21        6520/15  6521/25            6467/12 6469/11
400-1434 [1] 6446/12
                       80 [1]  6561/4            6474/22   6475/3 6475/4 acknowledged        [1]      6469/25 6470/1
403 [1] 6480/8
                       800-plus [1] 6564/3       6475/22 6476/6           6465/8                      6480/18 6481/13
407 [1] 6447/17
                       803 [3]   6459/20 6460/7 6476/13 6477/17          acknowledging        [1]     6483/5 6483/16 6504/2
45 [2] 6520/14 6589/17
                        6482/24                  6478/3   6478/5 6479/6   6464/8                      6515/23 6525/23
46 [1] 6531/20
         6472/16       808 [1] 6448/9            6479/6   6479/7 6479/10 across  [2]   6455/12        6546/3 6547/14
496 [1]
                       808Shipleylaw [1]         6479/19 6481/2 6485/3 6457/6                         6558/10 6559/6
4:09 [1] 6586/4
                        6448/10                  6487/12 6494/12         actions [6] 6464/13          6575/18 6589/24
5                      8100 [1] 6447/13          6495/14 6495/19          6467/3 6469/5 6470/1 afternoon [5] 6466/2
5/6 [6] 6522/14        83 [1] 6557/15            6496/7 6496/10           6488/18 6490/24             6563/4 6563/5 6580/4
 6522/20 6523/13       8429  [1]  6448/5         6496/12 6496/14         actual [6] 6460/3            6580/5
 6566/10 6567/20       85.web   2  [2] 6513/22   6496/16   6496/25        6482/1 6521/8     6521/14  afterward   [2] 6471/8
 6567/21                6513/23                  6498/11 6498/11          6534/6 6534/6               6471/16
503 [1] 6446/3         85.web 3 [2] 6514/8       6499/18 6500/6          actually [11] 6456/19 afterwards [1] 6487/2
55 [1] 6447/16          6514/9                   6500/18   6500/24        6465/13 6469/12            again [22] 6452/20
555 [1] 6445/16        85.web   4  [2] 6514/13   6501/21   6504/15        6495/25  6496/4             6465/12 6468/6
56 [1] 6454/4           6514/14                  6504/16 6504/22          6555/14 6566/6 6573/6 6476/15 6476/22
5:07 [1] 6515/15       850 [1] 6563/24           6509/9 6510/15 6513/7 6578/7 6588/1 6588/10 6477/2 6479/9 6480/6
5th [3] 6446/11        8:00 [1]   6464/20        6514/9 6515/23 6516/8 add [3] 6467/20 6473/3 6493/12 6497/18
 6530/23 6531/7        8:48 [1] 6572/10          6516/15 6516/19          6473/12                     6501/14 6505/11
                       8th [1] 6543/14           6516/25 6519/21         added [1] 6474/11            6529/7 6531/1 6546/7
6                                                6531/15 6534/25         additional [12] 6451/8 6547/2 6547/10
                       9                         6535/11 6535/13          6454/3 6460/17              6549/16 6566/8
6/21 [1] 6528/17
601 [1] 6447/7         900 [1] 6447/7            6536/13 6537/5 6538/6 6467/20 6505/5                 6574/22 6575/5
648-1700 [1] 6447/17 9080 [6] 6573/16            6539/10 6539/23          6509/15 6510/3              6575/15
65 [1] 6559/10          6574/10   6575/22        6540/9   6541/10         6510/21  6511/11           against  [38] 6455/9
6928 [1] 6445/17        6576/7 6576/10           6542/14 6543/17          6511/25 6540/19             6484/14 6485/5 6485/8
699-8429 [1] 6448/5     6576/14                  6543/22 6547/13          6577/14                     6485/12 6485/22
6:27 [1] 6530/17       922 [1]   6446/7          6547/18 6548/6          addressed [2] 6468/12 6486/1 6486/2 6486/6
6th [50] 6462/6 6463/7 928-7727 [1] 6446/8       6551/23 6552/16          6504/13                     6486/9 6486/16
 6465/25 6466/2        9453 [8] 6574/18          6554/7 6554/24          admissibility [2]            6487/22 6488/2
 6467/12 6470/8         6574/22 6575/5 6575/9 6556/10 6556/15             6457/15 6476/19             6488/11 6488/24
 6471/19 6471/24        6575/11 6575/15          6557/23 6559/15         admissible [10] 6463/5 6489/2 6489/4 6490/8
 6472/10 6474/4         6576/18 6576/18          6560/13 6563/8           6480/7 6482/3 6487/22 6490/14 6490/23
                                                                                                                      6594


A    Case 1:21-cr-00028-APM       Document
                    6506/2 6535/5 6536/20    1158
                                          6562/16    Filed 02/21/24
                                                  6563/10     ambient Page   150 of 176
                                                                      [2] 6581/15   6476/25 6483/12
                         6536/21 6536/22           6565/2 6565/10          6581/16                  6489/3 6494/22
against... [18] 6491/16
                         6544/7 6544/23            6567/21 6569/6 6570/3 ambiguous [1] 6483/8 6546/15 6547/7
 6493/10 6498/3
                         6546/21 6548/13           6570/10 6570/12        AMERICA [2] 6445/3        6549/21 6550/3
 6498/19 6498/23
                         6550/6 6580/10            6570/13 6570/14         6450/7                   6552/24 6567/7 6578/3
 6500/19 6500/20
                         6582/11 6588/24           6573/4 6574/1 6574/2 AMIT [2] 6445/10            6578/3
 6500/23 6500/25
                        ago   [5]  6543/11 6550/7 6574/3 6575/17           6450/2                  anywhere    [2] 6552/23
 6502/12 6513/6
                         6551/21 6552/7            6577/19 6578/15        Ammo    [1]   6529/15     6575/22
 6513/13 6519/4
                         6583/15                   6579/12 6582/14        among [1] 6559/18        Apologies [1] 6451/3
 6531/24 6554/19
                        agree   [16]  6458/3       6583/13 6584/2 6584/9 amount [1] 6554/9         apologize [3] 6476/12
 6554/21 6554/22
                         6458/8 6485/6 6487/21 6584/9 6584/17 6585/6 ample [1] 6529/18              6518/20 6526/24
 6558/18
                         6489/23 6503/3            6585/19 6586/13        analogy   [1]   6538/13  apology   [1] 6500/12
agent [60] 6461/1
                         6550/10 6550/14           6589/11 6589/16        analysis   [14]   6464/3 app  [1] 6559/25
 6461/4 6466/22
                         6550/19 6550/22           6590/1 6590/3           6476/16 6480/8          apparently [1] 6454/20
 6481/11 6481/13
                         6550/23 6551/1 6551/7 all right [7] 6496/2        6486/10 6488/23         APPEARANCES [4]
 6499/5 6499/15 6501/2
                         6563/11 6563/23           6511/13 6513/11         6489/21 6489/24          6445/12 6445/20
 6502/19 6503/8
                         6582/22                   6557/3 6560/16          6490/2 6490/12           6446/14 6447/18
 6504/21 6505/19
                        agreed    [2] 6464/11      6560/20 6590/1          6490/18 6491/4          appears   [1] 6465/16
 6506/14 6507/22
                         6473/18                  allege  [1]  6461/23     6494/24 6536/19         applicable   [2] 6486/1
 6508/9 6510/9 6512/8
                        agreement     [1] 6465/18 alleged [3] 6481/24      6539/21                  6491/1
 6512/10 6513/16
                                      6467/2       6484/24 6498/19        angry [1] 6544/9         applies [2] 6478/23
 6515/10 6516/2 6516/4 agrees [2]
                         6553/11                  allies [1]  6514/11     another   [12]   6460/13  6489/21
 6516/7 6519/13
                        ahead    [13]  6471/16    allow  [8]  6481/23      6477/20 6482/23         apply  [1] 6492/10
 6519/25 6523/23
                         6471/24 6473/17           6484/12 6491/20         6488/24 6499/22         appreciate   [3] 6451/2
 6524/17 6525/3
                         6514/21 6516/13           6497/13 6498/2          6524/17 6524/20          6461/15 6465/19
 6526/20 6529/20
                         6519/22 6549/24           6502/19 6536/12         6544/11 6547/8 6575/2 approach [1] 6455/22
 6532/2 6532/20
                         6555/4 6560/14 6578/1 6549/24                     6575/22 6584/6          appropriate [1] 6494/4
 6534/22 6535/3
                         6579/7 6586/25 6589/3 allowed [8] 6455/5         answer   [7]   6492/10   approximately [5]
 6538/23 6538/24
                        aid  [2]  6495/23 6496/9 6455/7 6457/7 6457/9 6496/22 6534/13               6517/24 6517/25
 6540/19 6541/8
                        aided   [2]  6448/16       6458/18 6459/12         6546/17 6551/15          6518/12 6533/7
 6541/19 6542/25
                         6539/20                   6469/5 6555/13          6558/11 6580/23          6551/22
 6543/8 6545/6 6545/8
                        aim [1] 6497/20           allowing [2] 6486/15 answered [4] 6569/9 archives [1] 6566/15
 6545/12 6553/15
                        ain't [2] 6478/1 6479/5 6502/20                    6577/10 6577/19         are [112] 6450/23
 6554/4 6554/24
                        AL [1] 6445/6             allows [1] 6459/21       6577/20                  6452/24 6455/5 6455/7
 6560/20 6562/12
                        albeit [1] 6557/23        almost [7] 6484/14      answering [1] 6577/22 6455/20 6458/21
 6562/18 6567/13
                                          6445/14 6543/11 6550/7          answers [5] 6579/5        6460/18 6461/13
 6567/15 6568/1 6568/7 Alexandra [2]
                         6450/13                   6551/21 6552/7 6584/2 6579/6 6580/25 6581/1 6462/4 6462/8 6462/16
 6568/11 6576/25
                                                   6584/9                  6581/2                   6463/4 6463/5 6464/3
 6580/4 6586/5 6587/10 Alexandra Hughes [1]
                         6450/13                  alone  [2]  6491/1      any [45]   6454/6 6459/2 6465/5 6468/1 6469/25
 6588/18
                        all [98] 6450/2 6450/23 6563/24                    6465/17 6466/7 6466/8 6470/7 6470/17
Agent Abrams [3]
                         6451/6 6452/9 6452/12 along [3] 6469/22           6466/18 6473/25          6470/20 6471/11
 6567/13 6568/1
                         6454/13 6455/9            6471/11 6496/11         6473/25 6474/1           6471/13 6471/18
 6568/11
                         6457/25 6458/8           already [8] 6461/14      6474/20 6475/2           6471/23 6474/4 6476/8
Agent Abrams's [1]
                         6459/13 6464/16           6516/5 6524/16          6476/10 6483/7           6476/15 6476/16
 6567/15
                         6464/16 6464/16           6531/20 6573/20         6483/19 6484/4 6485/1 6476/24 6477/11
Agent Harris [1]
                         6467/3 6467/9 6469/3 6577/8 6578/16 6585/8 6485/9 6486/8 6486/12 6477/21 6478/4
 6481/13
                         6470/23 6474/6           also [30] 6460/16        6492/24 6494/6           6479/17 6480/7 6480/7
Agent Palian [35]
                         6477/10 6480/23           6467/23 6469/10         6496/17 6496/22          6480/21 6480/22
 6461/4 6499/5 6499/15
                         6480/24 6481/16           6476/3 6481/25 6482/7 6500/23 6504/11            6480/23 6481/1
 6502/19 6503/8
                         6481/21 6488/10           6482/23 6487/4          6504/22 6518/13          6481/23 6481/23
 6504/21 6505/19
                         6490/16 6493/9 6496/2 6492/15 6493/22             6523/5 6524/13           6482/5 6483/4 6483/6
 6506/14 6507/22
                         6496/24 6498/16           6493/22 6509/1 6513/7 6532/20 6539/23            6483/16 6483/16
 6508/9 6510/9 6512/10
                         6499/1 6499/7 6500/13 6513/13 6525/19             6543/3 6545/12           6483/18 6483/18
 6513/16 6515/10
                         6502/16 6503/1 6505/7 6525/22 6526/7 6527/4 6552/20 6553/9                 6486/23 6486/23
 6516/2 6516/4 6516/7
                         6505/13 6506/4            6527/25 6528/24         6565/21 6566/1 6566/2 6487/18 6487/21
 6519/13 6519/25
                         6506/12 6511/13           6530/3 6532/20 6535/6 6576/6 6576/7 6579/2 6488/2 6488/5 6488/6
 6525/3 6526/20
                         6513/8 6513/11            6539/11 6540/4          6579/5 6579/6 6581/24 6488/16 6490/12
 6529/20 6532/2
                         6524/15 6524/20           6540/24 6542/5          6582/24                  6491/22 6498/18
 6532/20 6535/3
                         6530/22 6533/22           6568/15 6574/7         anybody    [4]   6468/15  6500/15 6502/3
 6538/23 6540/19
                         6534/14 6536/24           6577/21                 6468/25 6468/25          6502/11 6506/1 6506/2
 6541/8 6541/19
                         6538/14 6538/16          although [2] 6482/25     6473/4                   6512/16 6512/16
 6542/25 6553/15
                         6540/8 6541/18 6548/1 6487/11                    anyone [5] 6462/20        6513/6 6513/7 6513/21
 6562/12 6562/18
                         6548/16 6551/2 6551/2 Alvin [1] 6450/9            6480/16 6548/17          6515/10 6520/1
 6576/25 6586/5
                         6552/18 6553/13          always [3] 6476/13       6553/14 6577/1           6520/24 6522/12
Agent Palian's [1]
                         6553/14 6556/22           6529/17 6545/23        anything    [19]  6455/7  6522/16 6524/4 6526/7
 6534/22
                         6557/3 6557/8 6560/16 am [3] 6514/25              6460/22 6469/14          6526/19 6529/16
agent's [1] 6536/18
                         6560/17 6560/20           6533/18 6541/17         6473/3 6474/13           6529/16 6529/16
agents [16] 6488/13
                         6561/17 6561/19          amassed     [1] 6534/23  6474/17 6475/16          6530/7 6531/8 6533/17
 6503/20 6503/22
                                                                                                                    6595


A    Case 1:21-cr-00028-APM
                    6497/19 6498/3Document   1158
                                  6499/8 asking      Filed 02/21/24
                                                [6] 6476/6     6552/16 Page
                                                                       6554/13151 of 176
                                                                                     6534/13 6535/1 6535/3
                         6501/7 6503/15         6554/24 6560/9 6577/8 6557/9 6562/18             6535/4 6535/9 6535/21
are... [29] 6535/7
                         6503/21 6516/15        6577/14 6578/3             6567/11 6573/6 6576/2 6536/3 6536/4 6536/10
 6535/13 6535/17
                         6517/15 6519/18       asks [1] 6462/7             6576/18 6589/24       6536/11 6536/22
 6540/22 6541/14
                         6520/15 6521/16       asleep [1] 6455/18          backed [1] 6479/12    6536/22 6540/11
 6543/8 6545/4 6548/24
                         6528/22 6533/9        ass [3] 6470/16 6472/5 Badalament [22]            6541/4 6542/12
 6559/20 6562/6
                         6533/10 6534/18        6542/24                    6506/5 6507/15 6509/6 6543/13 6543/17
 6562/20 6567/20
                         6535/2 6535/2 6536/5 assess [1] 6490/19           6512/4 6512/14 6514/6 6551/17 6559/6
 6567/23 6568/18
                         6536/8 6536/9 6557/13 assist [2] 6497/24          6515/6 6516/4 6519/2 6559/21 6561/11
 6570/10 6570/12
                         6559/3 6559/9 6571/21 6559/16                     6519/10 6520/23       6567/8 6570/7 6575/8
 6571/20 6572/6
                         6571/25 6572/21       assistance    [5]   6466/16 6522/17 6526/4        6576/15 6578/21
 6572/13 6572/17
                         6574/6 6574/7 6575/14 6482/15 6495/24             6527/22 6528/14       6585/15 6585/15
 6572/18 6573/20
                         6578/25 6581/8 6585/3 6495/24 6558/14             6529/3 6530/1 6531/14 6587/22 6589/17
 6573/21 6574/1
 6574/14 6576/18        as Ms. Steele [1]      associated [4] 6523/6 6531/21 6542/18             6589/24
                         6487/6                 6523/17 6566/16            6584/21 6586/4        became   [1] 6488/15
 6585/18 6586/20
                        ASD  [1]  6547/23       6573/15                    bald [1] 6544/18      because   [53] 6455/11
 6589/15
                        aside [3]  6466/10     assure  [1]   6455/18       bandaids  [1] 6480/12 6455/16 6457/20
are you [1] 6589/15
                         6523/3 6539/3         ATL [1] 6521/11             Baron [1] 6456/7      6457/23 6460/21
area [2] 6453/14
                        ask [31]  6457/13      atmosphere      [1]         Baron-Cohen   [1]     6464/12 6465/5
 6476/14
                         6458/13 6465/23        6579/10                    6456/7                6468/12 6468/22
aren't [7] 6458/12
                         6494/13 6496/24       attachment     [1]  6533/4 barred [2] 6454/19     6469/1 6469/17
 6469/8 6478/4 6480/10
                         6504/14 6504/15       attack [1]  6479/11         6457/16               6471/13 6474/19
 6481/14 6576/19
                         6516/10 6547/20       attacking  [1]   6492/24 Barrett [1] 6448/13      6475/6 6479/11
 6586/13
                         6552/21 6554/7        attempted    [3]   6462/14 base [1] 6537/23       6485/15 6485/17
arguably [1] 6461/19
                         6556/14 6558/14        6469/25 6479/20            based  [14] 6451/10   6485/21 6485/25
argue [12] 6479/16
                         6560/20 6561/10       attempting    [4]   6471/8 6489/15 6508/19        6488/15 6488/18
 6480/25 6485/24
                         6562/18 6571/25        6471/13 6477/2             6510/9 6524/16 6529/5 6489/17 6489/19
 6488/5 6489/12
                         6576/3 6578/6 6578/7 6479/25                      6531/2 6537/2 6537/14 6490/5 6490/12
 6489/15 6489/18
                         6578/10 6579/12       attention  [1]   6460/9     6538/1 6538/16 6540/8 6490/21 6490/23
 6490/4 6490/25
                         6579/19 6580/19       ATTORNEY'S        [1]       6552/22 6571/4        6492/14 6495/10
 6498/21 6524/20
                         6581/24 6582/8         6445/15                    basis [3] 6534/12     6521/6 6524/10 6527/1
 6562/11
                         6582/14 6582/16       attributable [1]            6536/9 6549/16        6535/17 6537/19
argument [5] 6461/16
                         6582/24 6588/20        6484/16                    be [111] 6450/4       6540/13 6544/17
 6461/22 6471/13
                         6589/23               audio [2] 6500/5            6453/10 6453/14       6547/22 6552/22
 6492/16 6524/14
                        asked [57] 6451/20      6506/5                     6454/15 6454/23       6552/25 6561/7
arguments [1] 6485/19
                         6475/18 6475/22       authority  [1]   6460/12    6455/3 6455/16 6456/8 6561/12 6566/3
arms [1] 6475/15
                         6482/9 6495/14        autism [1] 6455/24          6458/10 6458/22       6568/20 6571/6
arose [1] 6547/22
                         6496/20 6504/15       autistic [1]   6582/7       6459/9 6459/11        6572/12 6573/7 6576/3
around [6] 6464/15
                         6504/16 6504/21       availability  [1]   6529/18 6459/15 6459/23       6576/14 6578/11
 6464/16 6495/16
                         6504/25 6506/15       Avenue   [4]   6446/7       6460/14 6460/20       6582/6 6584/13
 6555/22 6574/3
                         6507/3 6509/8 6509/23 6447/7 6448/3 6448/13 6460/25 6461/1 6461/3 6586/13 6587/14
 6588/14
                         6510/15 6511/5        aware [6] 6467/10           6462/21 6465/4 6465/6 becomes [2] 6537/17
arrested [2] 6517/5
                         6511/19 6516/8         6476/10 6494/21            6465/16 6468/11       6578/17
 6518/3
                         6516/19 6516/24        6498/6 6541/14             6470/12 6472/6 6473/4 bed [1] 6455/19
arrives [1] 6451/1
                         6538/5 6541/9 6546/12 6556/16                     6474/3 6474/5 6475/5 been [44] 6457/4
arrow [1] 6508/15
                         6546/14 6546/15       awareness     [2]   6466/8 6477/7 6477/14         6461/8 6466/15
article [2] 6458/19
                         6546/17 6547/24        6488/11                    6477/20 6478/17       6469/11 6475/16
 6514/9
                         6555/18 6555/22       away  [1]  6479/21          6480/20 6482/1 6483/3 6481/24 6482/9 6486/7
articles [3] 6452/8
                         6556/10 6556/15       Axiom [10] 6520/9           6483/20 6484/2        6488/21 6489/1
 6452/19 6453/13
                         6556/18 6557/23        6520/12 6520/15            6484/13 6484/15       6490/20 6490/25
articulated [3] 6477/14
                         6577/18 6577/18        6521/21 6522/7             6485/5 6485/24 6486/6 6498/6 6501/6 6509/9
 6483/4 6483/21
                         6577/20 6578/5         6522/13 6526/7             6486/10 6486/17       6514/24 6534/20
artifact [2] 6522/24
                         6578/21 6579/1         6526/20 6527/17            6488/23 6489/20       6536/18 6538/10
 6523/1
                         6579/10 6579/15        6528/6                     6491/6 6494/15        6538/24 6543/20
as [65] 6454/22 6455/1
                         6580/7 6580/21 6581/4                             6495/15 6495/16       6543/21 6548/11
 6455/20 6456/21                               B
                         6582/6 6582/12                                    6496/6 6497/14        6548/13 6550/4
 6456/22 6457/23
                         6582/13 6582/16       back [34] 6462/1            6497/19 6498/2        6552/13 6559/9
 6459/24 6460/1 6460/2
                         6582/22 6583/7         6462/8 6462/24             6498/16 6499/7        6560/11 6560/13
 6460/7 6460/12
                         6583/14 6585/2 6585/5 6463/20 6464/2              6500/12 6500/17       6565/10 6566/19
 6460/15 6465/4 6465/7
                         6586/6 6587/6 6587/9 6464/17 6465/25              6500/19 6500/23       6568/24 6571/8
 6465/12 6467/8
                         6587/14                6466/3 6466/14             6500/25 6502/12       6572/14 6573/21
 6469/20 6475/19
                        Askenazi [13] 6454/19 6466/15 6466/18              6503/13 6505/7        6574/2 6574/6 6574/8
 6477/17 6481/11
                         6456/16 6456/21        6468/10 6468/24            6506/20 6507/9 6508/3 6578/25 6579/2 6579/6
 6483/9 6483/18
                         6456/23 6458/11        6469/13 6481/19            6508/5 6509/16 6510/4 6586/15 6586/16
 6486/10 6486/10
                         6459/2 6460/25 6494/3 6490/13 6495/5 6496/2 6510/24 6511/6              6587/14
 6486/21 6486/22
                         6494/14 6499/2         6507/14 6514/20            6511/13 6512/23       before [33] 6445/10
 6487/6 6488/13 6489/8
                         6499/11 6589/1         6514/21 6514/22            6513/4 6526/12        6460/4 6470/8 6471/12
 6491/22 6493/1
                         6589/16                6526/5 6547/16 6549/1 6529/12 6530/8             6472/9 6474/10
 6496/21 6496/21
                                                                                                                        6596


B    Case 1:21-cr-00028-APM      Document
                   Bennie Parker [1]      1158
                                      bridges      Filed 02/21/24
                                              [1] 6528/11    6500/19 Page
                                                                     6501/24152 of 176
                                                                                   6509/11 6510/16
                        6495/14                      brief [1] 6455/12         6502/9 6502/12         6511/21 6533/16
before... [27] 6476/17
                        Bennie Parker's [1]          briefly [6] 6454/15       6502/23 6504/14        6550/8 6550/11
6481/19 6482/9
                        6475/24                       6468/11 6554/16          6504/15 6505/19        6550/15 6550/18
6482/10 6485/2 6488/7
                        Berry [1] 6465/16             6574/5 6577/3 6587/1 6505/22 6506/12            6550/20 6550/24
6488/8 6488/19 6499/4
                        besides [1] 6518/14          brilliance [1] 6553/10 6508/17 6509/3 6509/6 6551/2 6570/17 6571/1
6499/19 6499/20
6503/15 6503/24         best [1] 6465/15             bring [3] 6485/2          6510/2 6512/3 6514/22 6571/7 6571/21
                        better   [1]  6491/19         6499/1 6502/18           6515/5 6515/7 6517/13 6573/15 6575/18
6508/20 6517/21
                        between      [11]   6470/7 bringing [5] 6471/25        6519/1 6519/24         6585/3 6585/17
6523/20 6531/22
                        6482/5 6498/7 6503/8 6476/11 6476/13                   6521/10 6521/12        6585/19 6585/20
6545/24 6546/3
                        6518/10 6557/5 6558/5 6529/16 6529/16                  6521/17 6521/19        6585/21
6546/24 6551/6
                        6558/7 6558/20               brings   [1]   6454/13    6522/18 6523/19       Capitol  Building [4]
6551/13 6560/15
                        6563/21 6570/10              Britt [2]  6448/2         6524/20 6525/14        6462/22 6478/23
6561/24 6576/1 6577/4
6578/14                 beyond [1] 6483/14            6450/21                  6526/3 6526/5 6526/17 6482/14 6483/14
                        bigger    [1]   6511/6       Britt Redden     [1]      6526/25 6527/1        Capitol Grounds [4]
began [1] 6478/13
                        biggest     [1]   6502/6      6450/21                  6527/21 6527/24        6550/11 6550/15
begin [4] 6465/10
                        billed  [1]   6558/1         broad   [1]   6517/17     6528/13 6528/16        6550/20 6550/24
6465/11 6467/23
                        bio  [1]   6532/25           broke   [1]  6517/19      6528/25 6529/2        caps  [1] 6470/23
6500/15
                        bio-organic       [1]        brought    [10]  6466/21 6529/25 6530/21        capture  [3] 6520/15
beginning [1] 6500/21
                        6532/25                       6475/13 6475/20          6531/14 6533/7 6535/2 6521/25 6584/4
behalf [4] 6497/1
                                  6483/8 6493/25 6476/4 6484/20                6536/7 6536/22 6537/1 captured [11] 6533/9
6580/6 6583/14 6586/1 bit [6]
                        6515/8 6551/5 6554/7 6491/21 6491/23                   6537/4 6537/10         6533/10 6534/6
behind [1] 6570/23
                        6560/15                       6495/19 6496/25          6537/14 6538/10        6535/15 6535/17
being [27] 6463/1
                        blindness      [7]   6456/9   6497/4                   6538/13 6538/18        6540/11 6548/24
6464/4 6464/5 6468/2
                        6456/10 6456/15              bubble    [1]  6557/24    6540/24 6542/17        6558/9 6584/2 6584/9
6481/14 6482/21
                        6456/17 6456/25              building    [10]  6447/8  6544/12 6548/24        6584/14
6485/15 6491/21
                        6458/15 6472/23               6462/22 6478/23          6549/11 6550/3 6550/5 capturing [1] 6558/5
6495/19 6495/20
6495/23 6500/18         blocked [2] 6544/15           6480/18 6482/14          6552/9 6552/21        car [2] 6496/11
                        6544/17                       6483/11 6483/14          6554/15 6562/12        6497/16
6500/22 6504/21
                        blue   [1]   6479/12          6495/16 6510/17          6565/17 6566/8 6569/6 card [1] 6495/23
6510/15 6511/5
                        blunder [1] 6457/10           6585/23                  6569/10 6569/19       career [2] 6534/17
6511/19 6524/16
                        bluster [1] 6469/12          bunch [1] 6536/11         6574/6 6579/3 6582/4 6539/8
6534/19 6539/3
                        boat [1] 6528/21                                       6582/20 6587/1 6587/7 careful [1] 6546/22
6541/10 6541/16                                      C
                        bolster [3] 6455/8                                     6587/17 6589/24       carefully [1] 6546/19
6571/10 6571/12
                        6458/7 6561/2                C-a-p-i-t-o-l [2]         6590/1                CARLTON [1] 6447/11
6572/22 6578/10
                        bolstered     [1]   6497/25 6585/21 6585/22           can't [27]  6457/24    carltonfields.com [1]
6583/3
                        bolstering      [10]         Caleb [1] 6465/16         6458/4 6458/20         6447/14
belie [1] 6462/23
                        6454/23 6455/4 6455/9 Caleb Berry [1]                  6460/22 6478/1 6479/4 carrier [7] 6531/16
believe [41] 6455/11
                        6455/16 6456/3 6457/5 6465/16                          6489/16 6492/13        6531/18 6534/7
6457/6 6471/14
                        6457/23 6458/6               call [4] 6527/14          6492/15 6503/1 6535/1 6540/12 6540/14
6475/14 6476/3 6487/4
                        6458/19 6586/22               6546/22 6576/6           6538/1 6538/8 6538/9 6540/16 6555/11
6489/16 6492/14
                        bore   [1]   6465/21          6580/22                  6546/13 6546/17       carriers [3] 6534/16
6492/16 6494/2 6497/8
                        both   [8]   6451/7 6467/6 called [7] 6455/3           6550/2 6563/19         6555/16 6555/19
6499/15 6518/19
                        6479/6 6497/2 6497/3 6457/4 6460/9 6501/24 6565/18 6565/20                   CART   [1] 6535/5
6520/9 6522/15
                        6506/2 6576/5 6582/11 6502/2 6585/17                   6565/20 6565/23       case [76] 6450/7
6523/18 6526/21
                                         6456/24      6585/19                  6567/8 6569/10         6456/8 6459/15 6461/2
6530/9 6546/5 6546/7 bottom [8]
                        6505/14 6505/25              calling [1] 6493/22       6570/14 6586/11        6461/20 6462/15
6550/4 6554/10
                        6527/5 6528/13 6558/4 calls [3] 6501/2                 6586/14                6462/17 6465/8
6554/18 6558/15
                        6570/3 6570/12                6532/16 6534/8          cannot  [7]  6458/6     6465/12 6465/22
6558/25 6559/2 6559/5
                        Box   [1]   6448/8           calm [1] 6545/16          6486/6 6494/7 6500/23 6465/22 6467/1 6467/7
6559/5 6562/1 6564/2
                        boys [1] 6559/7              came [9] 6460/17          6500/25 6537/23        6474/15 6474/21
6564/8 6564/13
                        BRAND       [1]   6447/2      6488/6 6488/12 6490/5 6561/2                    6475/3 6475/24 6482/5
6565/12 6565/23
                        brandwoodwardlaw.c            6548/1 6554/22 6556/1 capable [1] 6583/2        6482/12 6485/12
6567/1 6567/7 6572/5
                        om   [1]   6447/5             6569/15 6587/16         capacity  [1] 6497/24   6485/16 6485/18
6575/25 6577/13
                        break   [15]    6560/8       can [110] 6453/6         Capitol [50]  6462/19   6485/23 6486/3 6486/7
6578/11 6583/20
                        6560/14 6560/22               6457/18 6457/22          6462/22 6463/8         6486/15 6487/5
believes [2] 6478/18                                  6458/2 6458/4 6458/5 6463/15 6464/14
                        6577/4 6577/18                                                                6488/17 6488/22
6481/6
                        6578/25 6581/24               6458/13 6458/16          6465/13 6465/14        6489/7 6489/22 6490/1
below [1] 6571/6
                        6582/1 6582/6 6582/8 6458/21 6459/12                   6465/17 6465/18        6490/21 6491/4 6491/6
Bench [10] 6502/10                                    6459/23 6465/23
                        6582/12 6582/13                                        6468/18 6468/21        6491/8 6495/1 6497/7
6523/21 6534/11
                        6583/3 6589/3 6589/8 6470/4 6472/16                    6468/22 6468/24        6497/7 6497/13
6547/4 6552/12
                        breaker [1] 6459/9            6480/22 6480/25          6469/13 6470/1         6497/14 6498/2
6554/17 6577/5 6582/5
                        breaks [3] 6582/15            6484/6 6485/5 6489/22 6477/24 6478/20           6500/16 6500/17
6587/2 6588/22
                        6582/19 6582/25               6489/25 6489/25          6478/23 6479/10        6500/19 6500/22
benefit [1] 6452/12                                   6490/3 6490/8 6491/5 6480/16 6480/18
                        bredden      [1]   6448/6                                                     6500/25 6514/16
Bennie [5] 6446/6
                        Brennwald        [5]  6446/6 6491/15 6492/6            6482/14 6483/5         6521/11 6530/8 6530/8
6450/9 6450/15
                        6446/6 6450/15                6496/24 6497/8 6497/9 6483/11 6483/14           6530/9 6530/11
6475/24 6495/14
                        6484/19 6498/15               6498/21 6499/2           6487/1 6496/13 6498/1 6534/18 6536/24
Bennie Alvin Parker [1]
 6450/9
                                                                                                                          6597


C    Case 1:21-cr-00028-APM
                   characterize [4]Document 1158
                                        6536/25    Filed 02/21/24
                                                6537/25      6497/20 Page 153 of 176
                                                                                 6534/24
                        6544/25 6581/7 6581/8 6538/3 6538/7                   COLUMBIA [2] 6445/1 concepts [1] 6471/24
case... [21] 6536/25
                        6581/15                    circumstances [1]           6445/16                  concerned [3] 6496/7
 6537/11 6537/12
                       charge [2] 6509/24           6582/17                   column [2] 6569/21         6496/21 6524/15
 6537/14 6537/19
                        6545/6                     city [1] 6585/23            6570/6                   concerning [3] 6496/4
 6537/25 6538/2
                       charged [10] 6461/19 clarifies [1] 6481/8              columns [1] 6576/5         6547/25 6551/14
 6538/11 6538/17
                        6464/10 6465/5             clarify  [1]   6558/17     Com  [2]  6477/25         concerns   [1] 6466/6
 6539/11 6539/17
                        6467/21 6467/22            classes     [1]  6455/10    6479/4                   conditionally  [2]
 6540/9 6546/23
                        6472/10 6482/2             clear  [7]   6453/10       come  [31]   6453/19       6488/16 6492/3
 6548/18 6549/17
                        6543/20 6543/21             6471/6 6477/3 6493/3 6457/16 6462/1                 conditions [3] 6579/16
 6554/20 6555/18
                        6550/4                      6505/13 6536/3             6462/17 6467/7            6579/17 6579/17
 6557/21 6565/25
                       charges     [1]   6551/14    6587/22                    6469/20 6470/14          conduct  [4] 6461/18
 6568/7 6571/8
                       charging [1] 6543/22 clearly [3] 6459/11                6482/9 6482/11            6461/18 6461/20
Case No. 21-28 [1]
 6450/7                Charles [4] 6447/15          6476/7 6563/21             6482/16 6483/2            6497/21
                        6447/16 6450/19            clerk  [2]   6451/20        6484/25 6485/8 6486/9 conducted [1] 6496/3
cases [9] 6452/7
                        6577/7                      6560/25                    6488/11 6488/23          conference [10]
 6453/13 6457/23
                       Charles     Greene    [2]   client  [1]   6484/20       6490/20 6490/23           6502/10 6523/21
 6459/10 6460/5
                        6450/19 6577/7             client's   [3]   6484/22    6493/10 6536/8            6534/11 6547/4
 6473/24 6486/20
                       chat  [58]    6474/11        6552/14 6561/23            6537/19 6538/1 6538/8 6552/12 6554/17
 6489/5 6538/5
                        6478/25 6479/23            clients [4] 6491/11         6538/10 6538/13           6577/5 6582/5 6587/2
CAST [3] 6539/5
                        6487/25 6488/2 6520/2 6491/14 6491/16                  6542/16 6562/18           6588/22
 6539/16 6539/19
                        6520/4 6520/14 6521/2 6498/23                          6567/11 6572/18          confess  [2] 6488/20
category [1] 6472/8
                        6521/7 6521/10             clip [2]   6506/12          6572/21 6575/17           6495/17
caught [1] 6584/7
                        6521/12 6521/14             6507/14                   comes [6] 6485/12         confirm [1] 6455/13
cause [1] 6462/1
                        6521/15 6521/17            clips [4]    6552/1 6552/2 6489/1 6498/23            confirms [1] 6465/17
caution [4] 6491/19
                        6522/20 6522/21             6552/13 6552/18            6526/18 6538/4 6538/4 conflict [1] 6459/15
 6493/4 6493/5 6493/13
                        6523/3 6523/4 6523/5 clock [1] 6563/6                 comfortable [2]           confrontation [1]
cell [24] 6512/18
                        6523/9 6523/13             close   [1]   6578/13       6549/13 6549/14           6500/1
 6513/18 6513/19
                        6523/14 6523/23            closed    [1]   6528/11    coming   [6]   6475/21    confuse  [1] 6466/22
 6517/1 6517/4 6517/6
                        6523/25 6524/5 6524/5 closer [1] 6510/17               6477/18 6497/16          confusing   [1] 6561/8
 6517/7 6517/10
                        6524/13 6524/19            closing [2] 6498/21         6535/19 6552/19          Congress [4] 6470/24
 6517/11 6518/23
                        6524/21 6525/4              6524/14                    6586/5                    6471/25 6573/25
 6519/13 6519/19
                        6525/12 6525/15            closings [1] 6587/6        comments [2] 6469/5 6575/15
 6520/6 6520/7 6520/12
                        6525/20 6525/23            CM [1] 6559/9               6473/7                   Congress's [1]
 6521/23 6534/7
                        6525/25 6529/8 6529/9 CM86 [1] 6557/16                commit [1] 6462/2          6471/25
 6535/18 6536/4
                        6530/4 6563/11             CM87    [1]   6557/14      commonly     [1]   6538/4 Congressmen [1]
 6540/11 6540/14
                        6563/25 6564/1 6564/6 cmg [1] 6447/18                 communicates [1]           6559/21
 6554/8 6554/9 6555/16
                        6564/12 6564/16            cmgpa.com [1]               6539/6                   connection [1]
cell phone [21]
                        6565/1 6565/11              6447/18                   communications [4]         6539/17
 6512/18 6513/18
                        6566/15 6567/13            co  [23]   6463/1 6464/11 6494/21 6494/21            Connie  [12] 6447/2
 6513/19 6517/1 6517/4
                        6567/18 6567/24             6464/15 6469/6 6472/9 6498/17 6538/7                 6450/10 6463/5 6463/9
 6517/6 6517/7 6518/23
                        6568/13 6568/19             6476/17 6478/19           companies [2] 6539/11 6463/12 6463/15
 6519/13 6519/19
                        6568/25 6569/1 6569/4 6479/1 6479/13 6480/6 6539/14                              6516/16 6516/19
 6520/6 6520/7 6520/12
                        6588/8 6588/11              6481/23 6482/2            compare    [1]   6556/18   6518/18 6560/2
 6521/23 6534/7
 6535/18 6536/4        chats [7] 6466/19            6482/23 6485/11           comparing [2] 6579/16 6583/15 6583/19
                        6488/10 6488/10             6485/13 6485/14            6579/17                  Connie Meggs [10]
 6540/11 6540/14
                        6520/24 6521/4 6521/8 6485/22 6488/5                  comparison      [1]        6450/10 6463/5
 6554/8 6554/9
                        6563/9                      6488/12 6488/19            6577/21                   6463/12 6463/15
Cellebrite [2] 6547/9
                       check    [3]   6497/9        6488/22 6490/24           complete    [2]  6452/7    6516/16 6516/19
 6568/19
                        6497/9 6563/6               6498/18                    6566/25                   6518/18 6560/2
cellular [3] 6539/20
                       checking      [1]  6472/25 co-conspirator [7]          completed     [1]  6481/6 6583/15 6583/19
 6539/20 6555/19
                       chemistry [2] 6532/24 6472/9 6481/23 6482/2 completely [1] 6469/14 Connie Meggs' [1]
certain [6] 6485/18
                        6532/25                     6482/23 6485/14           completeness [3]           6463/9
 6487/18 6490/22
                       Chi [2]    6477/25 6479/4 6490/24 6498/18               6460/19 6472/17          consciousness     [2]
 6502/4 6504/15
                       Chi-Com      [2]   6477/25 co-conspirators [14]         6561/11                   6461/22 6492/9
 6586/17
                        6479/4                      6463/1 6464/11            complicated [1]           consent [4] 6547/1
certainly [4] 6475/12
                       chief  [2]   6486/20         6464/15 6469/6             6473/11                   6547/8 6564/11
 6484/13 6494/7
                        6488/17                     6476/17 6478/19           complied    [1]  6508/18 6564/12
 6495/12
                       chopped [2] 6470/19          6479/1 6479/13            compromise [2]            consented [1] 6547/19
certification [2]
                        6471/5                      6485/11 6485/13            6453/20 6453/22          consider [1] 6486/15
 6455/10 6465/21
                       chose [1] 6491/8             6485/22 6488/5            computer [2] 6448/16 considering [1]
certified [2] 6448/12
                       Chuck [1] 6562/1             6488/12 6488/19            6539/20                   6543/23
 6496/8
                       Chuck Greene's [1]          co-defendant [1]           computer-aided [1]        consistent [7] 6454/21
certify [1] 6591/2
                        6562/1                      6480/6                     6448/16                   6458/17 6458/20
CH [1] 6448/13
                       chuckling      [1]  6553/11 co-defendants [1]          concede    [1]  6468/3     6458/21 6459/1 6459/4
chamber [2] 6573/22
                       circle  [1]   6508/17        6488/22                   concept   [2]   6468/9     6459/13
 6574/15
                       circuit   [7]  6484/6       Cohen     [1]   6456/7      6492/5                   conspiracy   [31]
chaos [1] 6550/24
                        6536/7 6536/25             collective    [2]  6489/8  conception     [1]         6461/18 6461/19
chapter [1] 6460/20
                                                                                                                      6598


C    Case 1:21-cr-00028-APM       Document
                   contrast [1] 6556/18    1158
                                        6495/4      Filed 02/21/24
                                               6501/14       crime [1]Page  154 of data
                                                                       6461/23     176 [23] 6513/18
                       controlled [3] 6545/22 6505/10 6507/22              crimes [1] 6462/2        6517/14 6517/18
conspiracy... [29]
                        6577/10 6581/4             6508/13 6511/7 6512/7 Criminal [1] 6450/7        6519/12 6519/18
 6461/21 6461/24
                       controlling [2] 6454/22 6512/13 6514/5              cross [22] 6449/4        6520/11 6520/15
 6464/10 6465/3 6465/6
                        6454/24                    6514/12 6516/3 6519/9 6460/10 6462/17            6521/22 6523/5 6523/6
 6465/7 6465/9 6465/10
                       conversation [4]            6520/22 6524/25          6463/23 6475/21         6523/17 6525/7
 6467/22 6469/4
                        6466/18 6497/14            6531/19 6537/8           6486/11 6487/15         6530/18 6531/2 6531/9
 6471/19 6472/9
                        6498/20 6498/22            6540/20 6544/5           6487/19 6488/15         6533/6 6534/6 6535/23
 6472/11 6479/13
                       conversations      [1]      6548/15 6558/14          6491/9 6491/13          6535/23 6540/9
 6481/24 6482/1 6482/2
                        6498/7                     6559/9 6569/1 6584/21 6491/16 6536/23            6563/21 6583/11
 6482/23 6483/8 6483/9
                       convey   [2]   6452/19      6585/7 6586/3 6588/20 6543/3 6543/6 6553/14 6583/24
 6483/13 6484/22
                        6452/23                   could you see [1]         6554/2 6561/3 6562/1 date [20] 6474/10
 6484/23 6485/25
                       Cooper   [5]   6446/9       6508/13                  6563/2 6564/14          6514/17 6514/18
 6490/21 6492/18
                        6446/10 6450/16           couldn't  [3]   6489/18   6587/15                 6515/13 6528/3 6528/4
 6498/15 6498/19
                        6451/1 6486/11             6567/25 6568/22         cross-examination   [12] 6528/23 6529/19
 6498/23
                       Cooper's    [1]  6485/3    Counsel   [1]   6456/12    6460/10 6462/17        6530/14 6530/22
conspirator [7] 6472/9
                       cooperated     [1]  6487/3 count [1] 6483/10         6463/23 6486/11         6530/23 6541/20
 6481/23 6482/2
                       cops [1]   6479/11         couple  [12]    6451/17   6487/19 6543/3 6543/6 6541/21 6567/2 6567/4
 6482/23 6485/14
 6490/24 6498/18       copy [4] 6507/19            6459/10 6480/18          6554/2 6561/3 6563/2 6570/11 6570/11
                        6547/9 6548/22             6512/14 6513/15          6564/14 6587/15         6584/24 6585/9 6591/7
conspirators [16]
                        6548/23                    6529/17 6542/20         cross-examine   [1]      dated  [1] 6470/9
 6463/1 6464/11
                       corner  [1]   6505/14       6549/19 6560/10          6553/14                 day [22]  6445/7
 6464/15 6469/6
                       corners   [1]  6537/7       6561/25 6563/8 6576/5 cross-examined [2]         6464/16 6464/16
 6476/17 6478/19
 6479/1 6479/13        Corporation [1]            course [10] 6452/11       6487/15 6536/23         6466/24 6478/12
                        6533/21                    6477/10 6537/20         crossing  [2] 6493/22    6478/12 6478/21
 6484/24 6485/11
                       correct  [62]   6469/23     6539/10 6547/10          6554/18                 6480/23 6480/24
 6485/13 6485/22
                        6470/3 6472/13             6548/14 6558/25         crowd  [1] 6511/7        6483/17 6485/20
 6488/5 6488/12
                        6503/10 6504/1             6559/11 6559/14         crowded   [1] 6551/6     6495/25 6518/2
 6488/19 6498/16
                        6518/21 6521/1             6559/24                 CRR [2] 6591/2 6591/8 6534/25 6545/24
Constitution [1]
                        6522/23 6523/10           court [37] 6445/1        cs.com [1] 6446/8        6546/4 6549/15
 6448/13
                        6524/11 6526/2 6527/7 6448/11 6448/12              cues [1] 6472/20         6563/18 6563/22
consulted [2] 6458/14
                        6532/3 6533/25             6457/17 6458/6          cumulative [1] 6474/16 6563/24 6564/1
 6539/16
                        6535/23 6537/21            6461/14 6465/8 6467/2 curfew [2] 6463/24         6578/12
contact [1] 6539/7
                        6540/16 6540/17            6473/8 6473/10 6480/9 6469/11                    days [9] 6474/10
contained [1] 6460/8
                        6545/21 6545/25            6484/12 6489/23         cut [1] 6561/12          6476/17 6538/25
contains [1] 6461/9
                        6546/4 6546/5 6546/7 6492/2 6495/9 6498/6 cuts [1] 6472/18                  6543/15 6552/15
content [23] 6523/5
                        6546/8 6546/10             6503/5 6504/6 6514/10 CV [6] 6452/5 6452/7       6554/6 6555/19 6556/3
 6523/6 6527/13
                        6546/24 6547/2 6549/9 6514/16 6516/7                6452/11 6452/15         6558/7
 6527/14 6528/9
                        6554/14 6555/11            6516/18 6524/24          6452/16 6453/10         days' [2] 6555/17
 6528/10 6528/20
                        6555/15 6556/9             6538/21 6541/8 6548/8                            6555/21
 6529/14 6529/15
                        6556/21 6557/1             6551/19 6553/6 6555/7 D                          DCA [1] 6561/5
 6530/5 6534/6 6554/13
                        6558/22 6559/4 6559/5 6561/25 6567/12              D-u-s-s [1] 6561/4       deal [2] 6459/8
 6555/11 6555/13
                        6559/12 6559/16            6567/12 6579/21         D.C [37] 6445/5          6500/14
 6555/14 6555/17
                        6564/2 6564/20             6583/5 6587/20 6589/6 6445/17 6446/4 6446/7 dealt [2] 6539/5
 6556/2 6566/2 6566/18
                        6564/21 6565/7             6590/4                   6446/12 6447/3 6447/8 6539/11
 6573/9 6577/15 6578/4
                        6565/12 6565/20           Court's  [2]   6462/13    6447/12 6448/14         December [24]
 6583/24
                        6566/20 6570/17            6480/20                  6470/12 6472/3          6465/11 6465/11
contention [1] 6483/13                                                      6474/11 6482/10
                        6571/2 6573/16            courtroom     [11]                                6467/23 6470/9
contents [1] 6455/20
                        6573/19 6574/11            6458/12 6494/4 6494/5 6482/11 6482/16            6479/18 6488/14
context [8] 6460/21                                                         6496/7 6497/16
                        6575/6 6575/19             6500/10 6551/6                                   6513/25 6514/2
 6466/21 6536/5
                        6576/11 6580/11            6551/13 6560/19          6497/17 6504/23         6514/18 6514/24
 6537/11 6537/12
                        6583/8 6583/10             6562/13 6562/15          6507/5 6509/25          6515/14 6517/21
 6537/13 6547/21
                        6583/16 6584/16            6581/17 6589/12          6522/14 6522/20         6517/23 6517/24
 6548/1
                        6588/4 6588/8 6591/3 cover [1] 6473/11              6523/13 6528/17         6517/25 6518/10
contextualized [1]                                                          6528/21 6529/7 6530/7 6518/15 6541/21
                       correctly  [4]  6488/7     covered   [4]   6461/18
 6548/4
                        6521/7 6533/10             6461/19 6461/20          6541/10 6541/16         6542/11 6542/12
continue [3] 6463/18                                                        6542/7 6542/13 6545/6 6559/4 6584/24 6585/3
                        6583/22                    6527/15
 6531/15 6542/21
                       correspond [1]             covers [2] 6572/13        6559/3 6559/7 6559/12 6585/10
continued [4] 6446/1                                                        6585/18
                        6505/14                    6576/9                                           December 22nd [1]
 6447/1 6448/1 6542/22
                       corresponding [1]          CR [1] 6445/4            D.C. [6] 6488/1          6585/10
continues [1]  6468/9
                        6588/14                   crazy [2] 6474/14         6488/10 6525/4 6530/3 December 29th [4]
continuing [2] 6468/2                                                       6563/10 6588/7
                       corroborate [1] 6463/9 6479/22                                               6470/9 6541/21
 6576/22
                       could [38] 6452/10         create [3] 6486/18       D.C. Op Jan. 6 [3]       6584/24 6585/3
contradict [1] 6502/13                                                      6488/1 6488/10 6530/3 December 30th [4]
                        6453/1 6457/3 6457/9 6486/18 6520/4
contradictory [1]
                        6457/13 6458/3            credentials [1]          D.C. Op Jan. 6, 21 [1] 6517/21 6517/23
 6502/21
                        6466/14 6476/8             6453/11                  6563/10                 6518/10 6518/15
Contradicts [1] 6582/3
                        6477/19 6488/17           credibility  [3]  6459/4 Dallas [1] 6448/4        December    31st [1]
contrary [2] 6494/23
                        6489/12 6489/15            6492/24 6536/13         danger [1] 6458/9        6517/24
 6502/13
                                                                                                                          6599


D    Case 1:21-cr-00028-APM       Document
                    6462/15 6462/17        1158
                                       6502/17    Filed 02/21/24
                                               6502/21      6494/22 Page
                                                                    6496/6 155 of 176
                                                                                  6481/18 6490/7 6494/8
                       6468/17 6468/19               6536/13               6496/20 6496/22              6495/4 6497/17
decision [2] 6482/11
                       6470/2 6470/18                determines [2]        6524/13 6544/17              6499/14 6499/22
6486/17
                       6473/22 6474/20               6457/17 6458/11       6546/16 6546/20              6504/21 6504/24
decisions [1] 6480/10
                       6475/3 6476/23 6477/4 device [1] 6548/22            6548/3 6549/21 6560/1 6506/14 6506/18
deck [1] 6470/22
                       6477/12 6479/8                devices [1] 6548/21   6562/3 6562/8 6576/15 6507/2 6507/16
Declaration [1] 6478/9
                       6480/25 6482/12               devoid  [1]  6581/9   6578/6 6579/7 6582/8 6507/21 6508/11
declaring [1] 6481/8
                       6484/15 6485/9                did [108]  6455/12    6582/16 6586/9               6509/8 6509/23
defendant [46] 6446/2
                       6486/14 6489/6                6457/11 6459/1 6459/1 difference [1] 6465/7        6510/14 6511/4
6446/6 6446/9 6447/2
                       6489/23 6490/5 6491/4 6459/8 6463/19                different  [22]    6457/20 6511/19 6511/22
6447/10 6448/2 6450/8
                       6497/7 6502/24 6541/9 6464/20 6467/10               6457/23 6459/18              6514/23 6520/8
6450/8 6450/9 6450/9
                       6547/14 6547/15               6471/7 6475/6 6479/2 6465/6 6465/9 6465/10 6527/17 6532/20
6450/10 6450/11
6450/14 6450/15        defensive [1] 6482/18 6479/7 6479/14 6481/6 6471/5 6473/7 6519/7 6532/22 6537/10
6450/16 6450/18        defer [1] 6461/7              6484/4 6484/9 6484/20 6527/4 6534/15               6538/9 6538/10
                       define  [1]    6548/15        6484/25 6485/12       6535/24 6550/7 6551/5 6538/18 6539/1
6450/20 6450/22
                                        6456/17      6486/11 6486/12       6551/12 6555/6               6540/15 6543/16
6465/5 6467/1 6479/1 defined [1]
                       defines   [2]    6456/19      6486/14 6487/4 6487/7 6567/11 6568/9               6544/20 6546/15
6479/14 6480/6
                       6458/15                       6487/9 6487/10        6574/17 6574/19              6547/15 6548/12
6480/14 6483/7 6486/7
                       defining    [1]   6472/22     6487/11 6489/19       6578/21 6583/13              6548/13 6548/21
6488/24 6488/24
                       definition    [1]   6459/5    6494/20 6496/12       differently   [1]   6456/19 6551/7 6551/19
6490/7 6490/13
6490/20 6491/22        definitively [1] 6535/1 6496/16 6496/17             digitally [1] 6507/21        6554/10 6557/19
                       degree   [2]    6532/24       6496/20 6504/10       dignitary   [1]   6509/10    6558/5 6558/20 6560/7
6492/4 6492/6 6492/9
                       6537/6                        6504/25 6513/25       direct [12]    6449/4        6560/13 6566/24
6501/21 6502/12
                       degrees     [2]   6532/21     6514/15 6517/4 6517/6 6460/11 6463/23              6570/7 6570/22
6516/15 6516/18
                       6532/22                       6517/7 6517/8 6518/13 6468/6 6472/2 6487/5 6571/18 6576/6
6519/7 6519/13
6525/17 6554/22        delete [4] 6524/12            6520/4 6522/14        6496/1 6501/8 6531/7 6577/16 6577/24
                       6556/25 6556/25               6522/21 6523/5        6564/19 6584/23              6578/17 6580/8 6580/9
6580/6 6583/15 6586/1
                       6569/4                        6523/11 6523/12       6589/17                      6580/21 6581/7
Defendant 16 [1]
                       deleted   [11]    6524/4      6523/14 6523/15       directed   [1]   6487/14     6583/21 6584/25
6450/10
                       6524/9 6524/12                6523/16 6523/18       direction [1] 6555/6         6586/7 6590/1
Defendant 20 [1]
                       6549/21 6550/2 6564/6 6524/12 6525/7                directly [6] 6464/14         do you [13] 6504/21
6450/11
                       6567/7 6569/10                6525/11 6525/19       6464/24 6474/17              6506/14 6507/2 6509/8
Defendant 5 [1] 6450/8
                       6576/14 6586/6                6525/21 6525/22       6479/12 6480/15              6509/23 6510/14
Defendant 7 [1] 6450/9
                       6586/10                       6528/6 6528/6 6529/13 6552/22                      6511/19 6520/8 6551/7
Defendant 9 [1] 6450/9
                       deleting [1] 6516/25          6529/22 6529/24       disagree [5] 6458/24         6560/7 6570/22 6581/7
Defendant Bennie
                       deliberately     [1]          6532/10 6532/12       6503/1 6548/3 6566/3 6584/25
Parker [1] 6450/15
                       6475/19                       6533/14 6536/19       6568/11                      do you have [2]
Defendant Greene [1]
                       deliberations       [1]       6537/17 6537/19       discretely   [1]   6453/15 6532/20 6539/1
6450/22
                       6500/20                       6542/10 6542/20       discuss [6] 6456/15          Do you know [1]
Defendant Isaacs [1]
                       demeanor       [2]   6492/8   6545/12 6549/4        6456/16 6499/12              6546/15
6450/20
                       6578/6                        6549/12 6549/22       6560/21 6577/3               Do you recognize [1]
Defendant Meggs [1]
                       demonstrative [2]             6552/7 6552/17        6587/17                      6557/19
6450/18
                       6456/23 6460/1                6552/17 6552/23       discussed [1] 6496/11 Do you remember [2]
Defendant No. 4 [1]
6450/8                 deny [1] 6514/16              6552/24 6556/13       discussing [3] 6467/4 6558/20 6586/7
                       denying [1] 6549/14           6557/21 6558/11       6471/23 6589/25              do you see [4] 6507/16
Defendant Sandra
                       depend     [1]   6568/20      6558/12 6558/23       discussion      [2]  6484/15 6508/11 6527/17
Parker [1] 6450/14
                       depict [1] 6519/18            6560/3 6561/25        6497/15                      6576/6
Defendant Steele [1]
                       depiction     [1]   6522/7    6566/23 6569/4        discussions      [1]  6541/3 do you understand [1]
6450/16
                       depictions [1] 6512/17 6576/16 6577/22              disorders [1] 6455/25 6570/7
defendants [33]
                       deputies     [1]   6471/20    6578/2 6578/7 6578/7 display [1] 6559/9            document [3] 6484/5
6445/7 6450/23
                       Deputy    [1]   6451/20       6579/7 6580/15        disputed    [1]   6578/18    6572/3 6572/4
6462/19 6463/2
                       Deputy    Clerk    [1]        6580/16 6580/18       distancing     [1]  6479/21 does [32] 6457/14
6464/11 6466/24
                       6451/20                       6580/20 6580/21       distractions [1] 6581/9 6457/14 6457/18
6469/7 6469/7 6474/6
                       derivative    [1]   6512/11 6580/25 6581/24         district [5] 6445/1          6467/23 6468/4 6472/7
6478/19 6482/4
                       describe     [4]   6501/24    6583/12 6585/14       6445/1 6445/10               6477/4 6477/6 6483/1
6482/13 6483/5
                       6521/6 6540/2 6548/16 6585/20 6586/10               6445/16 6457/6               6503/13 6507/19
6483/10 6483/19
                       describing      [2]   6476/17 6586/12 6588/1        diving  [1]  6495/23         6513/8 6514/8 6519/17
6486/14 6486/19
                       6481/11                       did you  [5]  6525/7  divorced    [1]   6490/2     6520/14 6520/17
6487/18 6487/20
                       designate      [3]   6521/12 6549/22 6560/3         do  [86]  6451/11            6521/14 6521/25
6487/22 6488/3
                       6521/16 6548/23               6586/10 6586/12       6451/13 6452/10              6522/2 6522/24
6488/22 6490/8 6491/3
                       desperately [1]               didn't [35] 6455/17   6457/5 6458/4 6459/15 6526/19 6529/9 6533/1
6491/8 6491/10
                       6477/11                       6467/1 6467/7 6467/8 6459/23 6459/25               6533/3 6534/5 6537/5
6492/10 6493/2
                       despite [2] 6485/23           6473/9 6473/25        6461/3 6462/14 6466/7 6564/23 6564/24
6493/14 6497/2 6497/3
                       6486/2                        6473/25 6474/1        6466/14 6469/13              6565/16 6571/6
6500/19 6554/21
                       detail [1]    6559/19         6474/25 6475/20       6470/6 6471/8 6471/17 6583/24 6585/22
defendants' [2] 6470/1
6489/9                 detailed [1] 6536/12          6476/1 6485/16        6471/21 6472/12              doesn't [17] 6459/14
                       details  [1]    6478/21       6489/17 6491/13       6472/13 6476/13              6465/10 6465/11
defense [30] 6452/10
                       determination        [3]      6491/16 6494/16       6476/18 6479/9 6481/3 6474/17 6482/1 6491/8
6459/25 6461/10
                                                                                                                         6600


D    Case 1:21-cr-00028-APM       Document
                    6538/15 6538/16    E 1158 Filed 02/21/24    Page 156
                                                        6548/6 6567/17      of 176
                                                                       6569/3  6459/21 6459/24
                        6540/8 6544/19 6547/7                              6570/15                     6460/15 6465/6
doesn't... [11] 6498/19                            e-mail [1] 6484/7
                        6548/17 6549/7                                    entail [1] 6452/25           6465/12 6465/21
6499/13 6499/21                                    each [8] 6457/24
                        6554/11 6590/1                                    entails [2] 6474/23          6467/10 6471/15
6532/18 6536/3 6537/4                               6478/24 6480/2
                        Donovan [1] 6496/12                                6537/8                      6474/20 6475/3
6537/15 6547/21                                     6488/22 6491/22
                        door [20] 6478/1                                  enter [2] 6465/14            6476/23 6477/3
6554/24 6556/25                                     6552/1 6564/16
                        6479/5 6489/24 6490/4                              6548/21                     6477/10 6481/1 6485/5
6564/23                                             6565/14
                        6490/5 6490/8 6491/6                              entered    [3]   6500/10     6485/9 6485/12
doing [12] 6457/10                                 earlier [11] 6483/4
                        6493/13 6494/25                                    6550/18 6562/15             6485/21 6485/22
6466/9 6466/16                                      6504/7 6506/15 6507/3
                        6552/18 6552/22                                   entire  [7]   6523/23        6486/5 6486/8 6486/16
6493/25 6495/15                                     6509/7 6509/22
                        6562/2 6577/8 6577/14                              6534/16 6545/10             6487/13 6488/5 6488/6
6495/16 6496/14                                     6510/14 6511/4
                        6578/2 6578/10                                     6567/24 6568/13             6488/17 6488/23
6496/14 6496/23                                     6511/18 6513/4 6518/6
                        6578/19 6578/24                                    6572/2 6572/8               6489/1 6489/16
6514/25 6538/8                                     earliest [1] 6465/11
                        6579/2 6579/6                                     entirely  [1]    6534/22     6489/18 6490/8 6490/9
6587/11                                            early [5] 6455/19
                        double   [2]   6497/9                             entirety  [5]    6489/6      6490/15 6490/16
don't [104] 6452/6                                  6515/2 6531/16
                        6497/9                                             6537/10 6572/11             6490/23 6490/25
6452/14 6452/22                                     6556/12 6556/16
                        double-check      [2]                              6573/1 6573/4               6491/15 6491/20
6453/3 6458/3 6460/22                              easiest [1] 6461/14
                        6497/9 6497/9                                     environment       [4]        6491/21 6491/23
6461/8 6465/4 6466/12                              easily [1] 6511/7
                        doubt   [1]  6553/10                               6545/22 6577/10             6492/17 6493/2
6466/13 6466/16                                    East [1] 6447/16
                        Douyon     [1]  6559/10                            6578/6 6581/5               6494/19 6495/10
6469/9 6470/13 6472/6                              eastern [2] 6515/15
                        down   [14]    6459/7                             equipped      [2]  6495/24 6495/12 6497/23
6472/21 6473/3                                      6530/17
                        6478/16 6486/1 6509/6                              6530/6                      6498/2 6498/22
6474/13 6474/15                                    easy [1] 6562/10
                        6512/3 6517/19 6519/1                             equitable    [1]   6491/9    6500/18 6500/22
6475/15 6475/18                                    eat [1] 6589/23
                        6526/3 6531/2 6531/14                             err [3]  6493/4 6493/5       6500/24 6502/13
6475/22 6476/19                                    Edition [1] 6456/1
                        6558/4 6560/21 6570/3                              6493/12                     6505/8 6506/22
6477/5 6477/13                                     Edmund [1] 6447/2
                        6588/19                                           escort   [1]   6509/10       6507/10 6508/2 6508/6
6479/11 6481/16                                    Edwards [8] 6445/14
                        dozens    [1]  6565/1                             escorting     [1]  6496/14 6509/14 6509/17
6484/25 6485/20                                     6450/13 6462/10
6486/22 6486/23         Dr. [21] 6451/22            6465/3 6465/24 6466/7 especially [1]
                                                                                              6491/10 6510/5 6510/20 6511/1
                        6454/19 6456/16                                   essentially     [1]  6496/6 6511/9 6511/14
6487/16 6488/20                                     6467/14 6468/16
                        6456/16 6456/20                                   establish    [1]   6571/16 6511/24 6512/5
6490/9 6490/11                                     effect [3] 6461/25
                        6456/21 6456/23                                   established [3]              6512/20 6512/24
6490/18 6491/18                                     6477/7 6587/6
                        6457/3 6457/9 6458/4                               6455/11 6460/12             6513/6 6516/5 6522/4
6492/12 6492/15                                    efforts [1] 6537/2
                        6458/10 6458/11                                    6469/11                     6522/8 6524/16
6492/16 6492/23                                    either [4] 6452/24
                        6459/2 6460/25 6494/3                             estimate [1] 6549/11         6526/14 6531/20
6494/1 6494/4 6494/6                                6477/6 6496/17 6546/3
                        6494/11 6494/14                                   estimating [1] 6549/13 6538/15 6538/17
6495/17 6495/17                                    election [1] 6514/11
                        6499/2 6499/11 6589/1                             ET [1] 6445/6                6541/2 6541/5 6548/23
6495/20 6498/16                                    elicit [4] 6502/11
                        6589/16                                           Eugene     [1]   6447/10     6549/20 6561/1
6521/6 6524/2 6524/18                               6582/20 6587/10
                        Dr. Askenazi     [13]                             evacuated      [2]  6573/25 6565/25 6566/1 6566/6
6535/18 6542/13                                     6587/14
                        6454/19 6456/16                                    6575/15                     6585/8 6588/3
6542/14 6543/25                                    elicited [3] 6495/6
                        6456/21 6456/23                                   evaluation     [1]  6492/25 evidentiary [1] 6500/14
6544/11 6544/19                                     6496/10 6577/12
                        6458/11 6459/2                                    even [11] 6461/21           exact [1] 6468/9
6544/25 6546/1                                     Ellipse [1] 6509/11
                        6460/25 6494/3                                     6466/23 6482/15            exactly [9] 6457/1
6546/13 6546/17                                    else [10] 6468/15
                        6494/14 6499/2                                     6483/13 6484/24             6459/22 6459/24
6547/6 6548/12                                      6473/4 6474/16 6476/5
                        6499/11 6589/1                                     6491/1 6493/23 6529/9 6473/16 6479/8
6548/16 6548/25                                     6483/3 6548/17
                        6589/16                                            6563/12 6568/20             6494/12 6494/24
6549/10 6549/25                                     6553/14 6558/10
                        Dr. Sperry    [7]  6451/22                         6584/17                     6524/7 6543/11
6549/25 6550/4                                      6559/20 6577/1
                        6456/16 6456/20                                   evening    [4]   6463/13    examination    [22]
6551/16 6551/17                                    email [19] 6445/18
                        6457/3 6457/9 6458/4                               6478/11 6483/6              6460/10 6460/11
6551/19 6554/13                                     6446/5 6446/8 6446/13
                        6458/10                                            6516/20                     6462/17 6463/23
6555/10 6555/10                                     6447/4 6447/9 6447/13
                        Dr. Sperry's    [1]                               events   [2]   6483/17       6486/11 6487/19
6555/14 6555/20                                     6447/18 6448/5
                        6494/11                                            6504/2                      6487/19 6494/1 6496/3
6557/7 6559/5 6563/14                               6448/10 6476/1
                        draw  [3]   6480/22                               ever  [6]   6457/9           6496/4 6497/12 6501/8
6564/8 6565/3 6565/4                                6487/24 6515/11
                        6524/21 6577/21                                    6474/12 6488/21             6537/18 6543/3 6543/6
6565/23 6567/6                                      6515/13 6515/13
                        dropped     [2]  6476/4                            6536/18 6566/19             6554/2 6561/3 6563/2
6567/16 6567/25                                     6515/14 6515/19
                        6500/5                                             6572/18                     6564/14 6580/2
6568/23 6569/1                                      6515/20 6549/19
                        drug  [1]   6538/5                                every   [2]  6455/10         6584/23 6587/15
6570/22 6571/1 6571/3                              emails [2] 6493/20
                        due  [1]  6499/7                                   6457/6                     examine   [1] 6553/14
6572/22 6573/18                                     6549/3
                        Dunn   [3]   6589/1                               everybody      [3]  6559/10 examined [3] 6487/15
6574/25 6575/23                                    employed [1] 6533/21
                        6589/2 6589/21                                     6589/10 6589/23             6519/12 6536/23
6575/25 6576/1                                     end [2] 6507/14
                        during [17] 6482/12                               everyone [5] 6450/5         example [3] 6487/22
6578/18 6579/2 6579/5                               6587/18
                        6495/18 6502/7                                     6500/11 6500/12             6489/2 6537/8
6582/20 6583/20                                    ended [2] 6483/11
                        6504/17 6517/19                                    6560/16 6562/17            examples [1] 6564/20
6587/25 6588/2                                      6506/8
                        6537/20 6544/2 6547/1                             everything [7] 6458/21 Excel [2] 6557/20
Donald [1] 6514/11                                 ending [2] 6529/11
                        6547/7 6547/9 6547/10                              6458/25 6459/12             6568/22
Donald Trump's [1]                                  6530/25
                        6548/14 6552/6                                     6483/3 6546/12             except  [1] 6494/10
6514/11                                            ends [2] 6468/3
                        6560/21 6561/3                                     6546/13 6549/18            exception   [3] 6493/15
done [14] 6457/3                                    6573/16
                        6580/13 6580/18                                   evidence     [90]   6451/21 6494/10 6566/5
6470/24 6476/9                                     engaged [1] 6576/21
                                                                           6455/6 6457/16             exceptions [1] 6459/20
6483/12 6514/14                                    enough [5] 6524/23
                                                                                                                                6601


E     Case 1:21-cr-00028-APM
                     6561/1 6578/10Document 1158 Filed 02/21/24
                                        6508/12                    Page
                                                          forever [1]     157 of gap
                                                                      6478/13    176[1] 6518/15
                       expert's [3] 6452/11       few [4] 6453/2 6466/20 forgive [1] 6569/8                 gaps [1] 6518/13
excerpt [1] 6455/24
                        6460/12 6460/13            6552/15 6564/20             forgot [1] 6560/12           Garcia [1] 6561/4
excerpts [2] 6545/3
                       experts [6] 6457/25        field [2] 6459/1 6459/5 format [5] 6557/24                gateway [1] 6502/18
 6564/15
                        6458/3 6458/8 6459/1 FIELDS [1] 6447/11                 6568/21 6569/15             gather [1] 6461/10
exchange [2] 6576/10
                        6494/8 6561/4             fight's [1] 6511/20           6571/6 6577/21              Gator [5] 6509/24
 6576/22
                       explain   [4]  6456/21     figure    [3]   6470/19      forth  [4]   6477/2 6479/8 6510/10 6510/11
exchanged [1] 6563/21
                        6459/10 6479/20            6516/12 6528/6               6495/12 6576/18             6510/16 6585/12
excuse [2] 6483/23
                        6517/13                   final   [2]   6485/2         fortunately     [1]  6495/4 Gator 1 [4] 6509/24
 6498/3
                       explained [2] 6503/15 6531/13                           forward [8] 6464/4           6510/10 6510/11
exercise [1] 6491/19
                        6584/1                    finally   [3]    6514/19      6476/23 6477/16             6510/16
exhibit [47] 6451/21
                       explaining    [1]  6460/5 6583/7 6585/25                 6483/16 6483/18             gave  [17] 6467/6
 6454/17 6456/21
                       explains   [1]  6456/22    find  [9]    6458/5 6521/14 6491/23 6518/8                6487/17 6506/16
 6459/24 6460/3
                                        6559/2     6521/17 6522/21              6589/10                     6507/4 6546/10
 6460/15 6461/9 6505/8 explicitly [1]
                       expressed     [1]  6482/21 6523/5 6523/14               forward-looking       [3]    6546/12 6547/1 6547/8
 6505/10 6506/22
                       extended    [1]   6576/21 6525/11 6527/15                6464/4 6483/16              6547/13 6547/15
 6507/10 6508/6
                       extent  [3]   6461/21       6549/21                      6483/18                     6548/2 6564/10
 6509/17 6510/5 6511/1
                        6466/23 6486/12           finding     [2]   6484/4     forwarded      [4]  6515/19 6564/11 6564/11
 6511/14 6512/5 6512/8
 6512/10 6512/11       extraction [3] 6513/17 6523/3                            6515/21 6515/21             6566/14 6567/2 6567/4
                        6513/23 6520/25           fine  [7]    6453/21          6515/24                     gear  [1] 6495/15
 6512/24 6513/12
                                                   6492/23 6502/23             found    [8]  6460/5         Gee  [3]  6463/6 6516/21
 6513/12 6516/4        F                           6572/12 6572/24              6484/7 6517/14              6518/18
 6518/17 6519/4
                       face [1] 6544/10            6587/9 6587/12               6523/16 6525/25             Gene [1] 6450/19
 6519/10 6519/16
                       Facebook [1] 6518/19 finish [3] 6464/20                  6526/1 6549/7 6568/2 Gene Rossi [1]
 6519/17 6521/19
                       fact [3] 6483/16            6468/4 6566/25              foundation [11]              6450/19
 6522/8 6525/1 6526/11
                        6502/21 6524/21           firearms      [5]   6475/13   6474/11 6519/20             general  [6] 6455/21
 6526/14 6526/18
                       factors [1] 6551/16         6475/20 6476/4               6519/21 6522/5              6458/22 6474/22
 6531/19 6531/23
                       facts [3] 6452/23           6476/13 6495/19              6532/16 6534/8 6536/6 6475/4 6490/14
 6540/21 6541/2 6541/5
                        6586/17 6586/18           first  [26]    6461/1 6466/1 6536/9 6536/15               6572/22
 6560/10 6574/7 6574/7
                       fair [8] 6512/16            6466/7 6471/2 6471/3 6536/19 6538/19                     generally  [6] 6491/2
 6574/20 6585/7 6586/3
                        6512/17 6522/6             6471/6 6475/21              four [14] 6454/1             6502/5 6502/6 6521/16
 6588/6
                        6524/23 6554/8             6478/16 6478/17              6478/3 6518/1 6518/10 6548/21 6555/16
Exhibit 1 [1] 6451/21   6567/17 6569/3             6481/13 6496/9               6537/7 6544/21              generates [1] 6527/5
Exhibit 10250 [1]       6570/15                    6513/16 6520/1 6520/2 6545/18 6545/19                    generic [1] 6533/4
 6461/9
                       fairly [4] 6519/17          6526/17 6530/22              6549/15 6549/18             gentleman [1] 6559/19
Exhibit 115 [1] 6574/7 6520/14 6521/25
                                                   6533/22 6534/14              6550/16 6550/17             gentlemen [3] 6513/2
Exhibit 117 [1]         6581/13                    6536/24 6538/19              6552/3 6575/17              6519/3 6531/23
 6574/20
                       familiar [2] 6533/17        6540/22 6541/19             Fourth [1] 6445/16           get [35] 6455/17
Exhibit 1500.4 [1]      6540/22                    6561/5 6563/10              frame [4] 6468/1             6457/22 6457/25
 6525/1
                       fanciful [1] 6469/14        6574/24 6575/23              6569/25 6571/21             6459/20 6460/6
exhibits [13] 6449/9
                       far [5] 6484/12 6484/17 fit [1] 6472/7                   6576/9                      6469/13 6469/18
 6454/14 6470/19
                        6496/21 6565/24           five  [1]   6549/15          framework       [1]  6488/25 6473/21 6475/19
 6471/5 6484/3 6486/22
                        6569/21                   FL [2] 6447/17 6559/12 frankly [2] 6473/22                6477/13 6477/13
 6486/24 6487/18
                       fashion [2] 6560/10        flag  [2]    6561/25 6562/3 6486/10                       6479/20 6491/25
 6487/21 6492/2 6492/4
                        6582/21                   flagged [3] 6459/25          fraud [1] 6514/16            6502/9 6510/17
 6513/6 6513/7
                       FBI [23] 6466/22            6547/14 6577/4              free  [2]  6481/2 6485/24 6523/19 6527/15
existed [3] 6523/2      6467/7 6503/9 6503/19 flapping [1] 6582/7
 6523/4 6566/15                                                                freedom [1] 6551/6           6528/11 6534/6 6537/4
                        6503/20 6506/2            Florida     [6]   6503/18    frequency     [3]   6506/16 6537/8 6552/9 6554/13
existence [1] 6492/18 6507/19 6517/4 6517/7
                                                   6503/20 6510/11              6507/4 6508/12              6554/15 6555/10
exit [1] 6483/14        6520/4 6524/17             6561/1 6561/4 6561/8 friend [1] 6545/7                   6555/10 6557/16
exited [2] 6560/19      6534/17 6535/5            fly [2]   6493/25 6495/5 front [2] 6492/7 6511/6 6559/20 6571/13
 6589/12
                        6538/24 6545/7            focused [1] 6476/24          fucked [2] 6573/24           6574/14 6582/4 6587/1
expect [2] 6589/16      6545/25 6577/23           focusing       [1]  6467/21   6575/2                      6588/20 6589/24
 6589/17
                        6581/7 6581/8 6581/16 folks [1] 6469/18                full [2]  6572/4 6581/19 6590/1
expecting [1] 6535/13 6583/1 6583/10
                                                  follow [1] 6481/4            fully [2] 6548/3 6569/9 gets [1] 6453/14
experience [6] 6534/5 6583/23
                                                  followed       [1]  6556/19 fulsome [1] 6580/22           getting [7] 6451/3
 6537/11 6538/1 6539/1
                       FBI's [2] 6520/24          following       [4]  6468/16 further [11] 6453/2          6470/12 6542/13
 6539/23 6554/9
                        6563/17                    6538/11 6538/12              6462/1 6501/7 6523/20 6573/21 6578/9
expert [28] 6452/19
                       fear [4] 6470/14            6560/25                      6543/1 6552/20              6578/14 6578/18
 6455/6 6455/8 6455/15
                        6471/24 6471/25           FOLLOWS [1] 6501/7 6553/12 6560/5                         give [14] 6460/5
 6457/5 6457/8 6457/17
                        6542/15                   followup [1] 6490/3           6576/24 6577/7              6470/13 6471/5 6477/9
 6457/22 6457/24
                       February [3] 6455/10 forbidden [1] 6457/6                6588/17                     6485/7 6502/20
 6457/25 6458/2 6458/7
                        6517/5 6518/3             foregoing [1] 6591/3 furtherance [5] 6472/9 6504/25 6521/10
 6458/25 6460/10
                       federal [3] 6455/5         forensic [9] 6454/20          6481/24 6481/25             6538/25 6542/13
 6460/11 6472/22
                        6458/6 6561/8              6455/15 6456/1               6482/22 6483/12             6542/14 6546/16
 6494/6 6494/6 6532/17
                       feel [2] 6549/13            6456/18 6458/14                                          6553/9 6579/7
 6534/9 6535/10 6536/4                                                         G
                        6549/14                    6460/23 6513/17                                          given  [6] 6486/17
 6536/17 6537/10
                       female [2] 6507/4           6513/23 6548/22             gangly [1] 6544/9            6497/12 6497/22
 6537/15 6537/25
                                                                                                               6602


G    Case 1:21-cr-00028-APM       Document
                    6499/22 6502/16        1158
                                       6519/15    Filed 02/21/24
                                               6519/17              Page6564/6
                                                            6562/1 6563/9 158 of handbook
                                                                                 176      [6] 6454/19
                       6502/19 6505/13       6520/18 6522/3         6566/14 6569/21          6455/14 6455/25
given... [3] 6502/4
                       6510/17 6516/13       6526/10 6532/7 6533/7 6587/22                   6458/14 6460/23
6502/7 6562/6
                       6519/15 6529/17       6535/10 6540/20        grievances [3] 6478/6 6472/16
gives [1] 6502/7
                       6535/10 6536/16       6541/1 6541/2 6541/5 6478/8 6481/7              handle [2] 6478/1
giving [3] 6500/17
                       6550/21 6551/2        6547/24 6553/2         grossi [1] 6447/14       6479/4
6513/4 6553/5
                       6552/16 6552/20       6555/18 6574/7         ground    [1]   6563/22  Hang  [3] 6502/9
glad [1] 6455/19
                       6553/1 6553/2 6555/5 6575/14 6582/18         grounds     [6]  6479/20 6516/12 6535/6
gloves [3] 6470/16
                       6559/7 6560/13        government's [35]      6550/11 6550/15          happen [1] 6464/13
6472/4 6542/23
                       6561/11 6562/7        6449/5 6449/11         6550/18 6550/20          happened [1] 6545/1
gmail.com [3] 6446/5
                       6562/18 6563/12       6461/15 6461/21        6550/24                  happening [3] 6464/12
6448/10 6515/21
                       6577/7 6578/9 6579/18 6465/15 6465/19        group   [23]   6462/5    6467/11 6578/12
go [64] 6455/10 6464/2
                       6582/7 6583/2 6585/15 6473/23 6477/8         6478/25 6479/23          happens   [6] 6462/4
6464/17 6465/13
                       6585/15 6589/7        6479/15 6483/13        6479/24 6480/13          6462/6 6463/17
6465/18 6466/14
6466/17 6468/10        gone [3] 6482/14      6494/6 6497/7 6500/15 6480/13 6485/15           6463/18 6464/13
                       6539/9 6548/14        6505/8 6506/22         6492/21 6509/10          6551/14
6469/13 6470/15
                       Good   [18]  6450/4   6507/10 6508/6         6509/25 6510/16          happy  [5] 6477/9
6471/21 6472/2 6472/3
                       6450/6 6450/25        6509/17 6510/5 6511/1 6510/16 6511/5 6511/7 6480/1 6481/19 6485/7
6473/17 6480/1
                       6466/11 6500/11       6511/14 6512/5 6512/8 6520/3 6520/5 6521/10 6554/20
6481/19 6502/23
                       6501/12 6501/13       6512/24 6522/8         6521/11 6521/13          harassed [1] 6496/6
6502/24 6506/12
                       6501/19 6501/20       6524/25 6526/11        6521/17 6527/2           harken [1] 6490/13
6507/14 6510/17
                       6527/14 6543/8 6543/9 6526/14 6526/18        6528/18 6566/10          harm [1] 6462/2
6514/5 6514/12
                       6554/4 6554/5 6563/4 6531/19 6558/14         groups    [2]  6521/5    Harris [1] 6481/13
6514/20 6514/21
                       6563/5 6580/4 6580/5 6585/7 6586/3 6587/5 6530/7                      has [39] 6454/6 6459/4
6514/21 6514/22
                       Good   morning   [11] 6588/5                 guess   [2]   6514/20    6461/8 6461/14
6515/5 6516/13
                       6450/4 6450/25        granted  [1] 6482/4    6578/3                   6462/17 6463/5
6519/22 6519/24
                       6500/11 6501/12       grateful [1] 6467/8    guidance     [1]  6493/3 6464/25 6465/8
6521/19 6523/20
                       6501/13 6501/19       Great [1]  6506/11     guilt [2]  6461/22       6465/12 6466/7
6523/23 6525/1 6526/5
                       6501/20 6543/8 6543/9 Greene [69] 6447/15    6492/9                   6468/17 6469/11
6526/17 6527/21
                       6554/4 6554/5         6447/16 6448/2         guns   [4]  6484/20      6471/23 6473/1
6528/13 6529/2
                       Google [14] 6514/14   6450/11 6450/19        6496/25 6497/5           6476/23 6479/8
6529/25 6530/21
                       6514/15 6533/17       6450/22 6457/13        6574/15                  6483/11 6486/17
6531/12 6535/18
                       6533/20 6533/21       6458/25 6471/20        guy [3] 6544/9 6544/15 6489/20 6492/21
6540/15 6541/19
                       6534/1 6534/2 6534/5 6471/22 6474/1          6545/9                   6493/18 6493/19
6542/17 6542/22
                       6534/15 6534/20       6474/10 6474/12                                 6499/3 6534/23
6547/16 6549/1                                                      H
                       6534/23 6535/8        6474/14 6474/18                                 6534/24 6535/5
6549/24 6555/4 6557/9
                       6535/21 6540/6        6475/9 6476/5 6476/6 habit [1] 6516/25          6537/23 6537/25
6560/14 6560/15
                       gosh  [2]  6543/16    6476/7 6479/16         had [44] 6451/7          6538/3 6538/7 6548/11
6565/24 6567/10
                       6557/16               6479/17 6479/23        6451/17 6451/23          6559/9 6559/23 6565/1
6570/3 6572/7 6578/1
                       got [18]  6454/17     6480/14 6482/8 6482/9 6458/25 6459/10           6574/6 6574/15
6579/7 6585/3 6586/25
                       6455/19 6458/10       6484/8 6487/25 6488/1 6460/4 6466/8 6467/18 6577/13 6578/24
6589/3
                       6459/9 6460/21        6489/1 6489/18         6474/14 6476/13          6579/6
go ahead [10] 6473/17
                       6469/17 6469/19       6492/16 6519/8 6523/5 6482/10 6486/7 6486/8 hasn't [2] 6485/8
6514/21 6516/13
                       6474/7 6481/17        6523/8 6523/24 6524/3 6486/13 6490/20           6493/13
6519/22 6549/24
                       6488/21 6490/4        6524/5 6525/16         6496/5 6497/24           have [139] 6452/9
6555/4 6560/14 6578/1
                       6529/18 6536/10       6525/17 6528/18        6508/10 6517/18          6452/16 6452/20
6579/7 6589/3
                       6536/11 6538/19       6531/15 6531/24        6517/23 6523/23          6452/21 6453/4
goes [6] 6467/23
                       6578/13 6578/14       6533/14 6535/8 6552/9 6539/6 6543/20            6453/12 6453/22
6510/10 6513/24
                       6583/24               6553/13 6554/19        6543/21 6543/25          6454/9 6456/20 6457/3
6535/24 6540/13
                       Gotcha   [1] 6527/3   6562/5 6564/14         6545/24 6546/1 6549/7 6457/4 6457/9 6457/14
6572/9
                       government [57]       6565/14 6565/21        6549/21 6555/21          6457/24 6458/3 6459/2
going [70] 6452/15                                                  6556/2 6556/3 6556/7 6459/10 6460/20
                       6445/13 6450/13       6567/23 6568/3
6462/8 6462/24
                       6451/9 6452/5 6453/4 6568/12 6568/25         6556/24 6556/24          6462/18 6464/15
6463/20 6465/25
                       6459/22 6462/25       6569/4 6572/1 6574/21 6557/4 6558/24            6466/6 6466/14 6467/9
6466/3 6466/4 6466/5
                       6467/8 6472/15 6477/3 6576/13 6577/7 6577/7 6558/25 6566/19           6468/10 6468/14
6466/5 6466/9 6466/15
                       6477/21 6478/18       6577/22 6578/1 6580/6 6569/1 6569/14            6468/14 6469/6 6469/7
6466/22 6467/16
                       6481/11 6485/6        6581/4 6586/2 6586/6 6569/15 6578/21            6469/25 6470/22
6468/18 6468/21
                       6485/21 6485/24       6588/7 6589/19         6587/14                  6471/10 6471/14
6468/22 6468/24
                       6487/21 6489/7        Greene's  [30] 6474/21 half [7] 6505/25         6472/15 6472/21
6468/25 6469/1
                       6489/25 6490/3 6491/5 6475/4 6488/9 6519/13 6551/22 6552/6 6553/1 6473/3 6473/25
6469/12 6470/23
                       6491/14 6491/20       6519/18 6520/6 6520/7 6581/20 6583/2 6584/5 6473/25 6474/1
6471/16 6477/20
                       6492/7 6494/22        6521/22 6522/21        Haller [3] 6447/6        6474/14 6475/16
6478/16 6478/17
                       6500/23 6501/5 6505/3 6524/4 6524/10 6526/1 6447/6 6450/17            6475/18 6475/23
6480/1 6486/5 6491/19
                       6506/4 6507/7 6508/1 6526/8 6527/10          hallerjulia [1] 6447/9   6476/9 6481/10 6482/1
6492/15 6493/4 6493/4
                       6509/13 6510/19       6527/25 6528/7         hand [7] 6470/14         6482/9 6482/14 6483/5
6493/12 6494/17
                       6511/9 6511/23        6529/23 6530/19        6472/1 6493/24           6483/12 6484/4
6495/15 6495/16
                       6512/20 6516/4        6530/19 6531/6 6531/9 6505/14 6508/10           6486/19 6487/23
6496/12 6497/19
                       6518/17 6519/9        6531/16 6533/8 6562/1 6542/16 6569/21           6488/14 6488/17
6497/25 6499/15
                                                                                                                     6603


H    Case 1:21-cr-00028-APM      Document
                   headed [1] 6585/18     1158
                                      6520/14    Filed 02/21/24
                                              6522/18              Page6583/11
                                                           6583/7 6583/8 159 of 176
                                                                                6552/6 6552/6 6553/1
                      heading [1] 6531/8      6526/19 6527/17            6586/7                    6576/9 6581/20
have... [85] 6489/1
                      headphones [3]          6528/3 6528/17 6529/6 history [3] 6453/11           house [5] 6462/6
6490/19 6490/23
                      6577/19 6579/3 6579/4 6531/2 6533/14               6487/23 6513/24           6462/7 6462/24
6490/25 6491/9
                      heads [1] 6553/5        6536/22 6538/13            hit [2] 6478/1 6479/5     6479/19 6493/24
6493/15 6496/22
                      heads-up [1] 6553/5     6540/22 6541/18            hold [2] 6477/4          how [49] 6456/16
6498/6 6498/10
6498/13 6498/13       hear [7] 6475/1 6485/7 6542/10 6548/6 6551/5 6493/13                         6456/20 6457/13
                      6494/10 6496/12         6552/15 6558/1 6558/4 honor [90] 6450/6              6457/14 6457/21
6498/16 6499/13
                      6500/24 6576/16         6562/5 6562/6 6562/9 6450/25 6451/10                 6458/15 6459/25
6499/22 6505/10
                      6577/24                 6567/12 6569/25            6451/17 6453/1            6461/3 6470/13
6507/19 6508/19
                      heard  [8]  6454/15     6571/20 6572/7             6453/17 6453/23           6470/19 6474/13
6509/9 6512/10 6513/5
                      6466/19 6468/11         6577/22 6579/17            6454/15 6455/22           6477/18 6481/16
6513/17 6514/23
                      6469/7 6469/7 6473/4 6580/13 6583/1                6456/11 6456/14           6490/4 6493/9 6501/25
6514/24 6517/11
                      6492/14 6576/13         6586/15 6587/11            6458/24 6459/10           6514/10 6515/23
6519/12 6519/14
                      hearing  [4]  6468/15   6588/5                     6459/17 6459/19           6525/7 6525/9 6526/25
6520/11 6520/13
                      6477/7 6495/2 6577/2 here's [2] 6536/24            6460/24 6460/25           6533/8 6536/1 6537/12
6521/10 6522/24
                      hearsay   [9] 6456/3    6538/14                    6461/2 6461/12            6538/23 6539/10
6523/17 6524/13
                      6457/8 6457/16          hesitance     [1]  6452/21 6462/11 6467/15           6540/9 6542/14
6529/17 6530/6 6532/6
                      6457/21 6457/22         hesitate   [1]   6567/6    6469/16 6470/18           6542/20 6543/8
6532/9 6532/20
                      6459/20 6460/8          hey  [2]  6457/25 6548/2 6471/10 6472/14             6549/11 6551/20
6532/22 6532/24
                      6476/16 6480/7          HI [1]  6448/9             6473/6 6474/25            6554/24 6555/24
6534/21 6535/10
                      heavier  [1]  6511/6    highlight    [3]  6491/24  6475/24 6478/14           6557/4 6558/4 6567/23
6535/25 6536/3 6536/7
                      help [20]   6462/20     6520/22 6557/22            6478/15 6480/5            6568/18 6568/22
6536/18 6536/20
                      6462/20 6462/21         highlighting     [1]       6481/18 6484/1 6484/6 6568/24 6577/11
6536/21 6539/1 6539/9
                      6463/3 6466/2 6466/4 6564/16                       6484/10 6487/9            6579/10 6581/7
6539/11 6539/12
                      6468/19 6468/22         highly   [1]  6486/17      6487/11 6487/14           6581/15 6582/15
6539/13 6539/16
                      6468/25 6471/9          him  [37]   6455/14        6488/4 6491/25 6493/6 6583/24 6585/19
6539/23 6540/5 6540/8
                      6471/16 6472/7          6470/15 6470/23            6493/17 6494/3            6587/16 6588/24
6541/18 6543/1
                      6478/20 6479/25         6471/21 6472/4 6474/3 6494/18 6498/5 6499/2 however [2] 6482/6
6545/11 6549/16
                      6480/16 6495/11         6475/6 6475/13             6499/25 6502/15           6538/3
6551/15 6552/13
                      6496/20 6498/1          6475/18 6475/20            6503/3 6504/12           huddle [1] 6465/16
6553/9 6554/8 6554/20
                      6514/10 6541/11         6475/22 6480/24            6504/18 6505/5           Hughes [2] 6445/14
6558/1 6559/19
                      helping [4] 6476/24     6484/12 6484/14            6506/21 6508/4            6450/13
6559/20 6562/16
                      6478/22 6480/11         6484/17 6484/21            6509/15 6510/3           humble [1] 6465/22
6568/24 6569/9 6571/8
                      6496/17                 6486/1 6501/22             6510/21 6511/12          hundred [4] 6529/17
6572/4 6572/14
                      her [33]  6452/5 6452/7 6502/11 6503/20            6512/1 6512/22            6533/11 6539/8 6565/2
6572/19 6572/20
                      6459/1 6459/15 6463/6 6506/16 6507/4               6513/10 6519/5           husband    [6] 6464/1
6573/20 6574/1
                      6463/7 6463/7 6464/1 6511/19 6535/13               6523/19 6523/22           6464/1 6464/25 6467/3
6579/18 6584/7
                      6464/1 6464/25 6467/3 6535/25 6536/20              6531/25 6534/20           6467/4 6468/8
6586/15 6586/15
                      6467/4 6468/8 6485/9 6536/22 6542/6                6535/4 6536/16 6543/2 hyperbole [1] 6468/13
6586/19 6588/5 6589/1
                      6485/23 6486/2 6486/9 6542/23 6543/22              6543/4 6544/17
haven't [2] 6452/21                                                                               I
                      6494/10 6494/13         6545/7 6552/16             6547/12 6547/15
6567/18
                      6497/23 6497/25         6576/16 6580/21            6552/11 6553/16          I admit [1] 6495/20
having [6] 6452/12
                      6499/21 6499/22         6582/12 6582/16            6554/15 6554/21          I apologize [3] 6476/12
6452/18 6484/14
                      6508/17 6516/25         6582/19                    6560/7 6561/6 6561/21 6518/20 6526/24
6501/6 6522/15 6547/8
                      6516/25 6517/15         himself [3] 6479/21        6561/23 6561/24          I believe [23] 6455/11
he [163]
                      6518/23 6555/1 6555/1 6479/21 6577/13              6577/6 6577/25 6578/8 6457/6 6475/14 6476/3
he didn't [3] 6474/1
6576/15 6582/8
                      6584/14 6589/4          hindering [1] 6485/21 6587/8 6587/9 6587/11 6487/4 6497/8 6499/15
                      6589/17                 his [44] 6455/15           6589/5 6589/22            6518/19 6520/9
he said [10] 6474/18                                                                               6522/15 6523/18
                      here [72]   6451/3      6458/25 6466/14            HONORABLE        [2]
6475/6 6475/15
                      6455/11 6456/6          6469/12 6471/23            6445/10 6450/2            6526/21 6546/5 6546/7
6475/16 6502/13
                      6456/24 6459/9          6474/2 6474/22             hope   [2] 6473/14        6554/10 6554/18
6506/9 6511/20 6559/7
                      6460/21 6462/12         6479/22 6480/13            6589/25                   6558/15 6559/5 6562/1
6582/12 6585/19
                      6462/16 6463/9 6464/7 6484/13 6487/5               Hopefully    [1] 6453/19 6564/2 6565/12 6572/5
he'd [1] 6534/13                                                                                   6577/13
                      6464/10 6465/24         6492/17 6496/1             hoping [1] 6476/13
he'll [1] 6461/3
                      6467/25 6469/18         6506/16 6520/12            hotel  [7] 6463/11       I can [14] 6472/16
he's [27] 6457/10                                                                                  6484/6 6491/15 6497/8
                      6471/13 6477/17         6523/9 6524/19             6463/12 6463/22
6466/3 6466/5 6467/1
                      6478/18 6479/16         6534/12 6534/16            6463/23 6468/8            6497/9 6527/1 6535/2
6468/8 6468/25
                      6479/17 6481/5          6536/5 6536/6 6536/9 6480/19 6481/1                  6550/5 6565/17 6566/8
6476/14 6479/6 6479/6
                      6481/24 6485/10         6536/13 6536/18            hour [8] 6461/4           6569/6 6569/10
6479/18 6480/20
                      6485/14 6490/20         6537/2 6537/20             6464/21 6468/2            6582/20 6590/1
6493/23 6519/21
                      6492/1 6492/3 6493/13 6537/23 6544/17              6469/11 6552/1           I can't [4] 6503/1
6524/2 6524/8 6524/9
                      6497/15 6504/7          6547/23 6547/23            6560/13 6583/2            6546/17 6565/18
6534/14 6536/19
                      6504/23 6505/14         6547/25 6551/6             6583/15                   6570/14
6536/21 6537/18
                      6505/23 6506/15         6564/10 6564/11            hours   [13]  6478/5     I did [10] 6455/12
6538/19 6545/9 6550/4
                      6513/15 6513/21         6564/12 6569/4             6478/8 6480/18 6525/9 6487/11 6517/8
6568/7 6578/3 6585/16
                      6515/7 6515/10          6569/15 6571/14            6549/15 6551/22           6522/14 6561/25
6587/25
                      6519/24 6520/1          6576/15 6580/13            6551/23 6551/23           6576/16 6578/2 6578/7
head [1] 6587/23
                                                                                                                          6604


I    Case 1:21-cr-00028-APM
                    6480/9 6483/21Document 1158
                                       6561/6      Filed 02/21/24
                                              6562/11       idea [4] Page
                                                                     6465/25160 of 176
                                                                                   6563/22
                          6484/16 6485/3          6579/14 6579/18          6497/25 6535/10             industry [2] 6458/18
I did... [2] 6578/7
                          6485/10 6485/22         6589/23                  6536/18                      6459/13
 6580/16
                          6486/9 6487/12 6488/2 I'm [68] 6452/8           ideas [2] 6474/15            inference [1] 6524/21
I didn't [5] 6455/17
                          6488/4 6489/7 6489/10 6452/11 6454/24            6479/22                     inferences [1] 6480/21
 6474/25 6491/13
                          6489/20 6489/21         6455/11 6455/19         identification [2]           information [13]
 6544/17 6578/6
                          6490/2 6491/4 6491/16 6456/5 6458/20             6557/13 6557/17              6452/13 6512/17
I didn't know [1]
                          6492/10 6492/13         6459/19 6466/9          identify  [3]   6505/22       6522/25 6523/1 6523/2
 6562/3
                          6492/20 6493/23         6467/18 6468/14          6560/2 6570/23               6536/7 6543/25
I didn't see [1] 6562/8
                          6494/3 6494/19 6499/6 6469/1 6470/23            illegitimacy     [1]          6554/19 6554/20
I don't [24] 6452/14
                          6503/24 6504/14         6470/24 6474/25          6478/10                      6554/22 6557/20
 6452/22 6476/19
                          6512/11 6513/21         6475/10 6477/9 6478/7 illegitimate [3] 6477/25 6579/9 6587/10
 6477/5 6477/13
                          6514/23 6514/24         6480/1 6481/19 6485/5 6479/3 6481/8                  informed [2] 6453/15
 6484/25 6485/20
                          6531/13 6534/24         6485/7 6486/5 6487/5 imagine [2] 6503/2               6556/5
 6487/16 6492/12
                          6537/22 6538/11         6490/22 6491/19          6554/11                     initial [1] 6534/21
 6492/16 6494/1 6494/4
                          6538/13 6538/18         6493/2 6493/4 6493/4 immediately [3] 6478/7 initially [1] 6515/23
 6495/17 6524/18
                          6547/10 6551/15         6493/12 6493/17          6478/9 6575/17              inside [8] 6462/19
 6550/4 6559/5 6565/23
                          6551/25 6551/25         6493/25 6494/16         impact   [2]   6483/23        6462/22 6468/22
 6567/6 6575/25 6576/1
                          6552/22 6558/18         6495/7 6499/9 6502/16 6556/24                         6478/22 6511/20
 6579/2 6579/5 6582/20
                          6564/4 6578/24          6502/18 6502/19         impeach     [7]   6455/5      6559/21 6559/23
 6583/20
                          6582/18 6583/22         6508/4 6519/15 6521/6 6455/6 6457/3 6458/2 6587/22
I don't have [1]
                          6587/16                 6522/15 6524/15          6492/4 6492/6 6552/14 insofar [2] 6483/9
 6472/21
                        I thought [8] 6451/21 6526/23 6529/17             impeached [1] 6457/9 6486/22
I don't recall [8]
                          6467/16 6467/18         6531/13 6536/16         impeachment [1]              instead [2] 6589/4
 6475/15 6475/18
                          6473/8 6485/3 6502/24 6539/20 6542/14            6578/20                      6589/8
 6475/22 6486/23
                          6555/3 6555/5           6543/16 6544/15         implicated     [2]   6491/11 instruct [1] 6486/5
 6495/20 6557/7
                        I understand [15]         6544/17 6552/20          6491/14                     instructed [1] 6586/16
 6567/16 6567/25
                          6454/22 6469/3          6554/23 6559/8 6560/9 import [1] 6566/7              instruction [8] 6485/4
I gave [1] 6487/17
                          6473/19 6480/5          6562/7 6562/18 6565/6 important [7] 6464/19 6487/17 6500/21
I guess [2] 6514/20
                          6480/19 6483/7          6567/16 6568/20          6563/11 6563/14              6516/11 6586/20
 6578/3
                          6489/10 6491/7 6498/5 6571/11 6575/7 6575/7 6563/15 6563/16                   6587/4 6587/6 6587/17
I have [9] 6452/16
                          6499/8 6524/7 6538/9 6577/25 6579/8              6563/17 6563/19             instructions [4] 6473/8
 6452/21 6453/22
                          6538/18 6569/8          6579/12 6587/24         importantly [2]               6500/18 6513/3
 6466/6 6470/22
                          6571/13                I'm going [7] 6466/9      6482/12 6482/15              6589/25
 6517/11 6534/21
                        I want [12] 6468/11       6469/1 6470/23          imprimatur [1] 6502/20 intel [7] 6522/15
 6543/1 6549/16
                          6469/4 6477/17 6526/5 6491/19 6493/4            improper [3] 6454/23 6522/20 6523/13
I haven't [1] 6452/21
                          6536/10 6541/19         6536/16 6562/7           6455/16 6486/16              6525/4 6566/10
I hope [1] 6473/14
                          6563/8 6571/13         I'm just  [3] 6456/5     inartfully   [1]  6471/4      6566/11 6588/7
I just [6] 6451/17
                          6571/15 6571/16         6493/2 6493/12          inclined   [1]   6485/6      intend   [5] 6456/15
 6464/23 6468/6
                          6573/7 6573/8          I'm not  [7]  6502/16    include   [2]   6485/23       6456/20 6459/2
 6486/15 6559/20
 6569/1                 I wanted [2] 6563/6       6502/19 6552/20          6513/8                       6479/16 6560/7
                          6576/3                  6567/16 6568/20         included    [1]   6572/18 intended [2] 6459/22
I know [9] 6470/21
 6475/19 6476/6         I was [5] 6503/12         6575/7 6579/8           includes [2] 6462/5           6459/25
                          6517/2 6561/8 6563/6 I'm not sure [4]            6478/25                     intending    [2] 6462/1
 6491/25 6495/2 6546/2
                          6579/9                  6452/11 6487/5          including [5] 6468/17 6502/11
 6566/9 6569/8 6586/13
                        I will [8] 6460/16        6490/22 6499/9           6474/1 6479/14              intends [3] 6454/18
I mean [16] 6460/19
                          6469/10 6481/22        I'm sorry   [16] 6454/24 6480/13 6495/11               6454/20 6587/11
 6488/20 6489/20
                          6484/19 6488/20         6467/18 6474/25         inconsistent      [2]        intent  [11] 6464/14
 6490/14 6491/13
                          6497/13 6553/4          6475/10 6478/7           6474/18 6499/7               6465/17 6466/23
 6492/13 6498/21
                          6577/21                 6494/16 6508/4          incorrectly [1] 6456/17 6471/9 6482/25
 6502/17 6524/18
                        I  worked  [1]  6500/1    6526/23 6531/13         incredibly [1] 6473/23 6484/23 6488/5
 6529/17 6544/25
                        I  would  [2] 6467/20     6539/20 6542/14         INDEX [2] 6449/2              6488/11 6489/17
 6547/22 6578/20
                          6546/22                 6559/8 6565/6 6571/11 6449/9                          6489/19 6497/20
 6579/15 6582/25
                        I  wouldn't  [1] 6549/13 6575/7 6577/25           indicate   [2]   6529/22     intention   [2] 6466/14
 6587/3
                        I'd  [10] 6457/14 6460/5 I'm sure [1] 6452/8       6532/10                      6468/18
I recall [3] 6495/18
                          6477/7 6551/15 6554/7 I've [29] 6452/24         indicated [4] 6494/20 interest [1] 6574/4
 6507/6 6552/1
                          6557/9 6563/15          6458/14 6458/21          6516/15 6547/14             interested [3] 6468/15
I say [3] 6490/20
                          6563/23 6575/25         6469/5 6469/17 6474/7 6588/23                         6477/7 6573/17
 6559/1 6576/1
                          6578/22                 6483/21 6488/21         indicating    [1]   6508/14 interesting [1] 6466/17
I should [2] 6514/20
                        I'll [23] 6450/25         6488/21 6508/21         indictment [1] 6467/22 Internet [8] 6534/4
 6569/9
                          6453/25 6454/7 6454/9 6513/19 6534/20           individual [5] 6489/8         6535/16 6540/10
I think [65] 6451/23
                          6459/7 6469/15          6536/11 6537/11          6489/9 6491/22               6549/5 6549/8 6549/11
 6451/25 6453/22
                          6473/12 6494/13         6537/12 6538/8           6508/13 6544/11              6549/15 6549/19
 6454/4 6454/19 6455/3
                          6498/2 6500/17          6538/10 6538/14         individually [1]             interpreting [2] 6587/5
 6459/8 6460/19 6464/3
                          6527/15 6536/15         6538/15 6538/16          6565/14                      6587/15
 6464/19 6467/2
                          6548/5 6549/24          6538/17 6539/3 6539/5 individuals [7] 6464/17 interrupt [2] 6470/4
 6468/12 6468/16
                          6552/21 6553/7          6539/6 6539/7 6539/7 6469/2 6469/4 6493/23 6489/13
 6468/20 6469/24
                          6557/16 6560/20         6545/8 6567/22 6587/4 6506/2 6541/15                 interview [18] 6502/3
 6474/7 6476/5 6476/15
                                                                                                                     6605


I    Case 1:21-cr-00028-APM
                    6513/9 6513/13Document 1158
                                       6494/24    Filed 02/21/24
                                               6497/19      6563/22 Page
                                                                    6565/22161 of 176
                                                                                  6454/11 6456/13
                          6515/22 6516/10        6498/15 6499/21        6572/7 6572/10              6457/12 6457/21
interview... [17] 6502/4
                          6543/10 6543/18        6502/3 6504/14 6522/6 6572/10 6573/4               6458/23 6459/7 6460/4
 6543/10 6545/10
                          6543/25 6544/24        6524/10 6524/16        6576/10 6579/18             6460/16 6472/19
 6550/6 6551/4 6551/20
                          6545/20 6546/4         6524/18 6526/25        6588/7 6588/11              6473/2 6494/16 6499/6
 6552/5 6552/17
                          6546/23 6547/23        6527/1 6529/11        January 20th [2]             6499/16 6499/24
 6552/24 6562/2 6577/9
                          6549/7 6549/21 6550/2 6530/11 6530/13         6557/5 6558/6               6503/4 6547/9 6547/19
 6577/15 6578/5 6581/7
                          6550/11 6550/15        6533/4 6535/2 6535/23 January 2nd [2]              6548/5 6552/21 6553/7
 6581/8 6581/16
                          6550/20 6551/5         6536/10 6536/11        6528/5 6528/24              6553/12 6561/14
 6581/19
                          6551/20 6552/5         6536/17 6537/19       January    3rd  [1]          6578/13 6579/20
interviews [2] 6467/6
                          6552/24 6577/17        6537/25 6542/2 6548/6 6529/21                      6582/2 6582/4 6582/7
 6545/23
                          6577/18 6577/19        6548/13 6552/22       January    5/6  D.C.  Op     6582/13 6582/22
introduce [8] 6451/9
                          6578/12 6579/4 6579/7 6560/11 6561/22         Intel Team    [2]  6525/4 6587/19 6589/13
 6452/1 6452/7 6452/11
                          6580/7 6580/11         6568/23 6571/5 6573/8 6588/7                       6589/20
 6455/7 6458/7 6477/22
                          6580/15 6580/19        6574/7 6574/21        January    5th  [2]         Judge's   [1] 6586/20
 6489/22
                          6581/24 6582/1 6583/1 6578/24 6582/7          6530/23 6531/7             judicial [2] 6460/14
introduced [8] 6495/22
                          6583/7                 6582/10 6585/15       January    6th  [45]         6547/13
 6497/6 6535/7 6571/8
 6572/14 6573/21         Isaacs' [8] 6512/18     6585/15 6589/9         6462/6 6463/7 6465/25 Juli [2] 6447/6 6450/17
                          6513/18 6513/19       items   [3] 6548/23     6466/2 6467/12 6470/8 Juli Haller [1] 6450/17
 6575/14 6584/23
                          6513/24 6515/12        6548/25 6549/20        6471/19 6471/24            JULIA [1] 6447/6
introducing [2] 6452/5
                          6546/8 6548/11        its [14]  6457/17       6472/10 6474/4             June [1] 6556/1
 6457/7
                          6548/17                6457/18 6466/24        6476/11 6476/17            jurors [2] 6499/1
introduction [2]
                         isn't  [4]  6465/24     6474/10 6482/12        6477/23 6479/2              6551/6
 6484/11 6497/22
                          6466/17 6491/12        6483/1 6483/2 6489/6 6482/10 6488/7 6488/8 jury [45] 6445/9 6452/9
investigating [1]
                          6571/10                6490/1 6491/5 6534/24 6504/3 6506/17 6507/5 6452/12 6453/14
 6538/10
                         issue [29] 6452/16      6537/9 6571/16 6573/1 6509/9 6516/20               6456/22 6458/11
investigation [14]
                          6461/7 6468/12        itself [2]  6521/15     6530/15 6533/9              6459/3 6466/22 6471/6
 6510/9 6536/5 6537/3
                          6474/17 6476/12        6579/3                 6541/10 6541/16             6471/14 6473/7 6477/3
 6537/7 6537/8 6537/15
                          6476/20 6477/6 6485/1                         6542/6 6550/8 6550/10 6477/11 6477/19
 6537/20 6539/10                                J
                          6486/18 6491/12                               6550/13 6550/14             6479/16 6479/21
 6548/15 6558/25
                          6492/24 6493/3 6496/8 James [2] 6525/22       6550/19 6550/23             6480/21 6480/23
 6559/11 6559/14
                          6500/1 6502/18         6588/16                6551/1 6555/23              6481/1 6481/19 6485/2
 6559/24 6563/17
                          6504/12 6535/8        Jan [8] 6522/14         6556/20 6559/3              6486/5 6486/15
investigations [1]                               6528/17 6529/8
                          6535/14 6537/22                               6563/12 6563/22             6489/15 6490/4
 6540/1
                          6547/18 6547/23        6559/12 6566/10        6565/22 6572/7              6491/25 6492/7 6492/8
investigator [5] 6536/8                          6567/20 6567/21
                          6547/25 6560/24                               6572/10 6576/10             6500/9 6500/10
 6536/9 6537/1 6538/4
                          6572/20 6573/14        6567/21                6579/18 6588/11             6502/17 6502/22
 6538/5
                          6577/4 6578/25 6587/3 Jan. [4] 6488/1        January    7th  [3]  6468/3 6508/17 6517/14
invoked [1] 6494/9                               6488/10 6530/3
                          6587/14                                       6468/5 6558/5               6536/12 6558/21
involved [2] 6501/22                             6563/10
                         issued    [1] 6547/6                          JC  [1]  6477/19             6560/19 6562/14
 6503/22
                         issues [6] 6451/18     January [75] 6462/6    Jefferson [1] 6447/11 6562/15 6571/10
involvement [1]                                  6463/7 6465/25 6466/2 Jeffrey [2] 6445/13
                          6486/18 6500/14                                                           6571/12 6572/23
 6484/13
                          6578/15 6578/15        6467/12 6467/23        6450/12                     6579/3 6589/12
IP [1] 6533/20                                   6467/24 6468/3 6468/5 Jeffrey Nestler [1]
                          6582/7                                                                    6589/25
is [362]                                         6470/8 6471/19
                         it [310]                                       6450/12                    jury's [2] 6492/25
is that correct [5]                              6471/24 6472/10
 6521/1 6532/3 6540/16 it would be [2]                                 Jessica [6] 6476/1           6497/19
                          6459/15 6578/21        6474/4 6476/11         6496/11 6496/12            just [116] 6451/17
 6583/8 6583/16
                         it's [86]  6451/21      6476/17 6477/1         6498/13 6508/23             6454/4 6455/20 6456/5
Is that right [1] 6581/5
                          6452/6 6452/9 6452/22 6477/23 6479/2          6508/25                     6457/13 6458/24
is the [1] 6492/7                                6482/10 6482/11
                          6453/12 6453/23                              Jessica   Watkins     [3]    6459/6 6459/11
is there [4] 6452/4                              6488/7 6488/8 6504/3 6498/13 6508/23
                          6454/19 6455/8                                                            6460/16 6460/17
 6552/8 6575/22
                          6455/11 6455/24        6506/17 6507/5 6509/9 6508/25                      6461/7 6462/25
 6575/24
                          6456/3 6457/4 6458/10 6516/20 6517/25        Jessica   Watkins'     [1]   6463/21 6463/25
Isaacs [71] 6447/10
                          6459/5 6459/12 6460/6 6518/2 6518/8 6518/11 6476/1                        6464/12 6464/21
 6450/10 6450/20
                          6467/8 6469/22         6518/15 6522/20       John   [3]  6446/2 6446/2 6464/23 6465/1
 6487/24 6487/24
                          6470/23 6471/6         6523/13 6525/4 6528/5 6450/14                      6465/23 6466/12
 6488/8 6489/3 6489/4
                          6471/11 6471/12        6528/24 6529/21       John   Machado      [1]      6467/20 6468/6
 6489/16 6489/19
                          6472/19 6473/12        6530/15 6530/23        6450/14                     6468/11 6469/16
 6490/23 6492/14
                          6474/10 6474/16        6531/7 6531/16 6533/9 johnlmachado [1]             6471/2 6471/3 6471/7
 6499/3 6501/21 6503/9
                          6474/18 6477/6         6541/10 6541/16        6446/5                      6471/11 6473/10
 6503/17 6503/18
                          6480/17 6481/25        6542/6 6550/8 6550/10 joined [1] 6464/11           6477/2 6477/16
 6504/6 6504/10
                          6482/20 6484/14        6550/13 6550/14       Joseph [1] 6447/10           6477/17 6477/19
 6504/15 6504/21
                          6484/17 6485/18        6550/19 6550/23       Joshua [2] 6525/22           6480/1 6480/1 6480/4
 6505/22 6505/23
                          6485/25 6485/25        6551/1 6555/23         6588/16                     6480/6 6481/5 6481/6
 6506/14 6507/3
                          6486/1 6486/2 6488/18 6556/12 6556/16        Joshua    James     [1]      6483/21 6484/10
 6507/16 6508/10
                          6490/11 6490/15        6556/20 6557/5 6557/5 6525/22                      6484/17 6484/17
 6509/1 6509/4 6509/7
                          6490/18 6490/22        6558/5 6558/6 6559/3 Jr [2] 6447/2 6448/7          6486/15 6487/16
 6509/22 6510/15
                          6491/7 6492/17 6494/7 6563/12 6563/13        JUDGE     [33]  6445/10      6488/16 6490/4
 6511/4 6511/18 6513/7
                                                                                                                               6606


J     Case 1:21-cr-00028-APM       Document
                    Kelly Meggs' [1]        1158
                                        6563/14    Filed
                                                6565/4    02/21/24
                                                       6566/9          Page 6536/8
                                                              lay [4] 6519/21 162 of like
                                                                                     176[23] 6452/1
                        6531/6                    6566/18 6568/23           6536/15 6538/19              6496/14 6496/14
just... [69] 6490/13
                       Kellye [16] 6469/20        6569/8 6570/22 6571/1 laymen's [1] 6533/3              6496/15 6496/23
 6490/19 6491/24
                        6470/8 6470/11            6571/3 6571/9 6573/18 lays [1] 6536/9                  6503/15 6526/20
 6493/2 6493/12
                        6471/22 6473/5            6574/3 6574/5 6574/25 leader [6] 6471/18               6527/5 6527/5 6534/5
 6494/14 6495/4 6496/2
                        6481/22 6482/22           6575/23 6577/6 6578/8 6479/13 6482/6 6482/7 6534/7 6540/5 6540/12
 6498/5 6499/21
                        6493/10 6493/20           6578/15 6578/18           6485/25 6510/11              6544/18 6553/14
 6500/13 6504/13
                        6498/8 6498/12 6542/2 6583/21 6586/13              leading     [4]   6456/18     6554/7 6558/9 6561/11
 6505/13 6505/13
                        6542/3 6542/4 6542/10 6587/25 6588/3                6467/11 6563/12              6568/22 6572/5
 6505/19 6506/1
                        6542/21                  knowledge      [5] 6474/1 6582/20                       6575/25 6577/21
 6507/14 6512/13
                       Kellye  SoRelle   [16]     6474/2 6534/12 6537/6 learn [2] 6537/18                6578/6
 6513/2 6513/5 6513/8
                        6469/20 6470/8            6560/4                    6537/20                     limitations     [1] 6457/21
 6513/9 6513/15 6515/7
                        6470/11 6471/22          known     [1]  6498/10    learned      [8]  6455/6     limited    [5]  6458/10
 6519/3 6519/15
                        6473/5 6481/22           knows [7] 6459/3           6455/8 6457/8 6458/7 6469/5 6552/14
 6521/15 6525/19
                        6482/22 6493/10           6470/15 6472/4            6459/23 6537/9               6552/18 6554/22
 6525/23 6530/11
                        6493/20 6498/8            6473/10 6536/1            6537/12 6537/23             limiting    [1] 6516/10
 6531/8 6533/9 6533/23
                        6498/12 6542/2 6542/3 6542/23 6566/1               least   [5]   6468/19        line  [3]   6471/11
 6535/2 6536/11
                        6542/4 6542/10           kudos [1] 6560/25          6497/15 6563/17              6472/19 6472/20
 6544/19 6547/20
                        6542/21                                             6583/1 6589/24              lines   [1] 6469/22
 6548/2 6550/16 6553/9
                       Kentucky    [1]  6484/16 L                          leave    [2]   6466/10       list [3]  6520/2 6520/4
 6557/12 6557/22
                       kept  [2]  6461/14        L. [1] 6450/11             6582/25                      6520/14
 6558/17 6559/10
                        6483/3                   lack [2] 6519/20          leaves [1] 6493/8            literal [1] 6472/6
 6559/20 6560/11
                       kicking   [3]  6470/16     6532/16                  Lee   [1]   6448/7           literally [1] 6549/7
 6563/8 6563/24
                        6472/4 6542/24           lacks [2] 6522/5          left [7]    6480/18 6483/5 literature [1] 6458/17
 6563/25 6564/1 6564/1
                       kind [12] 6460/6           6534/8                    6483/11 6493/24             little [17] 6451/3
 6565/10 6569/1
                        6464/23 6470/12          ladies [4] 6513/2          6505/14 6528/3               6459/8 6459/11 6483/8
 6569/10 6569/19
                        6471/4 6471/9 6491/3 6519/3 6531/22                 6569/21                      6486/11 6504/2
 6569/20 6572/12
                        6495/14 6502/5 6529/5 6559/19                      left-hand      [2] 6505/14    6508/14 6515/8
 6574/5 6576/2 6577/21
                        6532/10 6539/1           Lamberth [1] 6589/13 6569/21                            6522/16 6543/12
 6578/22 6579/9
                        6560/11                  land [1] 6455/12          legacy     [1]   6478/14      6543/13 6548/15
 6579/18 6582/7
                       kinda [1] 6542/13         language [1] 6456/24 legal [1] 6539/4                   6550/7 6551/5 6551/23
 6582/14 6582/24
                       kinds [3] 6464/4          large [1] 6462/1          Leigh [1] 6445/13             6554/7 6560/15
 6582/25 6588/20
                        6551/2 6579/9            largely [3] 6469/4        length [2] 6578/17           live [2] 6477/25 6479/3
 6589/15
                       kit [1] 6495/14            6483/16 6483/18           6578/19                     LLP [1] 6446/6
K                      kits [1] 6480/11          last [21] 6454/17         less [5] 6515/25             located [4] 6503/17
                       kneel  [1]  6478/13        6455/17 6459/6 6459/9 6543/12 6543/13                  6503/18 6518/23
Kailua [1] 6448/9
                       knew   [4]  6474/12        6460/5 6465/2 6466/20 6543/16 6552/3                   6520/25
Kathryn [2]   6445/13
                        6476/9   6511/19  6552/7  6470/18 6472/20          let [20]    6458/13   6459/6 location     [1] 6527/16
 6450/12
                       know   [84]   6460/22      6473/8 6480/4 6491/24 6460/25 6461/7 6474/7 logistically [1] 6501/25
Kathryn Rakoczy [1]
                        6460/25 6466/12           6495/4 6506/8 6527/14 6486/13 6491/13                 long [14] 6461/3
 6450/12
                        6466/13   6466/16         6531/23 6567/4 6570/6 6491/16 6491/24                  6475/14 6478/12
kathryn.rakoczy [1]
                        6468/17   6468/23         6575/13 6587/3            6500/20      6502/16         6500/13 6515/23
 6445/18
                        6469/9   6470/21          6587/13                   6513/2     6548/9  6553/9    6536/5 6536/8 6538/23
keep [5] 6469/1
                        6471/10   6471/25        lasted   [2]  6577/12      6557/10      6558/17         6551/20 6553/2
 6469/15 6469/17
                        6473/24 6474/4            6579/11                   6567/10 6572/16              6574/14 6577/11
 6480/1 6499/21
                        6474/13   6475/19        late [3]   6451/3 6459/8 6572/16 6574/5                 6579/10 6588/24
Keeper [1] 6507/4
                        6476/1   6476/4  6476/6   6515/1                   let's  [25]    6451/6        longer    [2] 6580/25
Keepers [9] 6461/25
 6462/20 6504/22        6479/11 6479/15          later [11] 6468/2          6462/3 6466/10               6581/2
                        6481/16 6486/22           6478/3 6478/5 6478/8 6469/17 6470/6                   look [27] 6451/7
 6506/16 6509/24
                        6488/20   6490/9          6478/11 6515/25           6477/16      6499/1          6453/1 6453/3 6453/4
 6510/12 6541/15
                        6490/11   6490/18         6525/20 6542/20           6499/20      6500/12         6454/10 6457/14
 6542/5 6546/6
                        6491/18 6491/25           6560/15 6562/4 6562/7 6501/21 6535/6                   6472/17 6472/20
Keepers.org [1]
                        6492/15   6494/16        latest [1]   6468/4        6535/11      6536/3          6491/18 6493/2
 6515/20
                        6495/2   6495/17         launch    [1]  6534/21     6541/18      6560/12         6497/12 6526/19
Kelly [15] 6462/5
                        6499/20   6524/2         Laura   [2]   6446/9       6560/14      6566/10         6538/8 6538/14
 6462/8 6463/11
                        6529/11 6537/9            6450/9                    6573/6 6575/9 6576/2 6544/18 6547/24
 6463/13 6463/14
 6465/24 6468/24        6538/14 6543/25          Laura Steele [1]           6582/14 6582/15              6548/21 6557/9 6569/2
                        6544/11   6544/19         6450/9                    6582/24      6583/13         6569/20 6571/6 6571/6
 6470/2 6510/11
                        6544/25   6545/7  6546/1 law [16] 6446/2            6589/3                       6576/2 6576/5 6579/14
 6529/12 6529/13
                        6546/2   6546/13          6446/10 6447/2 6447/6 letter [1] 6515/17               6587/3 6589/9
 6531/1 6531/5 6531/6
                        6546/15   6546/17         6447/15 6448/3 6448/7 letters [1] 6527/18             looked     [12] 6452/21
 6585/12
                        6547/6   6547/20          6454/22 6454/25          letting   [1]    6502/18      6513/17     6513/19
Kelly Meggs [14]
                                                  6455/12 6459/15
 6462/5 6462/8 6463/11 6547/23 6548/12                                     level [1] 6466/15             6517/10 6517/11
                        6549/10 6549/25           6485/14 6498/23          library [2] 6472/25           6517/17 6525/3 6527/2
 6463/13 6463/14
                        6549/25   6551/16         6536/25 6536/25           6484/4                       6533/23 6549/2 6549/5
 6465/24 6468/24
                        6551/17   6551/19         6560/25                  lie [3]   6492/22    6582/8   6568/1
 6470/2 6510/11
 6529/12 6529/13        6555/20 6559/8           Lawn [1] 6448/3            6582/10                     looking [19] 6451/4
 6531/1 6531/5 6585/12 6561/11 6562/3            lawyer [1] 6583/7         lied [1] 6492/10              6458/5 6464/4 6483/16
                                                                                                                  6607


L    Case 1:21-cr-00028-APM
                    6551/4 6551/12Document 1158
                                       6544/25    Filed 02/21/24
                                               6545/6            Page 163[1]
                                                           memesmicrowaved of 176
                                                                              6517/22 6518/1 6518/4
                        6551/20 6562/2 6577/9 6547/22 6548/12             6515/21               6518/5 6518/8 6518/14
looking... [15] 6483/18
                        6580/7 6580/18 6591/7 6548/13 6548/13            mental [1] 6547/25     6521/16 6521/17
 6495/7 6496/2 6513/21
                        marched [2] 6477/24       6563/16 6565/4         Merit [1] 6448/11      6523/8 6523/17
 6515/10 6520/1 6522/1
                        6479/10                   6577/16 6578/20        message [107] 6462/5 6523/18 6523/24
 6522/12 6526/19
                        mark [1] 6557/13          6579/15 6582/25        6463/6 6463/7 6463/25 6524/4 6524/13
 6562/10 6573/13
                        marked   [2]   6574/6     6583/3 6587/3          6464/9 6469/8 6470/23 6525/11 6525/25
 6576/3 6576/17 6579/8
                        6575/14                   means  [7]  6492/25    6477/24 6478/16        6533/8 6533/12
 6579/9
                        masked    [1]  6534/24    6523/1 6533/2 6537/24 6478/17 6479/3 6479/9 6534/18 6535/15
looks [3] 6472/19
 6558/9 6571/19         masking [1] 6578/11       6538/2 6565/14 6570/9 6479/11 6480/2          6535/16 6535/22
                        master's   [1]  6532/24 meant [1] 6511/19        6481/14 6482/5         6538/6 6540/15
lost [2] 6525/9 6567/10
                        matches    [1]  6463/14 mechanical [1]           6516/19 6518/17        6541/14 6547/24
lot [11] 6518/5 6518/8
                        material  [1]   6578/17   6448/16                6518/23 6525/15        6554/13 6554/24
 6550/11 6550/15
                        materials   [2]  6458/17 med [2] 6480/11         6525/19 6525/22        6555/10 6555/11
 6550/17 6550/20
                        6459/13                   6495/14                6526/21 6526/22        6555/22 6555/22
 6551/12 6551/16
                        math  [3]   6514/23       medical  [2] 6495/23   6526/23 6526/25        6555/25 6556/4
 6551/17 6563/21
                        6514/25 6543/16           6495/24                6527/1 6527/6 6527/9 6556/11 6556/15
 6567/15
                        matrix [2] 6476/23        meeting [15] 6501/22 6527/13 6527/14          6557/4 6558/5 6559/12
lots [3] 6527/15
                        6491/3                    6501/24 6502/2         6527/19 6527/25        6559/15 6559/18
 6534/15 6577/9
                        Matt [1]  6545/7          6502/24 6503/8         6528/7 6528/9 6528/16 6559/25 6563/24
Louis [1] 6445/15
                        matter [2] 6498/20        6503/11 6503/14        6528/20 6528/23        6565/2 6565/15
low [1] 6484/16
                        6591/4                    6503/21 6504/11        6528/25 6529/5 6529/7 6565/21 6566/1 6566/2
low-lying [1] 6484/16
                        mattered [1] 6472/22      6504/17 6504/22        6529/14 6529/15        6566/4 6566/16
lunch [2] 6560/16
                        may  [23]   6452/19       6505/1 6509/9 6580/7 6529/19 6529/22          6567/23 6568/18
 6589/7
                        6454/15 6455/22           6580/18                6530/2 6530/3 6530/5 6568/24 6569/13
Lupo [6] 6462/5 6462/7
                        6456/8 6456/22            meetings [1] 6479/18 6530/14 6530/18          6569/15 6570/10
 6462/7 6463/17
                        6459/17 6460/14           Meggs  [68]  6447/2    6530/21 6530/22        6570/13 6570/14
 6466/16 6466/18
                        6462/21 6464/9            6450/10 6450/18        6531/3 6531/3 6531/4 6571/20 6572/13
lying [1] 6484/16
                        6469/16 6472/14           6461/13 6462/5 6462/8 6531/7 6531/10          6572/17 6572/20
M                       6480/20 6482/9            6462/23 6463/5 6463/9 6531/12 6532/2          6573/5 6573/20 6575/6
Machado [9] 6446/2      6482/14    6483/20        6463/11  6463/12       6532/10  6532/12       6575/17 6576/7
 6446/2 6450/14 6487/4  6487/14    6490/25        6463/13  6463/14       6532/13  6532/14       6576/18 6584/2
 6494/25 6495/5         6495/15    6495/22        6463/15  6463/20       6533/2  6533/4 6533/15 6584/10 6584/14
 6495/12 6495/14        6535/25    6556/1         6463/24  6464/8        6533/22  6533/23       6584/17 6585/25
 6496/3                 6560/15    6588/18        6464/24  6465/24       6534/1  6534/2 6534/6  6586/7 6586/13
Machado's [2] 6495/18   maybe   [4]   6453/2      6466/8  6466/9 6466/25 6535/17  6535/19       6587/16
 6495/21                6530/11 6530/12           6467/2 6467/6 6467/6 6535/21 6540/10          messaging [5] 6468/8
made [7] 6457/9         6589/18                   6467/10 6468/7         6540/23 6541/19        6479/22 6480/12
 6465/3 6482/10         mayor   [1]  6469/11      6468/20  6468/24       6541/20  6541/21       6480/21 6570/9
 6486/17 6547/9         me [44]   6458/1   6458/8 6469/8  6469/9 6469/12 6542/21  6554/25       met [4] 6487/2 6508/19
 6547/22 6552/15        6458/13 6459/6 6461/7 6470/2 6478/3 6478/7 6556/6 6556/25 6557/1 6508/21 6545/8
mail [1] 6484/7         6461/9 6483/23 6485/7 6478/7 6480/5 6480/10 6557/22 6557/23             MG [2] 6574/6 6574/20
main [1] 6496/1         6489/6   6491/24   6495/3 6480/12  6480/19       6558/2  6558/2 6558/9  MG118 [1] 6575/2
maintain [2] 6555/14    6498/3   6500/20   6513/2 6480/20  6481/6        6558/20  6559/6 6560/2 MG121 [1] 6572/1
 6555/19                6544/13 6544/17           6510/11 6516/8         6567/4 6568/3 6568/12 Michael [19] 6448/2
make [13] 6459/3        6544/18 6545/20           6516/16 6516/19        6570/17 6570/25        6450/11 6471/20
 6469/16 6471/5         6548/9   6551/19   6553/5 6517/22  6518/3        6573/15  6574/21       6501/3 6501/5 6501/15
 6492/16 6500/13        6553/9 6553/9 6555/25 6518/18 6519/4             6575/22 6576/22        6519/8 6519/13
 6502/17 6536/13        6556/14    6557/10        6529/12  6529/13       6584/4  6584/22 6585/9 6525/16 6525/17
 6563/6 6571/15 6573/8  6558/17    6559/8         6531/1  6531/5 6556/7  6585/11  6588/6        6531/6 6533/14
 6573/9 6585/16         6559/10    6561/7  6562/3 6556/16  6557/6        6588/10                6568/25 6569/4
 6585/17                6565/6 6567/10 6569/8 6558/18 6559/1 6559/2 messages [109]              6569/21 6572/1
makes [1] 6482/2        6572/16    6572/16        6559/2  6559/15        6461/13  6461/17       6574/21 6586/2 6588/7
making [3] 6471/25      6574/5   6577/24          6559/18  6560/2        6462/4  6462/12        Michael Greene [11]
 6535/3 6544/18         6577/24    6578/8         6583/15  6583/19       6462/23  6463/1 6463/8 6471/20  6519/8
many [21] 6470/13       6578/10 6578/13           6584/13 6585/12        6464/4 6464/13         6525/16 6525/17
 6525/9 6530/7 6530/7 6580/15 6589/13             Meggs' [14] 6463/9     6467/25 6468/1         6533/14 6568/25
 6533/8 6539/8 6542/14  mean   [37]   6460/19     6463/21  6466/13       6469/25  6470/7        6569/4 6572/1 6574/21
 6545/1 6549/11 6550/9  6472/6   6475/12          6467/11  6469/2        6470/20  6471/8        6586/2 6588/7
 6554/24 6557/4 6558/4  6488/20    6489/5         6483/15  6517/4        6471/12  6471/14       Michael Greene's [2]
 6567/23 6568/18        6489/20    6490/7         6517/14  6518/14       6471/17  6471/18       6519/13  6569/21
 6568/22 6568/24        6490/14    6491/13        6531/6  6554/25 6556/8 6478/3  6478/18        Michael L. Greene [1]
 6576/9 6576/18         6492/13 6498/21           6556/11 6556/23        6478/24 6478/25        6450/11
 6582/15 6586/18        6502/17 6503/13           MEHTA [2] 6445/10      6479/13 6481/4         Michael Palian [3]
Manzo [1] 6445/15       6521/14    6522/24        6450/3                 6481/22  6482/16       6501/3 6501/5 6501/15
March [14] 6445/5       6524/18    6529/17        member   [1] 6542/5    6488/1  6493/20        mid [1] 6472/18
 6501/22 6503/24        6533/1 6533/3 6537/4 members [2] 6498/19 6516/25 6517/15                mid-sentence [1]
 6505/1 6543/13 6550/6 6538/6 6538/9 6538/12 6517/13                     6517/17 6517/21        6472/18
                                                                                                                  6608


M    Case 1:21-cr-00028-APM
                   momentarily [1]Document 1158
                                       6484/8      Filed
                                              6487/25    02/21/24
                                                      6488/1         Page6480/10
                                                             6478/7 6480/5 164 of 176
                                                                                  6556/16 6556/23
                       6494/15                  6489/1 6489/18          6480/12 6481/6 6559/1 6557/6 6558/18
middle [3] 6567/7
                       moniker [2] 6509/24      6492/16 6523/5 6523/8 6559/2 6559/2 6559/15 Mrs. Meggs [8] 6467/2
6570/16 6572/13
                       6510/10                  6523/24 6524/3 6524/5 6559/18                   6467/6 6517/22 6518/3
midnight [1] 6460/6
                       months [1] 6504/2        6528/18 6531/15         Mr. Meggs' [4] 6466/13 6556/7 6556/16 6557/6
might [7] 6468/20
                       more [25] 6459/11        6531/24 6535/8          6467/11 6469/2          6558/18
6472/17 6474/14
                       6463/4 6474/16           6553/13 6554/19         6483/15                 Mrs. Meggs' [4]
6475/23 6509/9
                       6482/15 6491/2 6507/2 6562/5 6564/14             Mr. Morelock   [2]      6554/25 6556/8
6568/24 6572/20
                       6511/7 6515/8 6536/10 6565/14 6565/21            6474/24 6475/12         6556/11 6556/23
Mike [4] 6564/6
                       6536/12 6543/15          6576/13 6577/7          Mr. Morelock's   [1]    Mrs. Parker [1]
6567/23 6568/3
                       6550/12 6550/16          6577/22 6578/1 6580/6 6476/11                   6486/21
6568/12
                       6550/17 6554/21          6581/4 6586/6 6589/19 Mr. Nestler [20] 6452/4 Mrs. Steele's [1]
Mike Greene [2]
                       6555/19 6555/21          Mr. Greene's [22]       6453/17 6454/1          6485/11
6567/23 6568/3
                       6556/3 6564/20 6565/2 6474/21 6475/4 6488/9 6499/25 6501/13              Ms. [75] 6458/5 6463/9
Mike Greene's [1]
                       6571/8 6578/9 6578/17 6519/18 6520/6 6520/7 6513/8 6531/22               6463/21 6464/24
6564/6
                       6578/17 6583/2           6521/22 6522/21         6554/23 6556/6          6466/8 6467/10 6468/7
military [1] 6453/23
                       Morelock   [2] 6474/24 6524/4 6524/10 6526/1 6556/10 6557/23             6468/21 6469/8 6473/9
million [1] 6462/9
                       6475/12                  6526/8 6527/10          6558/15 6561/13         6480/19 6480/20
mind [10] 6456/9
                       Morelock's   [1] 6476/11 6527/25 6528/7          6564/19 6565/15         6482/6 6482/7 6484/9
6456/10 6456/15
                       morning   [18]  6445/7   6529/23 6530/19         6577/2 6579/18 6580/5 6485/4 6485/5 6485/8
6456/17 6456/25
                       6450/4 6450/6 6450/25 6530/19 6531/9             6582/23 6586/25         6485/14 6485/23
6458/15 6466/13
                       6455/12 6473/9           6531/16 6563/9          Mr. Palian [2]  6535/5  6486/2 6486/7 6486/8
6472/23 6482/24
                       6500/11 6500/13          6566/14                 6536/2                  6486/16 6487/6
6483/17
                       6500/15 6501/12          Mr. Isaacs [60]         Mr. Parker [21]         6493/11 6493/15
mind blindness [4]
                       6501/13 6501/19          6487/24 6487/24         6468/20 6475/25         6493/18 6494/22
6456/15 6456/17
                       6501/20 6543/8 6543/9 6488/8 6489/3 6489/4 6476/3 6476/12                6495/11 6495/12
6458/15 6472/23
                       6554/4 6554/5 6560/12 6489/16 6489/19            6484/11 6484/25         6495/13 6495/20
mine [1] 6545/7
                       most  [4]  6538/4        6490/23 6492/14         6486/1 6487/7 6487/10 6496/8 6497/12
minute [2] 6560/14
                       6555/16 6563/11          6499/3 6503/9 6503/17 6487/15 6493/22           6497/13 6497/22
6569/20
                       6563/15                  6503/18 6504/6          6494/20 6495/8          6498/3 6498/3 6500/2
minutes [15] 6477/20
                       mostly [1] 6486/25       6504/10 6504/15         6495/18 6496/3 6496/4 6500/23 6500/25
6515/25 6525/1
                       motives [1] 6541/15      6504/21 6505/22         6496/25 6497/1          6506/5 6507/15 6509/4
6525/20 6525/23
                       move [9] 6477/16         6505/23 6506/14         6497/13 6498/6          6509/6 6512/4 6512/14
6542/20 6551/24
                       6505/3 6510/2 6511/7 6507/3 6507/16 6509/1 6498/14                       6514/6 6515/6 6516/4
6552/1 6552/3 6552/6
                       6531/22 6541/1 6548/6 6509/4 6509/7 6509/22 Mr. Parker's [2] 6497/4 6516/8 6517/4 6517/14
6560/10 6563/8 6576/6
                       6582/15 6583/13          6510/15 6511/4          6498/2                  6518/14 6519/2 6519/4
6589/17 6589/22
                       moves [8] 6509/13        6511/18 6513/7 6513/9 Mr. Rhodes [18]           6519/10 6520/23
misconception [1]
                       6510/19 6511/9           6513/13 6515/22         6470/11 6471/22         6522/17 6526/4
6466/25
                       6511/23 6512/20          6543/25 6545/20         6472/8 6474/12          6527/22 6528/14
misinterpreted [1]
                       6520/18 6522/3           6546/4 6546/23          6474/14 6478/5 6478/9 6529/3 6530/1 6531/14
6465/4
                       6526/10                  6547/23 6549/7          6478/12 6478/25         6531/21 6542/18
misleading [3] 6524/16
                       moving   [4] 6469/17     6549/21 6550/2          6479/22 6479/22         6558/21 6561/16
6524/19 6582/2
                       6516/2 6516/14 6519/7 6550/11 6550/15            6481/7 6482/5 6482/6 6564/15 6565/15
missed [4] 6455/10
6476/12 6493/17        Mr [8] 6454/7 6454/18 6550/20 6551/5             6542/12 6542/20         6584/13 6584/21
                       6508/10 6552/9 6554/5 6551/20 6552/5             6558/20 6558/21         6586/4
6567/15
                       6562/1 6587/22           6552/24 6577/17         Mr. Rhodes'  [11]       Ms. Badalament [22]
missing [1] 6524/21
                       6588/20                  6577/18 6577/19         6473/5 6482/24          6506/5 6507/15 6509/6
mission [1] 6478/21
                       Mr. [278]                6579/4 6579/7 6580/11 6483/15 6498/17           6512/4 6512/14 6514/6
Mobile [36] 6518/20
                       Mr. Brennwald    [2]     6580/15 6580/19         6523/14 6523/16         6515/6 6516/4 6519/2
6518/21 6518/22
                       6484/19 6498/15          6581/24 6582/1 6583/1 6542/4 6560/1 6566/22 6519/10 6520/23
6531/18 6532/3 6532/7
                                        6451/1 6583/7                   6566/25 6567/19         6522/17 6526/4
6533/6 6533/9 6533/10 Mr. Cooper [2]
                       6486/11                  Mr. Isaacs' [8] 6512/18 Mr. Rossi [3] 6451/7    6527/22 6528/14
6534/7 6534/17
                       Mr. Cooper's   [1]       6513/18 6513/19         6499/8 6505/12          6529/3 6530/1 6531/14
6535/16 6535/17
                       6485/3                   6513/24 6515/12         Mr. Shipley [9]  6474/8 6531/21 6542/18
6535/22 6540/12
                                                6546/8 6548/11          6534/25 6560/18         6584/21 6586/4
6554/13 6555/1 6555/9 Mr. Douyon [1]
                       6559/10                  6548/17                 6562/20 6563/5 6571/9 Ms. Meggs [11] 6463/9
6555/21 6556/1 6556/7
                       Mr. Edwards [6]          Mr. Machado [6]         6572/2 6586/1 6586/5 6464/24 6466/8
6556/13 6556/24
                       6462/10 6465/3           6487/4 6494/25 6495/5 Mr. Stewart [1]           6467/10 6468/7 6469/8
6557/4 6558/5 6569/13
                       6465/24 6466/7           6495/12 6495/14         6482/21                 6480/19 6480/20
6569/14 6583/19
                       6467/14 6468/16          6496/3                  Mr. Woodward [6]        6516/8 6519/4 6584/13
6583/24 6584/1 6584/2
                       Mr. Greene [45]          Mr. Machado's [2]       6461/11 6467/21         Ms. Meggs' [4]
6584/4 6584/9 6584/10
                       6457/13 6458/25          6495/18 6495/21         6553/11 6554/18         6463/21 6517/4
6584/15 6584/17
                       6471/22 6474/1           Mr. Meggs [23]          6583/14 6584/22         6517/14 6518/14
Mobile's [4] 6534/19
                       6474/10 6474/12          6461/13 6462/23         Mrs. [14] 6467/2        Ms. Parker [13]
6535/18 6557/1
                       6474/14 6474/18          6463/20 6463/24         6467/6 6485/11          6468/21 6493/11
6557/10
                       6475/9 6476/5 6476/6 6464/8 6466/9 6466/25 6486/21 6517/22               6493/18 6494/22
moment [5] 6461/8
                       6476/7 6479/23           6467/6 6468/20 6469/9 6518/3 6554/25 6556/7 6495/11 6495/12
6494/14 6535/12
                       6480/14 6482/8 6482/9 6469/12 6478/3 6478/7 6556/8 6556/11               6495/13 6495/20
6553/9 6561/23
                                                                                                                     6609


M    Case 1:21-cr-00028-APM
                    6489/20 6491/6Document 1158
                                       no [82]     Filed
                                               6445/4     02/21/24
                                                      6453/12 6482/20 Page
                                                                      6495/11165 of 176
                                                                                    6504/22 6506/16
                       nature [1] 6482/18      6465/6 6465/13            November [3] 6479/18 6509/24 6510/12
Ms. Parker... [5]
                       NC [1] 6527/15          6467/10 6470/12           6488/14 6496/5         6541/15 6542/5 6546/6
6496/8 6497/22 6498/3
                       near [1] 6559/22        6471/2 6471/9 6474/11 now [68] 6457/10           Oath Keepers.org [1]
6498/3 6500/2
                       necessary [4] 6452/6 6488/4 6489/14               6458/2 6461/16         6515/20
Ms. Parker's [2]
                       6459/12 6561/22         6489/14 6494/10           6462/14 6462/18        oaths [1] 6478/14
6497/12 6497/13
                       6573/9                  6496/13 6496/13           6462/24 6463/5         object [7] 6451/11
Ms. Rakoczy [2]
                       need  [8]   6459/14     6496/22 6496/22           6463/17 6464/15        6452/14 6452/15
6564/15 6565/15
                       6474/16 6499/21         6497/18 6498/9            6464/24 6467/24        6455/14 6484/17
Ms. SoRelle [3] 6482/6
                       6536/22 6557/9          6498/21 6499/4 6505/5 6470/20 6471/6             6499/6 6572/22
6482/7 6558/21
                       6560/10 6582/20         6508/4 6509/15 6510/3 6471/12 6471/23            objecting    [1] 6461/10
Ms. Steele [12] 6485/4
                       6583/3                  6510/21 6511/11           6478/13 6482/4 6485/2 objection [24] 6452/4
6485/5 6485/8 6485/14
                                      6500/14  6511/25 6512/22           6488/15 6490/3         6472/18 6481/17
6485/23 6486/2 6486/7 needed [1]
                       needs   [3]  6452/12    6513/9 6515/8 6518/14 6491/14 6494/13            6496/17 6504/12
6486/8 6486/16
                       6477/14 6486/10         6518/16 6518/20           6495/7 6504/10 6506/4 6508/4 6512/22 6516/9
6493/15 6500/23
6500/25                neither [1] 6562/6      6518/24 6520/20           6506/12 6506/19        6519/20 6520/20
                       Nestler [25] 6445/13    6523/6 6523/6 6523/24 6507/14 6509/7             6522/5 6532/16 6534/8
Ms. Watkins' [1]
                       6450/12 6452/4          6524/4 6526/23            6509/22 6510/14        6536/17 6547/3
6509/4
                       6453/17 6454/1 6454/7 6532/18 6536/18             6512/7 6514/24 6516/7 6549/23 6551/8
Ms. Wilson [4] 6458/5
                       6454/18 6499/25         6542/13 6543/1            6516/15 6517/4         6554/15 6561/7 6568/5
6473/9 6484/9 6561/16
                       6501/13 6513/8          6543/21 6544/4 6545/1 6517/13 6520/22            6568/14 6572/19
MTN [1] 6558/1
                       6531/22 6554/23         6545/5 6545/13            6521/19 6523/3 6525/3 6582/2 6586/22
much [10] 6465/9
                       6556/6 6556/10          6545/15 6549/16           6526/5 6531/15 6532/6 objectionable [1]
6465/10 6466/12
                       6557/23 6558/15         6556/24 6558/24           6533/6 6537/19 6540/8 6452/22
6466/20 6477/18
                       6561/13 6564/19         6558/25 6559/2 6559/5 6540/19 6543/11            objections [7] 6496/23
6525/7 6563/16 6577/7
                       6565/15 6577/2          6560/5 6560/11            6543/16 6556/23        6505/5 6509/15 6510/3
6588/19 6589/10
                       6579/18 6580/5          6560/11 6564/8            6558/24 6559/10        6510/21 6511/11
multiple [6] 6470/3
                       6582/23 6586/25         6564/24 6565/25           6559/24 6560/14        6511/25
6470/19 6479/1
                       6588/20                 6566/1 6566/3 6566/6 6562/3 6564/14              objective   [1] 6483/9
6485/11 6488/22
                       network    [2]  6534/19 6566/16 6566/18           6564/23 6569/13        objects   [1]  6484/11
6541/9
                       6535/24                 6572/6 6572/19 6576/8 6571/4 6573/2 6574/13 obstinate [1] 6575/8
multitude [1] 6466/19
                       neuro [1] 6456/25       6576/10 6581/25           6574/13 6574/17        obstruct [1] 6483/10
must [4] 6457/24
                       neuropsychology [7]     6582/12 6582/19           6575/2 6580/18         obtain [3] 6540/4
6465/6 6498/12
                       6454/20 6455/15         6583/20 6585/3            6583/15 6589/8         6555/13 6583/12
6498/13
                       6456/1 6456/18          6586/11 6587/24           nowhere [1] 6552/5     obtained [4] 6548/20
my [34] 6458/16
                       6456/19 6458/15         6588/2 6588/17            number [26] 6487/17    6555/24 6556/7
6458/18 6458/20
                       6460/23                 6588/25                   6487/23 6505/10        6583/10
6460/17 6465/22
                       never  [4]   6476/9     No. [2]  6450/7 6450/8 6521/11 6529/11           Obviously     [1] 6474/9
6466/9 6472/18 6473/7
                       6524/6 6540/13          nobody    [4]  6466/3     6529/13 6530/25        occurred    [1]  6461/23
6497/12 6501/15
                       6545/12                 6483/11 6545/3 6545/5 6546/21 6549/10            odds   [1]  6469/12
6514/25 6528/21
6535/4 6537/11         nevertheless [1]        noise [2] 6581/16         6556/10 6569/22        off [9] 6470/16 6472/4
                       6483/9                  6581/16                   6570/20 6570/22        6472/18 6476/5
6537/14 6539/8
                       new  [2]  6516/2        noisy  [2]  6550/12       6570/24 6573/14        6477/23 6500/12
6543/16 6543/19
                       6516/14                 6550/13                   6573/17 6574/17        6542/23 6561/12
6551/17 6555/12
6555/24 6556/25        news [6] 6463/7         non [2] 6547/18           6574/19 6574/24        6586/7
                       6463/10 6463/22         6547/24                   6574/25 6575/1 6575/7 offensive [1] 6476/25
6557/2 6560/4 6560/25
                       6463/25 6465/1 6468/7 non-scoped [2]              6575/23 6576/17        offer [6] 6454/18
6561/6 6561/7 6561/22
                       next [20]   6469/19     6547/18 6547/24           6576/21 6584/14        6460/1 6460/2 6586/9
6561/24 6567/10
                       6472/16 6472/21         none  [8]   6482/4 6485/5 numbers [3] 6471/5     6586/12 6586/16
6569/7 6570/8 6578/20
                       6506/12 6514/5          6486/8 6486/12            6534/24 6573/14        offered  [2] 6582/1
6587/4
                       6514/12 6514/19         6488/25 6523/8            numerous  [2]  6508/21 6582/19
myself [2] 6539/3
                       6515/5 6527/21 6529/2 6523/25 6577/2              6539/4                 office [10] 6445/15
6539/7
                       6529/25 6530/21         not [177]                 NW [7] 6445/16 6446/3 6446/2 6446/10
N                      6531/12 6542/17         notation [1] 6527/17      6446/11 6447/3 6447/7 6447/15 6503/19
name [9] 6501/14       6552/23    6574/13      note [6]   6460/16        6447/11 6448/13        6503/21 6545/23
6501/15 6506/1         6574/20 6588/24         6464/19 6464/23                                  6561/7 6573/24 6575/3
                       6588/25    6589/8       6469/10    6473/6         O                      Officer  [3] 6589/1
6521/11 6521/15
                       nice [1]  6545/9        6484/19                   Oak [1] 6448/3         6589/2   6589/21
6522/14 6522/21
                       night [15]    6454/17   noted  [1]   6584/24      Oath [11] 6461/25      Officer  Dunn    [3]
6523/3 6525/14
                       6455/17 6459/9 6460/5 nothing [8] 6473/11         6462/20 6504/22        6589/1 6589/2 6589/21
named [3] 6450/23
                       6463/6 6464/16          6473/13 6474/16           6506/16 6507/4         OFFICES [2] 6447/6
6516/21 6521/11
                       6464/18    6467/5       6478/1   6479/5  6553/12  6509/24 6510/12        6448/7
names [7] 6520/3
                                                                         6515/20 6541/15
6520/5 6520/14 6521/2 6470/18 6473/8           6558/10 6576/24                                  Official [1] 6448/12
                                                                         6542/5 6546/6
6521/4 6521/5 6521/7 6477/22 6479/1            notice [2] 6460/14                               Oh [9] 6455/2 6470/5
                       6479/23    6515/1       6518/13                   Oath Keeper  [1]       6475/10 6499/13
Nancy [1] 6573/24
                       6527/14                 notion  [7]   6462/16     6507/4                 6499/17 6543/16
Nancy's [1] 6575/3
                                                                         Oath Keepers [9]
narrative [1] 6577/20 nine [2] 6473/10         6462/23 6463/2                                   6547/17 6557/11
                       6543/15                 6478/19    6480/15        6461/25 6462/20        6565/6
narrow [3] 6464/6
                                                                                                                   6610


O    Case 1:21-cr-00028-APM
                    6589/23 Document 1158
                                 6522/20    Filed 02/21/24
                                         6523/13      6536/21 Page
                                                              6537/5 166 of 176
                                                                            6552/2 6569/16 6570/6
                      old [3] 6470/12 6476/8 6525/4 6528/17 6529/8 6537/22 6541/15               overall [3] 6484/23
Ohio [3] 6504/22
                      6542/13                  6530/3 6559/12            6541/15 6546/4          6492/21 6497/19
6506/10 6508/25
                      Oliver [3] 6545/7        6563/10 6588/7            6571/20 6572/17         overarching [2]
OK [2] 6559/12
                      6545/8 6545/12           op chat [1] 6474/11       6572/20 6576/6          6462/25 6465/20
6585/12
                      once [6] 6485/21         open [18] 6490/8          6576/10 6576/17         overruled [3] 6504/14
OK Gator 1 [1]
                      6490/15 6491/2 6491/6 6493/8 6503/5 6515/17 6588/13                        6522/6 6532/18
6585/12
                      6510/15 6554/11          6524/24 6538/21           others  [5]  6482/10    overturn  [1] 6514/11
okay [138] 6451/2
                      one  [67]  6454/1        6548/8 6552/22 6553/6 6530/7 6540/6 6566/6 overwrite [1] 6555/17
6451/3 6451/12
                      6455/24 6459/6           6555/7 6565/1 6565/2 6587/16                      own [7] 6455/8 6457/5
6451/15 6451/19
                      6459/17 6460/21          6578/2 6578/9 6579/21 others' [1] 6560/1          6457/8 6457/24 6458/7
6451/24 6453/5
                      6463/5 6465/23           6583/5 6587/20 6589/6 otherwise [8] 6452/22 6474/10 6488/22
6453/16 6453/18
                      6468/12 6468/19          opened [8] 6490/5         6452/23 6457/16
6453/24 6454/6 6454/8
                      6469/16 6470/6           6493/13 6494/25           6461/23 6485/6 6485/7 P
6455/2 6456/5 6461/7
                      6473/12 6474/9           6562/2 6577/8 6577/13 6491/15 6552/25             P.A [2] 6447/11
6462/3 6467/13 6471/3
                      6476/12 6476/16          6578/25 6579/6            ought  [2]  6453/14     6447/16
6473/12 6480/3 6481/9
                      6478/6 6478/8 6478/10 opening [4] 6552/18          6466/25                 p.m [14] 6462/6 6464/8
6481/16 6481/17
                      6479/1 6481/5 6481/7 6565/11 6567/2 6579/2 our [21] 6451/13                6464/20 6477/22
6483/25 6486/4
                      6482/13 6482/17          opens   [2]   6489/24     6452/11 6460/25         6515/15 6516/21
6489/25 6493/7
                      6485/2 6486/25 6489/8 6578/19                      6461/1 6461/13          6525/15 6533/15
6493/16 6493/21
                      6490/7 6490/13           operation    [1]  6559/15 6461/16 6471/5 6472/4 6541/23 6561/18
6494/12 6497/11
                      6490/20 6490/21          opine [2] 6538/2          6472/25 6480/11         6572/10 6588/15
6498/4 6498/24
                      6491/5 6491/24           6538/5                    6488/17 6489/17         6590/5 6590/5
6498/25 6499/18
                      6492/18 6493/23          opinion   [11]   6454/21  6489/22 6493/21         pack [2] 6559/7
6500/11 6500/25
                      6495/9 6495/13           6458/16 6465/22           6499/1 6539/5 6545/23 6585/18
6503/7 6503/16
                      6495/19 6497/5           6537/1 6537/2 6551/17 6560/25 6577/8              page [32] 6454/1
6503/23 6504/5 6504/9
                      6499/22 6513/3 6520/9 6561/2 6577/8 6586/9 6588/25 6589/7                  6454/1 6455/24
6505/18 6506/3 6506/8
                      6521/11 6524/19          6586/12 6586/16           ours [1]  6497/8        6460/21 6472/16
6508/13 6509/7
                      6526/17 6531/13          opinions    [1]  6458/21 ourselves [1] 6505/19 6472/16 6472/21
6509/16 6509/21
6512/12 6513/20
                      6533/12 6540/19          opportunities [1]         out [37] 6453/2 6454/4 6513/16 6514/5
                      6558/9 6558/9 6559/18 6480/22                      6454/11 6454/12         6514/12 6514/19
6514/4 6515/1 6515/4
                      6563/14 6566/11          opportunity [4] 6451/7 6459/6 6459/7 6460/21 6515/5 6519/15
6516/2 6516/23 6517/3
                      6566/16 6568/2           6467/9 6491/9 6548/3 6461/14 6465/21              6519/24 6519/24
6517/9 6517/12
                      6568/12 6568/13          opposed [2] 6455/20       6466/21 6468/6 6469/1 6520/1 6520/2 6520/19
6520/10 6521/3
                      6571/7 6571/21 6573/8 6475/19                      6469/13 6469/15         6520/20 6521/19
6521/18 6522/11
                      6573/18 6573/21          opposing     [1]  6458/2  6470/19 6472/8 6473/7 6522/3 6522/8 6523/24
6524/1 6524/15
                      6574/8 6574/13           Ops [1] 6521/12           6475/20 6475/21         6523/24 6528/14
6525/10 6526/3
                      6574/20 6575/13          opt [1]  6562/7           6483/3 6491/25 6500/1 6529/2 6540/24
6526/25 6527/8
                      6580/25 6588/24          orchestrating [1]         6509/3 6516/12          6542/17 6572/8
6527/12 6527/20
                      one-page    [1] 6455/24 6471/20                    6516/25 6527/15         6574/14 6576/2 6576/8
6529/25 6530/13
                      one-word    [1] 6580/25 order [2] 6460/20          6528/6 6535/3 6544/15 page 1 [2] 6520/19
6531/13 6532/5 6533/5
                                 6563/14       6536/4                    6544/17 6548/25         6520/20
6534/3 6536/25 6537/3 ones [3]
                      6566/5 6572/13           organic   [2]  6532/24    6549/18 6552/2          page 7 [2] 6521/19
6537/24 6538/19
                                   6484/7      6532/25                   6568/21 6578/22         6522/3
6539/22 6541/1 6541/3 online [1]
                      only  [51] 6452/16       organization     [3]      6578/23 6584/3          pages [14] 6453/2
6541/13 6542/9 6543/3
                      6452/21 6453/25          6479/24 6482/7 6482/8 outlook.com [1]             6454/1 6454/2 6454/3
6548/7 6550/2 6551/18
                      6464/5 6467/20           organize   [1]   6470/20  6447/9                  6454/4 6512/14
6558/13 6558/18
                      6470/15 6470/17          orient [1]   6505/19      outset [1]   6465/8     6513/15 6526/6
6559/19 6561/9
                      6472/2 6472/3 6472/7 original [3] 6515/13          outside  [9]  6452/24   6526/10 6526/14
6564/22 6564/25
                      6474/4 6476/8 6482/18 6515/14 6532/6               6494/14 6499/21         6540/22 6568/18
6565/19 6566/12
                      6486/16 6486/24          originally   [1]  6526/17 6516/9 6530/6 6530/8 6578/22 6578/23
6566/17 6566/21
                      6487/22 6488/2           Orlando [1] 6447/17       6537/6 6552/17          Palian [49] 6461/1
6567/9 6568/16
                      6488/24 6490/21          other [51]    6452/7      6559/22                 6461/4 6499/5 6499/15
6569/12 6569/18
                      6491/20 6493/8           6453/13 6457/25           outweigh    [3] 6457/18 6501/3 6501/5 6501/15
6569/24 6570/15
                      6493/21 6494/18          6458/3 6462/2 6464/11 6477/6 6483/2               6501/15 6502/19
6570/19 6571/4
                      6497/1 6505/6 6513/6 6465/22 6466/4 6469/6 outweighed [1]                  6503/8 6504/21
6571/24 6572/16
                      6513/13 6518/1           6470/2 6471/20            6461/24                 6505/19 6506/14
6572/25 6573/3
                      6518/10 6519/4           6474/21 6475/4 6475/8 outweighs [2] 6483/22 6507/22 6508/9 6510/9
6573/10 6573/11
                      6531/24 6537/18          6476/6 6482/4 6486/19 6483/24                     6512/8 6512/10
6574/12 6576/12
                      6542/22 6544/21          6487/1 6487/17            over [23] 6504/2        6513/16 6515/10
6577/1 6577/2 6579/14
                      6545/18 6545/19          6488/10 6488/11           6511/20 6517/22         6516/2 6516/4 6516/7
6579/19 6580/6
                      6554/19 6560/9 6561/3 6490/8 6491/2 6491/8 6518/4 6523/18 6528/3 6519/13 6519/25
6580/10 6580/17
                      6565/17 6566/8 6567/6 6491/10 6492/10              6529/6 6533/11          6525/3 6526/20
6580/24 6581/3
                      6568/3 6568/12 6573/7 6493/2 6493/14 6494/7 6533/20 6534/4                 6529/20 6532/2
6581/10 6581/12
                      6573/7 6578/4 6584/14 6497/18 6498/19              6534/19 6540/10         6532/20 6535/3 6535/5
6583/4 6583/18 6584/8
                      6586/20 6587/5 6588/3 6499/4 6503/22 6530/7 6540/10 6541/19                6536/2 6538/23
6584/12 6584/20
                      op [13]   6474/11 6488/1 6534/16 6534/25           6545/25 6546/3 6546/6 6540/19 6541/8
6585/13 6588/18
                      6488/10 6522/15          6535/20 6536/20           6546/8 6549/8 6551/23 6541/19 6542/25
6589/2 6589/3 6589/7
                                                                                                                             6611


P     Case 1:21-cr-00028-APM
                     6568/2 6568/13Document 1158
                                        6517/1      Filed
                                               6517/4     02/21/24
                                                      6517/6          Page6559/16
                                                              6559/1 6559/3 167 of possibly
                                                                                   176      [1] 6466/14
                         Patty [3] 6463/6            6517/7 6517/10            6579/12                   potential [1] 6578/15
Palian... [11] 6543/8
                         6516/21 6518/18             6517/11 6517/15           plans [1] 6585/3          potentially [1] 6552/18
6553/15 6554/4
                         Patty Gee [3] 6463/6        6518/14 6518/23           play [8] 6462/12          practice [1] 6476/14
6554/24 6560/20
                         6516/21 6518/18             6519/13 6519/19           6462/16 6470/20           pray [1] 6542/15
6562/12 6562/18
                         Pause [2] 6456/4            6520/6 6520/7 6520/12 6485/11 6485/14               preceded [1] 6556/20
6576/25 6580/4 6586/5
                         6461/6                      6521/1 6521/23            6499/16 6506/4 6578/4 predictable [1]
6588/18
                         paying [1] 6474/3           6522/22 6523/2 6523/4 played [7] 6506/6             6473/14
Palian's [1] 6534/22
                         pcooper    [1]   6446/13    6523/9 6523/11            6506/24 6507/12           prejudice  [2] 6466/24
pamphlet [1] 6460/9
                         PDF  [1]  6568/21           6523/14 6523/16           6509/19 6510/7 6511/2 6477/8
panel [2] 6500/9
                         Pennsylvania [2]            6523/19 6524/4            6511/16                   prejudicial [8] 6461/25
6562/14
                         6446/7 6447/7               6524/10 6524/19           please  [40]  6450/4      6477/7 6477/10 6483/1
paper [2] 6507/17
                         people   [35]    6458/12    6525/5 6525/8 6525/11 6455/23 6500/11               6483/1 6483/22
6507/20
                         6462/21 6470/2              6526/1 6526/8 6527/10 6501/14 6507/14               6483/23 6486/17
paragraph [2] 6456/6
                         6471/10 6471/15             6527/25 6528/7            6508/17 6509/6 6512/8 preliminary [1]
6472/22
                         6471/16 6472/7 6476/8 6529/11 6529/23                 6514/6 6514/19 6515/6 6451/17
paragraphs [1]
                         6476/24 6478/20             6530/19 6530/19           6516/4 6517/13 6519/1 preparation [2]
6456/24
                         6478/22 6479/2              6531/6 6531/6 6531/9 6519/10 6520/22                6482/25 6498/18
parallel [1] 6481/25
                         6479/10 6479/24             6531/16 6531/18           6521/20 6525/14           presence   [1] 6561/23
paramour [1] 6542/4
                         6480/11 6480/23             6533/9 6534/7 6534/10 6526/3 6527/21                present  [17]  6450/23
Pardon [1] 6565/6
                         6481/1 6495/11              6534/16 6535/9            6527/24 6528/14           6503/11 6503/12
Park [1] 6447/3
                         6496/14 6497/25             6535/18 6536/4 6539/2 6529/3 6529/25                6503/13 6504/6 6516/7
PARKER [43] 6445/6
                         6505/25 6511/6              6540/11 6540/14           6530/21 6531/12           6516/18 6516/22
6446/2 6446/6 6450/8
                         6541/11 6544/21             6546/8 6546/10            6531/14 6531/20           6516/24 6541/8
6450/9 6450/14
                         6545/18 6545/19             6546/19 6546/21           6534/10 6538/23           6541/12 6567/12
6450/15 6468/20
                         6550/16 6550/17             6547/7 6547/16            6540/2 6542/18            6569/6 6569/11
6468/21 6475/25
                         6551/13 6563/17             6548/11 6548/14           6551/10 6552/10           6581/19 6586/14
6476/3 6476/12
                         6577/12 6578/19             6548/17 6548/23           6559/10 6561/20           6586/14
6484/11 6484/25
                         6580/19 6580/21             6548/25 6549/2 6552/9 6562/16 6569/19               presentation   [3]
6486/1 6486/21 6487/7
                         6588/13                     6554/8 6554/9 6554/16 6584/21 6586/4                6487/13 6490/9
6487/10 6487/15
                         per [1] 6481/15             6554/25 6555/2 6556/8 plenty [1] 6471/14            6494/19
6493/11 6493/18
                         performed [1] 6514/15 6556/11 6556/23                 PLLC [1] 6448/3           presentations [2]
6493/22 6494/20
                         perhaps [2] 6469/8          6556/25 6560/1 6563/9 plus [3] 6534/17              6489/9 6493/15
6494/22 6495/8
                         6482/15                     6564/7 6564/10            6552/7 6564/3             presented [8] 6456/20
6495/11 6495/12
                         period [10] 6517/17         6564/11 6564/12           PO [1] 6448/8             6462/18 6485/8 6486/6
6495/13 6495/14
                         6517/19 6517/22             6566/14 6566/22           point [31]  6459/6        6489/4 6500/18
6495/18 6495/20
                         6517/24 6531/16             6566/25 6567/19           6463/9 6463/21            6500/22 6502/14
6496/3 6496/4 6496/8
                         6549/8 6556/11              6569/5 6569/21            6464/24 6465/2            presenting   [3] 6486/19
6496/25 6497/1
                         6556/19 6556/19             6573/13 6573/14           6467/20 6468/6            6488/22 6489/7
6497/13 6497/22
                         6556/19                     6576/15 6577/4 6582/4 6469/21 6469/24               preserved [3] 6556/3
6498/3 6498/3 6498/6
                         periodical    [1]  6460/8   6583/8 6583/11 6586/7 6472/3 6488/15 6491/7 6556/24 6557/4
6498/14 6500/2
                         permissible [1] 6457/4 6587/1 6588/21                 6495/4 6496/1 6509/3 President [1] 6515/18
Parker's [5] 6475/24
                         permission      [2]         phones    [1]  6560/1     6523/1 6523/4 6524/19 President Trump [1]
6497/4 6497/12
                         6547/13 6547/16             photo  [1]   6507/23      6524/20 6535/4 6546/1 6515/18
6497/13 6498/2
           6469/3 6474/2 permits [1] 6457/15         photograph [4]            6561/12 6566/19           President's [1]
part [14]
                         permitted    [1]   6452/25 6507/24 6508/9             6571/25 6573/8 6573/9 6484/15
6476/25 6485/15
6491/19 6498/16          person [16] 6466/17         6508/14 6509/1            6576/3 6578/21            presiding [1] 6450/3
                         6474/3 6508/16              phrased    [2]  6466/7    6582/18 6582/25           Presumably [1] 6456/7
6498/20 6498/22
                         6508/19 6508/21             6568/8                    6587/7                    presumption [1]
6503/14 6503/21
                         6508/22 6509/9              physically    [2] 6503/11 pointed [1] 6459/7        6466/8
6513/23 6528/18
                         6509/23 6509/24             6544/2                    points [3]  6487/12       pretty [1] 6476/7
6535/24 6556/13
                         6525/14 6534/4 6536/1 picked [1] 6549/18              6528/10 6553/10           Prettyman [1] 6448/13
participating [1]
                         6570/23 6571/1 6571/3 pictures [2] 6486/25            police [2] 6487/2         previously [7] 6461/15
6563/18
                         6575/5                      6544/18                   6574/15                   6462/14 6501/6 6505/6
participation [1]
                         personally     [3]  6517/10 piece [2] 6507/17         populated   [1]  6474/15 6541/4 6547/6 6559/9
6492/17
                         6519/12 6520/11             6507/19                   portion [7] 6453/10       principle [5] 6462/25
particular [8] 6483/7
                         pertinent   [1]   6494/13 pieces [1] 6488/6           6453/12 6499/3 6499/4 6478/23 6485/13
6487/20 6507/4
6523/22 6561/12          Peter [3] 6446/9            pin [1] 6535/11           6522/18 6527/24           6489/11 6490/15
                         6446/10 6450/16             Pine [1]   6447/16        6547/18                   principles  [2] 6462/11
6567/13 6570/20
                         Peter Cooper [1]            pistols [1] 6475/14       portions [2] 6453/7       6462/15
6573/13
                         6450/16                     place [3] 6466/1          6461/9                    printed [1] 6568/21
particularly [1] 6488/6
                         petercooperlaw.com          6468/2 6543/10            position [4] 6465/15      prior [2] 6453/11
passcode [1] 6546/10
                         [1] 6446/13                 Plaintiff [1] 6445/4      6465/20 6487/6            6517/23
past [5] 6537/24
                         Ph.D [1] 6532/25            plan [6] 6465/13          6493/21                   probably [6] 6461/5
6538/1 6566/19
6582/15 6587/4           phone [105] 6467/11         6465/20 6466/17           positive [2] 6567/8       6521/6 6539/7 6563/11
                         6480/21 6502/9              6474/2 6475/7 6476/25 6567/16                       6571/5 6589/20
patches [1] 6500/4
                         6512/18 6513/18             planning    [7]  6461/17 possess [1] 6489/17        probative  [8] 6457/17
patriots [5] 6477/23
                         6513/19 6515/12             6482/24 6498/17           possessed    [1]  6489/19 6457/19 6461/24
6478/12 6478/13
                                                                                                                    6612


P    Case 1:21-cr-00028-APM
                   publication [1] Document 1158
                                        6495/18    Filed 02/21/24
                                                6495/21      6565/14 Page
                                                                     6565/18168 of receipt
                                                                                   176 [1] 6488/1
                       6460/11                  questions [27]           6565/21 6565/25         receipts [1] 6488/9
probative... [5]
                       publish [1] 6456/22       6496/10 6504/15         6566/6 6566/6 6586/21 received [22] 6459/24
6466/23 6483/2
                       pull [11] 6507/22         6504/16 6505/1 6505/2 reading [2] 6456/5         6460/15 6505/8
6483/20 6483/23
                       6512/3 6512/7 6516/3 6516/8 6516/19               6587/5                   6506/22 6507/10
6483/24
                       6519/9 6524/25            6516/24 6543/1         ready [3] 6500/15         6508/6 6509/17 6510/5
probe [1] 6552/20
                       6531/19 6540/20           6556/14 6560/6 6562/1 6535/11 6562/20            6511/1 6511/14 6512/5
probing [1] 6552/16
                       6584/21 6585/7 6586/3 6577/9 6577/11             real [3] 6491/17          6512/24 6515/23
problem [3] 6453/12
                       pulled  [2]   6552/2      6577/14 6577/19         6523/20 6567/11          6522/8 6523/9 6526/14
6474/9 6492/12
                       6578/23                   6577/23 6578/5         really [6]  6460/6        6527/10 6528/1 6533/8
proceed [1] 6582/23
                       pulling [1] 6558/15       6579/12 6579/15         6460/22 6480/4           6538/17 6541/5 6546/1
proceeding [5]
                       puppet   [2]   6477/25    6580/7 6580/19          6485/13 6547/21         recess  [3] 6561/18
6464/12 6464/20
                       6479/4                    6580/21 6583/14         6548/3                   6590/4 6590/5
6468/1 6470/1 6471/12
                       purely [1] 6482/18        6586/1 6586/7 6588/17 Realtime [1] 6448/12 recipient [4] 6527/2
proceedings [5]
                       purpose   [10]   6464/7  quick   [2] 6523/20     reason [23] 6462/18       6528/16 6529/6 6558/2
6445/9 6448/16
                       6475/3 6475/15            6567/11                 6466/4 6468/21          recognize   [2] 6485/17
6450/24 6468/4 6591/4
                       6482/17 6497/16          quickly   [4]  6458/5    6470/15 6471/7 6472/2 6557/19
process [3] 6520/8
                       6497/20 6497/25           6560/24 6588/20         6472/3 6472/7 6472/7 recollection [1] 6571/4
6539/4 6546/2
                       6537/18 6541/10           6589/24                 6482/13 6482/16         record [8] 6455/25
processed [2] 6520/7
                       6552/14                  quiet  [1]  6581/13      6484/20 6485/7           6464/25 6484/10
6520/9
                       purposes     [4] 6474/21 quite [2] 6456/19        6492/21 6494/6           6484/18 6524/17
processes [1] 6460/17
                       6476/7 6484/23            6461/17                 6497/18 6535/5           6547/13 6547/14
procuring [1] 6528/21
                       6490/16                  quitting   [4] 6478/4    6542/22 6547/22          6591/3
produce [1] 6494/22
                       pursuant    [2]  6502/25  6480/10 6480/14         6558/25 6559/2 6560/9 recorded [1] 6448/16
produced [2] 6448/16
                       6548/20                   6481/14                 6567/6                  records [17] 6453/23
6533/7
                       put [21]  6453/25                                reasons    [9]  6463/4    6518/21 6518/22
profession [1] 6506/1                           R
                       6461/20 6464/25                                   6469/15 6474/5           6532/6 6532/10
proffer [5] 6451/14
                       6468/17 6473/22          r-e-d [1] 6565/6         6483/21 6486/13          6534/15 6534/17
6502/2 6502/25 6544/2
                       6476/23 6477/2 6479/8 r-e-g [1] 6470/16           6492/9 6495/9 6495/13 6536/11 6537/13
6578/16
                       6485/12 6485/16          radio [3] 6506/16        6538/11                  6539/2 6540/4 6540/5
proffers [1] 6502/2
                       6486/14 6487/5 6491/5 6506/17 6507/4             rebut [8] 6463/2          6554/12 6555/9 6557/1
program [1] 6520/8
                       6491/8 6491/10           raise [1] 6459/17        6463/9 6471/13           6571/5 6576/1
progressing [1]
                       6495/12 6496/17          raised [1] 6587/14       6474/17 6478/18         recover [1] 6517/4
6488/13
                       6524/5 6535/11 6546/4 raises [1] 6486/21          6479/7 6490/6 6497/14 recovered [9] 6512/17
prohibit [1] 6457/2
                       6574/6                   Rakoczy [4] 6445/13 rebuts [6] 6463/21            6515/11 6518/18
proof [1] 6467/4                                 6450/12 6564/15
                       putting  [7]   6471/24                            6465/25 6468/23          6518/19 6519/18
proper [1] 6494/8
                       6472/8 6485/23 6486/2 6565/15                     6474/13 6482/20          6532/2 6555/1 6566/22
properly [2] 6551/15
                       6486/8 6491/3 6547/23 rally [3] 6470/12           6495/10                  6566/24
6558/11
                                                 6528/10 6542/13        rebuttal  [26]   6461/16 RECROSS [1] 6449/4
propose [1] 6572/16    Q                        rationale [1] 6483/4     6462/15 6468/7 6472/2 red [2] 6488/1 6565/4
prosecution [1]
                       QRF [17] 6473/25         re [8] 6460/20 6463/19 6476/22 6485/18           redact [1] 6453/6
6548/18
                       6474/2 6474/21            6464/2 6464/9 6464/18 6486/6 6486/14 6489/7 redacted [3] 6451/8
prosecutors [3] 6503/9 6474/22 6475/3 6475/5 6464/20 6464/22
                                                                         6489/8 6489/16           6500/4 6572/17
6586/16 6586/19
                       6475/7 6475/14            6575/14                 6489/17 6489/22         Redden   [3] 6448/2
protected [1] 6482/8   6475/16 6475/22          re-marked [1] 6575/14 6490/1 6491/4 6491/6 6448/3 6450/21
protectee [1]  6471/23
                       6475/25 6476/10          re-read [1] 6460/20      6491/21 6500/16         reddenlawtexas.com
protection [1] 6502/6 6482/18 6527/15
                                                re-start [5] 6463/19     6500/17 6500/19          [1] 6448/6
protections [2] 6502/4 6528/10 6529/16           6464/2 6464/9 6464/18 6500/22 6500/24
6502/5                                                                                           redirect [5] 6449/4
                       6531/8                    6464/20                 6501/5 6516/10 6535/9 6561/25 6577/2
protective [1] 6478/21
                       QRFs [3] 6476/8          re-starting [1] 6464/22 6549/17                   6577/14 6580/2
protocol [2] 6534/5    6476/24 6530/6           reactionary [4]         rebutting   [7]  6462/16 redirecting [1] 6493/23
6540/11
                       quality [1] 6483/1        6475/17 6475/23         6464/24 6480/15         redress [3] 6478/5
provide [18] 6459/2
                       quantity [1] 6477/18      6476/8 6482/19          6485/18 6489/5 6489/6 6478/8 6481/7
6459/3 6472/15
                       question [31] 6459/17 read [38] 6456/23           6491/22                 reemphasize [1]
6482/14 6482/17
                       6465/23 6467/19           6458/21 6459/23        recall [26]   6475/15     6464/23
6495/24 6500/20
                       6475/1 6475/2 6486/21 6460/2 6460/2 6460/14 6475/18 6475/22               refer [5] 6456/21
6513/3 6536/4 6536/6
                       6487/7 6487/10 6490/3 6460/20 6488/9              6481/18 6486/23          6458/18 6459/14
6537/1 6537/9 6540/6
                       6494/25 6497/19           6496/24 6497/1          6487/14 6495/18          6460/2 6585/22
6547/21 6557/19
                       6534/13 6537/17           6527/19 6528/7 6528/8 6495/20 6495/22           reference  [5] 6456/6
6587/8 6587/11
                       6547/21 6548/5 6548/9 6528/25 6529/1              6504/10 6504/21          6473/13 6473/15
6587/17
                       6548/15 6551/10           6529/23 6529/24         6506/14 6506/18          6475/25 6500/4
provided [2] 6532/7    6551/15 6552/21           6530/19 6531/10         6507/2 6507/6 6509/8 referenced [2] 6513/3
6570/13
                       6553/4 6553/8 6558/11 6531/10 6531/11             6509/23 6510/14          6534/18
provider [1] 6583/21   6567/11 6568/8 6569/7 6537/13 6555/1              6511/4 6511/19 6552/1 references [1] 6570/7
provides [1] 6536/5    6569/9 6579/1 6579/15 6558/21 6561/11             6557/7 6557/22          referencing [1] 6492/3
providing [1] 6466/15 6582/15 6585/5             6564/16 6564/20         6567/16 6567/25         referring [2] 6466/15
PSD [1] 6559/20
                       questioned [1] 6487/8 6564/23 6565/3              6569/1                   6499/10
Psychology [1]                                   6565/10 6565/13
                       questioning [2]                                  recapture [1] 6574/5     refers [1] 6585/23
6455/15
                                                                                                                          6613


R    Case 1:21-cr-00028-APM       Document
                    6520/25 6521/21        1158
                                       Rhodes [37] Filed 02/21/24
                                                   6461/20   6527/10 Page
                                                                     6533/24169 of 176
                                                                                   6484/2
                        6522/1 6522/7 6523/23 6469/19 6470/7                 6541/18 6551/25            run [1] 6553/1
reflect [3] 6461/17
                        6526/7 6527/4 6564/16 6470/11 6471/22                6553/13 6553/14            runs [1] 6490/14
 6461/22 6537/24
                        6564/24 6565/17              6472/8 6474/12          6555/3 6556/22             Ruth [1] 6450/8
reflected [3] 6520/15
                        6565/23 6566/8               6474/14 6477/22         6556/24 6557/3 6557/8 résumé [1] 6451/21
 6535/21 6569/25
                        6568/19                      6478/5 6478/9 6478/12 6560/16 6560/20
reflective [1] 6483/17                                                                                  S
                       Reporter    [4]   6448/11     6478/25 6479/16         6562/13 6562/16
reflects [1] 6482/23
                        6448/11 6448/12              6479/17 6479/18         6563/7 6563/13             SA [1] 6501/5
reg [2] 6470/16
                        6448/12                      6479/19 6479/22         6563/18 6563/22            safety [1] 6496/7
 6542/23
                       representation       [1]      6479/22 6481/7          6564/3 6564/4 6566/14 said [34] 6454/24
regard [3] 6487/2
                        6507/25                      6481/22 6482/5 6482/6 6566/20 6567/2 6567/4 6463/6 6463/10
 6500/1 6551/14
                       request   [2]   6472/15       6493/9 6493/19          6567/14 6569/16             6463/15 6474/18
regarding [9] 6451/13
                        6547/22                      6497/14 6498/7          6570/1 6570/4 6570/6 6475/6 6475/8 6475/15
 6476/11 6499/3
                       require [2] 6537/6            6498/12 6525/19         6570/12 6570/16             6475/16 6475/25
 6534/15 6539/23
                        6537/15                      6541/14 6541/25         6571/8 6571/22 6573/2 6483/18 6484/12
 6541/15 6562/2 6583/7
                       requisite [3] 6489/17         6542/10 6542/12         6573/14 6574/1 6574/8 6502/13 6503/24
 6585/25
                        6489/19 6536/6               6542/20 6558/20         6574/15 6575/3              6505/20 6506/9 6511/5
regardless [1] 6556/23                                                                                   6511/20 6522/6
                       research    [2]   6455/12     6558/21 6588/16         6575/15 6575/18
regime [3] 6477/25                                                                                       6527/19 6533/23
                        6560/25                     Rhodes'     [16] 6473/5  6575/20 6576/15
 6479/4 6481/8
                       reserve  [1]    6451/13       6482/21 6482/24         6576/22 6580/13             6538/1 6538/3 6538/7
Registered [1] 6448/11                                                                                   6542/12 6556/1 6559/7
                       reserved    [1]   6451/23     6483/15 6498/17         6581/5 6581/20
regular [3] 6502/24                                                                                      6564/16 6564/20
                       residing   [1]   6480/9       6523/11 6523/14         6582/14 6583/13
 6531/3 6540/15
                       respect  [14]     6482/16     6523/16 6525/4 6525/8 6585/4 6585/6 6587/13 6566/13 6580/10
regularly [1] 6516/25                                                                                    6582/12 6585/19
                        6484/3 6486/13               6525/11 6542/4 6560/1 6588/11 6590/1
related [5] 6459/18
                        6486/18 6487/19              6566/22 6566/25        right-hand     [1]  6508/10 6587/4
 6476/25 6494/19
                        6487/24 6489/3               6567/19                rights [1] 6451/13          same [26] 6464/2
 6513/9 6540/4
                        6491/21 6493/2 6499/8 Rhodes/SoRelle [1]            rios  [1]  6530/9            6466/15 6468/8 6469/3
relates [1] 6578/25                                                                                      6469/22 6471/11
                        6517/14 6538/16              6497/14                riot [1]   6478/22
relevance [3] 6476/22                                                                                    6471/12 6479/23
                        6579/3 6587/4               Rich   [2]  6462/5      riots  [1]  6530/10
 6477/5 6477/6
                       respectfully     [2]          6463/17                rise [6]   6450/2 6560/17 6481/5 6483/3 6486/1
relevant [16] 6452/9                                                                                     6487/6 6488/12 6489/3
                        6459/14 6578/16             Rich Lupo [2] 6462/5 6561/17 6561/19
 6452/24 6456/24
                       responded [6] 6483/19 6463/17                         6589/11 6590/3              6498/16 6504/12
 6464/5 6464/14
                        6566/4 6566/5 6566/9 ride [2] 6496/11               risk [1] 6457/18             6525/20 6525/23
 6464/17 6467/25
                        6580/22 6582/19              6497/16                RMR [2] 6591/2 6591/8 6535/19 6537/22
 6479/7 6479/12
                       responds [3] 6462/8          rifle [2] 6473/24       Road [1] 6447/3              6571/6 6571/21 6575/5
 6480/17 6484/24
                        6478/3 6478/9                6493/24                ROBERTSON          [1]       6575/7 6579/9 6589/20
 6488/15 6547/11
                       response     [2]   6532/7    rifles  [6]  6470/14     6446/6                     SANDRA [4] 6445/6
 6552/22 6572/18
                        6555/4                       6472/1 6473/13         role [2] 6473/25             6446/2 6450/8 6450/14
 6583/4
                       responsible      [1]  6467/3 6473/15 6476/12          6483/10                    Sandra Ruth Parker [1]
reliable [1] 6460/12                                                                                      6450/8
                       rest [2] 6463/13 6481/4 6542/16                      room [14] 6463/22
relied [1] 6460/10
                       rested  [1]   6486/8         right  [112]   6451/6    6468/8 6481/2 6544/21 sat [1] 6567/12
reloading [5] 6478/4
                       resting [1] 6544/10           6453/8 6454/13          6545/18 6545/19            save [1] 6466/9
 6480/11 6480/15
                       resume   [2]    6463/17       6458/11 6463/18         6577/12 6577/13            saw [5] 6500/3
 6481/12 6481/15
                        6589/9                       6465/24 6467/7          6578/19 6579/10             6517/15 6545/3 6545/3
reluctant [1] 6493/3                                                                                     6559/14
                       RESUMED        [1]  6501/6 6468/16 6470/20            6579/16 6581/13
relying [2] 6536/20
                       resumes     [2]   6462/6      6470/25 6471/6          6581/16 6583/1             say [66] 6454/21
 6536/21
                        6462/24                      6472/18 6472/19        rooms [2] 6581/7             6457/25 6458/14
remain [2] 6561/20                                                                                       6458/16 6458/20
                       retain [1]    6555/16         6473/16    6473/20      6581/8
 6562/12
                       retained [2] 6517/23          6476/21 6479/17        Rossi [5] 6447/10            6458/25 6459/12
remember [18]
                        6556/4                       6480/13 6480/22         6450/19 6451/7 6499/8 6464/17 6467/16
 6478/14 6488/7 6494/1
                       return [1] 6557/10            6481/5 6481/16          6505/12                     6471/7 6480/5 6490/7
 6504/24 6509/12
                       returns  [2]    6554/8        6481/21 6490/11        routinely    [1] 6539/6      6490/12 6490/19
 6510/1 6510/18
                        6554/9                       6490/17 6490/18        row   [2]  6575/6 6575/20 6490/20 6490/22
 6533/10 6535/6
                       review [5] 6497/12            6490/22 6491/12        rude [1] 6545/14             6491/15 6492/15
 6554/24 6558/20
                        6521/22 6548/22              6492/19 6494/13        rule  [14]  6455/8           6492/17 6496/16
 6564/17 6575/9 6580/8
                        6559/25 6575/25              6495/7 6496/2 6498/17 6455/13 6457/15               6496/20 6527/5 6529/9
 6583/22 6584/25
                       reviewed     [14]   6512/10 6499/1 6499/13            6457/20 6459/20             6529/14 6533/14
 6586/7 6587/13
                        6512/11 6520/11              6499/17 6499/17         6460/7 6460/19              6534/21 6535/1
remind [2] 6538/23                                                                                       6535/13 6537/9
                        6520/16 6526/8 6532/6 6500/3 6500/5 6500/7 6472/17 6491/18
 6539/19
                        6536/11 6538/14              6502/16 6503/9          6491/19 6494/9 6561/8 6537/10 6537/14
reminded [1] 6559/8                                                                                      6538/8 6538/10
                        6540/5 6559/11               6503/25 6505/7          6561/10 6572/20
reminder [1] 6519/3                                                                                      6538/14 6548/2
                        6567/18 6567/22              6505/20 6505/23        Rule 106 [1] 6572/20
remotely [1] 6503/14                                                                                     6549/16 6550/2 6550/5
                        6569/14 6571/5               6506/4 6506/12         rules [7] 6454/22
removed [2] 6484/12
                       reviewing [6] 6520/25 6508/10 6511/13                 6454/25 6455/1 6455/6 6552/17 6552/24
 6484/17
                        6525/7 6533/6 6534/14 6513/11 6514/25                6457/1 6480/8 6561/1 6553/2 6559/1 6563/15
renew [1] 6536/16                                                                                        6563/16 6563/19
                        6534/15 6534/17              6522/18 6522/22        ruling   [4] 6462/13
rephrase [3] 6548/5
                       rhetoric  [2]    6481/11      6524/15 6525/5          6472/20 6499/7 6499/9 6564/23 6564/24
 6548/9 6551/10
                        6481/15                      6525/12 6526/1         rulings [2] 6451/10          6565/18 6565/20
report [14] 6520/16
                                                                                                                         6614


S    Case 1:21-cr-00028-APM       Document
                    6548/20 6564/11        1158 Filed 02/21/24
                                       6549/17            6493/19 Page
                                                                  6494/5 170 of 176
                                                                                6520/2 6520/4 6520/24
                        6564/12 6583/11          seize [2] 6517/6           6495/15 6495/16           6521/2 6521/4 6521/7
say... [17] 6565/21
                        6583/11 6583/12           6548/24                   6495/23 6497/23           6521/8 6521/10
 6566/8 6567/25
                       searched [6] 6522/14 send [2] 6470/23                6497/24 6499/3            6522/20 6523/14
 6568/22 6569/6
                        6546/23 6547/10           6479/3                    6499/21 6508/24           6525/4 6525/12
 6569/10 6569/10
                        6548/11 6549/9           sender [3] 6529/9          6516/20 6516/24           6525/15 6525/20
 6570/14 6574/15
                        6549/18                   6530/24 6530/25           6517/5 6542/5 6542/6 6525/23 6525/25
 6576/1 6576/16
 6578/22 6583/10       searches [7] 6487/24 sending [4] 6561/7              6568/11 6583/19           6526/23 6526/25
                        6488/8 6548/16 6549/5 6584/3 6584/3 6584/6 6583/21                            6527/1 6527/2 6527/5
 6585/14 6586/11
                        6549/8 6549/11           sense   [2]   6468/17     she's  [11]    6452/7      6527/9 6527/25
 6586/14 6586/20
                        6549/19                   6491/13                   6452/8 6458/18            6528/18 6529/7 6531/3
saying [19] 6458/2
                       searching     [2] 6549/2 sent [28] 6451/4            6463/21 6464/1 6467/2 6531/4 6531/7 6559/25
 6458/8 6458/20
                        6583/8                    6461/9 6473/7 6473/9 6486/22 6494/5                 6560/2 6563/9 6563/11
 6463/11 6463/14
                       seat [3]   6468/14         6477/24 6479/10           6499/19 6499/20           6563/24 6564/12
 6464/2 6468/7 6474/4
                        6468/14 6562/16           6484/7 6515/13            6583/23                   6588/8 6588/10
 6479/2 6480/10 6481/1
                       seated  [3]    6450/4      6515/14 6516/20          shield   [1]  6485/14     Signal   app [1] 6559/25
 6492/13 6498/6 6521/7
                        6500/12 6561/20           6523/8 6526/21 6527/9 Shipley [12] 6448/7          similar   [3] 6504/25
 6542/22 6568/13
                       second    [9]   6456/1     6529/7 6530/2 6530/3 6448/8 6450/21 6474/8 6505/2 6581/18
 6570/25 6574/22
                        6461/1 6477/16 6492/5 6531/6 6533/8 6534/19 6534/25 6560/18                  similarly [1] 6504/16
 6585/16
                        6514/22 6516/12           6535/21 6540/10           6562/20 6563/5 6571/9 simpatico [1] 6479/17
says [34] 6459/4
                        6574/24 6575/1 6587/9 6556/7 6559/6 6560/2 6572/2 6586/1 6586/5 simple [2] 6486/10
 6459/22 6460/7 6462/7
 6462/8 6463/15        seconds     [2] 6500/6     6570/25 6584/10          shirt [2] 6505/23          6535/2
                        6525/1                    6585/11 6588/10           6546/6                   simply   [6] 6461/17
 6463/17 6463/20
                       Secret  [1]   6559/22     sentence     [1]  6472/18 shit [5] 6470/13           6475/19 6485/15
 6465/24 6470/11
                                         6484/15 sentiments [1]             6542/14 6542/14           6536/20 6547/20
 6474/1 6474/18 6478/5 Secretary [1]
                       section   [1]   6517/20    6482/21                   6559/7 6585/18            6548/2
 6478/8 6478/12 6479/4
                       sections    [1]  6517/20 separate [2] 6492/5        shoot   [1]   6484/21     since   [2] 6485/8
 6508/12 6522/15
                       Secure   [1]   6581/11     6517/20                  shooting     [1]  6476/14  6534/21
 6528/8 6528/10
 6528/16 6529/15       security [11] 6472/12 sequestration [1]             short [3] 6484/6          sincerely [1] 6578/11
                        6472/13 6478/21           6494/9                    6533/2 6570/9            single [2] 6486/7
 6529/24 6536/7 6552/7
                        6482/17 6496/15          series [1] 6564/15        short-circuit [1]          6560/2
 6565/13 6565/17
                        6496/18 6496/21          served [4] 6539/3          6484/6                   sir [6] 6501/12 6543/9
 6565/18 6565/23
                        6497/17 6497/24           6539/7 6539/13 6540/3 shortly [2] 6546/3            6560/5 6560/23
 6566/8 6570/1 6570/8
                        6498/11 6559/15          servers [3] 6539/5         6559/6                    6585/18 6585/18
 6571/7 6574/14
                       seditious [3] 6461/18 6540/14 6540/16               shorts [1] 6505/24        sit [1] 6459/7
scan [1] 6576/6
                        6465/5 6482/1            service [5] 6533/2        should [13] 6459/9        site [1] 6471/19
scanned [1] 6507/21
                       see [34]   6460/22         6533/20 6559/23           6485/8 6485/24           situation [3] 6488/21
scenaria [1] 6530/9
                        6472/25 6477/3            6570/9 6583/21            6490/12 6490/19           6529/15 6545/16
scenario [1] 6530/9
                        6485/17 6494/6           services   [3]   6540/4    6498/6 6498/10 6511/6 six [4] 6450/23 6454/1
scenarios [1] 6530/11
                        6499/21 6507/16           6540/5 6540/6             6514/20 6535/9            6454/3 6454/4
scene [1] 6550/8
                        6507/18 6508/9           session [4] 6445/7         6557/13 6569/9 6577/3 slide [4] 6470/22
scheduling [1]
                        6508/11 6508/13           6462/7 6462/24 6464/7 shouldn't [2] 6459/11 6516/5 6531/20 6585/8
 6460/24
                        6508/16 6513/7           set [4] 6462/12 6484/3 6484/13                      Slide 17 [1] 6585/8
scientific [2] 6458/17
                        6513/12 6527/17           6529/16 6589/14          show   [14]    6454/1     slow [1] 6460/18
 6537/6
                        6528/3 6540/24 6544/5 several [11] 6530/6           6454/7 6469/25 6470/2 small [1] 6584/14
scope [6]   6452/24
                        6553/9 6553/11 6558/5 6539/8 6548/11                6470/13 6471/9           SMS [12] 6526/22
 6465/7 6465/9 6467/21
                        6562/8 6570/16 6571/7 6548/12 6548/13               6471/14 6477/11           6532/12 6532/13
 6489/22 6516/9
                        6571/18 6571/20           6548/14 6549/20           6514/8 6526/6 6542/15 6532/14 6532/15
scoped [3] 6547/18
                        6572/5 6573/21            6571/8 6573/20 6582/9 6557/10 6565/10               6533/1 6533/2 6533/23
 6547/18 6547/24
                        6574/14 6576/6 6579/3 6582/11                       6569/19                   6534/18 6540/15
screaming [1] 6550/21
                        6579/18 6580/15          sfbrennwald      [1]      showed      [7]  6543/24   6555/10 6570/8
screen [8] 6506/1
                        6588/6                    6446/8                    6544/1 6545/24           so  [172]
 6507/22 6512/8
                       seeing  [4]    6473/24    share  [1]   6494/20       6549/20 6556/6           so  I think [4] 6485/24
 6540/20 6541/18
                        6478/22 6480/20          she  [50]   6456/16        6558/16 6584/22           6492/5 6493/8 6580/10
 6572/6 6573/2 6588/5
                        6589/10                   6456/21 6458/13          shown [6] 6465/12         so it's [3] 6471/6
screenshot [2]
                       seek  [3]  6456/22         6458/16 6458/20           6481/14 6565/15           6471/12 6589/9
 6521/21 6522/13
                        6506/4 6506/19            6458/25 6459/4 6459/4 6571/10 6571/12              so this [1] 6476/15
screenshots [1]
 6526/7                seeking [1] 6578/4         6459/12 6459/13           6572/22                  so this is [6] 6464/21
                       seeks  [2]   6507/7        6460/1 6463/10           shows     [3]  6522/7      6498/17 6515/1
scroll [4] 6512/13
                        6508/1                    6463/12 6463/13           6560/25 6588/3            6526/21 6527/9 6535/9
 6515/7 6527/24 6558/4
                       seem [1] 6491/9            6463/14 6463/15          SHTF [1] 6529/18          So this Signal [1]
scuba [1] 6495/23
                       seemingly [1] 6583/1 6463/22 6463/23                side [5] 6493/4 6493/5 6522/20
se [2] 6446/7 6481/15
                       seems [3] 6456/6           6464/24 6464/25           6493/12 6508/10          So this statement [1]
seal [1] 6548/25
                        6489/6 6491/6             6464/25 6467/4 6468/7 6548/18                       6466/21
search [18] 6514/14
                       seen  [10]   6454/9        6468/12 6480/23          sides  [1]   6551/2       software    [2] 6528/6
 6514/15 6517/7
                        6478/1 6479/5 6487/1 6480/24 6482/8 6485/8 sign [2] 6470/13                   6529/22
 6523/11 6532/7 6539/4
                        6496/5 6499/4 6499/19 6485/15 6486/17               6542/15                  soldier [1] 6484/16
 6539/8 6539/13 6540/3
                        6499/20 6513/5            6487/6 6493/13           Signal   [37]   6466/19   some [37] 6451/4
 6547/2 6547/6 6547/7
                                                                                                                               6615


S     Case 1:21-cr-00028-APM      Document
                    sources [1] 6528/21    1158
                                        6460/9      Filed 02/21/24
                                               6460/14        6465/20 Page
                                                                      6468/9 171 of suppose
                                                                                    176     [2] 6469/22
                       sparse [1] 6581/8             6466/21 6469/3           stopped [3] 6463/18            6557/13
some... [36] 6455/12
                       speak [2] 6528/22             6481/10 6482/2            6577/6 6578/13               supposed [2] 6499/11
 6456/7 6456/23
                        6546/13                      6482/22 6484/22          stopping [2] 6496/13           6509/10
 6458/12 6461/9
                       speaking [1] 6531/15 6484/24 6485/3                     6578/8                       Supreme [2] 6514/10
 6465/20 6469/6
                       Special [2] 6501/2            6496/24 6497/1 6497/6 storming [8] 6479/19              6514/16
 6476/14 6478/8 6480/9
                        6554/4                      statements      [23]       6533/16 6570/17              Supreme    Court [2]
 6483/20 6484/16
                       specific   [8]   6458/18      6469/19 6474/22           6571/1 6571/7 6571/21 6514/10 6514/16
 6486/22 6486/25
                        6458/22 6463/4 6464/7 6475/4 6477/21                   6573/15 6575/18              sure [19] 6452/8
 6487/13 6488/7
                        6487/12 6487/18              6481/23 6481/25          strand    [1]  6471/12         6452/11 6453/5
 6488/18 6490/25
                        6491/20 6534/18              6483/5 6483/6 6483/6 Street [4] 6445/16                 6454/16 6459/3 6469/9
 6492/2 6493/3 6495/10
                       specifically     [6]          6483/15 6483/15           6446/3 6446/11                6487/5 6490/22 6499/9
 6500/13 6500/18
                        6459/21 6462/16              6483/20 6483/25           6447/16                       6502/1 6505/16
 6514/23 6523/1 6523/4
                        6484/25 6507/2               6484/11 6488/12          stressful    [1]   6579/11     6516/14 6517/16
 6537/6 6544/9 6555/25
                        6577/16 6582/19              6488/18 6490/24          strict [1]   6457/21           6521/9 6548/19 6563/6
 6561/7 6566/19
                       specifics    [2]   6459/2     6493/10 6493/14          string   [2]  6575/13          6568/20 6571/15
 6567/22 6572/20
                        6459/3                       6498/18 6502/7            6576/14                       6578/1
 6577/14 6580/7
                       spectrum      [1]  6455/25 6502/12 6552/15             stuck   [1]   6457/10         surprise  [2] 6568/1
 6587/15
                       speech    [1]   6559/22      STATES      [7]  6445/1   studied    [1]   6452/18       6568/4
somebody [4] 6511/5
 6535/25 6570/25       spell [1] 6585/20             6445/3 6445/10 6450/7 study [1] 6456/7                 surprised [1] 6554/23
                       spelled   [2]   6501/15       6457/7 6462/19 6501/2 stuff [7] 6481/2 6496/5 suspended [2] 6464/8
 6584/3
                        6585/21                     stayed [2] 6463/12         6496/15 6536/1                6464/9
somehow [2] 6469/13
                       spend   [1]    6525/7         6463/24                   6545/25 6561/7               sustained   [5] 6496/19
 6498/10
                       spent  [2]   6538/8          steal  [1]   6496/13       6578/11                       6551/9 6568/6 6568/15
someone [4] 6482/8
                        6549/14                     Steele [16] 6446/9        subject [7] 6502/3             6586/24
 6516/21 6559/20
                       Sperry   [7]   6451/22        6450/9 6450/16 6485/4 6502/3 6502/6 6502/7 SWORN [1] 6501/6
 6584/5
                        6456/16 6456/20              6485/5 6485/8 6485/14 6515/16 6515/17
someone's [1] 6453/11                                                                                       T
                        6457/3 6457/9 6458/4 6485/23 6486/2 6486/7 6541/3
something [21]
                        6458/10                      6486/8 6486/16 6487/6 submit [1] 6459/14               T-Mobile [36] 6518/20
 6452/20 6452/23
                       Sperry's    [1]   6494/11     6493/15 6500/23          submitted      [1]   6470/18 6518/21 6518/22
 6456/9 6460/21
                       spoke [1] 6534/25             6500/25                  submitting [1] 6486/22 6531/18 6532/3 6532/7
 6463/14 6467/17
                       spontaneously [1]            Steele's [1] 6485/11      subpoena [3] 6554/12 6533/6 6533/9 6533/10
 6472/19 6489/24
                        6477/23                     stenography [1]            6555/9 6555/12                6534/7 6534/17
 6489/25 6489/25
                       spreadsheet [2]               6448/16                  subscriber [5] 6583/19 6535/16 6535/17
 6490/15 6494/13
                        6557/20 6569/14             step [10] 6478/6           6583/23 6584/5 6584/6 6535/22 6540/12
 6496/15 6496/23
                       square   [1]    6457/15       6478/8 6478/10 6480/6 6584/13                           6554/13 6555/1 6555/9
 6508/10 6524/3 6535/7
                       St [1]  6447/11               6480/6 6481/5 6481/6 subscribers [4] 6584/3 6555/21 6556/1 6556/7
 6536/12 6552/8
                       stairs [1] 6462/21            6494/14 6560/21           6584/10 6584/15               6556/13 6556/24
 6568/22 6589/14
                       stake  [1]   6551/7           6588/18                   6584/18                       6557/4 6558/5 6569/13
sometimes [1] 6452/19
                       stand  [10]     6451/1       Stephen     [2]  6446/6   subscribes       [1]  6584/4 6569/14 6583/19
somewhere [1] 6476/5
                        6457/24 6463/6               6450/15                  substance [4] 6452/19 6583/24 6584/1 6584/2
SoRelle [20] 6469/20
                        6478/13 6478/13             Stephen     Brennwald      6578/7 6578/20 6579/8 6584/4 6584/9 6584/10
 6470/8 6470/11
                        6479/20 6491/15              [1]  6450/15             substantially      [3]         6584/15 6584/17
 6471/22 6473/5
                        6492/7 6501/6 6552/15 steps [3] 6465/17                6483/1 6483/22               T-Mobile's [4] 6534/19
 6481/22 6482/6 6482/7
                       standing [1] 6491/1           6476/15 6487/1            6483/24                       6535/18 6557/1
 6482/22 6493/10
                       stands   [1]    6590/4       Stewart    [13]   6470/7  substantive       [3]  6493/1 6557/10
 6493/20 6497/14
                                       6447/2        6477/22 6482/21           6579/5 6579/6                T-shirt [2] 6505/23
 6498/8 6498/12 6542/2 stanley [3]
                        6447/5 6450/17               6498/7 6498/12           success [1]       6484/4       6546/6
 6542/3 6542/4 6542/10
                       Stanley    Woodward      [1]  6523/11 6525/8           such   [3]   6459/21          tackle [1] 6461/14
 6542/21 6558/21
                        6450/17                      6525/11 6525/19           6489/23 6561/2               tactical [1] 6457/10
sorry [29] 6453/9
                       start [13]    6451/6          6541/14 6541/25          suffer  [1]   6466/25         take [25] 6453/2
 6454/24 6456/3
                        6462/3 6463/19 6464/2 6542/10 6588/16                 suggest     [4]   6486/12      6453/3 6460/20 6463/1
 6459/19 6467/18
                        6464/9 6464/18              Stewart    Rhodes    [9]   6497/23 6498/22               6472/17 6489/25
 6470/5 6474/25
                        6464/20 6491/3               6470/7 6477/22 6498/7 6578/16                           6492/8 6509/6 6519/1
 6475/10 6478/7
                        6500/12 6552/16              6498/12 6525/19          suggested       [3]   6468/20 6526/3 6531/14
 6489/12 6493/17
                        6561/24 6566/25              6541/14 6541/25           6482/13 6483/12               6538/25 6548/22
 6494/16 6500/13
                        6578/9                       6542/10 6588/16          suggesting       [6]           6548/25 6551/16
 6508/4 6526/18
                       started   [3]   6471/7       Stewart    Rhodes'    [3]  6461/25 6465/4 6466/5 6560/8 6560/14
 6526/23 6531/13
                        6560/12 6589/25              6523/11 6525/8            6524/3 6524/8 6524/9 6560/15 6569/20
 6539/20 6542/6
                       starting [6] 6464/22          6525/11                  suggestion [2]                 6576/5 6576/5 6579/14
 6542/14 6555/5 6559/8
                        6465/2 6478/16              still [11] 6451/4 6464/7 6497/15 6498/1                  6587/7 6589/3 6589/7
 6562/8 6565/6 6571/11
                        6513/15 6589/4 6589/8 6464/9 6464/14 6468/2 Suite [5] 6446/3                        taken [3] 6463/5
 6572/9 6575/7 6577/25
                       state [6] 6466/13             6477/19 6485/15           6446/11 6447/7                6466/21 6520/6
 6588/25
                        6482/24 6483/17              6543/24 6544/1            6447/12 6448/4               taking [5] 6470/15
sort [6] 6488/25
 6501/25 6502/20
                        6501/14 6506/9               6567/20 6570/4           summary [1] 6487/25 6472/4 6479/19 6480/6
                        6547/25                     Stone    [1]  6559/20     support [5] 6458/1             6542/23
 6508/14 6560/12
                       stated  [1]    6505/6        stop   [5]  6463/8         6470/15 6472/4               talk [11] 6452/20
 6581/15
                       statement [14] 6460/8 6463/16 6464/11                   6539/21 6542/23               6461/2 6461/8 6467/9
sounds [1] 6551/25
                                                                                                                6616


T    Case 1:21-cr-00028-APM       Document
                    6464/15 6471/23        1158
                                       6518/25    Filed 02/21/24
                                               6519/5               Page6547/11
                                                            6546/5 6546/7 172 of 176
                                                                                 6560/14 6564/19
                        6473/24 6475/12         6522/17 6522/19        6551/4 6554/20 6555/3 6565/10 6569/25
talk... [7] 6468/25
                        6476/3 6476/5 6476/7 6526/13 6528/12           6556/5 6556/9 6556/21 6570/3 6573/20
 6496/12 6501/21
                        6480/23 6481/13         6531/20 6531/25        6557/2 6559/5 6564/2 6577/21 6584/17
 6561/13 6563/8
                        6501/7 6504/7 6504/10 6540/18 6542/25          6564/4 6565/12         6585/25 6589/1
 6566/10 6578/20
                        6504/22 6507/3 6509/7 6543/4 6553/5 6553/5 6566/13 6566/20           theory [3] 6468/17
talked [6] 6474/12
                        6509/22 6510/15         6553/7 6553/12         6567/21 6568/3         6469/20 6470/3
 6476/13 6480/24
                        6511/4 6511/18 6516/8 6553/13 6560/5           6572/10 6572/12       there [121] 6451/6
 6496/14 6496/16
                        6551/5 6554/8 6567/13 6560/16 6560/18          6572/24 6573/18        6452/4 6452/23
 6547/13
                        6568/12 6569/13         6561/14 6561/15        6574/7 6574/13         6457/25 6463/4
talking [21] 6462/24
                        6569/15                 6561/16 6561/21        6574/19 6574/24        6463/24 6464/3
 6466/3 6467/24
                       testify [5]  6484/20     6576/24 6576/25        6574/24 6575/1         6465/13 6465/17
 6467/25 6468/24
                        6535/11 6537/4          6578/8 6579/20         6575/19 6576/11        6465/20 6466/1 6466/4
 6470/24 6471/15
                        6565/17 6576/13         6585/24 6588/19        6578/11 6578/23        6466/5 6466/5 6467/10
 6479/6 6479/6 6479/10
                       testifying  [6] 6495/19 6589/10 6590/2          6583/3 6585/16 6586/5 6468/9 6469/24 6470/7
 6481/2 6487/12
                        6501/17 6506/15        thank you [48]          6586/22 6586/24        6471/9 6472/8 6474/4
 6494/12 6516/15
                        6551/13 6577/22         6454/12 6477/15        6587/9 6587/11         6474/5 6474/20 6475/2
 6547/17 6567/20
                        6586/15                 6484/1 6493/6 6494/14 6587/16                 6475/25 6476/9
 6567/21 6574/8
                       testimony    [35]        6494/17 6500/8 6501/1 their [24] 6452/15      6476/15 6477/21
 6574/10 6577/17
                        6452/25 6460/13         6504/18 6505/15        6453/11 6457/24        6483/20 6485/1
 6578/18
                        6460/13 6476/11         6506/3 6506/21 6509/5 6461/24 6461/25         6487/13 6487/25
talks [2] 6453/12
                        6494/7 6494/11 6497/4 6510/13 6510/22          6464/13 6469/5         6487/25 6489/23
 6476/9
                        6499/3 6499/4 6499/23 6510/23 6511/11          6478/19 6478/20        6490/12 6491/17
tall [1] 6544/9
                        6502/20 6506/18         6511/25 6512/3 6516/1 6483/10 6483/14         6491/18 6494/10
tantamount [1]
                        6507/6 6509/12          6518/25 6519/5         6483/17 6486/19        6495/25 6496/3 6496/8
 6484/14
                        6532/17 6534/9          6522/17 6522/19        6488/22 6489/5 6490/9 6496/10 6497/15
target [2] 6476/14
                        6534/22 6536/4 6536/8 6526/13 6528/12          6491/11 6491/14        6497/17 6497/24
 6484/21
                        6536/10 6536/14         6531/20 6531/25        6491/16 6493/14        6503/8 6503/17
teach [1] 6455/9
                        6536/17 6537/1 6537/2 6540/18 6542/25          6540/14 6547/15        6503/20 6503/22
team [9] 6522/15
                        6537/9 6537/16          6543/4 6553/5 6553/5 6561/2 6578/10           6507/17 6508/15
 6522/21 6523/13
                        6537/23 6537/25         6553/12 6553/13       them [36] 6454/9        6517/20 6517/22
 6525/4 6527/15
                        6560/21 6565/13         6560/5 6560/16         6454/23 6455/1 6458/8 6518/1 6518/3 6518/5
 6539/21 6566/10
                        6567/15 6568/23         6560/18 6561/15        6460/6 6464/15         6518/13 6522/16
 6566/11 6588/7
                        6574/3 6580/13 6589/4 6561/16 6576/24          6464/21 6467/9         6523/6 6523/18
technical [2] 6536/17
                       text [26] 6469/8 6476/2 6576/25 6578/8          6470/24 6471/25        6523/24 6524/3 6524/4
 6536/19
                        6481/10 6481/12         6579/20 6585/24        6473/9 6475/14 6476/4 6524/19 6524/20
technically [1] 6536/1
                        6481/22 6482/5          6588/19 6589/10        6483/22 6483/23        6530/7 6535/2 6540/1
technology [1]
                        6482/20 6493/20         6590/2                 6487/3 6488/14 6491/9 6543/18 6543/19
 6539/24
                        6516/19 6517/14        that [683]              6491/13 6491/16        6544/2 6544/7 6544/9
telecom [2] 6539/11
                        6517/17 6517/20        that's [103] 6452/21    6517/15 6539/8         6544/11 6544/11
 6539/13
                        6517/22 6531/3 6533/4 6453/21 6455/13          6545/20 6562/3 6562/6 6544/21 6545/1 6545/1
telecommunications
                        6533/8 6535/15          6456/7 6457/1 6458/8 6563/19 6565/10          6545/19 6547/5
 [4] 6538/15 6538/17
                        6535/19 6535/20         6458/11 6458/19        6569/16 6574/5 6576/6 6550/15 6550/17
 6539/2 6539/5
                        6538/6 6540/15 6559/6 6462/25 6465/21          6577/20 6578/19        6550/20 6551/1
telecoms [3] 6539/6
                        6569/15 6570/10         6467/22 6468/19        6579/16 6579/17        6551/25 6552/8
 6539/7 6539/9
                        6576/22 6584/10         6469/1 6470/22 6472/6 6582/20 6586/10         6564/10 6564/12
tell [12] 6477/19
                       texts  [1] 6473/5        6473/13 6473/18       theme   [3] 6478/17     6566/15 6566/16
 6480/22 6492/8
                       than  [20]  6474/21      6474/15 6475/8 6479/9 6479/23 6481/5          6566/18 6566/18
 6525/14 6526/25
                        6475/4 6475/8 6476/6 6480/3 6480/12           then  [54]  6451/8      6566/19 6567/7
 6527/1 6528/16
                        6515/25 6536/10         6481/19 6481/24        6454/13 6461/24        6567/23 6568/2
 6528/25 6531/2 6533/7
                        6536/12 6543/12         6486/6 6486/9 6488/25 6462/7 6462/8 6464/21 6568/12 6568/13
 6535/2 6542/10
                        6543/17 6550/7          6489/10 6490/4         6468/2 6476/4 6476/5 6568/18 6568/24
telling [2] 6480/13
                        6550/16 6550/17         6490/10 6491/21        6476/10 6476/22        6569/16 6570/16
 6498/12
                        6551/5 6551/13 6552/3 6492/12 6492/20          6477/21 6478/11        6573/20 6573/23
tend [1] 6580/25
                        6555/19 6555/21         6492/23 6494/4         6478/21 6478/23        6574/22 6575/22
tension [3] 6485/10
                        6556/3 6560/15 6583/2 6499/17 6500/18          6479/4 6479/8 6480/8 6575/24 6576/18
 6485/17 6491/17
                       thank [57] 6454/12       6500/22 6502/17        6481/4 6487/25 6488/9 6576/19 6577/11
term [3] 6458/5
                        6456/13 6457/12         6502/21 6502/23        6488/25 6489/18        6578/5 6578/14 6579/1
 6472/23 6533/3
                        6458/23 6473/2          6503/10 6504/1         6489/24 6490/3 6491/2 6579/11 6579/15
termination [1] 6483/8
                        6477/15 6484/1 6493/6 6505/12 6507/25          6491/6 6492/15         6581/13 6582/15
terms [17] 6462/12
                        6494/14 6494/17         6514/24 6522/23        6493/22 6493/22        6582/24 6583/3 6585/2
 6476/22 6477/18
                        6499/24 6500/8 6501/1 6523/10 6524/7           6496/10 6498/13        6588/23
 6480/8 6482/24 6485/4
                        6503/3 6504/18          6524/14 6524/16        6504/17 6505/25       there's [31] 6452/22
 6485/20 6492/3
                        6505/15 6506/3          6526/2 6527/7 6528/18 6514/19 6515/19         6453/6 6456/5 6457/21
 6492/24 6493/1 6493/9
                        6506/21 6509/5          6531/13 6532/18        6515/19 6521/14        6466/3 6466/12
 6496/9 6538/9 6538/15
                        6510/13 6510/22         6533/25 6536/2 6536/7 6537/17 6537/24         6470/21 6470/21
 6579/5 6589/15
                        6510/23 6511/11         6537/6 6537/22         6538/2 6548/25         6473/10 6474/11
 6589/16
                        6511/25 6512/3 6516/1 6540/17 6544/15          6555/17 6558/2         6478/17 6485/1
testified [27] 6463/22
                                                                                                                            6617


T    Case 1:21-cr-00028-APM
                    6510/16 6511/7Document 1158
                                       6494/19    Filed 02/21/24
                                               6495/5       6455/15 Page
                                                                    6457/5 173  of 176
                                                                           6457/8  6555/25 6586/19
                         6535/18 6536/22        6495/17 6499/6            6457/16 6457/22            tonight [1] 6462/7
there's... [19] 6485/10
                         6542/13 6542/14        6503/24 6504/14           6458/6 6462/17             too [7] 6458/1 6459/8
 6485/13 6487/23
                         6542/15 6544/23        6512/11 6513/21           6466/22 6467/23             6464/5 6472/6 6495/5
 6491/17 6492/5 6492/5
                         6544/24 6545/4 6547/9 6514/23 6514/24            6470/3 6471/15              6577/7 6587/12
 6492/24 6498/21
                         6547/15 6555/14        6524/18 6531/13           6471/20 6480/2             took [3] 6492/6
 6552/5 6565/25 6566/1
                         6555/17 6555/22        6534/24 6537/22           6481/17 6488/13             6522/13 6543/10
 6566/6 6573/7 6573/13
                         6556/1 6556/3 6556/5 6538/11 6538/13             6488/13 6489/1 6490/4 top [6] 6462/21 6515/7
 6573/14 6575/24
                         6557/19 6557/21        6538/18 6547/10           6490/5 6490/9 6498/2 6527/24 6558/1 6570/1
 6576/10 6578/14
                         6558/9 6562/8 6564/20 6548/24 6551/15            6511/7 6512/13              6570/11
 6579/2
                         6565/2 6565/3 6570/14 6551/25 6551/25            6517/10 6517/11            topic   [10] 6473/7
therefore [1] 6464/5
                         6573/21 6574/14        6552/22 6558/18           6518/15 6519/15             6487/16 6504/16
these [69] 6450/23
                         6578/9 6578/17         6564/4 6566/24 6576/1 6519/24 6523/23                 6504/17 6516/2
 6461/17 6462/3
                         6578/21 6580/12        6578/10 6578/24           6535/18 6535/19             6516/15 6519/7
 6462/23 6463/1 6463/4
                         6580/20 6584/2 6584/4 6579/2 6579/5 6580/10 6535/24 6540/15                  6540/19 6583/13
 6463/8 6464/4 6464/10
                         6584/6 6587/15         6582/18 6583/22           6546/19 6546/21             6588/14
 6464/13 6464/17
                        They'll [1]  6526/12    6587/16                   6564/15 6564/20            topics    [1] 6455/21
 6465/5 6466/20
                        they're [14]   6466/4  thinking  [2]   6543/22    6568/2                     total  [2]   6461/5
 6466/24 6469/2 6469/4
                         6469/3 6470/8 6481/2 6587/25                    throughout        [4]        6589/16
 6469/7 6469/7 6469/18
                         6481/2 6481/8 6483/6 thinks [1] 6485/6           6474/15 6500/17            tower [2] 6535/18
 6470/1 6470/20 6471/9
                         6484/12 6486/25       third [3]  6470/21         6534/16 6558/24             6535/19
 6471/11 6471/15
                         6514/10 6527/4 6574/4 6470/22 6501/17           thrust    [2]  6495/23      track   [1] 6525/9
 6471/17 6471/18
                         6578/9 6586/14        this [303]                 6495/25                    tracking     [1] 6471/10
 6474/4 6474/14 6476/8
                        they've  [3]  6453/13  Thomas    [1]  6447/11    ticked    [1]   6477/23     train  [1]   6567/10
 6476/16 6478/18
                         6483/11 6565/10       thorny  [1]  6500/14      ticked-off     [1]  6477/23 trained [1] 6536/18
 6478/19 6478/24
                                     6459/7    those [50] 6461/14        tie [1] 6493/9              transcript [6] 6445/9
 6479/2 6480/7 6480/7 thing [12]
                         6460/17 6464/2         6461/16 6462/3           till [3]  6470/14 6518/2 6448/16 6497/10
 6480/9 6480/21
                         6473/12 6480/4 6485/2 6469/15 6470/17            6542/16                     6578/22 6578/23
 6480/22 6480/23
                         6491/25 6493/8         6471/1 6471/2 6471/8 time [37] 6462/13                6591/3
 6481/1 6481/4 6482/13
                         6494/18 6499/22        6483/2 6483/21            6465/9 6466/13 6468/1 transcription [1]
 6482/16 6483/4 6483/5
                         6537/5 6568/2          6483/24 6484/2            6469/9 6470/6 6471/16 6448/16
 6483/10 6483/19
                        things [14] 6459/8      6485/13 6486/14           6475/21 6501/17            transformed [1]
 6483/20 6487/17
                         6459/11 6473/10        6487/21 6487/22           6503/18 6505/14             6478/22
 6488/5 6488/16
                         6482/13 6490/21        6488/2 6488/2 6488/6 6514/23 6517/18                 transport [1] 6528/22
 6491/10 6506/2
                         6527/4 6527/5 6538/6 6492/2 6492/4 6493/14 6517/19 6518/2 6523/2 travel [2] 6559/1
 6512/16 6512/16
                         6538/12 6545/1 6551/2 6505/6 6513/5 6513/6 6525/7 6530/16                    6559/3
 6520/14 6520/24
                         6563/12 6572/6         6521/16 6532/10           6541/22 6541/23            treating    [1] 6493/1
 6526/7 6537/13
                         6579/12                6533/12 6536/22           6543/21 6545/12            treatise   [10]  6455/7
 6537/13 6538/5 6538/9
                        think [104]   6451/23   6540/4 6548/25 6552/3 6549/8 6558/2 6558/24 6455/8 6456/18 6457/8
 6538/11 6540/6
                         6451/25 6452/6         6552/17 6555/24           6564/16 6566/16             6458/7 6459/23 6460/8
 6551/13 6551/14
                         6452/14 6452/22        6556/14 6558/7            6569/25 6570/11             6560/24 6561/2 6561/3
 6563/9 6570/13
                         6453/14 6453/22        6559/18 6565/21           6570/11 6571/21            treats   [1] 6460/7
they [99] 6455/9
                         6454/4 6454/19 6455/3 6566/1 6566/2 6570/7 6576/9 6579/15                   trial [19]    6445/9 6455/9
 6461/22 6461/23
                         6459/8 6460/19 6461/3 6570/10 6572/13            6581/24 6587/13             6469/2 6469/24
 6462/18 6463/2 6463/8
                         6463/4 6464/3 6464/19 6574/1 6574/1 6575/17 6588/14 6589/16                  6481/13 6488/25
 6463/15 6463/17
                         6467/1 6467/2 6468/12 6579/12 6584/5            timeline     [2]   6472/10   6489/2 6490/20
 6463/18 6463/19
                         6468/16 6468/20        6584/14 6586/7            6488/14                     6501/17 6501/18
 6463/19 6464/2
                         6469/24 6471/4 6474/7 though [4] 6484/24        times    [7]   6508/21       6502/13 6546/24
 6464/15 6464/16
                         6476/5 6476/15         6485/17 6497/9            6548/11 6548/12             6547/1 6547/7 6547/9
 6464/18 6465/13
                         6476/16 6476/19        6567/18                   6548/14 6566/3 6582/9 6547/10 6574/1
 6466/1 6467/7 6467/9
                         6477/5 6477/14        thought [14] 6451/21 6582/11                           6577/22 6587/9
 6468/9 6469/6 6469/20
                         6477/17 6480/7 6480/9 6460/17 6466/25           timing     [4]  6474/19     trickling    [1] 6485/25
 6470/12 6470/14
                         6480/17 6480/17        6467/16 6467/18           6579/1 6579/1 6589/15 tried [1] 6469/4
 6473/8 6473/9 6475/14
                         6483/21 6484/16        6468/20 6473/8 6485/3 tired [1] 6495/2               trouble [2] 6462/21
 6477/24 6479/3 6479/7
                         6484/25 6485/3         6495/15 6502/24          title [1]   6452/20          6522/16
 6479/8 6479/14
                         6485/10 6485/20        6555/3 6555/5 6567/10 titled [1] 6591/4              Troy   [2] 6445/14
 6480/16 6480/18
                         6485/22 6485/24        6586/6                   today    [11]    6456/16     6450/13
 6481/4 6481/6 6481/23
                         6486/9 6486/15        thoughts [1] 6467/3        6514/9 6527/15             Troy Edwards [1]
 6481/23 6483/6
                         6487/12 6487/17       thousands     [3] 6477/23 6543/14 6549/17              6450/13
 6483/16 6483/18
                         6488/2 6488/4 6489/7 6549/8 6559/25              6552/2 6560/15             true [5] 6459/5 6467/22
 6483/18 6484/13
                         6489/10 6489/20       three [15] 6470/7          6564/19 6565/16             6484/21 6489/3 6585/2
 6486/23 6486/23
                         6489/21 6490/2 6491/4 6471/1 6474/10             6568/23 6590/1             truly [1] 6537/5
 6487/2 6487/2 6488/15
                         6491/7 6491/16 6492/5 6487/23 6497/5 6500/6 together [1] 6480/23            Trump [4] 6470/15
 6490/24 6491/1 6491/9
                         6492/10 6492/12        6517/20 6525/23          told [11] 6492/14            6472/3 6515/18
 6491/22 6493/10
                         6492/13 6492/16        6549/18 6553/1            6498/13 6498/13             6542/23
 6496/5 6496/5 6496/6
                         6492/20 6492/23        6555/16 6555/19           6510/16 6525/3             Trump's      [2] 6514/11
 6496/13 6496/16
                         6492/23 6493/8         6555/21 6556/3 6575/5 6535/25 6536/20                 6559/21
 6497/17 6498/20
                         6493/23 6494/3 6494/4 through [39] 6454/18 6536/21 6544/19                  truth [1] 6582/3
 6502/12 6506/1
                                                                                                                             6618


T     Case 1:21-cr-00028-APM       Document
                     6570/7 6571/5 6571/13    1158
                                           6577/14    Filed 02/21/24
                                                   6584/1       6480/20 Page
                                                                        6494/7 174 of 176
                                                                                      6447/8 6447/12
                        understanding [9]            6585/16 6585/17         viewing [1] 6505/20         6448/14 6475/13
try [3] 6470/19 6477/17
                        6474/22 6497/23              6585/17 6585/19         virtually [3] 6503/12       6496/7 6497/16
 6540/3
                        6537/14 6540/9               6587/9 6587/12           6503/13 6505/20            6497/17 6559/3
trying [5] 6477/11
                        6543/19 6555/12             USA [1] 6514/9           visible [2] 6509/1          wasn't [12] 6474/2
 6543/16 6560/9
                        6555/24 6557/2 6570/8 USA Today [1] 6514/9 6572/9                                6498/11 6524/20
 6574/14 6575/7
                        understands      [1]        usable   [1]  6489/2     voice [13]     6533/17      6545/1 6545/14 6550/8
turn [2] 6565/3 6565/4
                        6475/5                      usdoj.gov    [1] 6445/18 6533/20 6533/20             6563/20 6569/6 6569/7
turned [4] 6545/25
                        understood      [6]         use  [11]  6454/21        6534/1 6534/2 6534/4 6569/11 6574/3 6585/2
 6546/3 6546/6 6546/8
                        6451/15 6452/2 6493/6 6490/1 6491/15                  6534/5 6534/15             watch [1] 6499/2
twice [2] 6554/6
                        6537/13 6547/5 6566/7 6491/20 6492/6                  6534/21 6534/23            watched [2] 6545/10
 6554/11
                        undoubtedly      [1]         6506/16 6507/5 6520/8 6535/8 6535/21                6581/22
two [54] 6451/8 6454/1
                        6482/25                      6560/10 6573/7           6540/10                    watching    [7] 6463/7
 6456/24 6462/11
                        undue   [1]   6466/24        6580/25                 voice-over-Internet     [1] 6463/10 6463/22
 6462/15 6462/20
                                     6460/6         used [17] 6458/3          6540/10                    6463/25 6465/1 6468/7
 6464/3 6466/6 6470/17 unfair [1]
                        unit [2]  6539/5 6539/16 6468/13 6485/5 6486/6 voided [1] 6535/17                6530/8
 6470/20 6471/2 6471/3
                        UNITED    [7]   6445/1       6488/14 6492/4 6496/4 VoIP [4] 6534/4               water   [2] 6477/4
 6471/6 6475/13
                        6445/3 6445/10 6450/7 6497/14 6498/3                  6539/24 6540/6             6528/10
 6476/15 6476/16
                        6457/7 6462/19 6501/2 6500/20 6500/23                 6540/10                    Watkins [4] 6496/11
 6478/5 6482/13
                        United   States   [3]        6500/25 6502/12         voluntarily    [4]  6543/18 6498/13 6508/23
 6482/15 6482/17
                        6457/7 6462/19 6501/2 6524/6 6529/12                  6543/19 6545/25            6508/25
 6483/2 6487/23
                        unless   [4]  6452/22        6534/23 6583/21          6577/11                    Watkins'   [2] 6476/1
 6490/21 6491/2
                        6485/6 6491/13 6503/1 user [1] 6539/3                Volunteer     [1]  6521/12 6509/4
 6503/22 6504/2
 6505/25 6506/2         unlikely [1] 6514/10        uses [1] 6534/4          vote [4] 6463/8             wave [2] 6470/13
                        unloaded     [2]  6475/13 using [5] 6455/14           6463/16 6463/18            6542/15
 6518/13 6518/14
                        6531/8                       6521/22 6529/13          6483/10                    way   [14] 6466/6 6471/7
 6525/20 6540/22
                        unread   [1]   6565/2        6534/20 6555/12         vouching     [1]  6586/23 6486/2 6487/6 6488/12
 6543/11 6543/12
 6543/13 6543/17        until [8] 6451/1            UTC [1] 6514/23          vs [1] 6445/5               6496/12 6534/23
                        6455/17 6464/20             utter [1]  6550/24                                   6535/19 6568/8 6570/3
 6544/7 6545/20 6550/7                                                       W
                        6465/10 6465/11                                                                  6571/9 6582/20
 6551/21 6551/22                                    V
                        6465/13 6468/4                                       wait [1] 6500/13            6582/22 6584/1
 6551/23 6551/25
                        6517/25                     value [8] 6457/17        waiting [2] 6530/8          ways [1] 6550/9
 6552/6 6552/7 6554/6
                        up [48] 6453/19              6457/19 6461/24          6589/13                    we [217]
 6556/11 6556/19
                        6457/25 6458/5               6483/2 6483/20          waive [1] 6561/22           we believe [1] 6471/14
 6558/7 6563/9 6573/13
                        6467/11 6470/13              6483/22 6483/23         want [30] 6453/25           we will [2] 6530/6
 6581/19 6588/13
                        6470/19 6471/5               6483/24                  6459/19 6465/4             6559/21
 6588/23
                        6487/19 6490/14             various [2] 6521/17       6468/11 6469/4 6473/4 we'd [2] 6451/23
two-week [4] 6518/13                                 6538/6                   6473/18 6475/20
                        6491/15 6491/21                                                                  6561/11
 6518/14 6556/11
                        6493/9 6507/22 6512/7 Verizon [7] 6554/12             6477/17 6491/25            we'll  [18] 6453/17
 6556/19
                        6516/3 6519/9 6524/25 6555/10 6583/22                 6496/6 6496/20 6526/5 6453/19 6454/11
twofold [1] 6491/5                                   6583/23 6584/5 6584/6 6536/10 6541/19
                        6529/16 6531/19                                                                  6454/12 6464/2
TX [1] 6448/4
                        6537/4 6537/8 6537/19 6584/13                         6544/25 6551/17            6464/17 6468/10
tying [1] 6487/19
                        6538/4 6540/20              versus [4] 6450/7         6561/25 6563/8             6488/16 6490/6
types [1] 6579/12                                    6521/7 6547/18 6561/4 6569/20 6571/13
                        6541/18 6542/15                                                                  6494/15 6548/21
typically [3] 6554/12
                        6543/24 6544/1              very [13] 6457/21         6571/15 6571/16            6548/22 6548/22
 6555/9 6556/4
                        6545/24 6548/1               6458/5 6465/15           6572/11 6572/20            6567/11 6572/17
U                       6548/25 6549/18              6486/11 6500/14          6573/7 6573/8 6573/9 6582/25 6589/9 6589/9
                        6553/5 6558/15               6515/1 6546/19           6576/15 6577/24            we're [35] 6462/14
U.S [1] 6445/15
                        6562/19    6563/12           6550/13 6552/14         wanted    [8]   6460/25     6463/20 6467/7
U.S.C [1] 6464/5
                        6572/18    6573/6            6554/21 6569/25          6475/19 6502/24            6467/24 6467/25
ultimately [1] 6497/18
                        6573/24    6574/6   6575/3   6588/19 6589/10          6547/15 6562/3 6563/6 6472/25 6476/24
under [12] 6454/22
                                                              6546/4          6576/3 6582/12
 6454/22 6455/5 6461/4 6584/21 6585/7 6586/3 vest [1]                                                    6477/2 6477/19
                        6586/5   6587/7    6587/17  via [1]  6503/14         wanting    [1]   6461/16    6480/11 6480/14
 6477/25 6479/3 6480/7
                        6588/5                      video   [12]  6506/6     wants   [6]   6452/10       6480/14 6481/14
 6482/24 6483/3
                        upon   [10]   6469/4         6506/24 6507/12          6461/2 6491/14             6485/18 6487/12
 6498/23 6561/1
                        6478/22 6489/15              6509/19 6510/7 6511/2 6551/19 6585/16               6487/16 6494/12
 6561/10
                        6536/20    6536/21           6511/16 6545/3           6585/17                    6505/13 6516/14
undergoing [1]
                        6537/2   6537/15    6538/1   6552/13 6552/19         warrant [5] 6532/8          6516/15 6533/16
 6537/19
                        6538/16    6552/23           6553/1 6581/22           6547/6 6548/24             6554/20 6559/7 6560/9
underneath [1]
                        us [27]   6454/13    6459/7 videos [10] 6451/4        6583/11 6583/12            6567/21 6570/3
 6471/21
                        6462/9   6470/14             6451/6 6451/8 6486/25 warranted [1] 6477/8          6570/17 6570/25
understand [20]
                        6472/15    6480/22           6499/4 6499/12          warrants    [5]   6539/4    6571/7 6571/21
 6454/22 6455/1
                        6496/14 6501/14              6499/14 6499/16          6539/8 6539/13 6540/3 6573/15 6573/17
 6462/13 6469/3
                        6502/24 6525/3               6513/5 6545/10           6548/20                    6574/10 6575/18
 6473/19 6480/5
                        6525/14    6533/7           videotape    [1] 6578/4 was [338]                    6589/7
 6480/19 6483/7
                        6538/23    6539/19          view  [8]  6457/23       Washington       [14]       we've   [9] 6462/14
 6489/10 6491/7 6495/9
                                                     6461/13 6473/23          6445/5 6445/17 6446/4 6466/19 6469/19
 6498/5 6499/8 6524/7 6542/15 6547/15
                                                     6477/8 6477/9 6479/15 6446/7 6446/12 6447/3 6487/1 6540/3 6548/13
 6538/9 6538/18 6569/8 6548/16 6556/1 6556/5
                                                                                                             6619


W    Case 1:21-cr-00028-APM       Document
                    6523/18 6523/24        1158
                                       6488/21    Filed 02/21/24
                                               6502/3               Page 175
                                                            6506/1 6508/22      of 176
                                                                           6509/9  6473/9 6484/9 6561/16
                      6526/1 6533/8 6534/18 6503/17 6508/24        6510/9 6521/12        win [1] 6562/10
we've... [3] 6549/17
                      6535/15 6541/8 6541/9 6509/3 6516/13         6525/14 6529/9 6530/7 wins [1] 6485/20
6560/13 6574/8
                      6543/22 6543/23       6518/13 6518/18        6530/24 6539/6        wire [2] 6559/21
wear [1] 6577/18
                      6544/2 6544/3 6544/7 6530/2 6535/6 6538/5 6541/24 6542/1 6542/3 6559/22
wearing [1] 6579/4
                      6544/19 6544/24       6551/6 6552/7 6559/6 6544/5 6545/6 6563/18 wishes [2] 6451/9
web [3] 6487/23
                      6545/19 6545/20       6564/20 6565/13        6570/22 6571/1 6571/3 6477/21
6488/8 6513/24
                      6547/17 6549/2        6571/7                 6573/18 6575/23       withdraw [5] 6472/18
Webex [1] 6503/15
                      6550/15 6550/17       whereas  [1]  6493/14  6577/12 6578/5        6552/21 6553/4 6553/7
website [1] 6513/25
                      6550/18 6551/1        whether  [36]  6462/20 6579/11 6582/15       6561/6
week [13] 6504/7
                      6551/25 6552/3        6475/22 6490/19        6582/16 6585/11       within  [6] 6464/21
6506/15 6507/3 6509/8
                      6554/25 6555/22       6493/10 6506/15        6588/13               6468/1 6472/10
6509/22 6510/14
                      6556/15 6563/18       6507/3 6509/8 6509/23 who's [3] 6474/3       6521/16 6548/23
6511/5 6511/18
                      6566/15 6566/16       6509/23 6510/15        6574/21 6588/24       6548/24
6518/13 6518/14
                      6567/12 6569/16       6511/5 6511/19 6528/7 whole [8] 6460/20      without   [3] 6486/8
6543/17 6556/11
                      6570/13 6570/13       6528/25 6529/22        6472/24 6472/24       6533/4 6583/3
6556/19
                      6570/14 6576/2        6531/2 6535/8 6540/11 6475/1 6477/17         witness [18] 6449/2
weeks [1] 6466/20
                      6576/17 6577/12       6541/9 6541/10         6564/15 6568/2        6456/2 6459/18
weight [1] 6480/25
                      6577/13 6577/20       6554/25 6568/21        6575/25               6460/10 6461/1 6461/1
well [38] 6453/1
                      6579/15 6580/11       6577/10 6577/10        why   [24]  6453/3    6468/18 6487/5 6501/5
6453/3 6455/11
                      6580/12 6580/13       6577/11 6577/17        6461/8 6463/4 6465/24 6508/18 6552/15
6458/13 6472/10
                      6581/19 6582/15       6577/18 6577/19        6469/20 6470/22       6552/23 6557/12
6477/9 6486/21
                      6582/17 6582/24       6577/20 6579/3         6473/18 6475/8 6477/8 6569/19 6573/7 6573/8
6486/24 6488/23
                      6584/3 6584/4 6584/14 6579/11 6581/4         6479/2 6479/7 6479/12 6588/25 6589/8
6498/3 6508/19
                      6587/15 6588/13       6582/24 6586/6 6586/9 6479/14 6485/7 6492/9 witnesses [7] 6449/4
6512/16 6514/20
                      6588/23               6587/17                6494/6 6497/17        6462/18 6468/19
6524/2 6524/18 6530/6
                      weren't [4]  6498/20  which  [41]  6459/23   6514/15 6521/6        6470/3 6473/23
6531/5 6532/20
                      6544/23 6562/9        6459/24 6460/1         6544/19 6548/16       6491/10 6541/9
6533/22 6536/3
                      6570/23               6460/17 6461/10        6578/18 6586/12       witnesses'   [1] 6494/7
6536/24 6542/6 6545/3
                      West [1]  6447/12     6465/3 6465/23         6586/14               woman    [1]  6576/14
6555/14 6556/15
                      what [189]            6466/19 6469/6         WI [1] 6451/20        won't [2] 6470/14
6557/19 6558/17
                      what's [14] 6455/3    6470/22 6472/22        WI4 [1] 6453/23       6542/15
6560/9 6568/8 6572/8
                      6468/23 6469/19       6475/25 6479/7 6480/8 wickets [1] 6481/17    Woodward [10] 6447/2
6572/16 6572/21
                      6469/20 6477/18       6483/4 6485/22         wild [5] 6559/6       6447/2 6450/17
6573/6 6577/8 6577/16
                      6528/17 6530/22       6497/25 6498/1         6585/15 6585/15       6461/11 6467/21
6578/24 6579/14
                      6534/12 6541/20       6498/18 6500/19        6585/16 6585/17       6553/11 6554/5
6589/3
                      6561/11 6572/9 6573/2 6500/21 6503/15        will [38] 6456/16     6554/18 6583/14
well-equipped [1]
                      6583/4 6585/9         6506/13 6529/11        6460/16 6460/25       6584/22
6530/6
                      whatever [3] 6456/7   6530/9 6530/25         6461/1 6469/10        word [3] 6496/5 6506/8
well-established [1]
                      6498/11 6569/14       6534/18 6534/24        6470/12 6477/24       6580/25
6455/11
                      when  [54]  6455/17   6535/16 6547/21        6479/3 6481/22 6483/2 words [5] 6468/12
went [18] 6462/19
                      6457/5 6459/4 6461/2 6552/23 6553/10         6483/3 6484/2 6484/12 6535/20 6537/22
6463/2 6463/8 6463/12
                      6462/13 6467/20       6554/22 6570/12        6484/19 6488/20       6538/12 6566/7
6463/15 6463/23
                      6468/12 6471/21       6572/13 6573/16        6497/13 6505/7        work  [7] 6453/11
6468/9 6473/8 6478/20
                      6476/14 6478/13       6576/9 6576/17         6506/20 6507/9 6508/3 6453/17 6454/11
6480/16 6483/13
                      6485/12 6487/2 6492/6 6584/22 6585/12        6508/5 6509/16 6510/4 6454/12 6538/14
6495/11 6495/13
                      6495/13 6504/6        6587/10                6510/24 6511/13       6538/16 6583/25
6546/19 6546/21
                      6504/22 6506/14       while [15]  6455/5     6512/23 6530/6 6530/8 worked [4] 6452/8
6552/2 6564/15
                      6507/2 6509/7 6509/22 6463/11 6463/13        6541/4 6542/12        6453/13 6500/1
6564/19
                      6510/14 6511/4        6463/22 6464/1         6543/13 6543/17       6501/25
were [96] 6451/4
                      6511/18 6511/20       6465/19 6480/19        6552/21 6553/4 6559/6 working [2] 6528/21
6451/8 6462/1 6463/2
                      6516/7 6516/18        6483/19 6487/16        6559/21 6577/21       6559/22
6464/16 6466/1
                      6516/24 6517/5 6520/7 6504/23 6509/25        6587/8                works   [1] 6536/1
6467/16 6471/8
                      6521/10 6523/16       6511/20 6559/22        William   [14] 6448/7 worry  [1]  6548/6
6471/15 6475/14
                      6533/22 6534/4 6541/8 6580/18 6586/5         6448/8 6448/11        worst  [3]  6530/8
6476/9 6479/24 6487/2
                      6549/2 6550/10        White [1] 6479/19      6450/10 6450/21       6530/9 6530/11
6488/8 6488/13
                      6550/14 6550/19       White House    [1]     6501/21 6516/10       worst-case    [3] 6530/8
6488/23 6488/24
                      6551/5 6554/12 6555/9 6479/19                6543/10 6543/18       6530/9 6530/11
6490/24 6491/1 6492/4
                      6555/22 6562/20       Whitehouse.gov [1]     6544/24 6545/24       worth [3] 6555/17
6494/17 6496/6
                      6563/16 6564/10       6514/3                 6578/12 6591/2 6591/8 6555/19 6555/21
6496/10 6496/25
                      6564/23 6565/2        who [44] 6458/11       William Isaacs [7]    would [70] 6452/1
6497/17 6501/21
                      6565/18 6565/25       6462/21 6463/1         6450/10 6501/21       6452/14 6452/15
6503/11 6503/14
                      6566/14 6567/13       6465/17 6466/16        6516/10 6543/10       6452/23 6454/23
6503/17 6503/20
                      6580/21 6585/19       6471/19 6471/19        6543/18 6544/24       6455/3 6455/14
6504/6 6505/20
                      6586/15               6471/22 6473/23        6578/12               6455/16 6457/4
6510/16 6516/7
                      where  [23]  6464/3   6474/1 6479/24 6491/8 William Shipley [1]    6459/10 6459/15
6516/18 6516/24
                      6471/21 6479/19       6492/6 6493/23         6450/21               6460/1 6460/1 6460/20
6518/5 6518/13
                      6480/9 6487/2 6487/23 6498/13 6505/22        Wilson   [4] 6458/5   6467/20 6469/6 6469/7
6521/22 6522/1 6523/9
                                                                              6620


W    Case 1:21-cr-00028-APM
                   yes [155] Document 1158
                                  6552/11    Filed 02/21/24 Page 176 of 176
                                          6552/14
                       yesterday [8] 6451/5     6553/16 6554/7
would... [53] 6471/10
                        6451/11 6485/4 6499/7 6554/15 6554/21
 6473/6 6475/16
                        6564/14 6565/15         6558/11 6558/25
 6475/18 6479/9 6480/4
                        6576/13 6588/23         6559/7 6559/11
 6485/14 6485/23
                       yet [4] 6454/9 6478/2    6559/14 6559/24
 6486/9 6486/16
                        6479/5 6481/20          6559/24 6560/7
 6487/21 6488/4
                       you  [387]               6560/21 6561/6
 6488/11 6488/14
                       you  know   [1] 6471/25 6561/21 6561/23
 6488/23 6489/1
 6489/23 6490/19       you'd [2] 6492/16        6561/24 6565/13
                        6572/4                  6568/23 6569/9 6571/4
 6490/25 6492/17
                       you're  [16]  6473/16    6577/6 6577/25 6578/8
 6499/6 6503/2 6505/3
                        6476/6 6489/5 6489/5 6584/23 6585/18
 6506/4 6513/4 6514/24
                        6492/8 6492/13          6586/9 6586/12
 6535/4 6535/21
                        6492/15 6495/2 6499/9 6586/16 6587/8 6587/9
 6536/12 6540/11
                        6499/17 6500/24         6587/11 6589/5
 6540/13 6541/1
                        6552/16 6552/18         6589/22
 6546/22 6549/14
                        6553/1 6555/12         Your Honor [76]
 6550/10 6550/14
                        6587/22                 6450/6 6450/25
 6550/19 6550/22
 6550/23 6551/1        you've [8] 6451/7        6451/10 6451/17
                        6459/7 6460/21          6453/1 6453/17
 6551/17 6561/10
                        6538/23 6548/17         6454/15 6456/14
 6563/10 6568/1 6568/3
                        6554/11 6559/8          6458/24 6459/10
 6568/11 6568/20
                        6567/18                 6459/17 6459/19
 6571/25 6578/16
                       your  [132]  6450/6      6460/24 6460/25
 6578/21 6580/22
                        6450/25 6451/10         6461/2 6461/12
 6581/15 6584/6
                        6451/10 6451/17         6462/11 6467/15
wouldn't [4] 6468/3
                        6453/1 6453/17          6469/16 6470/18
 6490/23 6535/1
                        6453/22 6454/15         6471/10 6472/14
 6549/13
                        6454/21 6455/8          6473/6 6474/25
writ [1] 6462/1
                        6455/22 6456/11         6478/15 6480/5
write [2] 6525/19
                        6456/14 6457/5 6457/8 6481/18 6484/1 6484/6
 6525/22
                        6458/7 6458/24          6484/10 6487/9
writes [1] 6559/19
                        6459/10 6459/17         6487/11 6487/14
writing [1] 6507/16
                        6459/19 6460/24         6488/4 6491/25 6493/6
written [5] 6452/8
                        6460/25 6461/2          6494/3 6494/18 6498/5
 6452/20 6456/1
                        6461/12 6462/11         6502/15 6504/12
 6508/10 6574/21
                        6467/15 6469/16         6504/18 6505/5
wrong [3] 6456/17
                        6470/18 6471/10         6506/21 6508/4
 6458/12 6552/8
                        6472/14 6472/19         6509/15 6510/3
wrongdoing [1]
                        6473/6 6474/25          6510/21 6511/12
 6553/3
                        6475/24 6478/14         6512/1 6512/22
wrote [2] 6508/11
                        6478/14 6478/15         6513/10 6519/5
 6525/15
                        6480/5 6481/18 6484/1 6523/19 6523/22
Y                       6484/6 6484/10          6531/25 6534/20
yeah [17] 6451/16       6484/19  6484/22        6535/4 6536/16 6543/2
 6452/3 6453/3 6454/11  6487/9  6487/11         6543/4 6547/12
 6473/13 6475/11        6487/14 6488/4          6547/15 6553/16
 6495/8 6499/17 6500/5  6489/16  6491/7         6554/15 6554/21
 6522/16 6550/22        6491/25  6493/6         6561/6 6561/21 6577/6
 6558/18 6564/5 6564/9  6493/17  6494/3         6577/25 6578/8 6587/8
 6567/22 6571/20        6494/18 6495/1 6498/5 6587/9 6587/11 6589/5
 6572/12                6498/23 6499/2 6499/7 6589/22
year [2] 6455/11        6499/25 6500/20
                        6501/14 6501/17        Z
 6534/16
                        6502/15  6503/3        Zaremba [3] 6448/11
years [10] 6538/8
                        6504/12  6504/18        6591/2 6591/8
 6538/25 6543/11
                        6505/5  6506/21 6508/4 zealousness [1]
 6543/12 6543/13
 6543/17 6550/7         6509/15 6510/3 6510/9 6461/15
                        6510/21 6511/12        zoom [2] 6503/15
 6551/21 6552/7
                        6512/1  6512/22         6522/18
 6554/11
                        6513/10  6519/5        Zsuzsa  [1] 6447/6
yell [2] 6542/15
 6580/15                6523/19  6523/22
yell' [1] 6470/14       6524/14 6531/25
yelled [1] 6545/12      6534/5 6534/20 6535/4
yelling [5] 6544/23     6536/16 6538/1 6540/9
 6545/2 6545/4 6545/5 6543/2 6543/4 6547/12
 6580/11                6547/15 6548/15
